       EXHIBIT B (contd.)

Copy of All Filings with State Court
                                                                      7/19/2018 10:33 AM
                                                                                        Velva L. Price
                                                                                       District Clerk
                                                                                       Travis County
                                NO. D-1-GN-18-001835                                D-1-GN-18-001835
                                                                               Hector Gaucin-Tijerina
NEIL HESLIN,                               §              IN THE DISTRICT COURT OF
                                           §
      Plaintiff,                           §
                                           §
v.                                         §              TRAVIS COUNTY, TEXAS
                                           §
ALEX E. JONES, INFOWARS, LLC,              §
FREE SPEECH SYSTEMS, LLC, and              §
OWEN SHROYER,                              §
      Defendants                           §              261st JUDICIAL DISTRICT

                                  NOTICE OF HEARING

      Please take notice that a hearing on Defendants’ Motion to Dismiss under the

Texas Citizens Participation Act (filed July 13, 2018) will be heard by the Court on its

Central - Short Docket on Thursday, August 30, 2018 at 2:00 p.m. Two (2) hours have

been allotted for this hearing. The hearing will be held at the Heman Marion Sweatt

Travis County Courthouse located at 1000 Guadalupe, Austin, Texas 78701.




                                        GLAST, PHILLIPS & MURRAY, P.C.

                                               /s/ Mark C. Enoch
                                        Mark C. Enoch
                                        State Bar No. 06630360

                                        GLAST, PHILLIPS & MURRAY, P.C.
                                        14801 Quorum Drive, Suite 500
                                        Dallas, Texas 75254-1449
                                        Telephone: 972-419-8366
                                        Facsimile: 972-419-8329
                                        fly63rc@verizon.net

                                        ATTORNEYS FOR DEFENDANTS
                            CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been
served upon the parties listed below via email and via efile.txcourts.gov’s e-service
system on July 19, 2018:

Mark Bankston
Kyle Farrar
Kaster, Lynch, Farrar & Ball, LLP.
1010 Lamar, Suite 1600
Houston, Texas 77002


                                                    /s/ Mark C. Enoch
                                              Mark C. Enoch




NOTICE OF HEARING                                                                Page 2
                                                                                    8/17/2018 1:59 PM
                                                                                                     Velva L. Price
                                                                                                    District Clerk
                                                                                                    Travis County
                                   CAUSE NO. D-1-GN-18-001835                                    D-1-GN-18-001835
                                                                                                         Irene Silva

    NEIL HESLIN                                    §                    IN DISTRICT COURT OF
      Plaintiff                                    §
                                                   §
    VS.                                            §                  TRAVIS COUNTY, TEXAS
                                                   §
    ALEX E. JONES, INFOWARS, LLC,                  §
    FREE SPEECH SYSTEMS, LLC, and                  §                      261st DISTRICT COURT
    OWEN SHROYER,                                  §
      Defendants                                   §


                         PLAINTIFF’S MOTION FOR SANCTIONS
                     FOR INTENTIONAL DESTRUCTION OF EVIDENCE


          Plaintiff moves for sanctions against Defendants for the willful destruction of relevant

evidence. While in the midst of researching evidence to respond to Defendants’ TCPA motion,

Plaintiff’s counsel discovered that on August 9, 2018, InfoWars intentionally deleted a variety of

social media pages and video content relating to the Sandy Hook shooting. These materials were

unquestionably relevant to Plaintiff’s claim, and InfoWars had written notice of the obligation to

preserve this evidence. InfoWars’ willful deletion of evidence merits punitive and remedial

sanctions, including an adverse inference by the fact-finder regarding the content of the deleted

materials.

I.        FACTUAL BACKGROUND

          On August 9, 2010, CNN published an article discussing the decision by Twitter to allow

Alex Jones to remain on its platform.1 Twitter had originally claimed that unlike Mr. Jones’

conduct on YouTube and Facebook, he had not posted offending content to its website. However,

CNN journalist Oliver Darcy discovered extensive content and commentary that violated Twitter’s

rules, including social media messages and “hundreds of hours of video available on the accounts


1   https://money.cnn.com/2018/08/09/media/twitter-infowars-alex-jones/index.html

                                                   1
that Jones and InfoWars maintain on Twitter and Periscope, a livestreaming video service that

Twitter owns.”2

        According to the CNN article, the offending materials included content about the Sandy

Hook and Parkland school shootings. CNN did not fully quote or reproduce the content in its

article, but provided links to “examples of some of the content CNN has found.”3 However, the

links direct to the following error message:




        The following day, Mr. Jones appeared on his news show, and he admitted that he

instructed his staff to delete the materials. Mr. Jones stated that “CNN…was doing reports on

things I said out of context about David Hogg, about Parkland, and about other events, and I just

said ‘Delete that stuff.’”4 A few moments later in the video, Mr. Jones repeated his admission that

he instructed his staff to “delete it.”5

        Plaintiff has submitted the declaration of online researcher and journalist Brooke

Binkowski, who was able to confirm that specific InfoWars messages cited by CNN have been




2 Id.
3 Id.
4 Video at: https://www.infowars.com/msm-spreads-more-spin-stories-about-infowars-twitter-account/
5 Id.


                                                  2
deleted. Ms. Binkowski checked a variety of links from the CNN article.6 She found they are no

longer functioning, and the links she reviewed were not indexed on the Internet Archive:




        On August 12, 2018, Plaintiff’s counsel wrote to InfoWars’ counsel asking him “to confirm

whether these [news] reports are accurate and these items have indeed been destroyed.”7 InfoWars’

counsel did not respond. Plaintiff’s counsel wrote again on August 14, and again InfoWars’

counsel did not respond.8

        Despite counsel’s silence, it is clear from Mr. Jones’ own admissions that relevant evidence

has been lost. As pressure mounted from pending defamation lawsuits and growing public

indignation, Mr. Jones chose to destroy the evidence of his actual malice and defamatory conduct

uncovered by Mr. Darcy. InfoWars deleted critical evidence at the precise moment Plaintiff and

his experts were attempting to marshal that evidence. At this stage, it is unknown exactly how



6 Exhibit 1, Declaration of Brooke Binkowski.
7 Exhibit 2, Plaintiff counsel’s August 12 email.
8 Exhibit 3, Plaintiff counsel’s August 14 email.



In addition to deletions discovered by CNN, Plaintiff’s counsel suspects that Mr. Jones also deleted YouTube
content. On August 3, 2018, Plaintiff’s counsel attempted to visit the YouTube page where the challenged
video was published. However, the video had been deleted. Plaintiff’s counsel initially thought the video was
deleted by YouTube, but subsequent news reports confirmed that YouTube did not remove any of Mr. Jones’s
videos until August 6, 2018. See
https://www.theguardian.com/technology/2018/aug/06/apple-removes-podcasts-infowars-alex-jones

Based on these reports, the August 14 email also requested InfoWars’ counsel to “confirm whether the June
26 and July 20 YouTube videos relevant to this litigation were deleted by YouTube or your clients.”

                                                      3
much content has been deleted, though it includes extensive social media materials and reportedly

hundreds of hours of video.

II.        LEGAL STANDARD

           Under Texas law, a party who establishes that spoliation has occurred may be entitled to a

presumption that the destroyed evidence would not have been favorable to the destroyer. Rico v.

L–3 Commc'ns Corp., 420 S.W.3d 431, 437 (Tex.App.–Dallas 2014, no pet.). This evidentiary a

presumption is appropriate when a party has deliberately destroyed evidence or has failed to either

produce or explain the evidence’s nonproduction. Id. In determining whether a spoliation

presumption is justified, a trial court considers whether (1) there was a legal duty to preserve the

evidence; (2) the alleged spoliator breached this duty; and (3) the spoliation prejudiced the non-

spoliator's ability to present its case or defense. Id.

III.       ARGUMENT

           A.      InfoWars had a Duty to Preserve this Evidence.

           First, there is no dispute that InfoWars understood it was an under a duty to preserve this

evidence. In a letter delivered on April 11, 2018, Plaintiff instructed InfoWars and its counsel to

ensure the preservation of all documents and communications “relating to my client, the

[challenged statements], or the Sandy Hook shooting.”9 Mr. Jones was specifically “notified that

the destruction or loss of these items may constitute spoliation of evidence under Texas law.”10

Nonetheless, InfoWars willfully deleted the evidence.




9   Exhibit 4, Plaintiffs’ April 11, 2018 Demand Letter
10   Id.

                                                          4
           B.      Plaintiff has Suffered Prejudice from InfoWars Breaching its Duty.

           The loss of this evidence prejudices Plaintiff’s case because InfoWars deleted social media

and video evidence relating to the Sandy Hook shooting. This evidence could have established key

elements of Plaintiffs’ defamation claim. First, these materials could have provided evidence of

actual malice, since “actual malice may be inferred…from the defendant’s words or acts before,

at, or after the time of the communication.” Warner Bros. Entm't, Inc. v. Jones, 538 S.W.3d 781,

805 (Tex. App.—Austin 2017, pet. filed). The evidence could have also established defamatory

meaning by “connect[ing] the words published with sic or explanatory circumstances alleged.”

Billington v. Hous. Fire & Cas. Ins., 226 S.W.2d 494, 497 (Tex. Civ. App.- Fort Worth 1950, no

writ). The evidence could have also established whether InfoWars’ defamation was germane to

Plaintiff’s public acts.

           While the CNN article discusses some of the Sandy Hook content in broad strokes, it is

unknown how many messages or videos were deleted. Moreover, the CNN article reported that

InfoWars deleted content from Twitter’s live-streaming service Periscope, and it is believed this

evidence is likewise lost forever. Finally, it appears that InfoWars was also deleting YouTube

videos relating to this case. All of these materials are fruitful sources of evidence.

           Furthermore, Ms. Binkowski’s declaration explains that given the nature of social media,

“pages and content become interrelated in a complex web. Social media posts become interactive

discussions in which conversations develop through user comments and in which content becomes

linked to other content.”11 Ms. Binkowski noted that “even if a copy of a particular post is saved

locally, its meaning is often inscrutable when isolated from the web of context.”12 Additionally,

that web of context, discussion, and linked content can lead to further evidence. The same holds


11   Exhibit 1, Declaration of Brooke Binkowski.
12   Id.

                                                    5
true of online video content. According to Ms. Binkowski, “[e]ven if a local copy of a video is

saved, the social media page on which it was hosted contains information and discussion, including

descriptive text and commentary authored by InfoWars which accompany its video content.”13 In

short, Plaintiff has been denied the wealth of relevant evidence uncovered by Mr. Darcy, as well

as avenues to find even more relevant evidence.14

        InfoWars might dishonestly claim that the social media materials and videos they deleted

were not relevant. However, in light of the Sandy Hook-related content reported by CNN, much

of this material was facially relevant. Moreover, as this Court is acutely aware, Mr. Jones meanders

from topic to topic in his videos, and a title or description of a video is not indicative of its full

content. It is therefore likely that relevant evidence was present in other deleted materials not

explicitly identified with Sandy Hook. Moreover, CNN reported that some of the content related

to InfoWars’ commentary about other mass shootings, which is also relevant evidence in this

lawsuit.

        In any case, the Court need not make any relevance determination on the other deleted

materials, as the Supreme Court held that a party’s intentional destruction of evidence can be

“sufficient by itself to support a finding that the spoliated evidence is both relevant and harmful to

the spoliating party.” Brookshire Bros., Ltd. v. Aldridge, 438 S.W.3d 9, 22 (Tex. 2014); see also

Thompson v. U.S. Dept. of Hous. & Urban Dev., 219 F.R.D. 93, 101 (D. Md. 2003) (“When

evidence is destroyed in bad faith (i.e. intentionally or willfully), that fact alone is sufficient to

demonstrate relevance.”).




13Id.
14To help the court understand the “needle-in-a-haystack” challenge which Plaintiff has faced, Mr. Jones’
twitter account contains 49,142 posts as of August 17, 2018. The InfoWars account contains 51,597 posts.
Owen Shroyer’s account contains an additional 6,950 posts. See https://twitter.com/RealAlexJones;
https://twitter.com/infowars; https://twitter.com/allidoisowen.

                                                     6
       C.      A Remedial Sanction is Necessary.

       A remedial sanction should be given when “the spoliating party acted with intent to conceal

discoverable evidence.” Petroleum Sols., Inc. v. Head, 454 S.W.3d 482, 489 (Tex. 2014). The most

severe of sanctions is needed because InfoWars “intentionally destroyed relevant and material

evidence with the purpose of concealing relevant evidence.” Smith v. Williams, 2015 WL 3526089,

at *7 (Tex. App.—Texarkana May 29, 2015, no pet.). Courts have typically addressed the

spoliation of social media materials with an adverse inference, in which the fact-finder assumes

the destroyed evidence would have been unfavorable. This evidentiary presumption is appropriate

when a party acts with the “purpose of concealing or destroying discoverable evidence.”

Brookshire Bros., 438 S.W.3d at 24. For example, in a discrimination case, it would be appropriate

for a fact-finder to be “instructed that it may infer that the contents of the Facebook Post indicated

discriminatory animus.” Congregation Rabbinical Coll. of Tartikov, Inc. v. Village of Pomona,

138 F. Supp. 3d 352, 393 (S.D.N.Y. 2015).

       A week ago, a California federal court issued an opinion under strikingly similar facts. A

defendant in a false advertising suit deleted social media posts relating to the marketing of its

product. Although the plaintiff found some social media posts, it could not obtain the posts that

had been deleted. The court explained that:

               Contrary to Defendants’ contention that “Plaintiff complains about
               ‘social media documents’ not produced (but which Plaintiff already
               has),” Plaintiff only has some Facebook and Twitter posts regarding
               the challenged products which it obtained during its pre-lawsuit
               investigation. Plaintiff does not have all of the posts and cannot
               obtain them because all relevant social media posts including the
               “advertisements, photos, marketing and misleading statements at
               issue in this action” have been destroyed by Defendants.

Nutrition Distribution, LLC v. Pep Research, LLC, 2018 WL 3769162, at *16 (S.D. Cal. Aug. 9,

2018) (recommendation adopted). The court noted that the deletion of evidence “threatened to

                                                  7
interfere with the rightful decision of the case, or forced the non-spoiling party to rely on

incomplete and spotty evidence.” Id. For this reason, the court entered an adverse inference:

                Because the Court finds that Defendants destroyed relevant social
                media evidence…the Court recommends that the adverse inference
                instruction requested by Plaintiff that “the social media posts deleted
                were false advertising of products that compete with Plaintiff,” be
                given.

Id. at *18; see also Gatto v. United Air Lines, Inc., 2013 WL 1285285, at *3 (D.N.J. Mar. 25, 2013)

(Adverse inference instruction against plaintiff who deactivated his social media accounts). Here,

a similar inference is justified in which the fact-finder presumes that the deleted messages and

videos were either defamatory in their own right or otherwise established the defamatory meaning

and actual malice underlying the June 26, 2017 and July 20, 2017 defamations described in

Plaintiff’s petition.

        D.      A Punitive Sanction is Necessary.

        Finally, courts also take severe punitive steps when social media content is spoliated. For

example, in Allied Concrete Co. v. Lester, 736 S.E.2d 699 (Va. 2013), the court approved sanctions

of $542,000 against a lawyer and $180,000 against his client for spoliation when the client, at the

lawyer’s direction, deleted photographs from client’s social media page. In the disciplinary

context, at least one lawyer has been suspended for five years for advising a client to clean up his

Facebook page, causing the removal of photographs and other material. In the Matter of Matthew

B. Murray, 2013 WL 5630414, VSB Docket Nos. 11-070-088405 and 11-070-088422 (Virginia

State Bar Disciplinary Board July 17, 2013); see also Florida Bar News, Bar Ethics Opinion on

“Cleaning Up” Social Media Pages Before Litigation, 2/15/2015 FLBN 24. Here, InfoWars’

conduct was likewise egregious, and a severe punitive sanction is necessary to deter future

misconduct in this litigation. In addition, Plaintiff requests fees and costs to address the time spent



                                                  8
on this matter, which was especially burdensome in the midst of responding to an anti-SLAPP

motion.

                                          CONCLUSION

       Due to the intentional destruction of evidence by InfoWars, Plaintiff prays that this Court

grants his Motion, enters an adverse inference in favor of the Plaintiff, assesses punitive sanctions,

and takes whatever other actions necessary to address this flagrant misconduct.


                                               Respectfully submitted,

                                               KASTER LYNCH FARRAR & BALL, LLP


                                               ____________________________________
                                               MARK D. BANKSTON
                                               State Bar No. 24071066
                                               mark@fbtrial.com
                                               KYLE W. FARRAR
                                               State Bar No. 24034828
                                               WILLIAM R. OGDEN
                                               State Bar No. 24073531
                                               1010 Lamar, Suite 1600
                                               Houston, Texas 77002
                                               713.221.8300 Telephone
                                               713.221.8301 Fax




                                                  9
                                 CERTIFICATE OF SERVICE


       I hereby certify that on August 17, 2018 the forgoing document was served upon the
following in accordance to Rule 21 of the Texas Rules of Civil Procedure:


Via E-Sevice: fly63rc@verizon.net

Mark C. Enoch
Glast, Phillips & Murray, P.C.
14801 Quorum Drive, Ste. 500
Dallas, Texas 75254




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Ex. 2
Ex. 3
                                                                                8/17/2018 1:59 PM
                                                                                                 Velva L. Price
                                                                                                District Clerk
                                                                                                Travis County
                                CAUSE NO. D-1-GN-18-001835                                   D-1-GN-18-001835
                                                                                                     Irene Silva

 NEIL HESLIN                                     §                    IN DISTRICT COURT OF
   Plaintiff                                     §
                                                 §
 VS.                                             §                  TRAVIS COUNTY, TEXAS
                                                 §
 ALEX E. JONES, INFOWARS, LLC,                   §
 FREE SPEECH SYSTEMS, LLC, and                   §                      261st DISTRICT COURT
 OWEN SHROYER,                                   §
   Defendants                                    §


               PLAINTIFF’S MOTION FOR EXPEDITED DISCOVERY
       IN AID OF PLAINTIFF’S RESPONSE TO DEFENDANTS’ TCPA MOTION


       Pursuant to Tex. Civ. Prac. Rem. Code 27.006, Plaintiff moves this Court to allow

discovery relevant to Defendants’ TCPA motion, and would show the Court as follows:

                                                I.

       In responding to a TCPA motion, Plaintiff must address each element of his claim, and the

act provides a mechanism to secure “additional discovery to meet this burden.” Grant v. Pivot

Tech. Sols., Ltd., 2018 WL 3677634, at *12 (Tex. App.—Austin Aug. 3, 2018, no pet. h.). “On a

motion by a party or on the court’s own motion and on a showing of good cause, the court may

allow specified and limited discovery relevant to the motion.” Tex. Civ. Prac. Rem. Code

27.006(b).

                                                II.

       That statute does not define “good cause,” but in cases where a particular statute leaves the

term undefined, courts have held that good cause exists when it “is based on equity or justice.”

Barton-Rye v. State, 2016 WL 4678963, at *1 (Tex. App.—Amarillo Sept. 1, 2016, pet. ref'd). The

definition “no doubt connotes something akin to a legitimate or substantial reason, as opposed to

mere arbitrariness.” Id.; see also In re Gandara, 2017 WL 2822514, at *4 (Tex. App.—El Paso

                                                 1
June 30, 2017, no pet.) (“The Amarillo Court's decision is well-reasoned and we will apply its

definition of good cause in this case.”). Here, discovery will aid Plaintiff is meeting his burden,

and there are several legitimate non-arbitrary reasons to grant the motion.

                                               III.

       First, discovery will aid Plaintiff in securing evidence about the responsibility of the

various named parties. Though extrinsic evidence makes it clear the Defendants act in concert,

InfoWars is determined to contest the involvement and culpability of various Defendants. As such,

discovery will help resolve various Defendants’ protestations of innocence.

                                                IV.

       Discovery will also aid in developing evidence relating to Defendants’ spoliation of

relevant documents. Plaintiff has filed a Motion for Sanctions concerning the deletion of social

media materials and video content. These social media materials related to Mr. Jones’ statements

about the Sandy Hook shooting, and they were deleted by InfoWars when a CNN journalist

uncovered their existence. These materials could have supported the elements of Plaintiff’s cause

of action. As such, Mr. Jones’ spoliation provides further good cause for discovery.

                                                V.

       Discovery will also aid Plaintiff is securing evidence of actual malice. Though Plaintiff can

prove malice through circumstantial evidence and inference, Defendants will certainly argue that

Plaintiff lacks direct evidence of Defendants’ state of mind. Discovery will allow Plaintiff to

develop further evidence on this point.




                                                 2
                                                          VI.

           Discovery will also aid in determining whether Defendants’ affirmative defenses have been

asserted in good faith. Discovery will show if the statutes relied upon in affirmative defenses

actually apply to these Defendants.

                                                         VII.

           Discovery will also aid Plaintiff in securing evidence relevant to whether the challenged

statement was an opinion or assertion of fact. Defendants’ internal documents prior to the

defamation will help establish the context of the video and Defendant’s motivation in making a

statement of fact rather than an opinion. Defendants’ internal statements and testimony are also

relevant to whether the defamatory remarks arose from any public participation by Plaintiff.

                                                        VIII.

           Finally, discovery will also aid in securing full copies of the challenged statements. As the

Court is aware, Defendants objected to the use of transcripts and video clips in the Pozner matter,

requiring Plaintiffs to submit a full copy of the “Sandy Hook Vampires Exposed” video. In this

case, Plaintiff intended on submitting a full video copy of the June 26, 2017 and July 20, 2017

InfoWars videos at issue. Plaintiffs in the Pozner matter relied on the public availability of

Defendants’ videos on YouTube, but those videos were recently removed either by YouTube or

by InfoWars. Plaintiffs’ counsel wrote to InfoWars’ counsel on August 9, 2018 requesting copies

of these videos, but InfoWars’ counsel ignored the request. 1 As such, Mr. Heslin should be

permitted to conduct discovery on video evidence.




1   See Exhibit 1, Plaintiff counsel’s August 9, 2018 email.

                                                           3
                                           PRAYER

       For these reasons, Plaintiffs pray that this Court resets the hearing on the Defendants’

TCPA Motion and allows the Plaintiff to serve written discovery as well as take the depositions of

Owen Shroyer, Alex Jones, InfoWars, LLC, and Free Speech Systems, LLC.


                                             Respectfully submitted,

                                             KASTER LYNCH FARRAR & BALL, LLP


                                             ____________________________________
                                             MARK D. BANKSTON
                                             State Bar No. 24071066
                                             mark@fbtrial.com
                                             KYLE W. FARRAR
                                             State Bar No. 24034828
                                             WILLIAM R. OGDEN
                                             State Bar No. 24073531
                                             1010 Lamar, Suite 1600
                                             Houston, Texas 77002
                                             713.221.8300 Telephone
                                             713.221.8301 Fax




                                                4
                                 CERTIFICATE OF SERVICE


       I hereby certify that on August 17, 2018 the forgoing document was served upon the
following in accordance to Rule 21 of the Texas Rules of Civil Procedure:


Via E-Sevice: fly63rc@verizon.net

Mark C. Enoch
Glast, Phillips & Murray, P.C.
14801 Quorum Drive, Ste. 500
Dallas, Texas 75254




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Ex. 1
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                                                                                                       Velva L. Price
                                                                                                      District Clerk
                                                                                                      Travis County
                                                                                                   D-1-GN-18-001835
                                     GLAST, PHILLIPS & MURRAY                                            Terri Juarez
                                          A PROFESSIONAL CORPORATION
  MARK C. ENOCH, J.D., M.B.A.
         (972) 419-8366                                                              (972)419-8300
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                                       14801 QUORUM DRIVE, SUITE 500
 BOARD CERTIFIED - CIVIL TRIAL LAW       DALLAS, TEXAS 75240-6657
     TEXAS BOARD OF LEGAL
         SPECIALIZATION



                                           August 21, 2018



Via ejIling

Clerk, 26 1st District Court
Travis County
1000 Guadalupe, 5th floor
Austin, TX 78701

         Re:       Neil Heslin v. Alex E. Jones, Infowars, LLC, Free Speech
                   Systems, LLC and Owen Shroyer; Cause No. D-1-GN-18-
                   00 1835, 26 1st District Court, Travis County, Texas
Dear Clerk:

       I am currently on vacation with very limited phone service and internet access and
have been so since before Plaintiff's Motion for Sanctions for Intentional Destruction of
Evidence and Plaintiff's Motion for Expedited Discovery in Aid of Plaintiff's Response
to Defendants' TCPA Motion were filed. A vacation letter was filed with the Court on
June 29, 2018 regarding this vacation.
       I am diligently working to have responses to both motions completed and filed by
tomorrow or Thursday at the latest. We strongly oppose both motions. Nothing was
destroyed as claimed.
       I respectfully request that no hearings be scheduled and that the Honorable Judge
Jenkins not make any determinations regarding these motions during this time until
Defendants' responses have been filed. Thank you for your attention to this matter,


                                                            Very truly yours,

                                                            /s/ !Mar& C. Enoch

                                                            Mark C. Enoch
Clerk, 261th District Court
August 21, 2018
Page 2



MCE:mji
cc: Mr. Mark D. Bankston(via e-service)
                                                                            8/23/2018 7:11 PM
                                                                                             Velva L. Price
                                                                                            District Clerk
                                                                                            Travis County
                                   NO. D-1-GN-18-001835                                  D-1-GN-18-001835
                                                                                               Terri Juarez
NEIL HESLIN,                                                  IN THD DISTRICT COURT OF

       Plaintffi
                                                                TRAVIS COUNTY, TEXAS

AI,EX E, JONES, INFOWARS, LLC,
FREE SPEECH SYSTEMS, LLC, and
OWEN SHROYER,

       Defendønts                                               261.t,II]DICIAI, DISTRICT


    DITFENDANTS' REspoNstr To PLAINTTFFtS         MorroN FoR SANct'IoNs AND Mo'noN FoR
                                    Dxp¡urro      DrscovERY


       Delèndants hle this response to PlaintifPs Motion for Sanctions and his Motion for

Expedited Discovely.

                                             I.   SUMMARY

       Plaintifls Motion for Sanctions and counsels' arguments are simply          disingenuous

considering that he and his client have sought and continue to seek the removal of Defendanls'

content from social media and other platforms, through numerous public statements and

appearances in the media, appeals to Twitter, YouTube, Facebook and numerous other social

niedia plallorms and now the couft system. Now after four twitter posts have been removed but

preserved by Del'endants, and after the two videos Plaintiff claims in this case were defamatory

were removed by YouTube at Plaintifls insistence, Plaintiff s counsel seeks a spoliation ruling

and punitive sanctions,




DBTTENDANTS' RESpoNSE To     Pl¡rNrrpF's MoTIoN       FoR SANcTIoNs AND
MorroN FoR ExpEDrrED DrscovrìRy -- Page       I   of 13
        First, Plaintills counsel has alleged four'lwitter tweets that have been public for years

and two videos already given to them have been destroyed by Defendants.                     Plaintiffs counsel     is

misinfolmed:

         1.   Defendants have not destroyed any relevant evidence. Defendants have preserved all

              lelevant evidence of Defendants' publications.

        2.    Any comments of unknown intemet users that were attached to the tweets:

                 a.    are not relevant evidence to     Plaintiffs claims,

                 b.    were preserved to the best of Defendants' ability and although                l7   comments

                       in total appear to have not been recoverable because the commenter deleted

                       the comment, the commenter's account was deleted, Twitter deleted                          the

                       commenter's account or comment, or because the comment was lost from

                       Defendants' cache, they were not intentionally deleted by Defendants and the

                       vast majority of the comments were maintained,l

                  c.   were never requested by Plaintiff from either Defendants or Twilter,

                  d.   were accessible to Plaintiff and his lawyers for years at any time before

                       August 10,2018,

Plaintiff s motion for sanctions should be denied.




I 'lhe
       comnìents that were not able to be maintained were either previously deleted by the Twitter cornrnenter or the
commenter's accourìt was deleted, which Defèndants have no contlol over and could have been done years ago, or
inadvertently lost on Defendants' cache. See attached Exhibit "C" paragraph 6, Defendants' intended onJy to
remove the tweets from public access because ofthe immìnent possibilify, iffound to be in violation of Twitter
polìcies, ofbeing banned cornpletely by Twitter, See attached Exhibit "C" paragraph 5. This would have resulted in
losing all posts and information permanently. See auached Exhibit "C" paragraph 5. There was absolutely no intent
to destroy or hide any evidence at all and Defendants attempted to maintain as much informâtion as possible, See
attached Exhjbit "C" paragraphs 6 and I L


DEFDNDANTS' Rnspoxse ro PLAINTIFF's MorIoN FoR SÄNcrtoNs ÀND
MorroN FoR ExrEDITED DIScovERy -- Page 2 of 13
         Second,   Plaintifls motion f'or TCPA pre-hearing discovery should be denied                      because

Plaintiffhas not asscded good cause as the only asse(ed basis to do the discovery, his motion for

spoliation sanctions, is unfounded. Further, the broad and extensive discovery sought is not

permitted by the statute and would defeat the purpose behind the statute, which is designed to be

an efficient and cost effective safeguard of constitutional rights.

         Third, Plaintifls lawyers have breached their Rule 13 and Chapter                    l0   duties to make

reasonable inquiry belore      filing their motion for sanctions and filing those sanctions for improper

purposes. The Court should consider imposing appropriate sanctions upon Plaintifls lawyers for

Lheir failure to make reasonable inquiry and frling the sanctions motion flor improper puÌposes.

As lilly described in the Defendants' motions to dismiss in the Pozner and Heslin cases,

Plainliffs in both cases and their common counsel have sought and obtained wide-spread

publicity in their extra-judicial attempts to silence Jones and those who agree with him on

various political issues.2 Just as with their national media appearances and letters to editors3

designed in palt to shame public use platforms such as Google, YouTube, Facebook, and Twitter

into removing all of Jones' content, counsel filed their baseless motion lor sanctions to stir

additional negative publicity about Defendants.

                                           IL   TDS'r FoR sPoLrATroN

         To establish spoliation, Plaintiff must show: (1) Defendants had a duty to preserve the

partìcular relevanl evidence, (2) Defendants wrongfully did not preserve the relevant evidence,




?
  Mr, Bankston's letter dated May 25,2018 makes his intentions clear when he states that they "plan fo make
availabìe to the general public and media copies ofall correspondence and pleading which arise in this lawsuit,
including this letter." See attached Exhibit "4".
I See New Yo¡k Times article attached as Exhibit "B".

DEFENDANTS' RESPONSE To PLAINTIFF'S MorIoN FoR SANcrIoNs ANI)
MorroN FoR DxpEDrrED DrscovERy -- Page 3 of 13
and (3) Defendants' conduct prejudiced Plaintiff. See Clark v. Randalls Food, 317 S.W.3d

351,356 (Tex. App.-- Houston               Ist   Dist.] 2010, pet. denied).

                III.   DETENDANTS HAVE           coMMtrrED No spoLIÄTIoN              AND HAVE PRESERVED ALL


                                                   RELEVANT EVIDENCD.

               A. Plaintiff comnlains of four ycar-old twccts and two delivered videos.

           Plaintiff complains that four tweets, one from 2012, two from 2014.                      and,   one from 2015.

have been deleted from public viewing on Twitter. Plaintiff complains these four tweets were

deleted this month alter being up for public viewing and viewing and copying by him and his

lawyers for years. PlaintilÏ complains this removal of tweets from public viewing is spoliation                        of

relevant evidence. Plaintiff also complains that two videos have been deleted from public

viewing on YouTube, and claims that this deletion from public viewing is spoliation.

        B. Defendants have destroyed no relevant evidence but have preserved all relevant

                                                           evidence.

           Plaintiff is confused about how social media and computers work. Stopping publication

by removing a page from a computer screen accessed by the public does not destroy the hle on

the computers providing the screen with the file in the first place.

           The four tweets have not been destroyed and have been preserued by Defendants.a The

two videos, one of June 25,20fi5, and one of July 20,2017                             are actually    in Plaintifls own




a
    See attached Exhibit   "C" paragraph    6.
5'lhe video about which      P   laintiff complai ns did not occur on June 26, but instead on Jrtîe25,2017

DEpeNo¡Nrs' RESPoNSE To PLAINTIFII's MorIoN FoR SANCTIONS AND
Mo rroN F'oR ExpEDrrED DlscovnRv -- Page 4 of 13
lawyers' possession and have been since Defendants delivered copies to Plaintills lawyers on

July 1 3, 201 8, as evidence in support of Defendants' TCPA motion.6

            C. Defendants did not intentionallv or neeliqentlv destroy any evidence.

         "[A] parly must intentionally spoliate evidence in order for a spoliation instruction                      10


constitute an appropriate remedy." Brookshire ßros., Lld. v. Aldridge,438 S.W.3d 9,23-24 (Tex.

2014). "By 'intentional' spoliation, often referenced as 'bad faith' or 'willful' spoliation, we mean

that the party acted with the subjective purpose of concealing or destroying discoverable

evidence," Id. aI     24. "[4] trial coufi's finding of intentional spoliation is a necessary
predicate to the proper submission of,a spoliation instruction to the jury." Id. aT25. Moreover,

showing that the evidence in question was not destroyed with a fraudulent purpose or intent

rebuts a spoliation claim. Buckeye Ret. Co., L.L.C. v. Bank of An,, N.A.,239 S.W.3d 394, 401

('fex. App.-Dallas 2007, no pet.)

         Defendants removed fi'om publication the four Twitter posts that were years old because

of concerns that they may have been in violation of Twitter's new terms of service. This was                            a

serious and immediate concem as Defendants had just had several of its accounts banned on

numerous other social media platforms after mounting rnedia pressure.T                     if   Defendants did not

remove such complained-about posts, and they would have likely been found to have violated

'I'witter policies. the enlire account could have been permanently shut down resulting in serious

injury to Defendants and the potential loss of all information related to Defendants account.s


6
  See July 13, 2018 Motion at footnotes 1'72 and 304 as well as its Exhibit B, D, Jones Affidavit at paragraph 40 for
vìdeo ofJune 25 broadcast and footnotes 79 and 80 as weìl as D, Jones Affidavit at paragraph 41 for video ofJuly
20 broadcast.
7
  See attached Exhibit "C" paragraph 5.
t ld.


DEFnNDANTS' RESPONSE'ro PLAINTIFF's      MorIoN FoR SANcrIoNs                       AND
MorroN     FoR   ExpEDrrED Drscovony -- Page 5 of 13
Twitter can potentially shut down the whole'l'witter site for the user, non-violating posts           as   well

as violating posts.e Moreover,           Plaintiff admits in his motion that Mr. Jones was open about his

removal of the old lweets and admits Mr. Jones expressly stated his reasoning for the tweets

being removed. Defendants have openly and previously delivered copies of the two videos to

Plaintiffls lawyels.l0 There is no evidence Defendants destroyed any tweets or videos at all,

much less to conceal or destroy evidence.

                D. Defendants used reasonable efforts to ÞreseIrye all relevant evidence

            A party must exercise reasonable care in preserving evidence, but does not have to go to

extraordinary measures to preserve evidence. Miner Dederick Constr., LLP v, Gulf Chem. &

Mettrllurgical Corp.,403 S.W.3d 451,466-67 (Tex. App.--Houston               Ist   Dist.] 2013. pet. denied).

            l)efèndants copied the four tweets belore deleting them from publication in order to

avoicl beiug        in violation of Twitter policies.rr Despite the urgency and seriousness of              the

situation, Delendants diligently worked             to   preserve   all posts and comments to the posts.
Although 17 comments were inadvefiently lost on Defendants' cache, the vast majority of the

comments were able to be maintained.12 Moreove., Defendants have openly delivered copies of

the two videos to Plaintifls lawyers, a fact that Plaintifls lawyers failed to inform this Court of

in Plaintifls motion for sanctions and rnotion for discovery.13 No other reasonable efforts                 are

required.

           Ð. Plaintiff and his lawvers have had orren access to thc Twitter          nages   for years


o
    Id.
ro
   See    footnote 6.
rr
   See    attached Exhibit "C" paragraph 5.
I2
   See    attacheil Exhibit "C" paragraphs 6- 10,
rr
   See    footnote 6,


DEFl'NDANTS' RRSpONSE To PLAINTIFF's                MorIoN    FoR SANcrIoNs AND
MorroN         FoR ExpEDrrED DIScevERy -- Page 6          of 13
               and the vidcos wcrc delivered to his lawyers     -   they are not preiudiced.

           The Twitter posts that Plaintiff complains have been deleted were posted in 2012,2014

and 2015.14 Any "l'wilter user in the whole world has had access for years to those posts in theit

native settings and format and, for years, cor.rld copy those posts, and all the comments to those

posts. Plainliff offèrs no excuse of why he and his lawyers did not do so even though this suit

was filed more than four months ago.

           The complained of Twitter posts have been public since 2012 through 2015. Plaintiff

filed his suit April 16, 2018, after the posts were available to all the world for up to six    years.

When Plaintiff filed this suit, he served only a request for disclosure and no request for

production. Defendants answered June 18. Plaintiff has still not served a request for production

or conducted any other discovery. Plaintiff has not been prejudiced in preparing his case by

anything any Defendant did.

     F. Plaintiffs ryitness's hearsay and conclusory complaints are no evidence of spoliation,

           PlaintifT attaches a set ofhearsay statements from a witness who writes she is an expert

"in online     resealoh and the infrastructure ofsocial media." The witness's hearsay statements do

not show any spoliation ofrelevant evidence.

           First, the witness's statements are hearsay.

           Second, the witness complains that she checked a "variety           of links" provided by   a


hearsay CNN article and she searched something called the "lnternet Archive," and found the

"original content" deleted fiom those two sources (she makes no asseÍion about other           sources

having the "content" or not), found the "prirnary content inaccessible" to her, and the "related


ra
     See attached Exhibit   "C" paragraphs   7- 10,


DBFDNDANTs' REspoNsE To                Plnl¡lrr¡R's MottoN ¡'oR SANcrloNs   AND
MorroN        FoR ExIEDITED        DrscovERy -- Page 7 of 13
discussion. commentary, or hyperlinks" inaccessible 1o her. She also says saved copies of a

social media message leave the message somehow where "its meaning" may "often"                  be


"inscrutable" to her. These statements are vague, ambiguous and conclusory without sufhcient

predicate or foundation to show the bases ofher opinions.

       Thild, the witness does not have knowledge, personal or otherwise, or the    bases   thereot

of the content of the tweets or comments though she seems to complain that the comments of

unknown persons on the Twitter pages that are not now published are somehow material and

relevant   to Plaintifls   defamation claim   --   she complains that "related" "discussion" and

"oommentary" are "inaccessible" to her. Spoliation requires the claimed lost evidence must be

not only in Defendants' possession or controì, but that it must be material and relevant to the

Plaintiff-s claim. Ií/al-Mart Stores v. Johnson, 106 S.W.3d 718,722 (Tex. 2003). Thus, even      if
Defendanls had evidence       of "related   commentary,"   it is immaterial to spoliation -- what
unknown persons on the web say is not relevant to Plaintifls claims for defamation. The tesl is

whether a dcfendant's published statement is defamatory in "an objectively reasonable reading,"

to a "the hypothetical reasonable reader," lsee Dallas Morning News, Inc. v. Tatum, No.         16-

0098, 2018 Tex. LEXIS 404, af 427 - 29 (May 11, 2018).1, not whether the statement may be

defamatory to some polling of people who give related discussion or commentary on Twitter

posts, and not whether the unknown person's statement is defamatory.

       Moreover, even a negligent act of destruction is spoliation allowing a presumption only   if
it "so prejudices the nonspoliating pafiy that it is ineparably deprived of having any meaningful

ability to present a claim or defense." Brookshire Bros., Ltd. v. Aldridge,438 S.W.3d 9,25-26




f)EFENDANTS' RESPoNSE To PLAINTIFF's MoTIoN FoR SANcTIoNS AND
MorroN F'oR ExpEDrrED l)rscovERy - Page 8 of 13
(1'cx. 2014). Given the renrote or lack of relevance of these "related" "commentaries," even         i1'


they are los1, there is no prejudice to Plaintiff.

        In short, Plaintiffs witness tenders only her conclusions without evidentiary       predicate,

and she does not show the relevance of any evidence that is "inaccessible" to her. or that any

relevant evidence was destroyed, or that Plaintiff is prejudiced by any ofthis. She îurther fails to

describe the data on whicl-r she relies, she doesn't testify that experts such as she typically rely on

thcse data and she lefèrences no credentials or methodology to her "testing" or conclusions thus

both the data and her opinions are not reliable.

        G. Plaintiffls lawvers seek to pull themselves up bv their own boot strarrs to use a

     spoliation presumntion fo substitute for their failure to meet their evidentiarv burden

                                                under TPCA.

        As Defendants show above, the four Twitter posts have been public since 2012 through

2015. Plaintiff frled his suit April 16, 2018, after the posts were available to all the world for up

to six years. When Plaintiff filed this suit, he served only a request for disclosure and no request

for produclion. Defendants answered June 18. Plaintiff still served no request for production

and still did no discovery. Defendants filed their motion to dismiss under the TCPA on July 13.

The statute's automatic stay on discovery became effective that day.

        lJnder the 'fCPA, on July 13, the burden shifted to Plaintiff to establish "by clear and

specific evidence a prima facie case for each essential element of the claim in question" in order

to avoid dismissal. TEx. Ctv. Pn¡c. & REM. CoDE $27.005(c). PlaintitT still sought no leave          o1'


the Court to do any discovery for good cause or otherwise. Only now, nine days away from the

Court's hearing of Defendants' TCPA motion, does Plaintiff simultaneously ftle a motion for


DEpEr,,¡D,rNrs' llDspoNsE To PLAtNTTFF's        MorIoN     FoR SANCTIoNS AND
Mo'rroN FoR ExpEDrrED DrscovERy            -   Page 9   of 13
sanctions about some evidence his lawyers and those supporting his efforts have had access to

fol   years and othel evidence expressly delivered to his lawyers weeks ago, and seeks to do

discovery or make reasonâble           inquiry. This timing      suggests that   Plaintifls lawyers'   have

ulteriol motives here.

         The very purpose of the TCPA is that        it "protects cilizens who...      speak on matters of

public concern fiom retaliatory lawsuits thal seek to intimidate or silence them," and "professes

an ovcrarching purpose of 'safeguard[ing] the constilutional rights of persons to petition, speak

freely, associate frecly, and otherwise participate         in   government" against infringement by

nrcritless lawsuits. . .   ."   Cavin r'. Abbott,2017 Tex. App. I-EXIS 6511, *16 (Tex. App.-Austin,

July 14, 2017). The'I'CPA fuúher commands us that the statute is to be "construed liberally to

effectuate its purpose and intent fully" and that we pursue "any such goals chiefly by defining a

suspect class of legal proceedings that are deemed to implicate free expression, making these

proceedings subject 1o threshold testing ofpotential merit, and compelling rapid dismissal -- with

mandatory cosl-shilting and sanctions -- for any found wanting."              Id.   Plainliff seeks to do   an

end-around that legislative command and substitute an unfounded spoliation motion so that his

motion can supply what he lacks -- "clear and specific evidence a prima facie case for each

essential element   olthe claim in question"    as required by the statute.


          IV.   PLATNTTFF's     MorroN   FoR ExpEDrrED f)rscovERy ts       wlrHour cooD cAusË.

      Plainliff seeks expedited discovery based on his lawyers' motion for sanctions. As

Delendants have said, the very purpose ofthe TCPA is protecl citizens from retaliatory lawsuits

atrd the expense and delay of such suits, and subject those suit to threshold testing of potential

melit. and compelling rapid disrnissal -- with mandatory cost-shifting and sanctions             -   for any


DEFENDANTS' Rospoxsn            ro  PLAINTTF¡''s MortoN FoR SANCT|ONS AND
MorroN FoR ExpEDrrED             DrscovERy -- Page 10 of 13
found wanting. Cavin v. Abbott,2017 Tex. App. LEXIS 6511, *16 (Tex. App.-Austin, July 14,

2017). The'ICPA expressly stays all discovery before         a defendant's TCPA motion is heard to

avoicl the heavy burden of a defendanl,having to participate in pre-hearing discovery.

   Plaintifl' seeks Lo dodge that stay and impose that statutorily-barred burden. The statute

expressly declares Plaintiff can do discovery only      if Plaintiff   shows "good cause." Trx. Clv.

PttAC.   &   REM. CoDE $27.006(b). But, wisely, "[g]ood cause must be based on more than mere

oonjecture; it must have a firm foundation." Esparza v. State,3l S.W.3d 338, 340 (Tex.        App.-
San Antonio 2000, no     pet.). As Defendants show above, Plaintifls basis for his motion seeking

the statute discouraged pre-TCPA hearing discovery does not have a firm foundation, but is

unl'ounded, relying only on hearsay and factual conclusions, not evidence. Plaintiff s motion for

expedited discovery should be denied.

             V. SANcrroNS UNDER RULE 13 AND CHAPTER 10, TEx. Crv. PRAC. & REM. CoDE

   The rnaterial facts are: (1) the June 25 and July 20 videos have not been destroyed and were

previously provided     to Plaintiff s   lawyers, and (2) the four tweets Plaintiff alleges were

destroyed that referenced Sandy Flook have not been destroyed and copies of each tweet and

relevant evidence were made and have been preserved by Defendants.

         The facts establish that no relevant evidence has been destroyed and Plaintiff has not

been prejudiced in the ability to present his case.     Plaintifls counsels' unsuppofted   arguments,

misstatements and omission       of vital facts   shows that this motion and Plaintiffs motion lor

expedited discovery have no basis in law or fäct and were filed in bad Îäith and for an improper

purpose. One of those purposes, in addition to delaying the TCPA hearing and substituting a




DEFENDANTS' RpspoNsE        ro PLAINTTFF's MorIoN FoR SANcrroNs AND
MorroN FoR ExpDDrrED        DrscovERy -- Page 1l of 13
spoliation fìnding for otherwise absent evidence, is Plaintifls counsel's desire for media
                            r5
coverage and publicity.

           'Ihe evidence and the Court's file show Plaintiffs lawyers frled this motion and                      the

rnotjon f'or expedited discovery and in both made statements that they knew or should have

known were unfounded if they had made the reasonable inquiry as required of them under lìule

13 and should not have hled the motions for the improper putpose of delay. increasing costs and

expenses to Defendants, and seeking to avoid their failure to meet their burden under the TCPA.

Plaintiff relics heavily on the failure of Defendants' counsel to respond to his emails in the days

preccding these motions, despite being fully aware that Defendants' counsel was on vacation.l6

Defendants therefore seek sanctions against              Plaintills lawyers under Rule 13 and Section

10.004, TEX. Ctv. Pn,qc.     &   REM. CoDE, in a form and amount the Court may hnd just.

                                                VI, RELIET     REQUÐSTÐD


          Delendants request that upon hearing hereof, Plaintifls Motion for Sanctions be denied,

that Plaintifls Motion for Expedited Discovery be denied, the Court award                              Defendants

attorneys' fees against Plaintifls lawyers for Defendants responding to this motion, and general

relìef.




ìs
   Mr. Bankston's lett€r dated May 25, 2018 rnakes his desire to create a nedia lÌenzy around himself and this case
clear when he states that they "plan to make available to the general public and media copies of all correspondence
and pleadìng which arise in thjs lawsuit, including this letter." See attached Exhibit "A".
ì6
   Plaintifls counsel did not copy or othelwise send either ofthe emaìls on which he relies to Defendants counsel's
legal assistant.


DEFENDANTS' REspoNsE To PLA|NTTFF's                 MorIoN     FoR SANCTIoNS AND
MorroN       FoR ExpEDrrED       DrscovERy -- P age 12 of      13
                                      RESPECTFT]I,LY SUBMITTED,

                                      GI,AST, PHILLIPS & MURRAY, P.C.


                                     /s/ Mark Enoch

                                             Mark C. Enoch
                                             State Bar No. 06630360

                                      14801 Quorum Drive, Suite 500
                                      Dallas, Texas 7 5254-1449

                                      Telephone: 972-419 -8366
                                      Facsimile: 972-419-8329
                                      fly63rc@verizon.net

                                      ATTORNEY FOR DEFENDANTS



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day ofAugust,2018, the foregoing was sent via email

and via Texas Online electronic service to the following:

                                     Mark Bankston
                                     Kaster Lynch Fanar & Ball
                                     1010 Lamar, Suite 1600
                                     Houston, TX77002
                                      7t3-22t-8300
                                     rnark@fbtrial.com


                                                            /s/ Mark C. Enoch

                                                            Mark C. Enoch




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MorroN FoR ExpEDrrED l)rscovERy -- Page 13 of 13
                                                                                      o5 /25/2018        16'1()9       #979    P .OO2




 K¡.sre                 NCH    LL¡



TEXAS IFLoRIO/\
                                                                                                                May 25, 2018


   Viø   Fac mlle: 512472-5248
   Mr. Eric Taube
   Registered Ageut for Free Speech Systerns, LLC
   Walle¡ Lansden Ðortch & Davis, LLP
   100 Congress Ave., Ste. 1800
   Austin" Texas 78701

              Re:   Cause No. D-1-GN-18-001842, Leonørd Pozner and Veronique De La Rosavs. Alex. E,
                    Jones, et al.,Itlha 345th f)istrict Court ofTravis County, Texas.

   Doar Mr. Taube,

           I understand from discussions with my associate tr4r, Ogden that you contacted my office today
  asking that tny clieuts grant a favor to Mr. Jones and Infowars by allowing them an extension of time 1o
  fìle an answer to the Iawsuit brought by tìe Pozners. It is my undersl¿nding that Mr. Jones has requestcd
  we granf lìim tlris favor because he has not yet been able to seoure counsel fo defend him against these
  claims.

           Frankly, Mr, Jones' failure to secure legal rep¡esentation is none of our concem. We expect Mr.
  Jones and Infowars to file a timely answor regatdloss of when he is able to locâte an attorney witling to
  defend him. Additionally, in light of the years of tormert Mr. Jones has inflicted ôn my clients, and in
  Iight of his continuing slander ageinst my clients and our law firm, wo have absolutcly no inclination to do
  any favors for Mr. Jones. Indeed, during Mr. Jones' unhinged rant broadcâst yesterday on Infowars, Mr.
  Jones referred to the members of my law firm as "devil-people." His request for an extension is the¡efolo
  den iecl.


           Furthermore, Mr. Jones needs to understâDd that the only focus of our law firm is to safeguard the
  interests and well-being ofour clients. We will neve¡ take any aotion in this suit whioh provides \4r, Jones
  any benefit at their detTiment, As such, there wilt be no favors or extensions in this case. This case will
  proceed according to the Tgxes Rules of civil Procedure, and we expect Mr. Jones to comply with the
  commards of the law,

          Finally, I would like to uote that for the record that our Iåw firm ¡s oommitted to transparency
  through the pendency of these lawsùils. For that reasorì, we plan to mako available to the generai public
  and media copies ofall correspondence and pleadings which a¡ise in this lawsuit, including this letter.



                                                                 Sincerely,




                                                                        D.
                                                                 Kaster L¡,.nch Farrar       & Ball
               lQl0Lam€Ì5i. I Surleló00 |   Hoùstôh, Terós 7ZOO2 lp?t3.ZZt,83OO   I   OOO.3t1.j?47 lt?13.221.S30t



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                                                  A,
Alex Jones of lnfowars Destroyed Evidence Related to Sandy      FIook,..   https://www.n),times.com/20 I 8/08/ I 7/us/politics/alex-iones-evidenc...




                                                     @bcNetu Sorts@inres

          AIex Jones of Infowqrs Destroyed Euidence
           Reløted to Søndy Hooh,Suiús, Motion Says
          By El¡zabeth Williâmson


          ALrg.   17,2018


          WASHINGTON                Lawyers for the families of two Sandy Hook shooting victims are accusing the conspiracy
                               -
          theorist Alex Jones and his Infowars media business of intentionally destroying evidence relevant to the
          defamation cases against him, according to a motion filed on Friday in a Texas court.

          Mr. Jones is being sued by the families of nine Sandy Hook victims for spreading false claims that the 2012
          shooting at the elementary school in Newtown, Conn., that killed 20 first graders and six adults was a
          government-backed hoax, and that the families of the dead were actors.

          Mr. Jones said on his broadcast last week that he had told his staff to delete material after CNN cited Infowars
          content that violated Twitter's policies, according to the motion filed on Friday.

          [Read a copy oÍ the motion.]

          Mr. Jones has been protesting an unprecedented effort this month by Apple, Facebook, YouTUbe and other
          services to remove Infowars content from their platforms for violating policies on hate speech, child
          endangerment and inciting violence.

          At least some of the deleted content was considered evidence in the Sandy Hook cases, and Mr. Jones lìad been
          informed in writing in April that he was obligated by law to preserve all relevant material, according to the
          court filing in District Court in Travis County in Austin.

          'As pressure mounted from pending defamation lawsuits and growing public indignation, Mr. Jones chose to
          destroy evidence of his actual malice and defamatory conduct," the motion filed on Friday said. "Infowars
          deleted critical evidence at the precise moment plaintiff and his experts were attempting to marshal that
          evidence,"




                                                        You have 4 free articles rema¡ning.
                                                             subscr¡be to The Times




          The suit said that it was not known how much content had been deleted, but that it included written social
          media materials and videos. The motion was filed on behalf of Neil Heslin, father of Jesse Lewis, a 6-year-old
          killed at Sandy Hook, by Mark Bankston, Kyle Farrar and William Ogden of Farrar & Ball in Houston.

                                                                     EXHIBIT

lof   3
                                                                        B                                                       8/23/2018 3:56 PM
Alex Jones of InfowaÌs l)estroyed Evidence Related to Sandy    Ìlook... bltps:/^{w$nvtimes.com20l8/08/l7/us/Doliti                   denc.



             Over the five years since the shooting, families of the Sandy Hook victims have been stalked, threatened and
             subjected to online âbuse by Mr. Jones's follo\üers, after he spread false claims about the mass shooting, calltng
             it "synthetic, completely fake with actors, in my view, manufactured," according to court documents.

             Friday's allegations come amid difficult times for Mr. Jones and Infor¡/ars, which has become symbolic of a
             national conversation about online standards in a so-called post-truth era, in which false information spreads
             online to millions in minutes.

             Mr. Jones peddles diet supplements, survivalist gear and gun-related paraphernalia on radio broadcasts and
             videos that spread outlandish claims like the government is trying to infringe on Americans' rights, destroy
             their health or control their mínds.

             On Tuesday, Tlvitter suspended Mr. Jones for a week after he posted a link to a video calling for suppolters to
             get their '(battle rifles" ready for a fight against the press and others, violating the company's rules against
             inciting violence.

             Also this week, the Federal Communications Commission shut down a pirate radio station that served as
             Infowars' flagship outlet, and which has operated without    a   federal license since at least 2013, The Austin
             American-Statesman reported.

             !-riday's motion is the latest legal salvo in three separate defamation lawsuits filed by Sandy Hook familes,
             which seek tens of millions of dollars in damages and pose an existential threat to Mr. Jones's business. Should
             the court find that Mr. Jones and Infowars willfully destroyed evidence, he, and possibly his lawyer, could be
             assessed thousands of dollars in fines and be subject to punitive action. Most important, the material that was
             destroyed could be presumed by the court as supporting Mr. Heslin's claims against Mr. Jones, bolstering his
             case.

             Besides the t'Jr'o cases in'lþxas, the families of seven more Sandy Hook victims and an emergency medical
             worker subjected to harassment filed a separate defamation suit against Mr. Jones and his associates in May in
             Connecticut. The families in the larger case are represented by Koskoff, Koskoff & Bieder, a Bridgeport, Conn.,
             firm that also represents Sandy Hook families in a lawsuit against Remington, the maker of the AR-l5-style
             weapon used in the shooting.

             The first court appearance in the Sandy Hook lawsuits was in Texas this month, when the court heard
             arguments in Mr. Jones's motion to dismiss the defamation case brought by Leonard Pozner and Veronique De
             La Rosa, the parents of Noah Pozner, a 6-year-old killed at Sandy Hook. A decision is expected early next
             month. A hearing is scheduled for Aug. 30 in Mr. Jones's motion to dismiss the second Texas case, brought by
             Mr. Heslin.

             A ruling on Friday's motion alleging destruction of evidence is expected before the Aug. 30 hearing.

             In a recent interview Mr. Jones said he had previously considered removing Sandy Hook-related material from
             Infowars' archives. Turning to Rob Dew, another Infowars personality, Mr. Jones asked him, "How many years
             ago did I say, 'Take all the Sandy Hook videos down because I was tired of them"'  meaning his critics
                                                                                                     -                      -
             "'editing tlìem out of context'?"



I   of   l                                                                                                                8/2312018 3:56 PM
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            "We had a big serious meeting about that, actually," Mr. Dew replied. "But then I think in the end we made the
            decision to leave the stuff up there, because then we could go back and use it as our defense later and say,
            'Look, this is what we really said."'

            A   veß¡on or thrs art¡cle appears ln prinl on Aug. 17, 2018, on Page 416 of the New Yoú edltloñ w¡th the head ine: Conspiracy Theor¡sl Fa.es Clãim of Derroyrns Evjdence




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NEIL HESLIN                        §                 IN DISTRICT COURT OF
  Plaintiff                        §
                                   §
VS.                                §                TRAVIS COUNTY, TEXAS
                                   §
ALEX E. JONES, INFOWARS, LLC,      §
FREE SPEECH SYSTEMS, LLC, and      §                   53rd DISTRICT COURT
OWEN SHROYER,                      §
  Defendants                       §


        PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO DISMISS
             UNDER THE TEXAS CITIZENS PARTICIPATION ACT
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                                      INTRODUCTION

        It was only a couple of hours after Neil Heslin dropped off his son at Sandy Hook

Elementary when he got an automated call telling him the school was on lockdown. A short

time later, another call instructed parents to return to the school. Mr. Heslin was not overly

alarmed. There was no indication a mass shooting had occurred, and nobody would ever

have imagined in December 2012 that someone would brutally attack a group of first-

graders.

        When he arrived to pick up his son, the scene was crowded with confused parents

and conflicting information, but Mr. Heslin eventually learned that his son lay inside one of

the twenty small body-bags in a makeshift mortuary erected in the parking lot of the school.

In the course of learning about the dreadful events of that morning, Mr. Heslin was told of

his son’s last actions. While the story relayed by law enforcement was surreal and heart-

wrenching, for Mr. Heslin it was not surprising, knowing his son as he did. As disturbed

gunman Adam Lanza entered the classroom and murdered his teacher, Mr. Heslin’s son leapt

from under his desk and sprinted at Lanza, yelling at his classmates to run. During the

commotion caused by this courageous six-year-old, nine children escaped from the

classroom unharmed.

        In all the painful memories of those events, Mr. Heslin found refuge in the last

moments he spent with his son. Mr. Heslin was able to hold his son’s body in his arms, run

his fingers through his shaggy mop of hair, and give him a final kiss on the cheek before laying

his little hero to rest.

        InfoWars, in its malicious campaign of incomprehensible lies about Sandy Hook,

sullied and tarnished that pure memory, cast Mr. Heslin as a liar, and ultimately placed him


                                               1
and his family in danger. As far back as 2013, Mr. Heslin had been distressed over InfoWars

and its maniacal fabrications about Sandy Hook, but he was determined not to dignify the

allegations by acknowledging their existence.1 Five years ago, InfoWars was still a fringe

operation with little recognition outside conspiracy circles. But over the years, as InfoWars

continued its sensationalist lies, its audience and influence steadily grew.

        As Jones’ inflammatory statements reached a wider audience, it was accompanied by

a growing tide of public indignation. In June 2017, Megyn Kelly produced a feature story on

the fallout from InfoWars’ various accusations. Ms. Kelly convinced Mr. Heslin to appear for

an interview to discuss the pain caused by InfoWars’ lies about Sandy Hook.2 Mr. Heslin

briefly appeared in Ms. Kelly’s segment, and he stated that “I lost my son. I buried my son. I

held my son with a bullet hole through his head.”3

        One week later, InfoWars retaliated with a cruel and false accusation against Mr.

Heslin, delivered by InfoWars host Owen Shroyer. The premise of Mr. Shroyer’s video was

that Mr. Heslin was lying about having held his son’s body and having seen his injury. Mr.

Shroyer began the video by citing a blog post he found on an anonymous website called “Zero

Hedge.” Mr. Shroyer used the article as a launching point to make defamatory accusations

against Mr. Heslin. He accomplished his defamation by using deceptively edited footage

which he misrepresented as evidence of Mr. Heslin’s guilt.

        During the video, Mr. Shroyer showed a portion of an interview with medical

examiner Dr. Wayne Carver as he described the identification of the victims. Mr. Shroyer

misrepresented this portion of Dr. Carver’s interview, along with a deceptively edited clip of


1 Exhibit C, Affidavit of Neil Heslin.
2 Id, para. 10.
3 Exhibit B, Affidavit of Brooke Binkowski, para. 25.


                                                        2
Sandy Hook parent Lynn McDonnel, to falsely claim that the victims’ parents were not

allowed access to their children’s bodies before burial. With an air of arrogant mockery, Mr.

Shroyer claimed that Mr. Heslin’s statements were “not possible.” When Plaintiff learned

about the video, he brought this lawsuit.

           Given this background, Plaintiff was dismayed when he learned InfoWars had pled

the defense of “substantial truth,” and he was shocked when he read the following sentence

written by InfoWars counsel:

                   Plaintiff cannot avoid the clear fact that there was in fact a
                   contradiction arising from the medical examiners statements
                   when he claimed the bodies were not released to the parents.4

           This statement is an outrageous falsehood. There is no contradiction, and the medical

examiner did not claim the bodies were not released to the parents, a fact which is obvious

from his repeated statements in the same interview when he confirms multiple times that the

bodies were released to the parents. In one example, shortly following the portion edited by

Mr. Shroyer, a reporter asked Dr. Carver if “all the children’s bodies have been returned to

the parents or mortuaries,” and Dr. Carver confirmed that “as of 1:30, the paperwork has

been done.”5 In the portion purposefully used out-of-context by InfoWars, Dr. Carver was

only discussing the initial identification process.

           Nonetheless, despite Dr. Carver’s clear statements, and despite copious media

coverage of open-casket funerals, InfoWars has fabricated an absurd claim in its Sandy Hook

hoax mythology in which the parents were prohibited by authorities from seeing their

children’s bodies before burial. Mr. Jones has told his viewers that “the coroner said none of



4   See Defendants’ Motion to Dismiss, p. 78.
5   Exhibit B, Affidavit of Brooke Binkowski, para. 59.

                                                          3
the parents were allowed to touch the kids” and that “the stuff I found was they never let

them see their bodies.”6 Now, InfoWars’ counsel has advanced this disgraceful falsehood in

an official pleading. It is reckless and dangerous to claim that Dr. Carver said, “the bodies

were not released to the parents.”7 He said no such thing, and distorting his words only feeds

the fanaticism of Jones’ followers. That was exactly Mr. Shroyer’s purpose in the defamatory

video, but it is unsettling to see this strategy spill over into litigation.

         In this Response, the Court will see how InfoWars dishonestly manipulated and

misrepresented video footage in a “calculated and unconscionably cruel hit-job intended to

smear and injure a parent who had the courage to speak up about InfoWars’ falsehoods.”8

These facts establish a clear prima facie case for defamation, and none of InfoWars’ frivolous

defenses apply. For these reasons, Plaintiff asks the Court to deny InfoWars’ motion and

award costs in his favor.

                                             FACTUAL BACKGROUND

         In his affidavit, former editor of the Austin American-Statesman and University of

Texas professor Fred Zipp described the origin of the June 26, 2017 InfoWars video:

                  After Mr. Heslin condemned InfoWars’ false statements about
                  Sandy Hook during an interview with Megyn Kelly on NBC TV,
                  InfoWars produced a video in which it claimed that Mr. Heslin’s
                  statements about his last moments with his child were a lie.
                  InfoWars host Owen Shroyer began the video by citing an article
                  from an anonymous blog called “Zero Hedge.” The video shows
                  that the anonymous blog post had been “shared” only three
                  times before it was featured on InfoWars’ video. InfoWars took
                  this obscure blog post that almost nobody in the world had seen
                  and used it to smear Mr. Heslin.9



6 See Defendants’ Exhibit B-35.
7 See InfoWars Motion to Dismiss, p. 78
8 Exhibit A, Affidavit of Fred Zipp, p. 4.
9 Id., p. 3.


                                                     4
        In his interview, Mr. Heslin told Ms. Kelly that he buried his son, held his body, and

saw his fatal injury. With regards to Mr. Heslin’s interview, Mr. Shroyer stated the following

in the June 26, 2017 video:

                The statement he made, fact checkers on this have said cannot
                be accurate. He’s claiming that he held his son and saw the bullet
                hole in his head. That is his claim. Now, according to a timeline
                of events and a coroner’s testimony, that is not possible.

                And so one must look at Megyn Kelly and say, Megyn, I think it's
                time for you to explain this contradiction in the narrative
                because this is only going to fuel the conspiracy theory that
                you're trying to put out, in fact.

                So -- and here's the thing too, you would remember -- let me see
                how long these clips are. You would remember if you held your
                dead kid in your hands with a bullet hole. That’s not something
                that you would just misspeak on. So let's roll the clip first, Neil
                Heslin telling Megyn Kelly of his experience with his kid.10

        Mr. Shroyer then played a clip from the Mr. Heslin’s interview in which he stated, “I

lost my son. I buried my son. I held my son with a bullet hole through his head.” 11 After

playing the clip, Mr. Shroyer stated:

                So making a pretty extreme claim that would be a very thing,
                vivid in your memory, holding his dead child. Now, here is an
                account from the coroner that does not corroborate with that
                narrative.12

        Mr. Shroyer then played a short clip from a news conference with Dr. Wayne Carver,

the medical examiner at Sandy Hook. In the clip, Dr. Carver stated that “we did not bring the

bodies and the families into contact. We took pictures of them.” Dr. Carver stated in the clip

that “we felt it would be best to do it this way.” Mr. Shroyer also showed a dishonestly edited



10 Exhibit A-1, 2017-06-26 - Zero Hedge Discovers Anomaly In Alex Jones Hit Piece (Full Segment)
11 Exhibit A, Affidavit of Fred Zipp, p. 3.
12 Id.


                                                     5
clip of an interview with Chris and Lynn McConnel in which Anderson Cooper states, “It’s got

to be hard not to have been able to actually see her.” As will be shown below, these video

clips were edited and intentionally presented in a deceptive fashion.

        At the end of the video, Mr. Shroyer stated, “Will there be a clarification from Heslin

or Megyn Kelly? I wouldn’t hold your breath. [Laugh]. So now they’re fueling the conspiracy

theory claims. Unbelievable.”13 On July 20, 2017, during an episode of The Alex Jones Show,

Mr. Jones republished Mr. Shroyer’s story in full (“And so I'm going to air this again, and I'm

going to challenge that it doesn't violate, uh, the rules.”).14 Free Speech Systems, LLC employs

Mr. Shroyer as a reporter.15 InfoWars, LLC operates the InfoWars.com website, where the

challenged statements were also published.16 InfoWars, LLC is also involved in the sale of

dietary supplements sold during InfoWars programming and through the InfoWars.com

website.17

                                            LEGAL STANDARD

        To survive a motion to dismiss under the TCPA, a defamation plaintiff must show

prima facie evidence of the following:

                 (1)     a publication of a false statement of fact to a third party
                         that was defamatory concerning the plaintiff,

                 (2)     with the requisite degree of fault, and

                 (3)     damages.



13 Id.
14 See Defendants’ Exhibit B-35.
15 See Defendants’ Motion to Dismiss, p. 17.
16 Exhibit G, Affidavit of Marcus Turnini.
17 Exhibit I, Notice of Violation issued against InfoWars, LLC by the State of California, Center for

Environmental Health, regarding “lead in InfoWars Life dietary supplements,” publicly available at:
https://oag.ca.gov/system/files/prop65/notices/2017-02319.pdf


                                                       6
Exxon Mobil Corp. v. Rincones, 520 S.W.3d 572, 579 (Tex. 2017). Prima facie refers to the

“minimum quantum of evidence necessary to support a rational inference that the allegation

of fact is true.” In re Lipsky, 460 S.W.3d 579, 590 (Tex. 2015). The statute does not define

‘clear and specific evidence,’ but in Lipsky, the Supreme Court interpreted the phrase to mean

more than “mere notice pleading.” Id. “Though the TCPA initially demands more information

about the underlying claim, the Act does not impose an elevated evidentiary standard or

categorically reject circumstantial evidence.” Id. at 591. As such, the Supreme Court

“disapprove[d] those cases that interpret the TCPA to require direct evidence of each

essential element of the underlying claim to avoid dismissal.” Id. Instead, “pleadings and

evidence that establishes the facts of when, where, and what was said, the defamatory nature

of the statements, and how they damaged the plaintiff should be sufficient to resist a TCPA

motion to dismiss.” Id. Plaintiff far exceeds this burden, as he can produce direct prima facie

evidence on each element of his claim.

                                                      ARGUMENT

I.         The InfoWars Video Created a False Impression.

           In the June 26, 2017 InfoWars video, Mr. Shroyer asserts that Mr. Heslin’s statement

-- “I lost my son. I buried my son. I held my son with a bullet hole through his head.” -- was

not possible. Yet as Mr. Heslin stated in his affidavit, “the June 26, 2017 video is false. I buried

my son. I held his body. I saw a bullet hole through his head.”18

           Plaintiff has submitted the affidavit Dr. Wayne Carver, the Connecticut chief medical

examiner featured in the InfoWars video who “oversaw the process by which medical




18   Exhibit C, Affidavit of Neil Heslin, para. 21.

                                                         7
examinations were performed on victims of the Sandy Hook massacre.”19 Dr. Carver stated

that “upon completion of the medical examinations, the victim's bodies were released to the

custody of funeral homes who had been engaged by the families,” and that postmortem

examination procedures “are designed so as not to interfere with usual American funereal

practices.”20 As such, “medical examiners made no efforts to conceal injuries.”21 Dr. Carver

stated that based on his personal knowledge, he knows “Mr. Heslin would have had an

opportunity to hold his son's body and see his injuries if he chose to do so.”22

        In addition to the affidavits of Mr. Heslin, Dr. Carver, and Mr. Zipp, the validity of Mr.

Shroyer’s accusation is also addressed in the affidavit of Brooke Binkowski. As this Court is

aware from the Pozner matter, Ms. Binkowski is a Fellow in Global Journalism at the Munk

School of Global Affairs with over twenty years of experience as a multimedia journalist and

professional researcher. As part of her work, she has “routinely investigated claims made in

media and on the internet to assess their validity,” winning acclaim and awards from her

colleagues for her anti-disinformation work.23 In her affidavit, Ms. Binkowski explains that

the statements in the video created a false impression:

                 Mr. Shroyer’s statement was false. Mr. Heslin stated to Megyn
                 Kelly that “I lost my son. I buried my son. I held my son with a
                 bullet hole through his head.” The evidence shows that Mr.
                 Heslin lost his son, and that he buried his son, and that it was
                 indeed possible for Mr. Heslin to hold his child and see the bullet
                 wound.

                 I have reviewed the affidavit of Dr. Wayne Carver, the
                 Connecticut Medical Examiner cited in Mr. Shroyer’s video…



19 Exhibit D, Affidavit of Dr. Wayne Carver, para. 2-3.
20 Id. para. 8-9.
21 Id. para. 10.
22 Id. para. 18.
23 Exhibit B, Affidavit of Brooke Binkowski, para. 9.


                                                          8
                In addition, the funeral services in which the bodies were in the
                possession of the parents were widely reported in the press.
                Several of these services had open caskets.

                It was widely reported in the media that Connecticut Governor
                Dannel Malloy personally observed the body of a Sandy Hook
                victim during one of the services.

                There is no reasonable basis to conclude that Mr. Heslin would
                have been unable to hold his son and see his wound merely
                because the initial identification was performed by photograph,
                and there is no doubt that he did in fact bury his son.24

        As noted above, InfoWars’ Motion disingenuously argues that “Plaintiff cannot avoid

the clear fact that there was in fact a contradiction arising from the medical examiners

statements when he claimed the bodies were not released to the parents.”25 InfoWars’

Motion emphasizes this falsehood, stating that “regardless of what others reported, the

medical examiner stated that the bodies were not released.”26 This is the same blatant

fabrication advanced by Mr. Shroyer. In the portion of the interview shown in the InfoWars

video, Dr. Carver discusses the process for initial identification of the victims, which was

performed by photograph. Regarding this process, Dr. Carver stated, that “we did not bring

the bodies and the families into contact. We took pictures of them.” A few questions later, a

reporter asks Dr. Carver if “all the children’s bodies have been returned to the parents or

mortuaries.” Dr. Carver responds, “I don’t know. The mortuaries have all been called.” The

reporter asks, “But they’re ready to be released at this time?” Dr. Carver responds, “As of

1:30, the paperwork has been done. The usual drill is that the funeral homes call us, and as

soon as the paperwork is done, we call them back. That process was completed for the



24 Id., para. 25-30.
25 InfoWars Motion to Dismiss, p. 78
26 Id.


                                               9
children at 1:30 today.”27 In response to another question, Dr. Carver stated that his “goal

was to get the kids out and available to the funeral directors first, just for, well, obvious

reasons.”28

        In addition to misrepresenting Dr. Carver’s statements, InfoWars also created a false

impression by editing and misrepresenting a CNN interview with Sandy Hook parents Chris

and Lynn McDonnel. In the clip used by InfoWars, Mrs. McDonnel was asked: “It’s got to be

hard not to have been able to actually see her.” Mrs. McDonnel began her answer by stating,

“And I had questioned maybe wanting to see her.” InfoWars used this clip to show that Sandy

Hook parents were not allowed to see their children’s bodies. However, Ms. Binkowski

pointed out in her affidavit that the InfoWars clip “cut off the end of Mrs. McDonnel’s

answer.”29 Her full answer stated:

                 And I had questioned maybe wanting to see her, but then I
                 thought, she was just so, so beautiful, and she wouldn't want us
                 to remember her looking any different than her perfect hair bow
                 on the side of her beautiful long blond hair.30

        A couple questions earlier, Mrs. McDonnel stated that they “went to funeral home”

where they were “able to be with her.”31 Mrs. McDonnel later said that “when we left the

room, it was certainly so hard to leave her because that would be the last time that we would

be able to be with her.”32 In other words, it would have been clear to anyone who watched

the interview that the McDonnels had the opportunity to see their child’s body. As Mr. Zipp

stated in his affidavit, “Mr. Shroyer was only able to support his bogus accusations by using



27 Exhibit B, Affidavit of Brooke Binkowski, para. 59; see also Exhibit B-1, Dr. Carver Video Interview.
28 Id., para. 58.
29 Exhibit B, Affidavit of Brooke Binkowski, para. 61.
30 Id.
31 Exhibit B-2, McDonnel Interview Transcript.
32 Id.


                                                       10
deceptively edited footage.”33 In doing so, InfoWars manufactured “false statements about

[Plaintiff’s] honesty or integrity.”34

II.      The InfoWars’ Video was Susceptible to a Defamatory Meaning.

         InfoWars next argues that the statements could not be interpreted as defamatory. The

determination to be made under the TCPA is whether “the statements were reasonably

susceptible of a defamatory meaning.” Musser v. Smith Protective Services, Inc., 723 S.W.2d

653, 654 (Tex. 1987). In other words, the court must determine if the video “is capable of

bearing the meaning ascribed to it by [Plaintiff] and whether that meaning is capable of a

defamatory meaning.” Skipper v. Meek, 03-05-00566-CV, 2006 WL 2032527, at *5 (Tex.

App.—Austin July 21, 2006, no pet.) Here, the only meaning of the statements is defamatory.

Regarding the meaning of the video, Mr. Zipp outlined the reasons Mr. Shroyer’s statements

would be interpreted as defamatory:

                  It is my opinion that the Shroyer video defamed Neil Heslin by
                  impugning his reputation with false statements about his
                  honesty or integrity. Mr. Shroyer arranged edited footage in a
                  misleading and dishonest way to attack Mr. Heslin. At best, the
                  InfoWars video is a mishmash of out-of-context statements that
                  creates a dishonest portrait of Mr. Heslin, his statements and the
                  events of Sandy Hook. At worst, it was a calculated and
                  unconscionably cruel hit-job intended to smear and injure a
                  parent who had the courage to speak up about InfoWars’
                  falsehoods. In either case, InfoWars recklessly disregarded
                  journalistic standards in approaching this story because
                  disregarding those standards was necessary to carry out its
                  distortion of events.35




33 Exhibit A, Affidavit of Fred Zipp, p. 16.
34 Id., p. 4.
35 Id., p. 4.


                                                 11
        Moreover, Mr. Zipp points out that “Mr. Shroyer also made it clear that he was not

accusing Mr. Heslin of an innocent mistake.”36 Mr. Zipp emphasized Mr. Shroyer’s comment

that the event is “not something that you would just misspeak on” because “you would

remember if you held your dead kid in your hands with a bullet hole.”37 Under Texas law, a

statement can be defamatory if it contains “the element of disgrace or wrongdoing.” Means

v. ABCABCO, Inc., 315 S.W.3d 209, 215 (Tex. App.—Austin 2010, no pet.). Here, an element of

disgrace or wrongdoing is “a reasonable construction of the [video’s] gist.” D Magazine

Partners, L.P. v. Rosenthal, 529 S.W.3d 429, 441 (Tex. 2017), reh'g denied (Sept. 29, 2017).

Indeed, it is the only possible gist.

        Plaintiff has also submitted the affidavits of Dr. Wayne Carver and Scarlet Lewis. Both

are personally acquainted with Neil Heslin. Dr. Carver understood that “the InfoWars host

was asserting that it was impossible for Mr. Heslin to have held his son and seen his

injuries.”38 He also “understood the comments by InfoWars to be an attack on Mr. Heslin’s

honesty and integrity,” and that the video “was intended to reinforce the validity of Mr. Jones’

prior statements about Sandy Hook, and act as further evidence that the event was staged.”39

As such, Dr. Carver “also understood the InfoWars’ comments to implicate Mr. Heslin in

criminal conduct, such as making false statements to government officials or engaging in

other forms of criminal misrepresentation.”40 Similarly, Scarlet Lewis testified that she

understood the video to be asserting that Plaintiff “was lying about having held the body of

his son, and that Mr. Heslin was engaging in a fraud or cover-up of the truth regarding the



36 Id., p. 5.
37 Id.
38 Exhibit D, Affidavit of Dr. Wayne Carver, para. 17.
39 Id., para. 16; 19.
40 Id., para. 20.


                                                         12
Sandy Hook massacre.”41 Ms. Lewis also testified that she “understood Mr. Shroyer to be

making the claim that Mr. Heslin was working in collusion with the media, specifically Megyn

Kelly, to perpetrate a fraud on the public.”42 Based on the context of the statements, Ms. Lewis

also understood the video “to implicate Mr. Heslin in criminal conduct.”43

         In addition, Mr. Zipp explained that “[t]he InfoWars video was not only false and

disparaging, but also influential; after it appeared, a group of irrational and dangerous

conspiracy fanatics turned their attention to Mr. Heslin.”44 Mr. Zipp’s affidavit provides

several examples of conspiracy fanatics fixating on Mr. Heslin in the weeks and months after

the InfoWars video. One website “alleged that Mr. Heslin’s name was actually an anagram

hiding his secret purpose with the Illuminati,” while another claimed that he was a “crisis

actor” who also played the “role” of a fireman killed in the 9/11 terror attack. As Mr. Zipp

explained, “[o]nce a person’s name enters conspiracy culture, there is no limit for how

bizarre the accusations can become.”45 Mr. Zipp concluded that “[t]he InfoWars video

exposes Mr. Heslin to ridicule and contempt, and it is reasonable to believe that it could

encourage bad actors who could become a threat to his safety.”46

III.     The InfoWars Video Presented Assertions of Fact.

         A statement is considered a fact if it is verifiable, and, if in context, it was intended as

an assertion a fact. “A statement that fails either test—verifiability or context—is called an

opinion.” Dallas Morning News, Inc. v. Tatum, 16-0098, 2018 WL 2182625, at *16 (Tex. May

11, 2018). Here, both Mr. Zipp and Ms. Binkowski concluded that Mr. Shroyer was making an


41 Exhibit E, Affidavit of Scarlet Lewis, para. 7.
42 Id., para. 9.
43 Id., para. 10.
44 Exhibit A, Affidavit of Fred Zipp, p. 7.
45 Id., p. 6.
46 Id., p. 7.


                                                     13
assertion of fact. As Ms. Binkowski noted, Mr. Shroyer “asserted that Mr. Heslin’s statement

is not possible, and he cited evidence. He was unequivocal in his statements.”47 Mr. Zipp

observed that:

                 Mr. Shroyer did not equivocate in his statements about Mr.
                 Heslin. Mr. Shroyer claimed Mr. Heslin’s statement about
                 holding his son was “not possible.” He also referenced the
                 involvement of unspecified “fact-checkers,” which obviously
                 signals an assertion of fact, not an opinion.48

        Mr. Shroyer’s language leaves no room for anything but a factual accusation. Mr.

Shroyer indicated his accusation was based on his review of evidence, not his personal

opinion (“According to a timeline of events and a coroner’s testimony...”).49 He did not use

any terms to qualify his statements. Yet even hedge words would not shield Mr. Shroyer’s

accusation. “As Judge Friendly aptly stated: ‘[It] would be destructive of the law of libel if a

writer could escape liability for accusations of [defamatory conduct] simply by using,

explicitly or implicitly, the words ‘I think.’” Bentley v. Bunton, 94 S.W.3d 561, 583–84 (Tex.

2002). After all, “an opinion, like any other statement, can be actionable in defamation if it

expressly or impliedly asserts facts that can be objectively verified.” Campbell v. Clark, 471

S.W.3d 615, 625 (Tex. App.—Dallas 2015, no pet.). Moreover, “[e]ven if the speaker states

the facts upon which he bases his opinion, if those facts are either incorrect or incomplete,

or if his assessment of them is erroneous, the statement may still imply a false assertion of

fact.” Campbell, 471 S.W.3d at 627–28.

        Here, the tone of the video was presented as an informational news broadcast, not as

political and personal commentary. The style of the video is consistent with its explicit text


47 Exhibit B, Affidavit of Brooke Binkowski, para. 24.
48 Exhibit A, Affidavit of Fred Zipp, p. 15.
49 See Exhibit B-1.


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claiming Mr. Heslin’s statements are “impossible” due to evidence discovered by “fact-

checkers.” The video can only be interpreted as a statement of fact, not opinion.

IV.        The InfoWars Video Concerned Mr. Heslin.

           InfoWars makes the frivolous argument that the video was not “of or concerning” Mr.

Heslin, based primarily on its assertion that it did not intend to refer to Mr. Heslin in the

video. Yet under Texas law, “[i]t is not necessary for the plaintiff to prove that the defendant

intended to refer to the plaintiff.” Allied Mktg. Group, Inc. v. Paramount Pictures Corp., 111

S.W.3d 168, 173 (Tex. App.—Eastland 2003, pet. denied). The argument is frivolous because

regardless of InfoWars’ intention, the video directly implicates Mr. Heslin, who is named,

shown, and directly criticized.

           Next, InfoWars argues that it is immune from suit because the video also refers to

Megyn Kelly. According to InfoWars, a defendant can escape liability so long as it defames

more than one individual in a single publication. InfoWars argues that Plaintiff’s case should

be dismissed because Mr. Shroyer also “referenced the lack of journalistic credibility from

Kelly and NBC.”50 InfoWars tells this Court that Plaintiff has no claim because “the alleged

defamatory statements were not just about him.”51 Obviously, this is not the law.

           In Texas, “a publication is ‘of and concerning’ the plaintiff if persons who knew and

were acquainted with the plaintiff understood from viewing the publication that the

allegedly defamatory matter referred to the plaintiff.” Id. A plaintiff is implicated “if those

who knew and were acquainted with her understood from reading that it referred to her.”

Backes v. Misko, 486 S.W.3d 7, 24-25 (Tex. App.—Dallas 2015, pet. denied). It is enough that



50   See Defendants’ Motion to Dismiss, p. 54.
51   Id. at p. 55.

                                                 15
the evidence supports a “reasonable inference that some people” who saw the statements

believed they concerned the plaintiff. Tatum, 2015 Tex. App. LEXIS 13067, at *16 (rev’d on

other grounds). “The plaintiff may satisfy his burden on the ‘of and concerning’ element by

offering proof that persons acquainted with the plaintiff would understand the publication

to refer to him.” Cox Texas Newspapers, L.P. v. Penick, 219 S.W.3d 425, 433 (Tex. App.—Austin

2007, pet. denied). Thus, in Backes, Tatum, and Penick, affidavits showing that people

understood the defamatory remarks to concern individuals in the statements were sufficient

to carry the plaintiffs’ burden under the TCPA.

       As shown above, such evidence is found in the affidavits of Dr. Wayne Carver and

Scarlett Lewis. Both witnesses are familiar with Neil Heslin, and they both viewed the

challenged video. They both testified they understood the video implicated Neil Heslin. As

such, there is prima facie evidence that the broadcast is reasonably susceptible of a meaning

that is “of and concerning” the Plaintiffs. The broadcast directly concerns Mr. Heslin, and the

affidavits are evidence that a viewer acquainted with him could “understand the individual

publication at issue to implicate [Mr. Heslin].” Penick, 219 S.W.3d at 437.

VI.    InfoWars Cannot Hide Behind Zero Hedge.

       InfoWars argues that its defamatory video is protected because it was merely

reporting the allegations made by a third party. However, InfoWars is not entitled to the

benefit of the new third-party allegation statute, and its video was clearly defamatory under

the existing common law rules, which the statute only modified for certain defendants. Even

if the statute did apply, InfoWars’ conduct would nonetheless prevent its application.




                                              16
       A.     InfoWars is not entitled to claim protection under Tex. Civ. Prac. & Rem.
              Code § 73.005.

       InfoWars claims that it is entitled to protections of the new third-party allegation

statute, which reads: “In an action brought against a newspaper or other periodical or

broadcaster, the defense [of substantial truth] applies to an accurate reporting of allegations

made by a third party regarding a matter of public concern.” Tex. Civ. Prac. & Rem. Code §

73.005. This statute was created as an exception for certain defendants to the Supreme

Court’s decision in Neely, which held that “there is no rule in Texas shielding media

defendants from liability simply because they accurately report defamatory statements

made by a third party.” Neely v. Wilson, 418 S.W.3d 52, 59 (Tex. 2013). Therefore, the Neely

court ruled that Texas common law does not support “a substantial truth defense for

accurately reporting third-party allegations.” Id. at 64.

       Upon lobbying by the Texas Association of Broadcasters in 2015, the legislature

passed a statutory exception to Neely limited to newspapers, periodicals, and broadcasters.

The problem with InfoWars’ use of this defense is that InfoWars is not a newspaper,

periodical, or broadcaster. First, InfoWars is obviously not a newspaper. Under Texas law,

“‘newspaper’ means a publication that is printed on newsprint.” Reuters Am., Inc. v. Sharp,

889 S.W.2d 646, 650 (Tex. App.—Austin 1994, writ denied), citing Tax Code § 151.319(f).

       Likewise, InfoWars is not a periodical. The term “periodical” is well defined in the law,

and “comprises magazines, trade publications, and scientific and academic journals with

weekly, monthly, or quarterly circulation and does not necessarily include other publications

with such circulation even where the publications are published at regular intervals.” See 58

Am. Jur. 2d Newspapers, etc. § 4, citing Goguen ex rel. Estate of Goguen v. Textron, Inc., 234

F.R.D. 13, 69 Fed. R. Evid. Serv. 726 (D. Mass. 2006); see also Oxford English Dictionary Online,
                                               17
at http://www.oed.com (defining periodical as “a magazine or journal issued at regular or

stated intervals (usually weekly, monthly, or quarterly)”). “The United States Postal Service

uses a similar definition of ‘periodical’ to determine mailing rates.” Goguen, 234 F.R.D. at 18.

InfoWars does not meet this definition.

        Finally, InfoWars is not a broadcaster. Under the TCPA, a “broadcaster means an

owner, licensee, or operator of a radio or television station or network of stations and the

agents and employees of the owner, licensee, or operator.” Tex. Civ. Prac. & Rem. Code Ann.

§ 73.004(b). The definition in common usage likewise refers to an entity who transmits a

television or radio signal. According to an August 17, 2018 article on its website, “Infowars

does not operate any radio or TV stations.”52 It does not broadcast any signals over public

airwaves. Instead, InfoWars produces video and audio content, and it provides that content

to other entities for distribution.

        Because InfoWars cannot show it is one of the three specified entities described in

the statute, the video is governed by the the common law framework as set forth in Neely.

Under that framework, “we note that the Texas Supreme Court has reaffirmed the ‘well-

settled legal principle that one is liable for republishing the defamatory statement of

another.’” Warner Bros. Entm't, Inc. v. Jones, 538 S.W.3d 781, 810 (Tex. App.—Austin 2017,

pet. filed).

        B.     The InfoWars video goes beyond allegation reporting.

        In any case, InfoWars cannot be entitled to third-party allegation protection because

the “defamatory statements at issue here went beyond mere ‘allegation reporting.’” Scripps



52https://www.infowars.com/mass-correction-mainstream-media-retracts-false-infowars-pirate-radio-
story/

                                                 18
NP Operating, LLC v. Carter, 13-15-00506-CV, 2016 WL 7972100, at *13 (Tex. App.—Corpus

Christi Dec. 21, 2016, pet. filed). First and foremost, InfoWars “did not consistently attribute

the allegations to a third-party source.” Id. at *13. Ms. Binkowski observed that “it is notable

that Mr. Shroyer only said the phrase ‘Zero Hedge’ one time in the entire segment. Mr.

Shroyer did not consistently attribute the allegations to Zero Hedge.”53

           However, most important is Mr. Shroyer’s enthusiastic endorsement of the

allegations. Although Mr. Shroyer’s video noted “that the allegations had initially been made

by [a third party], its ‘gist or sting’ was that the allegations were, in fact, true.” Scripps at *13.

Under those circumstances, the statements “were not merely reports of allegations.” Id. A

report of an allegation must be “a simple, accurate, fair, and brief restatement.” KBMT

Operating Co., LLC v. Toledo, 492 S.W.3d 710, 717 (Tex. 2016). Mr. Shroyer’s video was

anything but.

           In her affidavit, Ms. Binkowski reviewed the statements in the video and identified

“several parts of the language used in the video which [she] found quite significant.”54 Under

Texas law, the character of these statements can provide “additional affirmative evidence

from the text itself that suggests the defendant objectively intended or endorsed the

defamatory inference.” Tatum, 2018 WL 2182625 at *20. Ms. Binkowski first explained how

an ordinary viewer would see Mr. Shroyer making his own accusations and citing his own

evidence:

                    Mr. Shroyer stated: “[Heslin] is claiming that he held his son and
                    saw the bullet hole in his head. That is his claim. Now, according
                    to a timeline of events and a coroner's testimony, that is not
                    possible.” A viewer of ordinary intelligence could hear this
                    statement and conclude that Mr. Shroyer is making his own

53   Exhibit B, Affidavit of Brooke Binkowski, para. 18.
54   Id., para. 17.

                                                           19
                     assertion. Zero Hedge is not mentioned. In fact, Mr. Shroyer’s
                     citation of “a timeline of events and a coroner’s testimony” as
                     the basis for his conclusion strongly suggests that InfoWars had
                     examined the evidence itself.55

           Ms. Binkowski also examined Mr. Shroyer’s ambiguous use of the phrase “fact-

checkers,” and the ways that statement could be understood:

                     This language is ambiguous in context. It can reasonably be
                     interpreted in three ways. First, the “fact checkers” who
                     purportedly examined the issue could work for InfoWars.
                     Second, the “fact checkers” could be associated with Zero Hedge.
                     Third, the “fact checkers” are some other unnamed source relied
                     on by InfoWars.

                     A viewer of ordinary intelligence could hear this statement and
                     reasonably believe that InfoWars had confirmed the accuracy of
                     the Zero Hedge report with its own “fact checkers.” This
                     interpretation is supported by the remainder of the segment in
                     which Mr. Shroyer makes his own comments and shows footage
                     assembled and edited by InfoWars.56

           Ms. Binkowski also discusses how Mr. Shroyer signaled to the viewer that he was

making his own allegations:

                     Later in the InfoWars video, Mr. Shroyer asserted that there was
                     a “contradiction in the narrative.” This was clearly Mr. Shroyer’s
                     own conclusion.

                     Mr. Shroyer also callously stated: “You would remember if you
                     held your dead kid in your hands with a bullet hole. That's not
                     something that you would just misspeak on.” Not only is this
                     statement sickening, but it further reinforces that Mr. Shroyer
                     has taken his own position.

                     Later in the video, when speaking about Mr. Heslin’s statements
                     to Megyn Kelly, Mr. Shroyer stated: “Here is an account from the
                     coroner that does not corroborate with that narrative.” Again,
                     Zero Hedge was not mentioned or attributed. Mr. Shroyer was
                     presenting his own assertion that Mr. Heslin’s interview is


55   Id., para. 22-23.
56   Id., para. 20-21

                                                    20
                   contradicted by the coroner. However, this is false. Mr. Heslin’s
                   interview is not contradicted by the coroner.57

         Finally, Mr. Binkowski explained how all the circumstances of the video shows that it

went beyond allegation reporting:

                   The June 26, 2017 InfoWars video was not merely a report on a
                   third-party’s allegations. Rather, InfoWars adopted the
                   allegations of a dubious anonymous website and reasserted
                   them as their own. InfoWars presented the allegations as true,
                   and it made statements and played deceptive video edits which
                   were meant to convince its viewers that Mr. Heslin’s statements
                   were not possible.58

         C.        The InfoWars video did not accurately mirror the Zero Hedge blog post.

         Even if InfoWars were entitled to the new statute’s protections, the video was not an

accurate report of the third-party statements. A publisher’s “omission of facts may be

actionable if it so distorts the viewers' perception that they receive a substantially false

impression of the event.” Warner Bros., 538 S.W.3d at 810. Texas recognizes that “a plaintiff

can bring a claim for defamation when discrete facts, literally or substantially true, are

published in such a way that they create a substantially false and defamatory impression by

omitting material facts or juxtaposing facts in a misleading way.” Dallas Morning News, Inc.

v. Hall, 524 S.W.3d 369, 382 (Tex. App.—Fort Worth 2017, pet. filed). In other words, a

publication does not accurately report a third-party source when it omits a pertinent fact.

         In this case, Ms. Binkowski notes that both Zero Hedge and Mr. Shroyer alleged “that

Dr. Carver told the media that ‘the parents of the victims weren’t allowed to see their

children’s bodies.’”59 However, she explained one key difference:



57 Id., para. 31-33.
58 Id., para. 51.
59 Id., para. 67.


                                                  21
                      In the Zero Hedge blog post, the author later admits that “it's
                      entirely possible that Mr. Heslin had access to his son after the
                      shooting.” Mr. Shroyer’s video contains no such statements.60

            In the InfoWars’ mythology, the parents were never allowed to see their children. As

such, Plaintiff would still have a cause of action even under the new third-party statute

because Mr. Shroyer’s video “created a gist that cast [him] in a worse light than…the source

of the allegations themselves.” Hall, 524 S.W.3d at 382–83.

            D.        There is no evidence of a third-party.

            Even if the new statute did apply to InfoWars, the statute does not protect the

publication of dubious anonymous statements. In order to claim the defense, the article must

“attribute the allegations to a third-party source.” Scripps at *13. In her affidavit, Ms.

Binkowski explains that the content posted on Zero Hedge does not point to any

ascertainable third-party:

                      Zero Hedge is anonymous blog. Zero Hedge has no named
                      editor-in-chief, and its articles are submitted by anonymous
                      authors. The publication has no listed address nor phone
                      number. Its website is registered anonymously.61

            Instead, InfoWars merely printed anonymous hearsay as its own defamation.

InfoWars cannot name any individual whose statement it claims to have reported. For all we

know, the anonymous author could be an InfoWars employee or agent. Publishing

anonymous accusations is not a defense; it is evidence of actual malice. See, e.g., Bentley, 94

S.W.3d at 596; see also 1 Law of Defamation § 3:62 (2d ed.) (“[R]eliance on

an anonymous source…is admissible as evidence of actual malice.”).




60   Id.
61   Id., para. 39.

                                                     22
         E.     InfoWars’ allegation was not a matter of public concern.

         Even if the new third-party allegation did apply InfoWars, it would require a showing

that the video related to “a matter of public concern.” A video which solely concerns whether

Mr. Heslin held his child’s body is not a matter of public concern. Rather, it was a calculated

personal attack on Mr. Heslin in retaliation for his interview with Megyn Kelly. “Matter of

public concern” is defined in Civil Practice and Remedies Code, specifically, Sec. 27.001,

which reads: “An issue related to health or safety; environmental, economic, or community

well-being; the government; a public official or public figure; or a good, product, or service

in the marketplace.” Here, accusing Mr. Heslin of lying about holding the body of his dead son

does not amount to a matter of public concern. “Speech deals with matters of public concern

when it can be fairly considered as relating to any matter of political, social, or other concern

to the community ... or when it is a subject of legitimate news interest; that is, a subject of

general interest and of value and concern to the public...” Snyder v. Phelps, 562 U.S. 443, 453,

131 S.Ct. 1207, 179 L.Ed.2d 172 (2011). Mr. Shroyer’s video was none of these things. The

third-party allegation defense is inapplicable for this reason and the many others cited

above.

VI.      Mr. Heslin is not a Limited Purpose Public Figure for the Topic of the InfoWars
         Video.

         Just as in the Pozner matter, InfoWars contends that the Plaintiff is a public figure for

the purposes of the controversy over InfoWars’ hoax allegations, or alternatively, that

Plaintiff is a public figure due to his advocacy for gun regulation. In either case, InfoWars’

argument fails for the reasons set forth below.




                                                23
           A.      The controversy over Alex Jones’s statements about Sandy Hook.

           InfoWars first identifies the controversy as the public dismay over InfoWars’

statements about Sandy Hook and his attacks on the credibility of the parents. Megyn Kelly’s

feature story addressed this controversy head-on. Mr. Heslin was asked to grant an interview

regarding Mr. Jones’ years of lies about the death of his son and the twenty-five other victims

of the tragedy. InfoWars claims that Plaintiff is a public figure because he “volunteered to be

interviewed on camera and volunteered to provide his thoughts on Jones’ opinions.”62

           To the extent Plaintiff had any notoriety in the controversy over whether Sandy Hook

is a hoax, it is only because Mr. Jones inflicted that notoriety with his incessant attacks and

accusations that the victims were not real. “A person does not become a public figure merely

because he is ‘discussed’ repeatedly by a media defendant or because his actions become a

matter of controversy as a result of the media defendant's actions.” Klentzman v. Brady, 312

S.W.3d 886, 905 (Tex. App.—Houston [1st Dist.] 2009, no pet.), quoting Hutchinson v.

Proxmire, 443 U.S. 111, 135 (1979) (noting that “[c]learly, those charged with defamation

cannot, by their own conduct, create their own defense by making the claimant a public

figure.”) Under well settled Texas law, a defendants’ conduct “cannot be what brought the

plaintiff into the public sphere.” Neely, 418 S.W.3d at 71 (Tex. 2013).

           Mr. Heslin agreed to appear on camera after four years of lies to give defensive

statements, and defensive statements do not transform a plaintiff into a public figure. See

Defamation: A Lawyer's Guide § 5:9. Vortex or limited purpose public figure – The

preexistence requirement and rejection of media “bootstrapping.” (Collecting cases refusing

to find “that purely defensive truthful statements constitute a purposeful injection.”); see


62   See Defendants’ Motion to Dismiss, p. 62.

                                                 24
also, e.g., Hutchinson, 443 U.S. at 135 (Plaintiff must be “a public figure prior to the

controversy engendered by the [defendant’s conduct].”); Lohrenz v. Donnelly, 350 F.3d 1272,

1281-82 (D.C. Cir. 2003) (plaintiff's “attempts to defend herself through the media against

allegedly defamatory statements” did not make her a public figure). As Mr. Heslin explained

in his affidavit:

                    I never sought to participate in any public debate over whether
                    the events at Sandy Hook were staged. Nor did I seek to
                    participate in any public debate over whether my son died.

                    Over the years, I remained silent as Mr. Jones continued to make
                    disgusting false claims about Sandy Hook, telling his viewers
                    that the children were fake and that the parents were liars and
                    evil conspirators.

                    In 2017, Megyn Kelly was in the process of producing a profile
                    on Mr. Jones when she asked me for an interview. Though I was
                    very conflicted as to whether to grant an interview, I agreed to
                    speak on camera only to help set the record straight about the
                    lies told by Mr. Jones about Sandy Hook, specifically that the
                    event was staged and involved actors.

                    I gave comments to Ms. Kelly stating the reality: The shooting
                    happened. I stated that I buried my son, that I held my son’s
                    body, and that I saw a bullet hole through his head.

                    I made these statements not to invite debate, but to clear my
                    name and protect the memory of my son.63

           “An individual should not risk being branded with an unfavorable status

determination merely because he defends himself publicly against accusations, especially

those of a heinous character.” Lluberes v. Uncommon Productions, LLC, 663 F.3d 6, 19 (1st Cir.

2011). Court have found “no good reason why someone dragged into a controversy should

be able to speak publicly only at the expense of foregoing a private person's protection from



63   Exhibit C, Affidavit of Neil Heslin, para. 10-14.

                                                         25
defamation.” Foretich v. Capital Cities/ABC, Inc., 37 F.3d 1541, 1564 (4th Cir. 1994). The

“actual-malice standard here would serve only to muzzle persons who stand falsely accused

of heinous acts and to undermine the very freedom of speech in whose name the extension

is demanded.” Id. In this case, granting Ms. Kelly’s interview request was a reasonable and

proportional response to four years of vile falsehoods on a national scale.

       B.     Controversy over gun regulation.

       Limited purpose public figures “are only public figures for a limited range of issues

surrounding a particular public controversy.” WFAA-TV, Inc. v. McLemore, 978 S.W.2d 568,

571 (Tex. 1998). Here, InfoWars contends that Mr. Heslin is a public figure because of his

advocacy for gun regulation in the wake of the Sandy Hook tragedy. While Mr. Heslin has

made public appearances in support of gun regulation, his participation is trivial to the

overall national debate, which is a broad controversy with countless participants. As

explained in the D.C. Circuit’s oft-cited Waldbaum opinion, a broad controversy makes it less

likely than minor actor is public figure:

              A broad controversy will have more participants, but few can
              have the necessary impact. Indeed, a narrow controversy may
              be a phase of another, broader one, and a person playing a major
              role in the “subcontroversy” may have little influence on the
              larger questions or on other subcontroversies. In such an
              instance, the plaintiff would be a public figure if the defamation
              pertains to the subcontroversy in which he is involved but
              would remain a private person for the overall controversy and
              its other phases.

Waldbaum v. Fairchild Publications, Inc., 627 F.2d 1287, 1297 (D.C. Cir. 1980). Mr. Heslin did

participate in some advocacy on gun regulation, but as he stated in his affidavit, his

participation was limited:




                                             26
                       Following the tragedy, I was asked to appear before the U.S.
                       Senate and Connecticut legislators to give testimony about my
                       experience and my opinion on school safety.

                       I never sought to be any kind of public figure. I merely
                       recognized that I was involved in a matter that had attracted
                       public attention. It was not my intention to give up my privacy
                       or surrender my interest in the protection of my own name in
                       all aspects of my life.

                       I had some tangential involvement in speaking out on sensible
                       gun regulations, but I do not consider myself an activist. I have
                       not been a vigorous participant or a noteworthy part of that on-
                       going debate.64

            In any case, the scope or significance of Mr. Heslin’s civic involvement in the gun

regulation debate is irrelevant in this case. Objectively, the InfoWars video had absolutely

nothing to do with guns and nothing to do with Mr. Heslin’s gun-related advocacy. Neither

guns nor gun regulation are ever mentioned or implicated anywhere in Mr. Shroyer’s video.

            A plaintiff’s status depends on “an individual's participation in the particular

controversy giving rise to the defamation.” Gertz v. Robert Welch, Inc., 418 U.S. 323, 352

(1974). Therefore, it is required that “the alleged defamation is germane to the plaintiff's

participation in the controversy.” McLemore, 978 S.W.2d at 573. Here, the defamation has

nothing to do with Mr. Heslin’s gun advocacy, and a hypothetical viewer would not glean

from Mr. Shroyer’s video that Mr. Heslin ever participated in the gun issue or that guns are

implicated in any way. The defamation clearly arose from the “Alex Jones controversy” and

not from any issues relating to Mr. Heslin’s 2013 gun advocacy.

            In this case, InfoWars defines the controversy even more broadly, asserting an

unbounded and vague “controversy” concerning the “the government and MSM’s use of



64   Id., para. 6-8.

                                                      27
national tragedies in order to push political agendas.”65 But that is not a “controversy” as the

term is used in First Amendment defamation jurisprudence. Under Texas law, a “general

concern or interest will not suffice,” and a public controversy is more than simply a

“controversy of interest to the public.” Klentzman, 312 S.W.3d at 905 (Tex.App. Houston [1

Dist.] 2009), quoting Firestone, 424 U.S. at 454 (internal citation omitted). The Court must

instead determine “whether persons actually were discussing some specific question.” Id.

(emphasis added).

           At most, InfoWars identifies a potential trait of the media and/or government, i.e., that

they use current events to drive their agendas. That is not a “question” that is capable of

being resolved such that the public could “feel the impact of its resolution.” McLemore, 978

S.W.2d at 573. The notion that there must be an issue susceptible of resolution is central to

the Gertz limited purpose public figure framework, which defined limited purpose public

figures as those who “thrust themselves into the vortex of a [public controversy] . . . in an

attempt to influence its outcome.” Gertz, 418 U.S. at 345 (emphasis added). One cannot

“influence” the “outcome” of a matter that does not call for some definite resolution.

           Even if the Court were to accept InfoWars’ assertion that there is a public controversy

(in the Gertz meaning) about the media and/or government’s use of tragedies to push

agendas, InfoWars has not demonstrated that Plaintiff sought any role in such a controversy,

much less the “central” role required to characterize him as a public figure. InfoWars has

identified precisely zero instances where Plaintiff injected himself into any discussion about

whether the government or media were using tragedies to push an agenda.




65   See Defendants’ Motion to Dismiss, p. 56.

                                                  28
       The extremely narrow standards of the “limited purpose” for public figures in Texas

is illustrated in the Corpus Christi court’s decision in Scripps. There, a president of a chamber

of commerce was a public figure for a city tax agreement because of his strenuous advocacy

for that agreement, but he was not a public figure for his own job performance and financial

stewardship of the chamber, which arguably influenced and motivated his advocacy. The

court analyzed the issue as follows:

               We must determine whether the alleged defamation was
               germane to Carter's participation in the controversy. In his
               petition, Carter alleged that Scripps defamed him by publishing
               written statements concerning his job performance, specifically,
               his financial stewardship of the financial affairs of the Chamber
               of Commerce…Scripps acknowledges that the “articles at issue
               concern Carter's job performance and financial stewardship of
               the Chamber.” However, they argue that by speaking at the city
               council meeting, Carter “assumed the risk that the press, in
               covering the controversy, [would] examine” him with a critical
               eye. We do not agree that Carter’s job performance and financial
               stewardship of the Chamber of Commerce is germane to [the
               challenged statement regarding] the financing agreement.”

Scripps, at *5; see also Lohrenz, 350 F.3d at 1279 (Plaintiff is “a public figure if the defamation

pertains to the subcontroversy in which he is involved but would remain a private person

for the overall controversy and its other phases.”). These decisions are consistent with the

maxim that “an individual should not be deemed a public personality for all aspects of his

life.” San Antonio Exp. News v. Dracos, 922 S.W.2d 242, 251 (Tex. App.—San Antonio 1996,

no writ). Therefore, the court must ask “whether the plaintiff is a public figure with respect

to the topic of the publication.” Fitzgerald v. Penthouse Intern., Ltd., 691 F.2d 666, 669 (4th

Cir. 1982). In this case, the publication contains no content whatsoever relating to gun

regulation or Mr. Heslin’s civic activities. In other words, it is immaterial whether Mr. Heslin

is a public figure for the gun regulation debate. He is not a public figure for whether he held


                                                29
his child’s body, which is the only topic of the video. The video is germane to only one

controversy -- the controversy over Mr. Jones’ years of accusations about the Sandy Hook

victims.

           Finally, a publication cannot be germane to a plaintiff or his participation if the

publication did not arise because of that plaintiff. Here, InfoWars’ argues that its video did

not intend to refer to Plaintiff as an “ascertainable person,” and that its video was instead

“directed at NBC and Kelly,” and “directed at the government and MSM.”66 In other words,

InfoWars admits that the video arose not due to Mr. Heslin’s civic participation, but that it

arose from its criticisms of Megyn Kelly, NBC, the government, and what it has termed “the

MSM.” InfoWars insists that “the statements were not accusatory of the Plaintiff,” and

therefore the publication could not have arisen from Mr. Heslin or his public acts.67

           This principle is well illustrated by a case from the Eastland court involving

Paramount Pictures. Paramount aired a broadcast which Paramount did not intend to direct

at Allied Marketing, but it nonetheless included content which could be understood as

defamatory to Allied. The court noted that “from Paramount's perspective, the segment had

nothing to do about Allied…[so] Paramount could not establish that it was germane to

Allied’s participation.” Allied Mktg. Group, Inc., 111 S.W.3d at 177. The court noted that

Paramount’s intent was the only relevant issue, because “the limited purpose public figure

test does not take into consideration the understanding of the publication’s viewers.” Id. at

178. Here, InfoWars asserts that it directed the broadcast at the media, and that its




66   Id.
67   Id.

                                               30
defamation of Mr. Heslin was coincidental, as in Allied. As such, its defamation did not arise

from Mr. Heslin’s public acts.

VII.     Defendants Acted with Actual Malice.

         Plaintiff’s status ultimately makes no difference because there is clear evidence of

actual malice. Malice exists in defamation when a publisher shows a “reckless disregard for

the falsity of a statement.” Bentley, 94 S.W.3d at 591. A showing of actual malice can be

satisfied when there is prima facie circumstantial evidence that a defendant would have

“entertained serious doubts as to the truth of his publication.” Warner Bros., 538 S.W.3d at

805. A plaintiff may offer circumstantial evidence suggesting that a defendant made

statements which he “knew or strongly suspected could present, as a whole, a false and

defamatory impression of events.” Turner v. KTRK TV, Inc., 38 S.W.3d 103, 120-121 (Tex.

2000). Here, there are several reasons to find that InfoWars acted with reckless disregard

for the truth.

         A.       The accusation was inherently improbable.

         When assessing actual malice, the court should “begin by noting the gravity of the

accusations made against [plaintiff].” Warner Bros., 538 S.W.3d at 806. As Mr. Zipp stated,

“serious claims require serious evidence,”68 and accuracy becomes “more important in

proportion to the seriousness of the facts asserted.”69 The Austin Court of Appeals echoed

that sentiment last year, noting “[c]harges as serious as the ones leveled against [plaintiff] in

this article deserve a correspondingly high standard of investigation.” Id. at 806. Mr. Zipp

found that “given the seriousness of the accusations, Mr. Shroyer acted recklessly.”70


68 Exhibit A, Affidavit of Fred Zipp, p. 16.
69 Id., p. 2.
70 Id., p. 16.


                                               31
        Ms. Binkowski noted that “[t]he allegation made by Mr. Shroyer was outlandish,

inherently improbable, and obviously dubious.”71 Malice is shown when the circumstances

were “so improbable that only a reckless publisher would have made the mistake.” Freedom

Newspapers of Tex. v. Cantu, 168 S.W.3d 847, 855 (Tex. 2005). “Inherently improbable

assertions and statements made on information that is obviously dubious may show actual

malice.” See 50 Tex. Jur. 3d Libel and Slander § 133.

B.      InfoWars used dubious third-party sources.

        In a case involving allegations originating with a third-party source, “recklessness

may be found where there are obvious reasons to doubt the veracity of the informant or the

accuracy of his reports.” Warner Bros., 538 S.W.3d at 806, citing Harte-Hanks, 491 U.S. at 688.

Here, both of the sources cited by InfoWars are extraordinarily unreliable.

                 1.       Zero Hedge

        Ms. Binkowski’s affidavit provides the Court with an understanding of Zero Hedge.

Ms. Binkowski states that she has “personal professional knowledge about the website ‘Zero

Hedge,’” and that “researchers at Snopes continuously debunked claims made in Zero Hedge

articles.”72 According to Ms. Binkowski, “[n]early everything about Zero Hedge calls its

reliability into question.”73 Ms. Binkowski explained the history of this anonymous website:

                 Zero Hedge began in 2009 as an anonymous blog focusing on
                 Wall Street and investment rumors. Even from the beginning, its
                 content consisted of unsourced hearsay and conspiracy theories
                 about Wall Street. However, over the past several years of my
                 work, I have witnessed the website become increasingly
                 flagrant as a producer of fake information and malicious
                 accusations. Zero Hedge’s history of publishing egregiously fake


71 Exhibit B, Affidavit of Brooke Binkowski, para. 54
72 Id., para. 37.
73 Id. at para. 38.


                                                        32
                  information had been well-documented since at least the time
                  of the 2016 presidential election.74

         Ms. Binkowski also included “a small selection of recent erroneous reporting and

intentional agitation by Zero Hedge” in which she detailed sixteen instances of hoaxes and

demonstrably fake news items published by Zero Hedge which had been debunked by the

Snopes staff over the past two years. In this case, Ms. Binkowski noted that “the article in

question purports to be authored by an anonymous individual(s) using the name

ZeroPointNow,” who is a “contributor to an anonymous website called ‘iBankCoin.com,’ a

cryptocurrency website which likewise traffics fake news items.”75

         InfoWars was fully aware of Zero Hedge’s past content. In fact, InfoWars had

frequently published materials written by Zero Hedge on its own website. Ms. Binkowski

“reviewed seven articles on InfoWars.com which were published under the author by-line

‘Zero Hedge’ in just the two weeks leading up to Mr. Shroyer’s June 26, 2017 video.” 76 Ms.

Binkowski stated that she has “seen InfoWars and Zero Hedge, along with several other fake

news websites, forge a cooperative relationship in which they publish, promote and endorse

each other’s content.”77 According to Ms. Binkowski, “this pattern of amplification and

endorsement is a key part of how fake news spreads.”78

         InfoWars attempts to establish the credibility of Zero Hedge with an article from the

Time website. In Defendants’ Exhibit B-53, InfoWars offers what they contend is an

endorsement of Zero Hedge from seven years ago by Time Magazine. The text of the exhibit




74 Id. at para. 43-45.
75 Id. at para. 41.
76 Id. at para. 48.
77 Id. at para. 49.
78 Id. at para. 50.


                                              33
makes it clear that this online list of 25 Financial Blogs was meant to include websites that

offered “useful financial advice” as well as websites that “were just fun.”79 In addition, the

entries were not authored by Time Magazine. Rather, the exhibit states the entries were

written by “bloggers on the list.” In the entry for Zero Hedge, the blogger refers to the website

as “a morning zoo,” and he compares it to The X-Files, a popular show from the 1990s about

wacky government conspiracies and aliens. The author states, “I can’t read it for long,” and

“I don’t read Zero Hedge regularly,” describing the website “too conspiratorial.” In any case,

the author’s seven-year-old opinions about Zero Hedge are hearsay, and they do not provide

any indicia of reliability, nor can they rebut the testimony of Ms. Binkowski.

           Ms. Binkowski concluded that “[n]o competent journalist would republish allegations

from an anonymous message on Zero Hedge without corroborating the accuracy of the

allegations. However, in this case, it is clear that InfoWars not only understood Zero Hedge’s

reputation, but it was actively collaborating with Zero Hedge to spread fake news and

dangerous conspiracy claims.”80

                    2.      Jim Fetzer

           The anonymous blog post on Zero Hedge cites an individual named Jim Fetzer to

support the accusation that Mr. Heslin was lying. In its Motion, InfoWars presents Mr. Fetzer

as a credible source. However, Mr. Zipp provides context on Mr. Fetzer’s background:

                    In its Motion to Dismiss, InfoWars described Mr. Fetzer with an
                    air of respectability, referring to him as “Professor Emeritus of
                    the University of Minnesota.” In truth, the retired professor has
                    long been understood to be an unhinged crank. I do not use
                    these terms lightly. Mr. Fetzer, author of the disturbingly titled
                    self-published book “Nobody Died at Sandy Hook” has spent
                    years spreading ridiculous and bizarre claims about the event.

79   See Defendants’ Exhibit B-53.
80   Exhibit B, Affidavit of Brooke Binkowski, para. 52.

                                                           34
                    For example, Mr. Fetzer is convinced that Sandy Hook parent
                    Leonard Pozner is actually a different man named Reuben
                    Vabner…Mr. Fetzer’s bizarre writings feature notably anti-
                    Semitic rants about Mr. Pozner, who he insists is part of some
                    international Jewish conspiracy…Mr. Fetzer is obsessed with
                    the notion of faked identifies, and he makes similar accusations
                    about the shooting victims, posting photo comparisons which he
                    claims prove that the photos of children are actually adults.81

           Mr. Zipp notes that Mr. Fetzer even told his readers “that he has located a photograph

containing the female shooting victims, who are now allegedly adolescents.” Shown below is

Mr. Fetzer’s purported photo of the “crisis actors” reunion:




           According to Mr. Zipp, “Mr. Fetzer has claimed, with no evidence, that the death

certificates for shooting victims have been faked and that a shooting victim’s gravestone was

actually a computer-generated graphic.”82 In short, Mr. Fetzer is well known for being an

outrageous crank and grifter, selling books and collecting donations from confused outcasts,


81   Exhibit A, Affidavit of Fred Zipp, p. 16-17.
82   Id. at p. 19.

                                                    35
all of which he has based on either malicious lies or his own preposterous delusions. Mr. Zipp

concluded that “no rational journalist would ever rely on Mr. Fetzer as a source for anything,

especially an allegation as improbable and serious as accusing a parent of lying about holding

their dead child. InfoWars’ uncritical endorsement of accusations being promoted by Mr.

Fetzer demonstrates its reckless and deceptive conduct.”83

        C.       InfoWars acted deceptively.

        Most importantly, this is not merely a case where Mr. Shroyer and InfoWars

recklessly disregarded the truth. Rather, it is the clear from the source material and the

underlying facts that Mr. Shroyer was acting deceptively. As Ms. Binkowksi noted, “Mr.

Shroyer used contemporary press coverage in a misleading and dishonest way, with the clear

goal of misleading his viewers.”84

                 1.       Interview with Dr. Carver

        Ms. Binkowski viewed the full video of Dr. Carver’s interview, which is publicly

available online. In the interview, “there is additional footage from the interview -- not shown

by InfoWars -- which directly contradicts the assertion made by Mr. Shroyer.” 85 Ms.

Binkowski described the relevant portion omitted by InfoWars:

                 At 11:03 in the video, a reporter asks Dr. Carver if there was a
                 protocol as to the order he did the medical examinations. Dr.
                 Carver states that it was his “goal was to get the kids out and
                 available to the funeral directors first, just for, well, obvious
                 reasons.”

                 At 13:27 in the video, a reporter asks Dr. Carver if “all the
                 children’s bodies have been returned to the parents or
                 mortuaries.” Dr. Carver responds, “I don’t know. The mortuaries
                 have all been called.” The reporter asks, “But they’re ready to be

83 Id.
84 Exhibit B, Affidavit of Brooke Binkowski, para. 56.
85 Id., para. 57.


                                                         36
                 released at this time?” Dr. Carver responds, “As of 1:30, the
                 paperwork has been done. The usual drill is that the funeral
                 homes call us, and as soon as the paperwork is done, we call
                 them back. That process was completed for the children at 1:30
                 today.”86

        Despite these answers given in Dr. Carver’s interview, InfoWars used an edited

portion of his interview where he stated that “we did not bring the bodies and the families

into contact,” and that “we felt it would be best to do it this way.” InfoWars used this video

clip to suggest that the parents were not allowed to see their children before burial. However,

it is clear in context that Dr. Carver was only referring to the initial identification process.

Given the content of Dr. Carver’s interview, Mr. Zipp agreed that InfoWars “intentionally

distorted the evidence in a malicious way to attack and retaliate against Mr. Heslin.”87

                 2.      Interview with Chris and Lynn McDonnel.

        Ms. Binkowsi also reviewed a transcript of Anderson Cooper’s interview with Sandy

Hook parents Chris and Lynn McDonnel. InfoWars used a clip of the interview “to suggest

that the McDonnel’s were not allowed access to their child prior to burial.”88 However,

InfoWars used an edited clip to omit statements by the parents showing they were allowed

to see their child. Mr. Binkowski explained that:

                 The use of the clip in this way was dishonest. The transcript
                 shows that the InfoWars video clip cut off the end of the Mrs.
                 McDonnel’s answer. She stated, “And I had questioned maybe
                 wanting to see her, but then I thought, she was just so, so
                 beautiful, and she wouldn't want us to remember her looking any
                 different than her perfect hair bow on the side of her beautiful
                 long blond hair.”

                 In the interview, Mr. McDonnel stated, “But when we left the
                 room, it was certainly so hard to leave her because that would

86 Id. para. 58-59.
87 Exhibit A, Affidavit of Fred Zipp, p. 16.
88 Exhibit B, Affidavit of Brooke Binkowski, para 60-62.


                                                      37
                 be the last time that we would be able to be with her.” It is clear
                 that the parents had to the opportunity to see their child’s body,
                 yet they chose not to do so.89

        Ms. Binkowski concluded “that InfoWars and Mr. Shroyer used a deceptively edited

copy of the interview to give the appearance that the parents were not allowed to see their

daughter.”90 This clip was used to accuse Mr. Heslin of lying about holding his son. In the July

20, 2017 video in which Mr. Jones republished Mr. Shroyer’s video, Jones stated, “you've got

CNN and MSNBC both with different groups of parents and the coroner saying we weren't

allowed to see our kids basically ever.”91

          InfoWars’ actions were malicious because “[t]he only way a journalist could support

such a conclusion is by intentionally distorting the evidence and Mr. Heslin’s statements.”92

According to Ms. Binkowski, “[t]he source material demonstrates that is exactly what

occurred in this case.”93 Mr. Zipp agreed that “Mr. Shroyer was only able to support his bogus

accusations by using deceptively edited footage.”94 Mr. Zipp concluded that “These actions

were aimed at manufacturing a controversy where none existed.”95

        D.       InfoWars’ prior conduct shows actual malice.

        As Mr. Zipp noted, “InfoWars has made wild claims about the Sandy Hook massacre

from the beginning,” and it has “continually repeated these falsehoods over the course of five

years.”96 According to Mr. Zipp, “[c]ountless individuals and media organizations have




89 Id., para. 61-62.
90 Id., para. 63.
91 See Defendants’ Exhibit B-35.
92 Exhibit B, Affidavit of Brooke Binkowski., para. 66.
93 Id.
94 Exhibit A, Affidavit of Fred Zipp, p. 16.
95 Id., p. 14.
96 Id., p. 19.


                                                          38
thoroughly debunked each of InfoWars’ claims over the years. Nonetheless, InfoWars has

persisted in this malicious campaign.”97

         Defendants’ five-year campaign of lies and harassment of the Sandy Hook victims

shows actual malice because “evidence of extraneous conduct is admissible,

as prior bad act evidence, to show malice, in a defamation suit.” See 1 Tex. Prac. Guide Civil

Trial § 6:131, Character evidence—Evidence of other wrongs or acts—Intent/Malice.

“[A]ctual malice may be inferred from the relation of the parties, the circumstances attending

the publication, the terms of the publication itself, and from the defendant's words or acts

before, at, or after the time of the communication.” Warner Bros., 538 S.W.3d at 805, citing

Dolcefino v. Turner, 987 S.W.2d 100, 111-12 (Tex. App.—Houston [14th Dist.] 1998), aff'd sub

nom. Turner v. KTRK Television, Inc., 38 S.W.3d 103, 120 (Tex. 2000). Under Texas law, Mr.

Jones’ five-year campaign of lies against the Sandy Hook families in the face of irrefutable

affirmative evidence is relevant to establishing the malicious nature of his statements.

         Mr. Zipp’s affidavit provides a lengthy yet only partial history of InfoWars’ constant

harassment of these parents.98 The attack on Mr. Heslin was meant to further these hoax

allegations. In the July 20, 2017 video, when Mr. Jones chose to republish Mr. Shroyer’s

accusations, Jones launched into a rant listing some of the familiar lies he had spread about

Sandy Hook:

                  Is there a blue screen when Anderson Cooper’s face
                  disappearing? Are there kids going in circles in the video shots?
                  Did they hold back the helicopters? Did they have porta-pottys
                  there in an hour and a half? Did they run it like a big PR
                  operation? Do they get all these conflicting stories in the media?
                  Absolutely.99

97 Id.
98 Exhibit A, Affidavit of Fred Zipp, p. 7-13.
99 See Defendants’ Exhibit B-35.


                                                 39
         These false allegations are familiar to this Court from the Pozner matter, where they

were discussed in Mr. Zipp’s affidavit. Mr. Zipp’s affidavit from Pozner debunking these

reckless claims is attached and incorporated by reference.100 As Ms. Binkowski stated, it is

clear “that Mr. Shroyer’s video segment was part of InfoWars’ ongoing effort to support and

justify its vile five-year lie that the Sandy Hook shooting was staged.”101 When Mr. Heslin had

the courage to defend himself and his community against these lies, InfoWars targeted him

with a cruel and dishonest accusation, all in the attempt to perpetuate their insane

allegations.

         E.        InfoWars drives profits by recklessly stating that national tragedies are
                   fake.

         In his affidavit, Fred Zipp points out that InfoWars has built a strong brand identity

around news stories claiming that national tragedies are actually “false flags” conducted by

a shadowy cabal for sinister political purposes. Mr. Zipp notes that “Mr. Jones’ rise to

notoriety coincided with his assertions that the 9/11 terror attacks were orchestrated by the

U.S. government,” and “[h]is current promotional materials boast that ‘Alex Jones is

considered by many to be the grandfather of what has come to be known as the 9/11 Truth

Movement.’”102 Mr. Zipp described InfoWars reckless history of telling its audience that

national tragedies are fake:

                   Regarding the shooting at Columbine High School, Jones told his
                   audience, “Columbine, we know was a false flag. I’d say 100%
                   false flag.” Jones claimed that Columbine “had globalist
                   operations written all over it.” Regarding the Oklahoma City
                   bombing, Jones said the bombing was a “false flag” and that
                   “we’ve never had one so open and shut.” He added that

100 Exhibit J, Affidavit of Fred Zipp in Pozner v. Jones, et. al.
101 Exhibit B, Affidavit of Brooke Binkowski, para. 70.
102 Id., p. 19.


                                                            40
                    convicted bomber Timothy McVeigh “was a patsy, that was a
                    staged event.”

                    Mere hours after James Holmes killed twelve people in a movie
                    theater in Aurora, CO, Jones told his audience that there was a
                    “100 percent chance” the shooting was a “false flag, mind-
                    control event.” After the shooting of Rep. Gabrielle Giffords,
                    Jones stated: “The whole thing stinks to high heaven.” Mr. Jones
                    asserted that the Giffords shooting was “a staged mind-control
                    operation.”

                    An April 18, 2013 headline on the InfoWars website read “Proof
                    Boston Marathon Bombing Is False Flag Cover-Up.” A week
                    later, Mr. Jones stated on his broadcast, “I have never seen a false
                    flag, provocateured, staged event by a government come apart
                    faster than it is right now.” Jones said that “patsies were set up”
                    after being recruited by “globalist intelligence agencies.” Jones
                    claimed that Dzhokhar Tsarnaev, who was convicted of the
                    Boston Marathon bombing, “was totally set up, ladies and
                    gentlemen, to sell the police state,” and that his brother worked
                    for the CIA.

                    Mr. Jones made similar accusations about the Douglas High
                    School shooting in Parkland, Florida, claiming a 90% probability
                    that it was a false flag.103

          Mr. Zipp concluded that “a major element of the InfoWars brand is built on his

allegations that major national tragedies are actually the result of orchestrated government

actions.”104 In light of this history, Mr. Zipp found “that InfoWars’ pattern of predictably

asserting that events are ‘false flags,’ sometimes within hours of the event, is circumstantial

evidence that InfoWars recklessly disregarded whether his broadcast was true in this

case.”105




103 Id. at p. 20
104 Id. at p. 21.
105 Id.


                                                    41
         F.       InfoWars consciously chose to disregard accuracy in its reporting.

         Finally, the evidence shows that in the years leading up to the Sandy Hook shooting,

Mr. Jones willfully decided to sacrifice the accuracy of his reporting in order to publish

sensational and outrageous new stories. Plaintiffs have submitted the affidavit of John

Clayton, a journalist who “maintained a close professional association with Alex Jones during

the years 2002 through 2009.”106 Mr. Clayton “hosted or appeared on InfoWars

programming on numerous occasions,” and he “worked alongside Mr. Jones is investigating,

researching, and creating news content.”107 Mr. Clayton testified that he stopped working

with Mr. Jones because “it became apparent that he had made the conscious decision not to

care about accuracy,” and Mr. Jones “made it clear that his goal was to produce views on

InfoWars content.”108

         As a result, Mr. Clayton “personally observed that it become standard practice in

InfoWars to disregard basic protocols in journalism.”109 Mr. Clayton testified that he

“personally observed countless situations in which Mr. Jones made claims on the air for

which he knew had no substantiating evidence.”110 Mr. Clayton testified that “[f]rom my

personal experience, I knew that Mr. Jones understood that the information he put on the air

had not been adequately checked for accuracy, and in many cases, he knew the information

was false. He did not care.”111 Mr. Clayton stated that “[o]ne of the differences of opinion I

had with Mr. Jones is that I believe it is good and healthy for journalists to ask questions, but




106 Exhibit F, Affidavit of John Clayton, para. 3.
107 Id. at para. 4.
108 Id. at para. 8.
109 Id. at para. 9.
110 Id. at para. 10.
111 Id. at para. 11.


                                                     42
I believe it is dangerous to assert facts with no evidence.”112 Based on his experience, Mr.

Clayton stated that “I felt the way in which Mr. Jones and InfoWars came to operate was

dangerous and wrong.”113 Finally, Mr. Clayton stated that “[g]iven my intimate and personal

discussions with Mr. Jones on these topics, and after seeing Mr. Jones consciously discard

any sense of journalistic obligation, there is no question in my mind that Mr. Jones made the

choice to willfully disregard accuracy in pursuit of a larger audience.”114 Based on these

circumstances and the many others described above, there is clear prima facie evidence that

InfoWars acted with actual malice.

VIII.    InfoWars’ 2017 Statements Caused Damages to Plaintiff.

         InfoWars’ act of retaliation against Mr. Heslin caused him damages, including severe

mental anguish, medical expenses, and other pecuniary loss. These damages are best

explained by Mr. Heslin in his affidavit:

                   Mr. Jones’ prior videos had deeply disturbed me, but this 2017
                   InfoWars video was far worse.

                   This broadcast was the first time that InfoWars had featured me
                   by name. In the past, when InfoWars discussed other specific
                   parents, they had become subject to terrible harassment. For
                   example, I was aware of the case of Lucy Richards, an InfoWars
                   fan who was arrested and sentenced to federal prison for death
                   threats against Sandy Hook parent Leonard Pozner. I was also
                   aware of threats and harassment being directed at other
                   parents.

                   I was also aware that some conspiracy fanatics online had
                   become convinced I was a “crisis actor.” There is even an insane
                   theory that I am a fireman who supposedly died on 9/11. Upon
                   seeing Mr. Shroyer’s video, I became intensely alarmed that his
                   lie would embolden these dangerous people.


112 Id. at para. 12.
113 Id. at para. 13.
114 Id. at para. 14.


                                                 43
                  When I learned about Mr. Shroyer’s video and InfoWars’ other
                  2017 statements, I knew that my safety and the safety of my
                  family had been placed at risk. This fear dominated my thoughts.

                  I have suffered a high degree of psychological stress and mental
                  pain due to InfoWars using me and my child to revive the Sandy
                  Hook hoax conspiracy in 2017. I had hoped that this ugly lie
                  would go away, but now Mr. Jones had singled me out in his
                  campaign of harassment, along with the memory of my son. This
                  realization has caused a severe disruption to my daily life.

                  I find that I can think of little else. I have experienced terrible
                  bouts of insomnia, and periods in which I am filled with nothing
                  but outrage, and I find that I am unable to do anything
                  productive. Other times, I am filled with grief knowing that
                  InfoWars has ensured that its sick lie continues, and I am
                  dismayed that my last moments with my son have become a part
                  of that. I decided to return to grief counselling to help address
                  these issues, but I feel that I have been changed in a way that can
                  never be fixed.115

         In terms of pecuniary loss, Mr. Heslin has incurred numerous expenses which are

detailed in his affidavit. These include expenses for counselling which “has been aimed at

helping [him] cope with becoming a featured part of the Sandy Hook hoax claims.”116 Mr.

Heslin also purchased “a one-year, two-person plan for the DeleteMe Privacy Protection

service, which provides online monitoring and removal of your personal information,” which

he purchased “to prevent an InfoWars follower from discovering my family’s personal details

and location.”117 Mr. Heslin also purchased “a year’s plan for the LifeLock service” because

he was “concerned that conspiracy fanatics may use identify theft techniques to gain access

to [his] personal details.”118 Finally, Mr. Heslin incurred expenses for home security




115 Exhibit C, Affidavit of Neil Heslin, para. 22-27.
116 Id., para. 28.
117 Id., para. 29.
118 Id., para. 30.


                                                        44
monitoring products, which he purchased “due to the fear that InfoWars’ false statements

would cause individuals to confront my family.”119

IX.         InfoWars Cannot Rely on the Fair Comment or Broadcaster Privileges.

            InfoWars’ frivolously argues that its video is protected by the fair comment privilege

under Tex. Civ. Prac. & Rem. Code §73.002. “This privilege grants legal immunity for the

honest expression of opinion on matters of legitimate public interest when based upon a true

or privileged statement of fact.” 50 Tex. Jur. 3d Libel and Slander § 76, citing Hearst Corp. v.

Skeen, 130 S.W.3d 910 (Tex. App. Fort Worth 2004), review granted, judgment rev'd on other

grounds, 159 S.W.3d 633 (Tex. 2005). “The imputation of a corrupt or dishonorable motive

in connection with established facts is itself to be classified as a statement of fact and as such

does not fall within the defense of fair comment.” Id. Therefore, the defense cannot apply

here because “a false statement of fact…even if made in a discussion of matters of public

concern, is not privileged as fair comment.” Id.

            The Texas Supreme Court has said “if a comment is based upon a substantially false

statement of fact the defendant asserts or conveys as true, the comment is not protected by

the fair comment privilege.” D Magazine Partners, L.P., 529 S.W.3d at 441. Here, where Mr.

Shroyer endorsed the substantially false statements as true, his statements are not fair

comment, even if they could be considered a matter of public concern.

            Likewise, InfoWars frivolously asserted the broadcaster privilege found in §73.004,

but the statute only applies to a “broadcaster” when there is “a defamatory statement

published or uttered in or as a part of a radio or television broadcast.” As noted above,

InfoWars is not a broadcaster, and the video was not a broadcast. Even if InfoWars were a


119   Id., para. 31.

                                                  45
broadcaster, it would be required to “exercise due care to prevent the publication or

utterance of the statement in the broadcast.” See Tex. Civ. Prac. & Rem. Code §73.004. Here,

the statement was intentionally made.

X.     There is Prima Facie Evidence of InfoWars, LLC’s Liability.

       There is no question that three of the named Defendants are potentially liable to

Plaintiff. The parties do not dispute that Owen Shroyer, a reporter for Free Speech Systems,

LLC, made his accusations while hosting The Alex Jones Show, in a video that was published

on the InfoWars website120 and various social media websites. Alex Jones chose to republish

Mr. Shroyer’s video on his show soon thereafter. Defendants only dispute the involvement

of InfoWars, LLC.

       However, Plaintiff has produced prima facie evidence that InfoWars, LLC operates the

InfoWars.com website. Plaintiff has provided the “Terms of Use & Privacy Policy” found on

the InfoWars website. This document identifies InfoWars, LLC as the administrator of the

website, and the text informs users of agreements they have made “by using

Infowars.com.”121 Indeed, the document states that InfoWars, LLC administers every

“Uniform Resource Identifier we use to provide our Products and Services.”122 However,

InfoWars has produced an affidavit disclaiming any involvement by InfoWars, LLC.

       Last year in Warner Bros., the Austin court discussed how to resolve this exact

conflict. Just as here, the plaintiff presented evidence of the defendants’ “Terms of Use” and

“Privacy Policy” webpages as they existed “at the time of the motion to dismiss.” Warner Bros.

Entm't, Inc. v. Jones, 538 S.W.3d 781, 801–02 (Tex. App.—Austin 2017, pet. filed). These


120 https://www.infowars.com/zero-hedge-discovers-anomaly-in-alex-jones-hit-piece/
121 Exhibit G, Affidavit of Marcus Turnini.
122 Id.


                                                  46
various webpages identified the named defendants as operating the website. The court noted

that the documents “establish a prima facie case.” Id. at 802. However, the defendants filed

an affidavit in which their corporate officer “disclaimed responsibility for publication by

three of the six defendants.” Id.

        The Warner Bros. court noted that the “affidavit is the testimony of an interested

witness,” which is “contradicted by the statements on the website.” Id. The court also noted

that the defendants’ affidavit consisted of “bare, baseless opinions” and “conclusory

testimony.” Id. The court ruled that the “inconsistency between the website’s public

disclosures and [defendant’s] interested testimony precludes us from viewing his testimony

as conclusive proof that TMZ Productions, Inc. did not publish the article.” Id. at 803.

        In this case, Plaintiff produced the same evidence, and InfoWars produced the same

conclusory affidavit. With respect to this topic, the affidavit merely stated: “Defendant

InfoWars, LLC does not own or operate the domain name or website located at

http://www.infowars.com.”123 This conclusory affidavit conflicts with the statements on the

website, and therefore must be ignored under Warner Bros.

        Finally, in addition to the website evidence, Plaintiff has submitted a Notice of

Violation issued to InfoWars, LLC by the State of California concerning illegal lead content in

supplements sold through the InfoWars website and marketed on InfoWars programming,

including The Alex Jones Show.124 As such there is prima facie evidence that InfoWars, LLC

was involved in or profited from the video.



123See Defendants’ Exhibit B.
124Exhibit I, Notice of Violation issued against InfoWars, LLC by the State of California, Center for
Environmental Health, regarding “lead in InfoWars Life dietary supplements,” publicly available at:
https://oag.ca.gov/system/files/prop65/notices/2017-02319.pdf


                                                      47
XI.    Plaintiffs’ Claims Against Shroyer’s Employer(s) Arise via Respondeat
       Superior.

       In Texas, “[a]n action is sustainable against a corporation for defamation by its agent,

if such defamation is referable to the duty owing by the agent to the corporation, and was

made while in the discharge of that duty. Neither express authorization nor subsequent

ratification is necessary to establish liability.” Warner Bros., 538 S.W.3d at 802, quoting

Texam Oil Corp. v. Poynor, 436 S.W.2d 129, 130 (Tex. 1968); see also Minyard Food Stores, Inc.

v. Goodman, 80 S.W.3d 573, 577 (Tex. 2002) (holding that general rule that employer is liable

for its employee's tort “when the tortious act falls within the scope of the employee's general

authority in furtherance of the employer's business” applies in defamation context).

       Here, Plaintiff can recover based upon respondeat superior if (1) he was injured as a

result of an independent tort, (2) the tortfeasor was an employee of the defendant and (3)

the tort was committed while the employee was acting within the scope of his employment.

G&H Towing Co. v. Magee, 437 S.W.3d 293, 296 (Tex. 2011). Here, Owen Shroyer is an

employee or agent of one or more Defendants. Moreover, any acts revealed in discovery

committed by employees of Mr. Jones in the InfoWars organization in the scope of their

employment can trigger liability or evidence of malice. Here, Plaintiff had pled a claim under

respondeat superior sufficient to survive a motion to dismiss.

XII.   Derivative Torts such as Civil Conspiracy are not Examined under the TCPA.

       Civil conspiracy can be pled as “a derivative tort.” Tilton v. Marshall, 925 S.W.2d 672,

681 (Tex. 1996). As the Austin court wrote last year, civil conspiracy and other derivative

forms of recovery are not analyzed in a motion under TCPA when based on another

underlying tort:



                                              48
                    The tort is derivative because “a defendant's liability for
                    conspiracy depends on participation in some underlying tort for
                    which the plaintiff seeks to hold at least one of the named
                    defendants liable.” Consequently, courts “do not analyze the
                    trial court's refusal to dismiss plaintiffs' causes of action for
                    conspiracy separately from its refusal to dismiss their other
                    causes of action.” In other words, if the trial court did not err by
                    refusing to dismiss the defamation claim, then it did not err by
                    refusing to dismiss the conspiracy claim related to the
                    defamation claim. Accordingly, we conclude that the trial court
                    did not err by refusing to dismiss Jones's conspiracy claim,
                    which is dependent on his defamation claim.

           Warner Bros., 538 S.W.3d at 813–14. (citations omitted). In short, a plaintiff need only

prove the prima facie elements of his underlying case, not his derivative theories of recovery.

Conspiracy claims can only be dismissed under the TCPA if the primary defamation claim

fails or if the conspiracy claim alleges acts and omissions independent from the defamation

claim.

XIII.      This Court Should Order Discovery Prior to Ruling on the Motion.

           In responding to a TCPA motion, Plaintiff must address each element of his claim, and

the act provides a mechanism to secure “additional discovery to meet this burden.” Grant v.

Pivot Tech. Sols., Ltd., 2018 WL 3677634, at *12 (Tex. App.—Austin Aug. 3, 2018, no pet. h.).

“On a motion by a party or on the court’s own motion and on a showing of good cause, the

court may allow specified and limited discovery relevant to the motion.” Tex. Civ. Prac. Rem.

Code 27.006(b). On August 17, 2018, Plaintiff filed a Motion for Expedited Discovery under

this section. That motion is incorporated here by reference by all purposes. Before ruling on

the motion, Plaintiff asks the Court to allow depositions of the parties and to allow Plaintiff

to serve written discovery, which Plaintiff has attached as Exhibit H.125



125   Exhibit H, Plaintiff’s Proposed Written Discovery.

                                                           49
       In addition, Plaintiff also filed a Motion for Sanctions due to destruction of evidence

when CNN reported that Mr. Jones was deleting social media materials. While InfoWars now

claims it saved the primary materials, it admits sub-content has been lost, consistent with

the prediction in Ms. Binkowski’s declaration. Discovery will also allow Plaintiff to explore

the circumstances of InfoWars’ conduct, providing further good cause.

                                       CONCLUSION

       For these reasons, Plaintiff prays that this Court reset the hearing on InfoWars’

motion so that Plaintiff can learn the full extent of InfoWars’ malicious conduct and

responsibility. Alternatively, Plaintiff prays that this Court denies the motion and awards

reasonable costs.


                                           Respectfully submitted,

                                           KASTER LYNCH FARRAR & BALL, LLP


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                                             50
                                 CERTIFICATE OF SERVICE


       I hereby certify that on August 27, 2018 the forgoing document was served upon the
following in accordance to Rule 21 of the Texas Rules of Civil Procedure:


Via E-Sevice: fly63rc@verizon.net

Mark C. Enoch
Glast, Phillips & Murray, P.C.
14801 Quorum Drive, Ste. 500
Dallas, Texas 75254




                                           51
     EXHIBIT A


Affidavit of Fred Zipp
                                  AFFIDAVIT OF FRED ZIPP

STATE OF TEXAS                §
                              §
COUNTY OF HARRIS              §


       Before me, the undersigned notary, on this day personally appeared FRED ZIPP, a person
whose identity has been established to me. Upon being duly sworn, Affiant states:

                                  PERSONAL BACKGROUND

       I have spent 39 years in daily newspaper journalism and journalism education.

        From 1979 to 1984, I was a reporter and assistant city editor at the Beaumont Enterprise in
Beaumont, Texas. From 1984 to 1987, I was a sports copy editor, assistant sports editor and
assistant city editor at the Austin American-Statesman in Austin, Texas. From 1987 to 1998, I was
assistant metro editor, deputy metro editor, news editor and metro editor the Palm Beach Post in
West Palm Beach, Florida. In 1998, I returned to the American-Statesman as assistant managing
editor, managing editor, and editor. Over the course of my career, I gained extensive experience
and expertise in the responsible delivery of news content to a mass media audience.

         In 2012, I began teaching at the University of Texas at Austin. At the University of Texas,
I supervise a digital media initiative known as Reporting Texas which functions similarly to a
newsroom; students are the reporters, and I am their editor. I help them conceive, report and write
stories that are posted on the reportingtexas.com website.

       I have been a director and officer of the Freedom of Information Foundation of Texas and
the Headliners Foundation of Texas, an organization that promotes journalism excellence in the
state.

                                     SCOPE OF REVIEW

       In arriving at my opinions in this case, I have used the same principles and analysis as I
have used throughout my journalism career to determine whether particular assertions could be
responsibly published. This review included an examination of the disputed statements as well as
a variety of relevant background materials. I have reviewed numerous background items,
including:

               •   Public domain materials relating to the Sandy Hook shooting.

               •   Materials from the final report published by the Connecticut
                   Department of Emergency Services and Public Protection,
                   available at: http://cspsandyhookreport.ct.gov/



                                                 1
                                                                                                  Exhibit A
               •   Various articles and social media content from InfoWars.

               •   Various articles and reference materials concerning InfoWars

               •   My own personal reference materials and texts.

               •   Video clips containing statements by InfoWars about Sandy
                   Hook, along with transcripts of those video clips created by a
                   court reporter. Those transcripts are attached to my affidavit.

               •   A July 26, 2017, YouTube video from InfoWars entitled “Zero
                   Hedge Discovers Anomaly in Alex Jones Hit Piece.” A digital
                   copy is attached to this affidavit.

               •   A July 20, 2017, segment of the Alex Jones show in which the
                   July 26, 2017, video was republished.

       It is my belief that discovery will likely produce further relevant evidence, but I am
confident that enough material exists in the public domain to reach reliable opinions for the
purposes of these initial findings.

                      BACKGROUND KNOWLEDGE OF INFOWARS

        Having been involved in media in Austin for 23 years, I was aware of Alex Jones and
InfoWars but felt no need to pay close attention to either one before agreeing to review the
materials in this lawsuit. Nonetheless, I was aware of InfoWars’ extremely poor reputation in the
media industry with respect to the reliability of the information it publishes, and I also knew Mr.
Jones had alleged the Sandy Hook Elementary School shooting was a government hoax involving
actors.

       After I asked to review the events of this lawsuit, I have spent a significant amount of time
reading articles on InfoWars.com and reviewing audio and video recordings posted to the website.
While the site purports to be a news and information operation, it is clear that it is actually a
propaganda outlet for Mr. Jones’ theories about a global conspiracy to control and enslave the
world’s population.

        Alex Jones and InfoWars generally have a signature style: rapid-fire assertion of various
data points with little or, more often, no attribution. The assertions are presented to the viewer as
facts. Underlying the presentation is the premise that Jones is at war with “the globalists” – or their
various stand-ins, including the Illuminati, Jews and Communists -- and that he wins the war
by marshaling his assertions more effectively than they do. In traditional journalism, by contrast,
attributing assertions to sources is an essential element of the work, and the attribution becomes
more important in proportion to the seriousness of the facts asserted.


                                                  2
        According to the American Press Institute, “Journalism is the activity of gathering,
assessing, creating, and presenting news and information. It is also the product of these
activities…These elements not only separate journalism from other forms of communication, they
are what make it indispensable to democratic societies.” 1 The process of journalism is dependent
on responsible verification in which information is gathered and its accuracy is evaluated. In
coming to my opinions, I have analyzed InfoWars’ conduct against the well-established standards
of the journalism profession.

                                    INFOWARS’ 2017 BROADCASTS

1.         InfoWars’ June 26 and July 20 Videos.

        After Mr. Heslin condemned InfoWars’ false statements about Sandy Hook during an
interview with Megyn Kelly on NBC TV, InfoWars produced a video in which it claimed that Mr.
Heslin’s statements about his last moments with his child were a lie. InfoWars host Owen Shroyer
began the video by citing an article from an anonymous blog called “Zero Hedge.” The video
shows that the anonymous blog post had been “shared” only three times before it was featured on
InfoWars’ video. InfoWars took this obscure blog post that almost nobody in the world had seen
and used it to smear Mr. Heslin.

        In the interview, Mr. Heslin told Ms. Kelly that he buried his son, held his body, and saw
his fatal injury. Concerning Mr. Heslin’s claim, Mr. Shroyer stated the following:

                   The statement he made, fact checkers on this have said cannot be
                   accurate. He’s claiming that he held his son and saw the bullet hole
                   in his head. That is his claim. Now, according to a timeline of events
                   and a coroner’s testimony, that is not possible. And so one must look
                   at Megyn Kelly and say, Megyn, I think it's time for you to explain
                   this contradiction in the narrative because this is only going to fuel
                   the conspiracy theory that you're trying to put out, in fact.

                   So -- and here's the thing too, you would remember -- let me see
                   how long these clips are. You would remember if you held your dead
                   kid in your hands with a bullet hole. That’s not something that you
                   would just misspeak on. So let's role the clip first, Neil Heslin telling
                   Megyn Kelly of his experience with his kid. 2

        Mr. Shroyer then played a clip from the interview in which Mr. Heslin stated, “I lost my
son. I buried my son. I held my son with a bullet hole through his head.” After playing the clip,
Mr. Shroyer stated:




1
    https://www.americanpressinstitute.org/journalism-essentials/what-is-journalism/
2
    Exhibit A-1, 2017-06-26 - Zero Hedge Discovers Anomaly In Alex Jones Hit Piece (Full Segment)

                                                        3
                  So making a pretty extreme claim that would be a very thing, vivid
                  in your memory, holding his dead child. Now, here is an account
                  from the coroner that does not corroborate with that narrative. 3

        Mr. Shroyer then played a short clip from a news conference with Dr. Wayne Carver, the
medical examiner at Sandy Hook. In the clip, Dr. Carver stated that “we did not bring the bodies
and the families into contact. We took pictures of them.” Dr. Carver stated in the clip that “we felt
it would be best to do it this way.” Mr. Shroyer also showed an edited clip of an interview with
Chris and Lynn McConnel in which Anderson Cooper states, “It’s got to be hard not to have been
able to actually see her.”

        At the end of the video, Mr. Shroyer stated, “Will there be a clarification from Heslin or
Megyn Kelly? I wouldn’t hold your breath. [Laugh]. So now they’re fueling the conspiracy theory
claims. Unbelievable.” 4

        On July 20, 2017, during an episode of The Alex Jones Show, Mr. Jones republished the
entire segment with Mr. Shroyer.

         My review shows that the InfoWars video creates a false impression, both in its explicit
text and in its implications. The video creates the false impression by incorporating, contrary to
widely accepted journalistic standards, 5 an edited, incomplete account of Dr. Carver’s and an
edited, incomplete account of the McDonnel interview. It is clear to me that any publisher would
have serious doubt about stating that Mr. Heslin could not have held his child nor seen his wound
and that any publisher would entertain serious doubt about the truth of such a claim. In fact, the
evidence I reviewed makes it clear that InfoWars was being purposely deceptive in an act of
retaliation.

                                                   OPINIONS

1.       InfoWars’ False Statements in 2017 Impugned the Reputation of the Plaintiffs.

        It is my opinion that the Shroyer video defamed Neil Heslin by impugning his reputation
with false statements about his honesty or integrity. Mr. Shroyer arranged edited footage in a
misleading and dishonest way to attack Mr. Heslin. At best, the InfoWars video is a mishmash of
out-of-context statements that creates a dishonest portrait of Mr. Heslin, his statements and the
events of Sandy Hook. At worst, it was a calculated and unconscionably cruel hit-job intended to
smear and injure a parent who had the courage to speak up about InfoWars’ falsehoods. In either
case, InfoWars recklessly disregarded journalistic standards in approaching this story because
disregarding those standards was necessary to carry out its distortion of events.



3
  Id.
4
  Id.
5
  See Society of Professional Journalists Code of Ethics, at https://www.spj.org/ethicscode.asp; esp. “Provide
context…” and “Never deliberately distort…”

                                                          4
         Mr. Shroyer attributes the defamatory statements about Mr. Heslin to the anonymous Zero
Hedge website. Republishing material by an anonymous author as if it were fact is inconsistent
with journalistic standards. 6 Clearly, the point of Mr. Shroyer’s video was that the allegations are
true. It was not a neutral report about the Zero Hedge allegation. Rather, InfoWars adopted the
allegations and attempted to persuade its audience that Mr. Heslin’s description of his actions was
not possible. Mr. Shroyer’s callous statements about the “dead kid” throughout the video are
intended to support and bolster an allegation that Mr. Heslin is lying. Mr. Shroyer also made it
clear that he was not accusing Mr. Heslin of an innocent mistake. Mr. Shroyer asserts the event is
“not something that you would just misspeak on” because “you would remember if you held your
dead kid in your hands with a bullet hole.” 7

       After the accusations appeared on InfoWars, Mr. Heslin was featured on numerous
conspiracy websites and social media networks as internet users made wild speculations about
him. Mr. Heslin had now become fodder for the Sandy Hook conspiracy fanatics. For example, he
appeared in an internet meme accusing him of being an actor who also “played” a fireman killed
on 9/11:




                                                                                              8




6
  Id., esp., “Identify sources clearly…”
7
  Exhibit A-1, 2017-06-26 - Zero Hedge Discovers Anomaly In Alex Jones Hit Piece (Full Segment)
8
  https://busy.org/@barrysoetoro/neil-heslin-is-dead-9-11-fireman

                                                      5
       Once a person’s name enters conspiracy culture, there is no limit for how bizarre the
accusations can become. One conspiracy website alleged that Mr. Heslin’s name was actually an
anagram hiding his secret purpose with the Illuminati:




                                                                                            9



      Anti-Semitism appears to be common among conspiracy fanatics, who believe the
“Globalists” are controlled by Jewish interests. In the weeks after the InfoWars video appeared,
Mr. Heslin became the target of these bigots:




                                                                                                     10




9
 http://theconspiracyzone.podcastpeople.com/posts/68433
10
  https://www.johndenugent.com/how-the-whole-anti-confederate-hysteria-began-the-fake-charleston-church-
shooting-using-crisis-actor-john-graas/

                                                      6
       The InfoWars video was not only false and disparaging, but also influential; after it
appeared, a group of irrational and dangerous conspiracy fanatics turned their attention to Mr.
Heslin. The InfoWars video exposes Mr. Heslin to ridicule and contempt, and it is reasonable to
believe that it could encourage bad actors who could become a threat to his safety.

           A.      Background Context of the 2017 Statements.

        InfoWars’ 2017 statements were not made in isolation. The 2017 statements were the latest
allegation in a series of reckless falsehoods InfoWars has been making about Sandy Hook for five
years. Mr. Jones used these false statements as evidence for his contention that the Sandy Hook
shooting was faked or staged, and that the participants are engaged in a sinister cover-up.

        In a January 27, 2013, broadcast entitled “Why People Think Sandy Hook is a Hoax,” Mr.
Jones first alleged that the event had been faked:

                   In the last month and a half, I have not come out and said that this
                   was clearly a staged event. Unfortunately, evidence is beginning to
                   come out that points more and more in that direction…Something
                   serious is going on here, and CNN over and over again is at the heart
                   of the fishy things that are happening…

                   Now, ladies and gentlemen, the finale. I saw this footage where
                   Anderson Cooper turns. He's supposedly there at Sandy Hook in
                   front of the memorial, and his whole forehead and nose blurs out.
                   I've been working with blue screen, again, for 17 years. I know what
                   it looks like. It's clearly blue screen, clearly. 11

       In an April 16, 2013, broadcast entitled “Shadow Govt Strikes Again,” Mr. Jones was
discussing was various plots behind various national tragedies. During his remarks, he stated:
“They staged Sandy Hook. The evidence is just overwhelming, and that’s why I’m so desperate
and freaked out.” 12

       In a March 14, 2014, broadcast entitled “Sandy Hook, False Narratives Vs. The Reality,”
Mr. Jones again repeated numerous false and irresponsible claims. Mr. Jones then asserted that the
event was pre-planned and featured actors as a part of a cover-up:

                   Folks, we’ve got video of Anderson Cooper with clear blue-screen
                   out there. [Shaking head]. He’s not there in the town square. We got
                   people clearly coming up and laughing and then doing the fake
                   crying. We’ve clearly got people where it’s actors playing different
                   parts for different people, the building bulldozed, covering up
                   everything. Adam Lanza trying to get guns five times we’re told.
                   The witnesses not saying it was him…I’ve looked at it and
                   undoubtedly, there’s a cover-up, there’s actors, they’re
11
     Exhibit A3 - Transcript - 2013-01-27 - Why People Think Sandy Hook is a Hoax (Clip at 12m58)
12
     Exhibit A4 - Transcript - 2013-04-16 - Shadow Govt Strikes Again (Clip at 13m20s)

                                                         7
                manipulating, they’ve been caught lying, and they were pre-
                planning before it and rolled out with it. 13

        In a May 13, 2014, broadcast entitled “Bombshell Sandy Hook Massacre Was A DHS
Illusion Says School Safety Expert,” Mr. Jones again repeated his false statements:

                They don't even hide this stuff, ladies and gentlemen. Anderson
                Cooper, CIA, up there, who cares if it's blue screen…You're looking
                at how they don't any of the standard stuff, the paperwork, the police
                reports, no helicopter sent, no rescue, kids going in circles totally
                staged, men with guns in the woods getting grabbed, no names
                released. They deny it went on. Later have to admit it went on but
                say we're not answering questions. I mean, clearly it's a drill, just
                like the Boston bombing. I don't know exactly what's going on, but
                it just -- the official story isn't true. 14

        In a September 25, 2014, broadcast entitled “Connecticut PD Has FBI Falsify Crime
Statistics,” Mr. Jones stated:

                This is not a game. They are hopping mad we're covering this. CNN
                admits they did fake scud attacks on themselves back in 1991, 1990.
                Would they stage this? I don't know. Do penguins live in Antarctica?
                Wolfgang W. Halbig's our guest, former state police officer, then
                worked for the customs department, and then over the last decade's
                created one of the biggest, most successful school safety training
                grips. And he just has gone and investigated, and it's just phony as a
                three-dollar bill… 15

                If you've got a school of 100 kids and then nobody can find them,
                and you've got parents laughing going “Ha, Ha, Ha,” and then they
                walk over to the camera and go (crying), and I mean, not just one,
                but a bunch of parents doing this and then photos of kids that are
                still alive they said die. I mean, they think we're so dumb that it's
                really hidden in plain view, and so the preponderance -- I mean, I
                thought they had some scripting early on to exacerbate and milk the
                crisis as Rahm Emmanuel said, but when you really look at it, where
                are the lawsuits? There would be incredible lawsuits and payouts,
                but there haven't been any filed, nothing. I've never seen this. This
                is incredible. 16




13
   Exhibit A5 - Transcript - 2014-03-14 - Sandy Hook, False Narratives Vs. The Reality (Clip at 26s)
14
   Exhibit A6 - Transcript - 2014-05-13 - Bombshell Sandy Hook Massacre Was A DHS Illusion Says School Safety
Expert (Clip at 17m)
15
   Exhibit A7 - Transcript - 2014-09-25 - Connecticut PD Has FBI Falsify Crime Statistics (Clip at 22m)
16
   Exhibit A8 - Transcript - 2014-09-25 - Connecticut PD Has FBI Falsify Crime Statistics (Clip at 22m)

                                                     8
      In a December 27, 2014, broadcast entitled “Lawsuit Could Reveal Truth About Sandy
Hook Massacre,” Mr. Jones stated:

                 All I know is I saw Cooper with blue screen out there, green screen.
                 I know I saw the kids doing fake, you know, rotations in and out of
                 the building. They tore it down, all the unprecedented gag orders,
                 you know, the police in anti-terror outfits in the woods. Then they
                 denied that, that had been in the news. I mean, something is being
                 hidden there… 17

                 I said they may have killed real kids, but they're practicing how to
                 propagandize, and how to control the press, and how to put out a
                 product that's a fraud when I just saw the heavy, heavy, heavy
                 scripting. That was what was so clear. And then the parents laughing
                 and then one second later doing the actor breathing to cry. I mean,
                 it just -- it's just over the top. Over the top sick. 18

       In a December 29, 2014, broadcast entitled “America the False Democracy,” Mr. Jones
continued to insist that Sandy Hook was fake:

                 I've had investigators on. I've had the state police have gone public,
                 you name it. The whole thing is a giant hoax. And the problem is
                 how do you deal with a total hoax? I mean it's just -- how do you
                 even convince the public something is a total hoax?

                 The general public doesn't know the school was actually closed the
                 year before. They don't know. They've shielded it all, demolished
                 the building. They don't know that they had their kids going in
                 circles in and out of the building as a photo op. Blue screen, green
                 screens, they got caught using. I mean the whole thing.

                 But remember, this is the same White House that's been caught
                 running the fake Bin Laden raid that's come out and been faked. It's
                 the same White House that got caught running all these other fake
                 events over and over again, and it's the same White House that says
                 I never said that you could keep your doctor when he did say you
                 could keep doctor. People just instinctively know that there's a lot
                 of fraud going on, but it took me about a year with Sandy Hook to
                 come to grips with the fact that the whole thing was fake. I mean,
                 even I couldn't believe it. I knew they jumped on it, used the crisis,
                 hyped it up, but then I did deep research; and my gosh, it just pretty
                 much didn't happen. 19

17
   Exhibit A9 - Transcript - 2014-12-27 - Lawsuit Could Reveal Truth About Sandy Hook Massacre (Clip at 3m08s)
18
   Exhibit A10 - Transcript - 2014-12-27 - Lawsuit Could Reveal Truth About Sandy Hook Massacre (Clip at
4m34s)
19
   Exhibit A11 - Transcript - 2014-12-29 - America the False Democracy (Clip at 11m53s)

                                                      9
       In a January 13, 2015, broadcast entitled “Why We Accept Gov't Lies,” Mr. Jones
continued his allegations about Sandy Hook. He asserted that the event was “completely fake” and
“manufactured”:

                 You learn the school had been closed and re-opened. And you’ve
                 got video of the kids going in circles, in and out of the building, and
                 they don’t call the rescue choppers for two hours, and then they tear
                 the building down, and seal it. And they get caught using blue-
                 screens, and an email by Bloomberg comes out in a lawsuit, where
                 he’s telling his people get ready in the next 24 hours to capitalize on
                 a shooting.

                 Yeah, so Sandy Hook is a synthetic, completely fake with actors, in
                 my view, manufactured. I couldn’t believe it at first. I knew they had
                 actors there, clearly, but I thought they killed some real kids. And it
                 just shows how bold they are that they clearly used actors. I mean
                 they even ended up using photos of kids killed in mass shootings
                 here in a fake mass shooting in Turkey, or Pakistan. The sky is now
                 the limit. 20

        In a February 12, 2015, broadcast with an unknown title, Mr. Jones continued to repeat his
false claims. Mr. Jones stated, “I know they're using blue screens…There are literally hundreds of
smoking guns here that this thing doesn't add up.” 21

      In a March 4, 2015, broadcast entitled “New Bombshell Sandy Hook Information In-
Bound,” Mr. Jones stated, “We know it stinks. I mean, it's phony. The question is what is going
on. We don't know. We just know it's fake. How fake we don't know. It's sick.” 22

       In a July 7, 2015, broadcast entitled “Government Is Manufacturing Crises,” Mr. Jones
again asserted that Sandy Hook was staged:

                 If they did kill kids, they knew it was coming, stocked the school
                 with kids, killed them, and then had the media there, and that
                 probably didn't even happen. I mean, no wonder we get so many
                 death threats and so much heat and so much other stuff I'm not going
                 to get into, behind the scenes, when we touch Sandy Hook because,
                 folks, it's as phony as a three-dollar bill. 23

      In a July 7, 2015, broadcast entitled “Retired FBI Agent Investigates Sandy Hook Mega
Massive Cover Up,” Mr. Jones repeated a large selection of his prior false claims about Sandy
Hook:

20
   Exhibit A12 - Transcript - 2015-01-13 - Why We Accept Gov't Lies (Clip at 10m36s)
21
   Exhibit A13 - Transcript - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 0m26s)
22
   Exhibit A14 - Transcript - 2015-03-04 - New Bombshell Sandy Hook Information In-Bound (Clip at 32m30s)
23
   Exhibit A15 - Transcript - 2015-07-07 - Government Is Manufacturing Crises (Clip at 32m)

                                                       10
                No emergency helicopters were sent. The ambulances came an hour
                and a half later and parked down the road. DHS an hour and a half
                later with the time stamp put up signs saying sign in here. They had
                porta-potties being delivered within an hour and a half. It looked like
                a carnival. It looked like a big PR stunt.

                Came out that Bloomberg a day before sent an email out to his gun
                control groups in all 50 states saying, "Prepare to roll, maybe
                operation coming up." That came out in the news.

                We have the emails from city council back and forth and the school
                talking about it being down a year before. We have the school then
                being demolished, and the records being sealed. We have videos that
                look just incredibly suspicious where people are laughing and
                everything, and then they start huffing and puffing and start crying
                on TV, which is pure acting method…

                But I mean, this is just so big. And the more we look at Sandy Hook,
                I don't want to believe it's a false flag. I don't know if kids really got
                killed. But you got green screen with Anderson Cooper where I was
                watching the video and the flowers and plants are blowing in some
                of them, and then they blow again the same way. It's looped, and
                then his nose disappears. I mean, it's fake.

                The whole thing is just -- I don't know what happened. It's kind of
                like if you see a hologram at Disney World in the Haunted House,
                you know. I don't know how they do it, but it's not real. When you
                take your kids to see, you know, the Haunted House and ghosts are
                flying around, they're not real, folks. It's staged. 24

       Mr. Jones also stated, “It’s 101, they’re covering up…This is mega-massive cover-up. My
God.” Mr. Jones stated that the tragedy was “totally made up with green screens, everything. And
we've got them on green screens.” Mr. Jones stated, “That's how evil these people are is that they
can have CNN involved, all these people.” 25

        In a November 18, 2016, broadcast entitled “Alex Jones Final Statement on Sandy Hook,”
Mr. Jones directly addressed the growing public controversy caused by his statements. In doing
so, he began by repeating the numerous false claims he has made over the years.

                Number one, the day before this tragic event happened an email was
                sent out by Bloomberg's anti-gun group saying prepare for a big

24
   Exhibit A16 - Transcript - 2015-07-07 - Retired FBI Agent Investigates Sandy Hook Mega Massive Cover Up
(Clip 0-5m)
25
   Exhibit A17 - Transcript - 2015-07-07 - Retired FBI Agent Investigates Sandy Hook Mega Massive Cover Up
(Clip at 9m40s)

                                                     11
                    event. But the biggest piece of evidence, the smoking gun, if you
                    would, of a cover-up, of whatever really happened is the Wayback
                    Machine, the internet archive. We see Sandy Hook's Newtown
                    website K through 12 having zero traffic 2008, '09, '10, '11, '12, and
                    then all of a sudden it just explodes. It's impossible to have zero
                    traffic to a K through 12 entire school system. And the word is that
                    school system was shut down for those years. That's what the
                    records show. They tell us it was open…

                    And early on, that day we watched footage of kids going in circles
                    in and out of the building. You'd be running them away from the
                    building. Emergency helicopters weren't called. Instead port-potties
                    were prepared for the press within hours of the event. I saw the
                    helicopters that did respond, the police helicopters saying that there
                    were men or a man in the woods in camouflage…

                    And then I saw Anderson Cooper -- I've been in TV for 20-
                    something years; I know a blue screen or a green screen -- turn, and
                    his nose disappears. Then I saw clearly that they were using footage
                    on the green screen looped because it would show flowers and other
                    things during other broadcasts that were moving and then basically
                    cutting to the same piece of footage…

                    Then we see footage of one of the reported fathers of the victims,
                    Robby Parker, doing classic acting training where he's laughing and
                    joking. And they say, hey, we're live, and he goes, oh. [Jones mock
                    cries]. And maybe that's real. I'm sure it is.

                    But you add it to all the other things that were happening and all the
                    other fake news the media has been caught in, and CNN back in
                    1991 openly faking scud missile attacks on Saudi Arabia and Israel
                    when they were back in Atlanta; and the satellite feeds caught them
                    admitting that it was all fake. We'd be crazy not to question this
                    because bare minimum they were faking some of the shots and some
                    of the coverage.

                    So to be clear, we point out clear chroma key, also known as blue
                    screen or green screen being used, and we're demonized. We point
                    out they're clearly doing fake interviews. 26

        In other words, Mr. Jones used his false claims as proof that the truth about Sandy Hook
was being artificially manipulated. In a chilling finale, Mr. Jones told his audience that the parents
were actors:



26
     Exhibit A18 - Transcript - 2016-11-18 - Alex Jones Final Statement on Sandy Hook (Clip at 4m59s)

                                                         12
                And why should anybody fear an investigation if they have nothing
                to hide. In fact, isn't that in Shakespeare's Hamlet, “me thinks you
                protest too much."

                But this particular case they are so scared of an investigation. So
                everything they do basically ends up blowing up in their face. So
                you guys are going to get what you want now. I'm going to start
                reinvestigating Sandy Hook and everything else that happened with
                it…

                And so if children were lost in Sandy Hook, my heart goes out to
                each and every one of those parents and the people that say they're
                parents that I see on the news. The only problem is I've watched a
                lot of soap operas, and I've seen actors before. And I know when I'm
                watching a movie and when I'm watching something real. 27

         On April 22, 2017, InfoWars aired the “Sandy Hook Vampires Exposed” broadcast, which
is the subject of a separate lawsuit brought by Leonard Pozner and Veronique De La Rosa. During
that video, InfoWars once again made the false accusation that Ms. De La Rosa conducted a fake
interview with Anderson Cooper as evidence of a conspiracy to cover up the truth about Sandy
Hook.

        On June 13, 2017, Mr. Jones stated in a Facebook video that “there's been a cover-up, and
Anderson Cooper got caught faking where his location was with blue screen.” 28 On June 19, 2017,
Mr. Jones appeared for an interview with Megyn Kelly. During this interview, Mr. Jones continued
to insist there had been a cover-up. While he waffled on whether he now believed children were
killed, he did not abandon his accusations about a cover-up. Mr. Jones claimed it was suspicious
that the children’s autopsy records were not released to the public, and he again claimed to have
seen video of kids going in circles in and out of Sandy Hook Elementary. Mr. Jones stated, “I do
think there's some cover-up and some manipulation.” 29

       In an October 26, 2017, broadcast entitled “JFK Assassination Documents To DROP
Tonight,” Mr. Jones again returned to the subject of Sandy Hook. In this broadcast, he repeated
his accusation that “it's as phony as a three-dollar bill with CNN doing fake newscasts, with blue
screens.” 30

        B.      The reasonable meaning of InfoWars’ June 26, 2017 Video.

       Before publishing, journalists must evaluate how their story will be received by the public.
The editorial process includes an analysis of how ordinary readers of average intelligence will
understand and interpret the story. During my years in newspaper journalism, I gained extensive

27
   Exhibit A19 - Transcript - 2016-11-18 - Alex Jones Final Statement on Sandy Hook (Clip at 15m22s)
28
   Exhibit A20 - Transcript - 2017-06-13 - Media Refuses To Report Alex Jones’ Real Statements On Sandy Hook
(Clip at 14m)
29
   Exhibit A21 - Transcript - 2017-06-19 - Megyn Kelly Profile (Clip at 7m55s)
30
   Exhibit A22 - Transcript - 2017-10-26 - JFK Assassination Documents To DROP Tonight (Clip at 1h13m30s)

                                                     13
expertise in assessing the reasonable meanings of a text. As editor, I routinely applied this expertise
in an effort to avoid creating a misimpression among our readership. In this case, I likewise
analyzed the publication to determine what meaning could be reasonably understood by a person
of average intelligence.

        It is my opinion that a person of ordinary intelligence would understand the June 26, 2017,
video as an accusation that Mr. Heslin was lying about the circumstances of his son’s death.
Unquestionably, the gist of the video is that Mr. Heslin’s claim of holding his son was not possible.
InfoWars used a deceptively edited clip of Lynn McDonnel to convince it viewers that she was
not allowed to see her child’s body. It also used an out-of-context clip of Dr. Carver to convince
viewers that parents were only allowed to see photographs of their dead children. These actions
were aimed at manufacturing a controversy where none existed.

        Moreover, the allegation against Mr. Heslin was merely the latest part of a calculated five-
year campaign to convince InfoWars’ viewers that the Sandy Hook massacre was staged and that
the parents were actors in a “false flag” event. In the context of this five-year course of harassment
and deception, it is clear that a reasonable person could understand InfoWars to be implying that
Mr. Heslin’s “impossible” claim about holding his alleged son is evidence that he was an actor in
the “false flag” and not a real parent. As such, a reasonable viewer could understand that the video
ultimately accuses Mr. Heslin of criminal conduct, such as falsifying a police report or fraud.

        Not only is it my opinion that these statements could be understood in this manner, but
there is ample evidence that InfoWars’ statements were indeed understood in this manner by the
public at large. The nature of InfoWars’ statements about Sandy Hook have been widely reported
in the media. The national outrage created by the unmistakable meaning of Mr. Jones’ statements
about Sandy Hook is well documented. In an April 19, 2018, editorial entitled “Thank You for
Suing Alex Jones,” the Hartford Courant editorial board wrote:

                Alex Jones and his website Infowars offer the worst kind of free
                speech — incendiary malice, based in falsehood, with no social
                value…They claim the Sandy Hook parents are actors. They claim
                the children never existed. They weave wild conspiracies from thin
                air. They have no regard for human suffering. 31

       The New York Daily News Editorial Board wrote about Jones’ statements in an editorial
on April 17, 2018, entitled “Defamed by the devil: Sandy Hook parents take on Alex Jones’ lies.”
The Board wrote:

                All decent people should cheer on Leonard Pozner, Veronique De
                La Rosa and Neil Heslin…for filing a defamation lawsuit in Texas
                court against Alex Jones. As a radio show host and the grand poobah
                of Infowars.com, Jones has peddled wretched whole-cloth lies about



31
  http://www.courant.com/g00/opinion/editorials/hc-ed-alex-jones-sandy-hook-hoax-lawsuit-20180417-
story.html?i10c.encReferrer=&i10c.ua=1&i10c.dv=14

                                                     14
                 the 2012 Newtown massacre: that it was all a hoax, that the victims
                 and their mourning mothers and fathers are actors. 32

       In short, nobody who has been paying attention to InfoWars has any doubt about the
meaning of its claims. InfoWars’ statements about Mr. Heslin are the latest part of its years-long
campaign to convince Mr. Jones’ viewers that the events of Sandy Hook should not be believed.
Given the persistence of the Sandy Hook hoax conspiracy online, it is clear that many of Mr. Jones’
followers have accepted his allegations as true. A 2016 poll conducted by Fairleigh Dickinson
University found that 24 percent of Americans believe Sandy Hook was either “definitely” or
“possibly” faked. 33

        Additionally, it is clear from my review that InfoWars’ statements would be reasonably
understood as assertions of fact, not opinions. Mr. Shroyer did not equivocate in his statements
about Mr. Heslin. Mr. Shroyer claimed Mr. Heslin’s statement about holding his son was “not
possible.” He also referenced the involvement of unspecified “fact-checkers,” which obviously
signals an assertion of fact, not an opinion. It is my conclusion that that InfoWars’ 2017 statements
about Mr. Heslin would tend to injure his reputation, impeach his honesty and integrity and expose
him to contempt or ridicule.

2.      InfoWars’ accusations about Mr. Heslin were made with reckless disregard for truth.

        I have reviewed materials which lead me to believe that InfoWars demonstrated a reckless
disregard for truth. It is my opinion that InfoWars not only had serious doubts about the truth of
their 2017 statements about Mr. Heslin, but that they were motivated by a desire to mislead and
deceive.

        A.       InfoWars’ accusations were inherently improbable and manufactured using
                 edited out-of-context footage.

        Mr. Shroyer’s statements about Mr. Heslin were farfetched and shocking on their face. It
required an extraordinary level of verification before being repeatedly stated as fact. Yet it is clear
that InfoWars not only performed no verification, but also used edited source material in a
misleading way. Both are serious departures from standard journalism practice. 34 For example,
there is a full copy of Dr. Carver’s interview posted on YouTube, 35 and portions of the interview
show that Mr. Shroyer has edited out a small part to create the impression that the parents were
not allowed access to their children. Dr. Carver clearly stated that at the time of his interview, the
bodies had been released to private funeral homes on behalf of the families. Mr. Shroyer used the
same dishonest tactic to edit a portion of an interview with Sandy Hook parents Chris and Lynn
McDonnel. Mr. Shroyer cut off the end of Ms. McDonnel’s answer to make it appear that she was
not allowed to see her daughter’s body. A full copy of the transcript shows that Ms. McDonnel

32
   http://www.nydailynews.com/opinion/defamed-devil-sandy-hook-parents-alex-jones-lies-article-1.3939094
33
   https://view2.fdu.edu/publicmind/2016/161011/
34
   See Society of Professional Journalists Code of Ethics, at https://www.spj.org/ethicscode.asp; esp. “Take
responsibility…”, Provide context…” and “Never deliberately distort…”
35
   https://www.youtube.com/watch?v=k3NS1lLo6As

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had the opportunity to see her daughter’s body. 36 Mr. Shroyer was only able to support his bogus
accusations by using deceptively edited footage.

       Serious claims require serious evidence. Here, Mr. Shroyer used sham evidence. Not only
did InfoWars ignore basic precautions taken by journalists, but it intentionally distorted the
evidence in a malicious way to attack and retaliate against Mr. Heslin.

        B.      InfoWars relied upon dubious and unhinged sources.

        As noted above, Mr. Shroyer began the video by referencing a post on an anonymous blog
known as “Zero Hedge.” It appears that Mr. Shroyer aired his segment within hours of seeing the
Zero Hedge blog post. It does not appear that Mr. Shroyer did anything to investigate the author
behind the anonymous post. Given the seriousness of the accusations, Mr. Shroyer acted recklessly
and in a manner contrary to standard journalism practice 37 by hastily endorsing the accusations of
this anonymous author.

        In addition, the Zero Hedge article cites accusations made by an individual named Jim
Fetzer. In its Motion to Dismiss, InfoWars described Mr. Fetzer with an air of respectability,
referring to him as “Professor Emeritus of the University of Minnesota.” In truth, the retired
professor has long been understood to be an unhinged crank. I do not use these terms lightly. Mr.
Fetzer, author of the disturbingly titled self-published book “Nobody Died at Sandy Hook” 38 has
spent years spreading ridiculous and bizarre claims about the event. For example, Mr. Fetzer is
convinced that Sandy Hook parent Leonard Pozner is actually a different man named Reuben
Vabner. Mr. Fetzer wrote:

                Do not let the difference in Reuben and Lenny’s ears fool you: they
                are still lopsided in the same direction even though the tops are
                bigger on Lenny, which we take to be one of the means they faked
                to deny they are the same. Fotoforensics demonstrates to anyone
                interested that Lenny’s ears were extended at the tips. His chin was
                fattened up as well, which you can also see in photo forensics. Take
                away the ear tips and the double chin and you have Reuben
                Vabner. 39

       Mr. Fetzer also posts his purported “photo forensics” which he claims prove that Mr.
Pozner is actually Mr. Vabner:




36
    http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html
37
    See Society of Professional Journalists Code of Ethics, at https://www.spj.org/ethicscode.asp; esp. “Take
responsibility….” and “Identify sources…”
38
   https://books.google.com/books/about/Nobody_Died_at_Sandy_Hook.html?id=DH8cjwEACAAJ&source=kp_bo
ok_description
39
    http://jamesfetzer.blogspot.com/2018/06/philip-kraske-sandy-hook-alex-jones.html

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         Mr. Fetzer’s bizarre writings feature notably anti-Semitic rants about Mr. Pozner, who he
insists is part of some international Jewish conspiracy:

               Pozner is the true picture of a traitor that has sold out his fellow man.
               He is a banker/financial consultant and an NWO shill that seems to
               have no remorse for lying and stealing everyone’s donations. Not to
               mention the trauma our people in the U.S. have endured since 9/11.

               Oh I know it’s nothing like the Zionists say they went through
               during their years in the wilderness. Especially, since they are so
               much better than us and why Leonard Pozner thinks this is all ok to
               do. 41

       Mr. Fetzer is obsessed with the notion of faked identifies, and he makes similar accusations
about the shooting victims, posting photo comparisons which he claims prove that the photos of
children are actually adults:




40
     Id.
41
     Id.

                                                  17
                                                                             42



       Mr. Fetzer tells his readers that he has located a photograph containing the female shooting
victims, who are now allegedly adolescents:




                                                                                          43




42
     Id.
43
     Id.

                                                18
       Mr. Fetzer has claimed, with no evidence, that the death certificates for shooting victims
have been faked and that a shooting victim’s gravestone was actually a computer-generated
graphic. 44 In short, no rational journalist would ever rely on Mr. Fetzer as a source for anything,
especially an allegation as improbable and serious as accusing a parent of lying about holding their
dead child. InfoWars’ uncritical endorsement of accusations being promoted by Mr. Fetzer
demonstrates its reckless and deceptive conduct.

        C.       InfoWars has a long history of making false statements about Sandy Hook.

        InfoWars has made wild claims about the Sandy Hook massacre from the beginning.
InfoWars suggested the event was a “false flag” on the day on the shooting 45, and InfoWars
explicitly made that claim over the next five years. The accusation about Mr. Heslin is simply the
latest element of InfoWars’ claim that the official story of Sandy Hook was a lie. He has
continually repeated these falsehoods over the course of five years. Countless individuals and
media organizations have thoroughly debunked each of InfoWars’ claims over the years.
Nonetheless, InfoWars has persisted in this malicious campaign.

       As part of my evaluation in this case, I reviewed video clips from over twenty InfoWars’
broadcasts between 2013-2016, all of which discuss the alleged conspiracy behind Sandy Hook.
In the videos I reviewed, InfoWars made a variety of factual allegations which are readily
disproved by basic journalistic efforts. The various claims made by Jones have been debunked
from numerous groups and individuals using a wide variety of sources in the public record.

         InfoWars had ample opportunity to investigate the accuracy of its assertions. It has devoted
an enormous amount of airtime to the tragedy, with videos and articles making extreme assertions
years after the event. Given the enormous public attention and outcry over InfoWars’ allegations,
I find it unlikely that InfoWars researchers could have avoided the widespread debunking efforts
unless they were doing so intentionally. It is my opinion that any reasonable journalist who
continued to publish these claims in 2017 would entertain serious doubts about the truth of their
statements and that they would be acting with a desire to mislead their audience.

        D.       InfoWars has a long history of recklessly claiming that national tragedies were
                 staged by the government.

        Mr. Jones’ rise to notoriety coincided with his assertions that the 9/11 terror attacks were
orchestrated by the U.S. government. InfoWars’ current promotional materials boast that “Alex
Jones is considered by many to be the grandfather of what has come to be known as the 9/11 Truth
Movement.” 46 Regarding the shooting at Columbine High School, Jones told his audience,
“Columbine, we know was a false flag. I’d say 100 percent false flag.” 47 Jones claimed that

44
   Id.
45
   Exhibit A23 - Transcript - 2012-12-14 - Connecticut School Massacre Looks Like False Flag Says Witnesses
(Clip at 9m30)
46
   Free Speech Systems, LLC Media Kit, p. 1.
47
   The Alex Jones Show, July 20, 2012, video available at:
https://www.mediamatters.org/embed/clips/2016/11/23/51244/gcn-alexjones-20120720-columbinefalseflag

                                                      19
Columbine “had globalist operations written all over it.” 48 Regarding the Oklahoma City bombing,
Jones said the bombing was a “false flag” and that “we’ve never had one so open and shut.” He
added that convicted bomber Timothy McVeigh “was a patsy, that was a staged event.” 49

        Mere hours after James Holmes killed twelve people in a movie theater in Aurora,
Colorado, Jones told his audience that there was a “100 percent chance” the shooting was a “false
flag, mind control event.” 50

       After the shooting of Rep. Gabrielle Giffords, Jones stated: “The whole thing stinks to high
heaven.” 51 Mr. Jones asserted that the Giffords shooting was “a staged mind-control operation.”

        An April 18, 2013, headline on the InfoWars website read “Proof Boston Marathon
Bombing Is False Flag Cover-Up.” 52 A week later, Mr. Jones stated on his broadcast, “I have never
seen a false flag, provocateured, staged event by a government come apart faster than it is right
now.” 53 Jones said that “patsies were set up” after being recruited by “globalist intelligence
agencies.” 54 Jones claimed that Dzhokhar Tsarnaev, who was convicted of the Boston Marathon
bombing, “was totally set up, ladies and gentlemen, to sell the police state,” and that his brother
worked for the CIA. 55

       Mr. Jones made similar accusations about the Douglas High School shooting in Parkland,
Florida, claiming a 90 percent probability that it was a false flag:




48
   The Alex Jones Show, July 20, 2012, video available at:
https://www.mediamatters.org/embed/clips/2016/11/23/51241/gcn-alexjones-20120720-columbine
49
   The Alex Jones Show, April 19, 2015, video available at:
https://www.mediamatters.org/embed/clips/2016/11/21/51199/youtube-jones-20150419-okc
50
   The Alex Jones Show, July 20, 2012, video available at:
https://www.mediamatters.org/embed/clips/2016/11/23/51243/gcn-alexjones-20120720-100
51
   Interview with Rolling Stone, March 2, 2011, available at:
http://www.rollingstone.com/politics/news/talk-radios-alex-jones-the-most-paranoid-man-in-america-20110302
52
   http://www.infowars.com/proof-boston-marathon-bombing-is-staged-terror-attack/
53
   The Alex Jones Show, April 26, 2013, available at:
https://www.mediamatters.org/embed/clips/2016/11/29/51269/youtube-alexjones-20130426-staged
54
   The Alex Jones Show, April 26, 2013, available at:
https://www.mediamatters.org/embed/clips/2016/11/29/51271/youtube-alexjones-20130426-boston
55
   The Alex Jones Show, April 8, 2015. Available at:
http://mediamatters.org/video/2015/04/08/rand-pauls-ally-alex-jones-boston-marathon-bomb/203215


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                     EXHIBIT A-1
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4               CONNECTICUT MASSACRE SHOOTING

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8              TRANSCRIPT OF INFOWARS BROADCAST

9    ZERO HEDGE DISCOVERS ANOMALY IN ALEX JONES HIT PIECE

10                      JUNE 26, 2017

11                       FULL SEGMENT

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1                MR. SHROYER:   So, folks, now here's another story.

2    You know, I don't even know if Alex knows about this, to be

3    honest with you.   Alex if you're listening and you want to --

4    or if you just want to know what's going on, Zero Hedge has

5    just published a story, "Megyn Kelly fails to fact-check

6    Sandy Hook's -- Sandy Hook father's contradictory claim in

7    Alex Jones Hit Piece."

8                Now, again, this broke -- I think it broke today.

9    I don't know what time.    But featured in Megyn Kelly's

10   expose, Neil Heslin, a father of one of the victims, during

11   the interview described what happened the day of the

12   shooting, and basically what he said -- the statement he

13   made, fact checkers on this have said cannot be accurate.

14   He's claiming that he held his son and saw the bullet hole in

15   his head.   That is his claim.

16               Now, according to a timeline of events and a

17   coroner's testimony, that is not possible.    And so one must

18   look at Megyn Kelly and say, Megyn, I think it's time for you

19   to explain this contradiction in the narrative because this

20   is only going to fuel the conspiracy theory that you're

21   trying to put out, in fact.

22               So -- and here's the thing too, you would remember

23   -- let me see how long these clips are.    You would remember

24   if you held your dead kid in your hands with a bullet hole.

25   That's not something that you would just misspeak on.
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1              So let's role the clip first, Neil Heslin telling

2    Megyn Kelly of his experience with his kid.

3              (Video played - not transcribed)

4              Okay.   So making a pretty extreme claim that would

5    be a very thing, vivid in your memory, holding his dead

6    child.

7              Now, here is an account from the coroner that does

8    not corroborate with that narrative.

9              (Video played - not transcribed)

10             Okay.   So just another question that people are now

11   going to be asking about Sandy Hook.   The conspiracy

12   theorists on the internet out there that have a lot of

13   questions that are yet to get answered.    I mean, you can say

14   whatever you want about the event.   That's just a fact.    So

15   there's another one.   Will there be a clarification from

16   Heslin or Megyn Kelly?   I wouldn't hold your breath.   So now

17   they're fueling the conspiracy theory claims.   Unbelievable.

18             We'll be back with more.

19             (Segment ended)

20             (Commercial - not transcribed)

21             (END OF AUDIO FILE)

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1                  CERTIFICATE OF TRANSCRIPTIONIST

2    I certify that the foregoing is a true and accurate

3    transcript of the digital recording provided to me in this

4    matter.

5         I do further certify that I am neither a relative, nor

6    employee, nor attorney of any of the parties to this

7    action, and that I am not financially interested in the

8    action.

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11                                ____________________________

12                                  Julie Thompson, CET-1036

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                    EXHIBIT A-2

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4      CONNECTICUT MASSACRE SHOOTING

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8    TRANSCRIPT OF INFOWARS BROADCAST

9 LOOKS LIKE FALSE FLAG SAYS WITNESSES

10           DECEMBER 14, 2012

11            CLIP AT 9M 30S

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 1                MR. JONES:     ... with all sorts of information on
 2   this subject.        But get ahold of your cousin when she settles
 3   down and get her to talk to us for any other information.                   We
 4   need to know: were there any drills that day or the day
 5   before?     Does she have anything about other shooters, or was
 6   it that she never saw the shooters?
 7                UNIDENTIFIED CALLER:         Well, I had asked them if it
 8   was supposedly too -- because they have a lot of security at
 9   that school.     You have to ring a doorbell in order to get
10   into the school.
11                MR. JONES:     Yeah, of course.          Which is another side
12   of that.     Yeah.     It's one of these federal model schools.
13                UNIDENTIFIED CALLER:         The thing that just scared
14   the daylights out of me -- I had to call right away -- is I
15   asked them, "Did they ever train for this?"                And my uncle
16   said, "Yes."     Within this school year, since September, they
17   have trained for incidents like this.
18                MR. JONES:     Well, that in and of itself isn't proof
19   of it, but they could use a drill to then bring in a patsy.
20   It could just be a Prozac head.            We'll find out.      God bless
21   you, sir.     I appreciate your call.             Stay in contact.
22                We're going to go to Rob who says email --
23                (END OF AUDIO FILE)
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12                                    Julie Thompson, CET-1036
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4      CONNECTICUT MASSACRE SHOOTING

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8    TRANSCRIPT OF INFOWARS BROADCAST

9 WHY PEOPLE THINK SANDY HOOK IS A HOAX

10           JANUARY 27, 2013

11            CLIP AT 1M 12S

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 1                MR. JONES:   Now again, in the last month and a half
 2   I have not come out and said that this was clearly a staged
 3   event.    Unfortunately, evidence is beginning to come out that
 4   points more and more in that direction, and we're going to
 5   show you that information in a moment.
 6                Now, a lot of the tens of millions of video views
 7   on YouTube concerning the Sandy Hook hoax surrounds CNN and
 8   what appears to be people who have been coached, people who
 9   have been given cue cards, people who are behaving like
10   actors.    And we see CNN criticizing all the witnesses from
11   the helicopter, and the news crews, and witnesses, adults,
12   that saw multiple people being detained who were in camo.
13   We're told, oh, those are five-year-olds saying that.        It's a
14   conspiracy theory, when it's not five-year-olds saying that.
15   It's adults.     It's police admitting that "police officers"
16   were arrested from other jurisdictions creeping around in the
17   woods.
18                Something serious is going on here, and CNN over
19   and over again is at the heart of the fishy things that are
20   happening.
21                Now, remember, in 1990-1991 when the Gulf War
22   started, CNN would send out their raw feeds to their news
23   affiliates, and on it there was clear blue screens on top of
24   the roof of CNN Center in Atlanta with their top reporters
25   claiming they were in Israel under sarin nerve gas attack




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 1   from scuds.   And later they had to admit, quietly -- this is
 2   on record; we're going to show you some clips -- that indeed
 3   they were in Atlanta, Georgia, and that they were not being
 4   attacked by scud missiles with sarin gas.
 5             CBS News got caught scripting videos as well, and
 6   there's a lot of examples of this.
 7             (END OF AUDIO FILE)
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11                                 ____________________________
12                                    Julie Thompson, CET-1036
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4     CONNECTICUT MASSACRE SHOOTING

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8 TRANSCRIPT OF INFOWARS BROADCAST

9    SHADOW GOVERNMENT STRIKES AGAIN

10           APRIL 16, 2013

11           CLIP AT 13M 20S

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 1                MR. JONES:    Let's -- and again, there's maybe a 5
 2   percent chance out of 100 that this could be real Muslim
 3   terrorists, or I guess there could be some domestic group
 4   freaked out that would go stage this.
 5                To be clear, I've never seen an Easter Bunny, but
 6   some say it's real.       To be clear, I've never seen Santa
 7   Claus.    Some say it's real.       Never seen a unicorn.     Some say
 8   it's real.     Now, I don't think it exists, but it may.
 9                Same thing with domestic terror groups.         I mean,
10   I've interviewed the cops and the people that saw the feds
11   plant the bombs in Oklahoma City.            You saw them stage Fast
12   and Furious.     Folks, they staged Aurora.         They staged Sandy
13   Hook.     The evidence is just overwhelming, and that's why I'm
14   so desperate and freaked out.          This is not fun, you know,
15   getting up here telling you this.            Somebody has got to tell
16   you the truth.     Somebody has got to stand against these
17   people.     Somebody has got to do it.
18                And I just hope everybody that is watching out
19   there that serves the system, who thinks they're going to get
20   away with all this, I hope you understand that you're not
21   going to get away with this.          You get rid of our checks and
22   balances, our protections, you're going to lose yours as
23   well.
24                And you want to throw your children out in the
25   cold.     You think you're cold-blooded.         You think you're a




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 1   winner doing stuff like this.       You're not.
 2            (END OF AUDIO FILE)
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11                                 ____________________________
12                                    Julie Thompson, CET-1036
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                  EXHIBIT A-5

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4         CONNECTICUT MASSACRE SHOOTING

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8       TRANSCRIPT OF INFOWARS BROADCAST

9 SANDY HOOK, FALSE NARRATIVES VERSUS THE REALITY

10               MARCH 14, 2014

11                 CLIP AT 26S

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 1                MR. JONES:     ...major universities he's consulted
 2   for.     I mean, he's a top consultant, long career as a state
 3   police officer in Miami, Florida.             If you're just joining us,
 4   he's been in customs, and then he got into being an educator
 5   and then security.        And he's looking at it and dissecting it
 6   like everybody else did.
 7                I mean, folks, we've got video of Anderson Cooper
 8   with clear blue screen out there.             He's not there in the town
 9   square.     We've got people clearly coming up and laughing and
10   then doing the fake crying.          We've clearly got people where
11   it's actors playing different parts of different people, the
12   building bulldozed, covering up everything.             Adam Lanza
13   trying to get guns five times we're told.             The witnesses, you
14   know, not saying it was him.           People out in the woods.
15                But we've got the investigator here, Wolfgang W.
16   Halbig.     I'm going to give you the floor, sir.          Go over your
17   16 points, the problems, the issues, and break down what you
18   believe is a total hoax.
19                I've looked at it, and undoubtedly there's a cover-
20   up.    There's actors.      They're manipulating.       They've been
21   caught lying, and they were preplanning before it and rolled
22   out with it.     So clearly I agree with you that something is
23   rotten under the floorboard.           But is it a possum, or is it a
24   human?
25                Well, regardless, they're not letting a good crisis




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 1   go to waste.   But you're the expert.        Break it down for us.
 2              (END OF AUDIO FILE)
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11                                 ____________________________
12                                    Julie Thompson, CET-1036
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4             CONNECTICUT MASSACRE SHOOTING

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8            TRANSCRIPT OF INFOWARS BROADCAST

9    BOMBSHELL SANDY HOOK MASSACRE WAS A DHS ILLUSION

10              SAYS SCHOOL SAFETY EXPERT

11                     MAY 13, 2014

12                     CLIP AT 17M

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1               MR. JONES:   They don't even hide this stuff,

2    ladies and gentlemen.   Anderson Cooper, CIA, up there, who

3    cares if it's blue screen.   Just like CNN -- I'm going back

4    to our guest. Just like CNN back there in the first Gulf

5    War was at the broadcast center in Atlanta on top of a roof

6    with a blue screen behind them saying they were in Riyadh,

7    Saudi Arabia, and Israel different days being hit by nerve

8    gas.   And then they went on air for parts of it with the

9    blue screen not even turned on with blue behind them.

10              And then there were live feeds back in that day.

11   Remember the whole thing where David Letterman was getting

12   mad that people could tape his show as it was being taped

13   and sent over, same thing with Jay Leno.    Same thing was

14   happening with Johnny Carson before he retired because they

15   would tape it during the day and then beam it back to New

16   York to be edited.   Well, it's the same deal.

17              CNN was sending that raw feed out all over the

18   world, and people knew how to descramble them and get them.

19   And it's on record that CNN did fake scud missile attack

20   videos.   So they've done it over and over again.

21              We've got Wolfgang here with us.    Sir, I'm going

22   to give you about three minutes to make any other points

23   that you didn't make to the school board.     Then we're going

24   to play a special report that aired actually last Friday of

25   you in there talking to them.   I didn't know the video was
                                                                    3


1    actually out or had been on the nightly news.      I missed

2    Friday's show.   I usually watch it almost every night, but

3    I missed that one.    I was with family.

4                But, look, let's say you got three minutes in a

5    nutshell of what's going on here to the layperson out there

6    as a school safety expert, renowned nationally, Mr. Halbig,

7    of what really happened here.      And then what you would say

8    to that school board?

9                MR. HALBIG:    Well, the first thing I got to say

10   before I get into that is that thank God I've had 67 great

11   years of great life.      I got a beautiful family.   You know,

12   I mean, I'm getting threats all the time.      I got some crazy

13   people out there, you know.      They're attacking my wife.

14   They're attacking me and everything else.

15               But you know what, all they have to do is answer

16   16 simple questions.      You and I wouldn't even be talking

17   today.    It's just -- it's unheard of, okay.    And I think

18   the school board members and the superintendent, they have

19   a responsibility of telling the truth.

20               Alex, there's no -- I cannot believe that a

21   public school system -- and you know, when you look at the

22   school itself, when you look at Sandy Hook, it is a filthy

23   school.   That's what I wanted to talk to the school board

24   members about.   It is a toxic waste dump.     When you look at

25   the data -- and here's what they didn't realize.      They put
                                                                    4


1    it in their own newspaper before they demolished it.     Sandy

2    Hook had the highest level of lead paint throughout the

3    entire school.   Sandy Hook had the highest level of

4    asbestos in the ceiling tiles and the ceiling floors.     It

5    had the highest level of PCP, and the ground water is

6    contaminated.

7               Now, here's the question: Connecticut law

8    requires that every parent must be notified of those

9    hazardous chemicals because they have serious health

10   effects on children which may not be seen until five years

11   later.   Now, why would any parent -- why would those 18 of

12   the 20 parents that moved into Newtown in 2009 enroll their

13   child in a school with all those hazardous chemicals?

14   Parents just don't that.   They don't expose their little

15   children to chemical hazards.

16              MR. JONES:   Well, let me just stop you.    As an

17   investigator, kind of like they got Al Capone for tax

18   evasion, not for all the murders or money laundering.

19   You're looking at how they don't any of the standard stuff,

20   the paperwork, the police reports, no helicopter sent, no

21   rescue, kids going in circles totally staged, men with guns

22   in the woods getting grabbed, no names released.      They deny

23   it went on.   Later have to admit it went on but say we're

24   not answering questions.   I mean, clearly it's a drill,

25   just like the Boston bombing.
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1               I don't know exactly what's going on, but it just

2    -- the official story isn't true.     And again, I've read a

3    lot of criminology.   I'm not -- you know, I'm not a cop,

4    but I've studied a lot of it.    And just from a lay media

5    investigative journalist perspective, something is rotten

6    here, and then you see it duplicated over and over again.

7               What's your bottom line?    What do you think

8    really happened at Sandy Hook?    People could see your 16

9    questions at Sandyhookjustice.com.    And we just salute your

10   will to go up there and have eight police car blocks you at

11   the United Way and have them shut you down at the school

12   board, at the commission.    But bottom line, what do you, as

13   an almost 40-year, you know, investigator, police officer,

14   you name it -- what do you think is happening here?

15              MR. HALBIG:   Well, until they answer those

16   questions, I can tell you children did not die.    Teachers

17   did not die on December 14, 2012.     It just could not have

18   happened, and it's in their words.    It's not what Wolfgang

19   thinks, or it's just my opinion.    It's what they say.

20              I mean, their own words actually show that it

21   could not have happened.    Who declares 27 people legally

22   dead within 8 minutes?   Nobody does that.   Who has a 99.9

23   percent kill rate shooting children in a school within 8

24   minutes?   There isn't an FBI agent, there isn't a Navy Seal

25   that's, that good of a shot within eight minutes and then
                                                                        6


1    kill himself.    I mean, that's reasonable doubt.        I mean,

2    that in itself is reasonable doubt to show that --

3                 MR. JONES:    That's right.

4                 MR. HALBIG:    -- Adam Lanza could not have done

5    that.   I mean, he's an autistic child.       He's got

6    Asperger's.    Alex, nobody has a 99.9 percent kill rate, not

7    even the New York Police Department.

8                 MR. JONES:    But he's a perfect cutout.     And for

9    those that don't know, the reason that is, even if you're

10   shooting people point blank in the head, the bullets change

11   direction.    They go different directions, and I mean, a lot

12   of times I've shot a wild hog, a deer, you name it, and the

13   bullet deflects off, even if you hit them broad side.

14   Sometimes it just deflects through.        You don't get 99.99

15   kill rates.    It's just incredibly hard to do.

16                MR. HALBIG:    It is.   And you know -- and the

17   thing that -- people, they haven't had time to read that

18   7000 page report that was put out by Steven Sedensky, who

19   is the state attorney in Danbury, Connecticut.

20                Even the Governor's own commission -- Alex, the

21   Governor's own handpicked Sandy Hook Advisory Commission

22   calls this 7000-page report the biggest data dump that

23   they've ever seen.    Now, this is his handpicked commission,

24   and it's redacted.    This is a commission who is supposed to

25   read it, study it, and come up with recommendations, and
                                                                     7


1    they get a redacted report.       Now, what does that tell us?

2              MR. JONES:     Well, everybody's compartmentalized,

3    and everybody is just playing along with the peer pressure.

4              MR. HALBIG:     Yes, there are.

5              MR. JONES:     Just like the police officers on

6    9/11, you know, were told get back.       They're going to blow

7    up building 7.

8              MR. HALBIG:     Yeah.

9              MR. JONES:     It's on video.    I heard it on CNN.

10   Heard it on CBS News.    Have the video.    The cops saying,

11   "Get back; they're blowing it up."

12             I'm not saying the cops blew it up.       I've

13   interviewed the police officers on this show that are on

14   CNN saying, "Get back.    They're going to blow it up."      And

15   they said, "No.    We were told on the radio they're going to

16   blow up Building 7.    Get back."

17             And there was a countdown on the Red Cross radio.

18   They were running it, and again, they used United Way Red

19   Cross as the CIA cutouts.    If you look that up, that's

20   mainstream news.   And they were there telling the cops what

21   to do that afternoon.    Incredible.    And they're there,

22   hearing the countdown.

23             I've interviewed not one but two.       One of them

24   was an EMT, the other a cop.      And, boy, did they get

25   threatened over it.    They wouldn't even do more interviews
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1    after it.    And they go, "No.    We heard the countdown."    And

2    the Red Cross guy said, "You know, morally I got to just

3    tell all you cops, get back.      They're going to blow it up

4    in a couple of minutes."      He goes, I'm not supposed to tell

5    you this, and then the countdown.      And the cops were like,

6    "Countdown."    So the cops are like, "Get back, get back."

7                 And then the media spins it.    You're saying the

8    cops blew up the World Trade Centers.       All I know is it's

9    on CNN, cops going, "Get back.      They're going to blow that

10   building up."    They weren't even brought in on it.    They

11   got told by people warning them who were compartmentalized,

12   and it's just so incredible.      I don't mean to get off in

13   another subject, Wolfgang.      It's just that I've seen this

14   over and over again how the compartmentalization works.

15                MR. HALBIG:   I agree, but I think the same --

16   Alex, we've never had a time in our history where Sandy

17   Hook, a school massacre, the biggest illusion ever

18   portrayed by Homeland Security and FEMA.      It can bring down

19   the house.    I think America -- I cannot tell America.      This

20   is probably our only chance to unite and come together and

21   look for the truth, and this house needs to fall because

22   Sandy Hook is taking away our guns across the country.

23   Sandy Hook is messing with our freedom of speech.      That's

24   not the America that we -- you and I know, Alex.

25                MR. JONES:    And they raised hundreds of millions
                                                               9


1    of dollars, billions in the case of 9/11, collecting money

2    off of people's goodwill and then giving it to anti-gun

3    groups.   The United Way is an anti-gun cesspit.

4                MR. HALBIG:   It is, and I hope nobody ever

5    donates another dime to United Way until they answer every

6    question.

7                (END OF AUDIO FILE)

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1                  CERTIFICATE OF TRANSCRIPTIONIST

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8    action.

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11                                ____________________________

12                                  Julie Thompson, CET-1036

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                 EXHIBIT A-7
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4             CONNECTICUT MASSACRE SHOOTING

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8           TRANSCRIPT OF INFOWARS BROADCAST

9    CONNECTICUT PD HAS FBI FALSIFY CRIME STATISTICS

10                 SEPTEMBER 25, 2014

11                     CLIP AT 22M

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1              MR. JONES:   We're fearless, folks.   Support us.

2    Support Wolfgang.   This is not a game.   They are hopping mad

3    we're covering this.   CNN admits they did fake scud attacks

4    on themselves back in 1991, 1990.    Would they stage this?     I

5    don't know.   Do penguins live in Antarctica?   Wolfgang W.

6    Halbig's our guest, former state police officer, then worked

7    for the customs department, and then over the last decade's

8    created one of the biggest, most successful school safety

9    training grips.   And he just has gone and investigated, and

10   it's just phony as a $3 bill.   And they've been --

11             But man, Wolfgang, you dropped a bombshell of yours

12   scores of points, your 16 questions.    If you've got a school

13   of 100 kids and then nobody can find them, and you've got

14   parents laughing going ha, ha, ha; and then they walk over to

15   the camera and go (crying), and I mean, not just one, but a

16   bunch of parents doing this and then photos of kids that are

17   still alive they said die.   I mean, they think we're so dumb

18   that it's really hidden in plain view, and so the

19   preponderance -- I mean, I thought they had some scripting

20   early on to exacerbate and milk the crisis as Rahm Emmanuel

21   said, but when you really look at it, where are the lawsuits?

22   There would be incredible lawsuits and payouts, but there

23   haven't been any filed, nothing.    I've never seen this.   This

24   is incredible.

25             (END OF AUDIO FILE)
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12                                  Julie Thompson, CET-1036

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4             CONNECTICUT MASSACRE SHOOTING

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8           TRANSCRIPT OF INFOWARS BROADCAST

9    CONNECTICUT PD HAS FBI FALSIFY CRIME STATISTICS

10                 SEPTEMBER 25, 2014

11                     CLIP AT 22M

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25             (END OF AUDIO FILE)
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12                                  Julie Thompson, CET-1036

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4            CONNECTICUT MASSACRE SHOOTING

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8          TRANSCRIPT OF INFOWARS BROADCAST

9 LAWSUIT COULD REVEAL TRUTH ABOUT SANDY HOOK MASSACRE

10                 DECEMBER 27, 2014

11                   CLIP AT 3M 8S

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                      Discovery Resource
                        713-223-3300
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 1                MR. JONES:   What do you guys think of Halbig?           I
 2   mean, he was a big, you know, successful, famous school
 3   safety guy, wrote the book on a lot of it.
 4                All I know is I saw Cooper with blue screen out
 5   there, green screen.      I know I saw the kids doing fake, you
 6   know, rotations in and out of the building.            They tore it
 7   down, all the unprecedented gag orders, you know, the police
 8   in anti-terror outfits in the woods.            Then they denied that,
 9   that had been in the news.        I mean, something is being hidden
10   there.     You guys are on the East Coast.         You have a lot of
11   sources.     What do you really think happened?
12                (END OF AUDIO FILE)
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12                                    Julie Thompson, CET-1036
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4            CONNECTICUT MASSACRE SHOOTING

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8          TRANSCRIPT OF INFOWARS BROADCAST

9 LAWSUIT COULD REVEAL TRUTH ABOUT SANDY HOOK MASSACRE

10                 DECEMBER 27, 2014

11                  CLIP AT 4M 34S

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                        713-223-3300
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 1             MR. JONES:    Very astute.          That's what I said a few
 2   weeks into it.    I said they may have killed real kids, but
 3   they're practicing how to propagandize, and how to control
 4   the press, and how to put out a product that's a fraud when I
 5   just saw the heavy, heavy, heavy scripting.           That was what
 6   was so clear.    And then the parents laughing and then one
 7   second later doing the actor breathing to cry.           I mean, it
 8   just -- it's just over the top.
 9             UNIDENTIFIED MALE:       Agreed, yep.
10             MR. JONES:    Over the top sick.          And we know they've
11   staged other stuff before.
12             (END OF AUDIO FILE)
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12                                    Julie Thompson, CET-1036
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4     CONNECTICUT MASSACRE SHOOTING

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8    TRANSCRIPT OF INFOWARS BROADCAST

9      AMERICA THE FALSE DEMOCRACY

10          DECEMBER 29, 2014

11           CLIP AT 11M 53S

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1                MR. JONES:   Let's talk to, Kevin.   Kevin, go ahead.

2    You're on the air.

3                KEVIN:   Hi, Alex.   Calling about Sandy Hook.

4    Basically my take on it is I live about 50 miles from

5    Newtown, and the whole thing is pretty much the next step in

6    reality TV because with other false flags like 9/11, or

7    Oklahoma City, or the Boston bombing, at least something

8    happened.   With Sandy Hook, there's no there, there.     You've

9    got a bunch of people walking around a parking lot is pretty

10   much what it comes down to and none of the --

11               MR. JONES:   No, no.    I've had investigators on.

12   I've had the state police have gone public, you name it.         The

13   whole thing is a giant hoax.       And the problem is how do you

14   deal with a total hoax?    I mean it's just -- how do you even

15   convince the public something is a total hoax?

16               KEVIN:   Very hard because, you know, anytime I talk

17   about this issue with people, you know, they -- you get

18   criticized, black balled, ridiculed, called every name in the

19   book, or they respond with the magic words they were saying

20   on TV.   There's no statement more proof positive of somebody

21   that's been brainwashed by that stuff, mainstream media, than

22   those words.   They were saying it on TV.

23               Well, I always tell people the same thing.    Go out

24   and prove the official story.      And there's been -- I knew the

25   millisecond this happened with that now fake picture of the
                                                                   3


1    kids being lead out of the school that this -- there's

2    nothing that's going to sell this agenda like dead elementary

3    school kids.   Nothing --

4                MR. JONES:   Well, that's right.   The general public

5    doesn't know the school was actually closed the year before.

6    They don't know.   They've shielded it all, demolished the

7    building.   They don't know that they had their kids going in

8    circles in and out of the building as a photo op.     Blue

9    screen, green screens, they got caught using.     I mean the

10   whole thing.

11               But remember, this is the same White House that's

12   been caught running the fake Bin Laden raid that's come out

13   and been faked.    It's the same White House that got caught

14   running all these other fake events over and over again, and

15   it's the same White House that says I never said that you

16   could keep your doctor when he did say you could keep doctor.

17   People just instinctively know that there's a lot of fraud

18   going on, but it took me about a year with Sandy Hook to come

19   to grips with the fact that the whole thing was fake.     I

20   mean, even I couldn't believe it.     I knew they jumped on it,

21   used the crisis, hyped it up, but then I did deep research;

22   and my gosh, it just pretty much didn't happen.

23               UNIDENTIFIED MALE:    Everything we said came true.

24   Everything we've done been's --

25               (END OF AUDIO FILE)
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12                                  Julie Thompson, CET-1036

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         EXHIBIT A-12
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4     CONNECTICUT MASSACRE SHOOTING

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8    TRANSCRIPT OF INFOWARS BROADCAST

9     WHY WE ACCEPT GOVERNMENT LIES

10           JANUARY 13, 2015

11           CLIP AT 10M 36S

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1               MR. JONES:    Yeah.    When you're trying to, I mean,

2    decipher cloak and dagger, dirty tricks, it's pretty hard to

3    do.   It's just that when you -- then you learn that they were

4    funded by western funding.       Then you learn that it was the

5    same Amerall-Locky (phonetic) connection underwear bomber.

6    Then those are big red flags that they were patchy

7    provocateurs.    The classic MO has been followed.

8               And then, yeah, it kind of becomes a red herring,

9    you know, to say the whole thing was staged because they have

10   staged events before, but then you learn the school had been

11   closed and reopened.     And you got video of the kids going in

12   circles in and out of the building, and they don't call the

13   rescue choppers for two hours.      Then they tear the building

14   down and seal it.    And they get caught using blue screens,

15   and an email by Bloomberg comes out in the lawsuit where he's

16   telling people get ready in the next 24 hours to capitalize

17   on a shooting.

18              Yeah.    So Sandy Hook is a synthetic, completely

19   fake with actors, in my view, manufactured.      I couldn't

20   believe it at first.     I knew they had actors there clearly,

21   but I thought they killed some real kids; and it just shows

22   how bold they are that they clearly used actors.      I mean,

23   they even ended up using photos of kids killed in mass

24   shootings here in a fake mass shooting in Turkey.      So, yeah -

25   - or Pakistan.     The sky is now the limit.   I appreciate your
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1    call.

2            Shirley in Louisiana.   You're on the air, welcome.

3            (END OF AUDIO FILE)

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12                                  Julie Thompson, CET-1036

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                   EXHIBIT A-13
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4               CONNECTICUT MASSACRE SHOOTING

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8             TRANSCRIPT OF INFOWARS BROADCAST

9    INFOWARS BROADCAST RELATING TO HONR COPYRIGHT CLAIM

10                    FEBRUARY 12, 2015

11                     CLIP AT 0M 26S

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1               MR. JONES:    And again, if they can do this to us,

2    they can do it to anybody.     And we're going to give you the

3    name of the video as well that they are trying to sensor.

4    Mystery Sandy Hook victim dies again in Pakistan, and I'm

5    going to show you some of these photos from the BBC of people

6    in Pakistan holding up photos of children they say were

7    killed by terrorists; and it is one of the Sandy Hook

8    victims.   So we just said, man, what's going on in Pakistan?

9    What are they faking?

10              Well, the answer to that was the HONR or HONR

11   network, Lenny Pozner reportedly lost his son there came in

12   and filed a copyright claim on us showing a BBC news article.

13   You can't do that.    For those that don't know how copyright

14   works, I could show a clip off the news if I was analyzing it

15   in commentary, but I could certainly show newspapers all day

16   long.

17              I've been doing this for 20 years.    I took RTF.

18   That was the first thing they taught us.     I've had to sit in

19   on lawyer meetings.     I've been involved in lawsuits that

20   we've won dealing with this, and I've countersued people.

21   It's all on record.     I know what I'm talking about.   I know

22   what I'm talking about on defamation.     Knock on wood, we've

23   never had that problem.     Other people have and have settled

24   with us out of court twice.     So I know of what I speak.

25              And you can't go to somebody's YouTube channel and
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1    say they showed a news article from the BBC, and then say

2    that you can't show that because someone in Pakistan was

3    holding up a photo of your son, who reportedly died at Sandy

4    Hook, and they're saying the same person died in a terror

5    attack in Pakistan.    Obviously, we've got to investigate

6    this, just like we investigated Brian Williams and his

7    claims.

8                So, you know, we're sorry for everybody's losses,

9    whatever.   We're investigating this though because we live in

10   a system where the media exploits things and twists things.

11               Paul Watson thinks the official story of Sandy Hook

12   is true.    He's my chief reporter, and we get major heat from

13   the folks that think Sandy Hook was totally staged, saying

14   why aren't you on the same page.    Because we're

15   investigating.

16               I think there's some cover-ups there.   I know

17   they're using blue screens.    I've seen the footage of people

18   going in and out in circles in the building.    It doesn't look

19   right.    It doesn't pass the smell test.   There are literally

20   hundreds of smoking guns here that this thing doesn't add up.

21               (END OF AUDIO FILE)

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                EXHIBIT A-14
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4            CONNECTICUT MASSACRE SHOOTING

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8          TRANSCRIPT OF INFOWARS BROADCAST

9    NEW BOMBSHELL SANDY HOOK INFORMATION IN-BOUND

10                  MARCH 04, 2015

11                  CLIP AT 32M 30S

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1              MR. JONES:    Wolfgang --

2              MR. HALBIG:    You know, I agree with you.      And I'll

3    say this to you:   I'm begging that I'm wrong.    And if they

4    answer my questions to my satisfaction and to Alex's

5    satisfaction, if they answer it to the people of America to

6    their satisfaction, I will run to the nearest mental health

7    facility -- and I've said it before -- I'll voluntarily

8    enroll myself because if I dare upset these parents or

9    children or school, I need mental health.

10             But I tell you what, I have spent my life doing

11   this, and when people refuse to answer simple, logical

12   questions, it raises the red flag.     And I am telling you I'm

13   not going to stop until we get the answers.

14             MR. JONES:    We know it stinks.   I mean, it's phony.

15   The question is what is going on.     We don't know.   We just

16   know it's fake.    How fake we don't know.   It's sick.

17             Thank you, John.

18             Kyle, Jay, Jimmy, Erik, your calls are straight

19   ahead.

20             (END OF AUDIO FILE)

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          EXHIBIT A-15
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4      CONNECTICUT MASSACRE SHOOTING

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8     TRANSCRIPT OF INFOWARS BROADCAST

9    GOVERNMENT IS MANUFACTURING CRISES

10              JULY 7, 2015

11              CLIP AT 32M

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1                MR. JONES:    I didn't watch the nightly news one

2    night last week.   I tend to watch it in the morning on my

3    iPad while I get on the elliptical, and I've got, you know,

4    televisions in there that I monitor as well in the gym, in

5    the public gym I go to.

6                And I heard them back there talking yesterday

7    afternoon about a show they did last week, and I knew that we

8    had sent our East Coast reporter, Dan Bidondi, up there to

9    cover it.   And I heard Dew talking about his uncle, who I

10   know was a Navy Seal and a decorated FBI agent, who retired a

11   few years ago, and is part of a big security firm.

12               And I heard Dew talking, and I was like, "Are you

13   kidding me?"   His uncle talking to other FBI people, who I

14   guess are still in, was told, "You ought to go check out

15   Sandy Hook.    We're not allowed to.    It doesn't add up."    And

16   his uncle went to the hearings, and I didn't even realize, we

17   have video of him at the hearings and Bidondi interviewing

18   him and what he said on air, and what he said off air.        And

19   he told Dew, "Yeah.      You can repeat what I said."

20               He's been in the John Gotti trial.    He's a well-

21   known FBI agent.   He's been in a whole bunch of stuff, a

22   bunch of big cases.      And he told Dew, "I have never seen

23   people acting so weird and so suspicious and saying no one

24   knows anything and no paperwork on anything."      He's a former

25   Navy Seal, retired FBI agent, and I'm --
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1                 And I know what will happen.   These guys are

2    compartmentalized.    They're like Mr. America most of them.

3    They really think they're the good guys, and overall they are

4    good guys.    But they're compartmentalized.   Right next to

5    them is the devil and above them people like Eric Holder, as

6    bad as it gets.

7                 They'll go investigate something, find out it's

8    true, and then be shut down.    And I would imagine after we

9    talk about this, he's going to -- he's going to get a visit

10   because he's now investigating Sandy Hook.     Rob Dew's uncle

11   is now investigating Sandy Hook, former FBI agent, retired.

12   That's got to really freak them out.    And I'm not going to

13   put words in his mouth, but he said he's never seen something

14   that looks this fake.    It's because it is, folks.

15                I don't know if they really killed kids.   I don't

16   know, but they -- we got emails and memos that school was

17   shut down a year before.    They tore it down.   They covered it

18   up.   No rescue helicopters, no ambulances.    Within an hour

19   and a half they had a sign saying, "Check in here."     It was a

20   media event.

21                If they did kill kids, they knew it was coming,

22   stocked the school with kids, killed them, and then had the

23   media there, and that probably didn't even happen.      I mean,

24   no wonder we get so many death threats and so much heat and

25   so much other stuff I'm not going to get into, behinds the
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1    scenes, when we touch Sandy Hook because, folks, it's as

2    phony as a $3 bill.

3              (END OF AUDIO FILE)

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12                                  Julie Thompson, CET-1036

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              EXHIBIT A-16
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4          CONNECTICUT MASSACRE SHOOTING

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8        TRANSCRIPT OF INFOWARS BROADCAST

9    RETIRED FBI AGENT INVESTIGATES SANDY HOOK

10             MEGA MASSIVE COVER-UP

11                 JULY 07, 2015

12                 CLIP AT 0-5M

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1               MR. JONES:   We have been warned.   We have been

2    warned.   We have been threatened.   We have been told through

3    official channels, unofficial channels, threats, you name it,

4    stop investigating Sandy Hook.

5               Now, when this first happened a few years ago, I

6    didn't come out of the gate saying it was a false flag, and I

7    got criticized by a lot of our listeners who were smart folks

8    and who went and really investigated that, hey, Alex, you

9    need to look at this again.

10              All I know is that the official story doesn't add

11   up, and that when retired state police officers, and school

12   investigation experts, and school safety experts, and others

13   began to investigate it, they were threatened.

14              No emergency helicopters were sent.   The ambulances

15   came an hour and a half later and parked down the road.       DHS

16   an hour and a half later with the time stamp put up signs

17   saying sign in here.    They had porta-potties being delivered

18   within an hour and a half.    It looked like a carnival.   It

19   looked like a big PR stunt.

20              Came out that Bloomberg a day before sent an email

21   out to his gun control groups in all 50 states saying,

22   "Prepare to roll, maybe operation coming up."    That came out

23   in the news.

24              We have the emails from city council back and forth

25   and the school talking about it being down a year before.         We
                                                                  3


1    have the school then being demolished, and the records being

2    sealed.

3               We have videos that look just incredibly suspicious

4    where people are laughing and everything, and then they start

5    huffing and puffing and start crying on TV, which is pure

6    acting method.   You've got a degree, Rob, in theater.   I

7    mean, this is -- this is something that even laypeople

8    notice.   So I began to investigate.

9               They had a weird anti-terrorism unit from the state

10   nearby with men in the woods, which were on video from

11   helicopter.   Then they said that didn't exist.   And so we'll

12   recap some of the history of this.

13              But now, your uncle, John Dew, Navy Seal, retired

14   FBI agent, works for a successful security company, I had

15   missed this episode of the nightly news back on June 4th and

16   then again last week when you did an update.   And then I

17   heard you talking about it yesterday.   I knew that we'd sent

18   our reporter down, Dan Bidondi, there for days to cover the

19   city council hearings about it and the fact that they're

20   sealing everything.

21              And then you just said, "Oh, yes, and that's why

22   I'm trying to get my uncle to tell me more."   Because he's

23   been in John Gotti hearings and been involved in huge cases,

24   pretty prominent FBI agent before he retired, and in his

25   words he said he seen the most secretive mafia stuff ever,
                                                                  4


1    and he's never seen people more closed-lipped.     He's never

2    seen something where it basically stinks.     And we'll use his

3    words, but the headline here is retired FBI agent

4    investigating Sandy Hook.     I mean, that was just amazing to

5    me that so much goes on around here that I miss some of

6    what's happening.

7               Next time a former Navy Seal FBI agent -- I don't

8    care if it's your uncle --

9               MR. DEW:   Yeah.

10              MR. JONES:    -- you know, is investigating something

11   like this, we want to hear about it.     I want to try to get

12   him on.   I know he's going to get heat probably, and they'll

13   probably try to threaten him.     But really kudos to him.

14              I mean, you told me that he went and investigated

15   it because other insiders said you need to go look at this.

16   I guess people currently in the FBI aren’t allowed to, but,

17   man, the fix is in.

18              So, Rob Dew, tell us about your uncle, tell us

19   about all this.    I wish we would have gotten more than a two-

20   minute interview with him with Bidondi.     Bidondi did a great

21   job.   I just wish I would have known about this.    I would

22   have gone up there.     Halbig tried to get me to go.   I just am

23   trying to launch the TV network, and the new website, and

24   everything else.

25              But I mean, this is just so big.    And the more we
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1    look at Sandy Hook, I don't want to believe it's a false

2    flag.   I don't know if kids really got killed.     But you got

3    green screen with Anderson Cooper where I was watching the

4    video and the flowers and plants are blowing in some of them,

5    and then they blow again the same way.    It's looped, and then

6    his nose disappears.

7                MR. DEW:   Uh-huh (affirmative).

8                MR. JONES:   I mean, it's fake.    The whole thing is

9    just -- I don't know what happened.    It's kind of like if you

10   see a hologram at Disney World in the Haunted House, you

11   know.   I don't know how they do it, but it's not real.     When

12   you take your kids to see, you know, the Haunted House and

13   ghosts are flying around, they're not real, folks.      It's

14   staged.   I mean, a magician grabs a rabbit out of his hat.          I

15   know he's got a box under the table that he reaches in and

16   gets the rabbit.

17               I don't know what the trick is here.    I got a good

18   suspicion, but when you've got Wolfgang Halbig, who was the

19   top -- I mean, 20/20, CNN, I mean, ran the most successful

20   school safety course in the country, got the contracts at

21   Columbine, making millions of dollars a year, he believed it

22   was real.   People called him.   He went and investigated.         No

23   paperwork, no nothing.    It's bull.   And now an FBI retired

24   agent who retired, you know, with decorations --

25               I mean, Dew, this is just unprecedented.    I can't
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1    believe I missed this.   Recap what happened, and then we've

2    got some of the questions from Bidondi.    He told you a lot

3    more.   Well, just tell us what he said.

4               (END OF AUDIO FILE)

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12                                  Julie Thompson, CET-1036

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4          CONNECTICUT MASSACRE SHOOTING

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8        TRANSCRIPT OF INFOWARS BROADCAST

9    RETIRED FBI AGENT INVESTIGATES SANDY HOOK

10             MEGA MASSIVE COVER-UP

11                 JULY 07, 2015

12                CLIP AT 9M 40S

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1               MR. DEW:   So they were already on the scene right

2    after it happened.    That using u

3               MR. JONES:    Let's remember, they ran fast and

4    furious killing thousands of Mexicans, hundreds of Americans,

5    including six law enforcement to blame the Second Amendment.

6    CBS News got the memo.

7               MR. DEW:   Yeah.

8               MR. JONES:    That was a false flag killing thousands

9    to blame the Second Amendment and martyr Mexicans and say

10   you're racist if you don’t turn your guns in.      So they've

11   done it before, and, my gosh, they've done it again.

12              MR. DEW:   Yeah.

13              MR. JONES:    Keep going.

14              MR. DEW:   Well, guys, actually, let's play the clip

15   from my uncle.    It's actually clip number two.   We'll play

16   that one first.   It's really short.

17              MR. JONES:    I want to play it, but tell us more of

18   what he said because you told me more than that.

19              MR. DEW:   Okay.   Well, he was concerned that there

20   -- because he had believed in the initial story, the official

21   story.   He said, well, now this doesn't add up.    If you have

22   all these people, they should just be giving the paperwork

23   and going on with their lives, if they don't want, you know

24   -- because right now it's all being --

25              MR. JONES:    It's 101 they're covering up.
                                                                    3


1                 MR. DEW:   He goes nobody acts like that if they're

2    on the up and up.

3                 MR. JONES:   It's like if a cop pulls you over and

4    you're busy cramming stuff under the -- under the seat.

5                 MR. DEW:   Right.    Saying, don't worry.   Hold on.

6    I'm looking for my license or whatever.

7                 MR. JONES:   Yeah.

8                 MR. DEW:   You know, nobody has the proper

9    paperwork.    Nobody can deliver it.     They deliver videos

10   without time stamps from police squad cars.       There's videos

11   without time stamps that they give to them and say these are

12   the copies from the squad car.        Yet you go online and you

13   could see squad car video from the same squad car, and it's

14   got time code on it.      So how did they give him video without

15   time code, and he's viewing it at the police station?

16                MR. JONES:   This is mega-massive cover-up.

17                MR. DEW:   It's crazy.    So you know --

18                MR. JONES:   My God.

19                MR. DEW:   -- he just basically -- my uncle doesn't

20   say much.    He's the kind of guy that doesn't say a lot.      He

21   just -- he kind of, you know -- so Dan -- I don't know how

22   Dan figured out he was my uncle.       But he went over and talked

23   to --

24                MR. JONES:   Oh, your uncle is not telling you he's

25   up there?
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1                MR. DEW:   No, no, no.   He never told me he was

2    going up there.   I got the text from Dan.    That's how I found

3    out he was there, and then I texted him; and the I called him

4    the next day because he couldn't talk at the time.       It was

5    probably 11:30 at night that night.     It was June --

6                MR. JONES:   Well, I suggest you call him and see

7    what he thinks now, see if he's been threatened or anything.

8    But please continue with what else he told you.     So former

9    Navy Seal, retired FBI agent.    Sandy Hook doesn't add up.         He

10   said -- that's the quote, "Doesn't add up"?

11               MR. DEW:   Well, we can take the quote from him.        He

12   said he's never seen anything like this before.

13               MR. JONES:   But to you what did he say?

14               MR. DEW:   That -- and then that's what -- to me

15   what he's saying is that from all of his experience in the

16   years that he has worked as an FBI agent.     He's retired.        He

17   went into the FBI pretty much out of -- out of the Navy.           He

18   was a -- he went to the Naval Academy.     He was a Navy Seal.

19   This guy is on the up and up.    I've known him all my life,

20   you know.   Very --

21               He doesn't tell you what he does in terms of -- you

22   know, we used to go up there and visit him when he was

23   working, and he would just leave and come back.     And you

24   know, he was doing his -- doing casework or whatever.

25               But from what he told me, he said that this thing
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1    doesn't add up, and it's the weirdest court proceeding he's

2    ever been in, in his entire life.       And he's been in a lot of

3    court proceedings.      He was in New York City, stationed in New

4    York City.

5                 MR. JONES:   Well, let me tell you, we get more

6    threats over this than anything.       I mean, they --

7                 MR. DEW:   Yeah.

8                 MR. JONES:   They're hiding something.

9                 MR. DEW:   They definitely are.

10                MR. JONES:   Let's ask your opinion, your gut level,

11   without getting into the personalities involved.         You can

12   clearly see they're scared.     The wagons are circled.     They

13   could just release all this.       There is no paperwork.

14                MR. DEW:   Oh, there is none.

15                MR. JONES:   I mean, that's what they -- it's all --

16   so, I mean, I guess totally made up with green screens,

17   everything.    And we've got them on green screens.

18                MR. DEW:   Yeah.

19                MR. JONES:   I mean, what is going on here?

20                MR. DEW:   On top of that --

21                MR. JONES:   That's how evil these people are is

22   that they can have CNN involved, all these people.        It's like

23   a Manhattan project of the gun grabbers.

24                (END OF AUDIO FILE)

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12                                  Julie Thompson, CET-1036

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4         CONNECTICUT MASSACRE SHOOTING

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8        TRANSCRIPT OF INFOWARS BROADCAST

9    ALEX JONES FINAL STATEMENT ON SANDY HOOK

10              NOVEMBER 18, 2016

11                CLIP AT 4M 59S

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1                MR. JONES:   Number one, the day before this tragic

2    event happened an email was sent out by Bloomberg's anti-gun

3    group saying prepare for a big event.    But the biggest piece

4    of evidence, the smoking gun, if you would, of a cover-up, of

5    whatever really happened is the Wayback Machine, the internet

6    archive.    We see Sandy Hook's Newtown website K through 12

7    having zero traffic 2008, '09, '10, '11, '12, and then all of

8    a sudden it just explodes.    It's impossible to have zero

9    traffic to a K through 12 entire school system.     And the word

10   is that school system was shut down for those years.     That's

11   what the records show.    They tell us it was open.

12               I don't know if the moon landings were faked, but I

13   don't put anything past these anti-gunners.    And early on,

14   that day we watched footage of kids going in circles in and

15   out of the building.     You'd be running them away from the

16   building.   Emergency helicopters weren't called.     Instead

17   port-potties were prepared for the press within hours of the

18   event.

19               I saw the helicopters that did respond, the police

20   helicopters saying that there were men or a man in the woods

21   in camouflage.   The media later said that was a conspiracy

22   theory.    So early on I'm like, well, I saw local news of the

23   guy in the woods, and they took him in custody.     Now they're

24   saying it never happened.    So that shows there some kind of

25   cover-up happening.
                                                                3


1              And then I saw Anderson Cooper -- I've been in TV

2    for 20-something years; I know a blue screen or a green

3    screen -- turn, and his nose disappear.   Then I saw clearly

4    that they were using footage on the green screen looped

5    because it would show flowers and other things during other

6    broadcasts that were moving and then basically cutting to the

7    same piece of footage.

8              Then I saw CNN do faked satellite interviews with

9    reporters clearly with the same traffic and the same cars

10   right behind them conducting the interview face to face.

11             Then we see footage of one of the reported fathers

12   of the victims, Robby Parker, doing classic acting training

13   where he's laughing and joking.   And they say, hey, we're

14   live, and he goes, oh.   And maybe that's real.   I'm sure it

15   is.

16             (Video played - not transcribed)

17             But you add it to all the other things that were

18   happening and all the other fake news the media has been

19   caught in, and CNN back in 1991 openly faking scud missile

20   attacks on Saudi Arabia and Israel when they were back in

21   Atlanta; and the satellite feeds caught them admitting that

22   it was all fake.   We'd be crazy not to question this because

23   bare minimum they were faking some of the shots and some of

24   the coverage.

25             (Video played - not transcribed)So to be clear, we
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1    point out clear chroma key, also known as blue screen or

2    green screen being used, and we're demonized.   We point out

3    they're clearly doing fake interviews.   We point out that

4    normal emergency procedures weren't followed, and their

5    answer is to say that we said nothing died.

6              (END OF AUDIO FILE)

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1                  CERTIFICATE OF TRANSCRIPTIONIST

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11                                ____________________________

12                                  Julie Thompson, CET-1036

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              EXHIBIT A-19
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4         CONNECTICUT MASSACRE SHOOTING

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8        TRANSCRIPT OF INFOWARS BROADCAST

9    ALEX JONES FINAL STATEMENT ON SANDY HOOK

10              NOVEMBER 18, 2016

11               CLIP AT 15M 22S

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1                 MR. JONES:   And why should anybody fear an

2    investigation if they have nothing to hide.     In fact, isn't

3    that in Shakespeare's Hamlet, me thinks you protest too

4    much."

5                 So here is my statement for the media when they

6    call up saying where do you stand on this: where I've always

7    stood.   When there were other mass shootings, I would simply

8    point out that they're very rare statically, and why should

9    we all give up our rights because some other bad person does

10   something.    A guy with a car runs over 50 people.   Do we ban

11   driving cars?    It's the same thing.

12                And there have been other instances of shootings

13   that are very suspicious.     Aurora is one, just look into

14   that.

15                But this particular case they are so scared of an

16   investigation.    So everything they do basically ends up

17   blowing up in their face.     So you guys are going to get what

18   you want now.    I'm going to start reinvestigating Sandy Hook

19   and everything else that happened with it.

20                I'm Alex Jones signing off for InfoWars.com.     If

21   you're watching this transmission, think for yourself.      I

22   know it's a thought a crime (sic).      And then ask yourself:

23   what is so strange about Sandy Hook and that tragedy?

24                But I will say this finally.   My heart does goes

25   out to all parents that lose children, whether it's to
                                                                 3


1    stabbings, or whether it's to car wrecks, or whether it's to

2    stranglings, or whether it's to blunt force trauma, or

3    murder, firearms, whatever the case is.   I'm a parent, and my

4    heart goes out to all parents that have lost children in

5    these tragic events.

6              And so if children were lost in Sandy Hook, my

7    heart goes out to each and every one of those parents and the

8    people that say they're parents that I see on the news.     The

9    only problem is I've watched a lot of soap operas, and I've

10   seen actors before.    And I know when I'm watching a movie and

11   when I'm watching something real.   Let's look into Sandy

12   Hook.

13             (END OF AUDIO FILE)

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12                                  Julie Thompson, CET-1036

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                  EXHIBIT A-20
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4             CONNECTICUT MASSACRE SHOOTING

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8            TRANSCRIPT OF INFOWARS BROADCAST

9    WHAT ALEX JONES REALLY BELIEVES ABOUT SANDY HOOK

10                    JUNE 13, 2017

11                     CLIP AT 14M

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1               MR. JONES:    And how they're all colluding and the

2    fake polls.   You guys are the globalists.   You're the

3    enemies.   You're the people that have hijacked America.

4    You're the threat to our children.    You're the people that

5    are cold and heartless and don’t care, not us.

6               But again, I want to encourage people to read the

7    Zero Hedge article that breaks it all down because they

8    absolutely are on target with this report where they ask the

9    questions that the media seems so scared that I might even

10   actually talk about if the Megyn Kelly interview aired.

11              Why does the Sandy Hook Elementary School website

12   have zero traffic for four years before the event and show it

13   was closed?

14              Why were there several reports of other shooters

15   dressed in camouflage in the woods that fled, whom the police

16   allegedly detained?

17              Why were porta-potties, sandwiches, and fruit

18   drinks, and chips brought up and set up for the crime scene

19   in just an hour or so?

20              Sandy Hook -- it just goes on and one.   An FBI

21   crime stat which shows no murders occurred in Newtown in

22   2012.

23              Why didn't they let paramedics and EMTs in the

24   building if 27 children were declared dead in 8 minutes?

25              Why was Adam Lanza's home burned to the ground by
                                                                  3


1    the bank?

2                Why have they declared all the records totally

3    secret?

4                These are questions the public has.    They're the

5    ones asking it.   They're the ones demanding it.      I've said I

6    believe children did die there, but PR firms were involved,

7    admittedly, hyping it up as much as possible.     But there's

8    been a cover-up, and Anderson Cooper got caught faking where

9    his location was with blue screen.

10               I mean, it's all there.   We don't know what

11   happened.   I believe kids died.   But the same media that's

12   faking a bunch of other stuff and faking war propaganda is

13   saying that I have said things that I never said that have

14   been taken out of context, and now won't report when I'm

15   saying don't air the interview on Father's Day to hurt

16   fathers, and demonize men, and that you edited me out of

17   context; and that I don't want it aired.    Why won't they

18   actually report on what I'm saying?

19               I'm Alex Jones.   This is the InfoWars.    Coming up,

20   Owen Shroyer in the studio for the next 30 minutes.      Then

21   I'll be back in the studio coming up live.    Please spread the

22   word because the truth lives at InfoWars.com.

23               (Cut to different clip)

24               MR. JONES:   Let's go to Devin in Florida.   Devin in

25   Florida, you're on the air.
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1              UNIDENTIFIED MALE:    Great.   Hey, thank you so much.

2    Listen, I --

3              (END OF AUDIO FILE)

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12                                  Julie Thompson, CET-1036

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        EXHIBIT A-21
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4    CONNECTICUT MASSACRE SHOOTING

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          MEGYN KELLY PROFILE
9
             JUNE 19, 2017
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            CLIP AT 7M 55S
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1               MS. KELLY:    At the top of that list is Jones'

2    outrageous statement that the slaughter of innocent children

3    and teachers at Sandy Hook Elementary School, one of the

4    darkest chapters in American history, was a hoax.

5               MR. HESLIN:    I watched my son.   I buried my son.    I

6    held my son with a bullet hole through his head.

7               MS. KELLY:    Neil Heslin's son Jessie, just six

8    years old, was murdered along with 19 of this classmates and

9    6 adults on December 14, 2012, in Newtown, Connecticut.

10              MR. HESLIN:    I dropped him off at 9:04.   That's

11   when we dropped him off at school with his book bag.     Hours

12   later I was picking him up in a body bag.

13              MS. KELLY:    Alex Jones repeatedly claimed that the

14   shooting never happened.    Here he is on InfoWars in December

15   2014.

16              MR. JONES:    But it took me about a year with Sandy

17   Hook to come to grips with the fact that the whole thing was

18   fake.

19              MS. KELLY:    You said the whole thing is a giant

20   hoax.   How do you deal with a total hoax?    It took me about a

21   year with Sandy Hook to come to grips with the fact that the

22   whole thing was fake.    I did deep research, and, my gosh, it

23   just pretty much didn't happen.

24              MR. JONES:    At that point -- and I do think there's

25   some cover-up and some manipulation -- that is pretty much
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1    what I believed.    But then I was also going in devil's

2    advocate.    But then we know there's mass shootings and these

3    things happen.    So again --

4                 MS. KELLY:   You're trying to have it all ways,

5    right?

6                 MR. JONES:   No, I'm not.

7                 MS. KELLY:   If you wrongly went out there and said

8    it was a hoax, that's wrong.

9                 MR. JONES:   But what I already answered your

10   question was listeners and other people are covering this.         I

11   didn't create that story.

12                MS. KELLY:   But, Alex, the parents, one after the

13   other, devastated, the dead bodies that the coroner

14   autopsied.

15                MR. JONES:   And they blocked all that, and they

16   won't release any of it.     That's unprecedented, even --

17                MS. KELLY:   All of the parents --

18                MR. JONES:   -- the reports.

19                MS. KELLY:   -- decided to come out and lie about

20   their dead children.

21                MR. JONES:   I didn't say that.

22                MS. KELLY:   What happened to the children?

23                MR. JONES:   I will sit there on the air and look at

24   every position and play devil's advocate.

25                MS. KELLY:   Was that devil's advocate; the whole
                                                                   4


1    thing is a giant hoax; the whole thing was fake?

2              MR. JONES:     Yes.    Because I remember in -- even

3    that day I go back from memory, them saying but then some of

4    it looks like it's real.    But then what do you do when

5    they've got the kids going in circles in and out of the

6    building with their hands up?      I've watched the footage, and

7    it looks like a drill.

8              MS. KELLY:     When you say parents faked their

9    children's death, people get very angry.

10             MR. JONES:     Yeah.   Well, let's -- oh, I know.   But

11   they don't get angry about the half million dead Iraqis from

12   the sanctions, or they don't get angry about --

13             MS. KELLY:     That's a dodge.

14             MR. JONES:     No, no.   It's not a dodge.   The media

15   never covers all the evil wars it has promoted, all the big

16   things.

17             MS. KELLY:     That doesn't excuse what you did and

18   said about Newtown.    You know it.

19             MR. JONES:     But I -- here's the difference.    Here's

20   the difference.   I looked at all the angles of Newtown, and I

21   made my statements long before the media even picked up on

22   it.

23             MS. KELLY:     In our interview we asked Jones

24   numerous times what he now believes, and he never completely

25   disavowed his previous statements.
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1              MR. JONES:   I tend to believe that children

2    probably did die there, but then you look at all the other

3    evidence on the other side.   I can see how other people

4    believe that nobody died there.

5              MS. KELLY:   Of course, there --

6              (END OF AUDIO FILE)

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11                                ____________________________

12                                  Julie Thompson, CET-1036

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               EXHIBIT A-22
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4           CONNECTICUT MASSACRE SHOOTING

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8         TRANSCRIPT OF INFOWARS BROADCAST

9    JFK ASSASSINATION DOCUMENTS TO DROP TONIGHT

10                OCTOBER 26, 2017

11               CLIP AT 1HR 13M 30S

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1                MR. JONES:   ...top trend forecaster.   But look at

2    this article that was on Infowars.com a few days ago that I

3    read.    I meant to cover, and then I heard Lee Ann McAdoo

4    during the break.   A lot of our radio ads aren't radio ads.

5    They're just one minute little information news pieces,

6    something we do.    We just change things up.   And I'd

7    forgotten in the documents the CIA visited Lanza and

8    reportedly recruited him about a year before the shooting.        I

9    mean, they bulldozed the house to get rid of it.

10               I don't know what really happened with Sandy Hook,

11   folks.   We've looked at all sides.   We played devil's

12   advocate from both sides, but I mean, it's as phony as a $3

13   bill with CNN doing fake newscasts, with blue screens.     I

14   mean, Nancy Grace got caught doing it, Anderson Cooper.      I

15   mean, that is just a crazy -- that's the kind of stuff that I

16   read on InfoWars.com that I don’t even get to.

17               Speaking of that --

18               (END OF AUDIO FILE)

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11                                ____________________________

12                                  Julie Thompson, CET-1036

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4      CONNECTICUT MASSACRE SHOOTING

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8    TRANSCRIPT OF INFOWARS BROADCAST

9 LOOKS LIKE FALSE FLAG SAYS WITNESSES

10           DECEMBER 14, 2012

11            CLIP AT 9M 30S

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                       Discovery Resource
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                                  Discovery Resource
                                    713-223-3300
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 1                MR. JONES:     ... with all sorts of information on
 2   this subject.        But get ahold of your cousin when she settles
 3   down and get her to talk to us for any other information.                   We
 4   need to know: were there any drills that day or the day
 5   before?     Does she have anything about other shooters, or was
 6   it that she never saw the shooters?
 7                UNIDENTIFIED CALLER:         Well, I had asked them if it
 8   was supposedly too -- because they have a lot of security at
 9   that school.     You have to ring a doorbell in order to get
10   into the school.
11                MR. JONES:     Yeah, of course.          Which is another side
12   of that.     Yeah.     It's one of these federal model schools.
13                UNIDENTIFIED CALLER:         The thing that just scared
14   the daylights out of me -- I had to call right away -- is I
15   asked them, "Did they ever train for this?"                And my uncle
16   said, "Yes."     Within this school year, since September, they
17   have trained for incidents like this.
18                MR. JONES:     Well, that in and of itself isn't proof
19   of it, but they could use a drill to then bring in a patsy.
20   It could just be a Prozac head.            We'll find out.      God bless
21   you, sir.     I appreciate your call.             Stay in contact.
22                We're going to go to Rob who says email --
23                (END OF AUDIO FILE)
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                                  Discovery Resource
                                    713-223-3300
                           Discovery Resource
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11                                ____________________________
12                                    Julie Thompson, CET-1036
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                           Discovery Resource
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        EXHIBIT J


Affidavit of Fred Zipp from
  Pozner v. Jones, et al.
                                 AFFIDAVIT OF FRED ZIPP

STATE OF TEXAS §
               §
TRAVIS COUNTY §


       Before me, the undersigned notary, on this day personally appeared FRED ZIPP, a person
whose identity has been established to me. Upon being duly sworn, Affiant states:

                                PERSONAL BACKGROUND

         I have spent 39 years in daily newspaper journalism and journalism education.

        From 1979 to 1984, I was a reporter and assistant city editor at the Beaumont Enterprise in
Beaumont, Texas. From 1984 to 1987, I was a sports copy editor, assistant sports editor and
assistant city editor at the Austin American-Statesman in Austin, Texas. From 1987 to 1998, I was
assistant metro editor, deputy metro editor, news editor and metro editor the Palm Beach Post in
West Palm Beach, Florida. In 1998, I returned to the American-Statesman as assistant managing
editor, managing editor, and retired as editor. Over the course of my career, I gained extensive
experience and expertise in the responsible delivery of news content to a mass media audience.

        In 2012, I began teaching at the University of Texas at Austin. At the University of
Texas, I supervise a digital media initiative known as Reporting Texas which functions similarly
to a newsroom; students are the reporters, and I am their editor. I help them conceive, report and
write stories that are posted on the reportingtexas.com website.

       I have been a director and officer of the Freedom of Information Foundation of Texas and
the Headliners Foundation of Texas, an organization that promotes journalism excellence in the
state.

                                     SCOPE OF REVIEW

       In arriving at my opinions in this case, I have used the same principles and analysis as I
have used throughout my journalism career to determine whether particular assertions could be
responsibly published. This review included an examination of the disputed statements as well as
a variety of relevant background materials. I have reviewed numerous background items,
including:

                  Public domain materials relating to the Sandy Hook shooting.

                  Materials from the final report published by the Connecticut
                   Department of Emergency Services and Public Protection,
                   available at: http://cspsandyhookreport.ct.gov/



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                                                                                            Exhibit J
                        Various articles and social media content from InfoWars.

                        Various articles and reference materials concerning InfoWars

                        My own personal reference materials and texts.

                        Video clips containing statements by InfoWars about Sandy
                         Hook, along with transcripts of those video clips created by a
                         court reporter. Those transcripts are attached to my affidavit.

       It is my belief that discovery will likely to produce further relevant evidence, but I am
confident that enough material exists in the public domain to reach reliable opinions for the
purposes of these initial findings.

                            BACKGROUND KNOWLEDGE OF INFOWARS

       Having been involved in media in Austin for 23 years, I am aware of Alex Jones and
InfoWars, although I felt no need to pay close attention to either one before agreeing to review
the materials in this lawsuit. Nonetheless, I was aware of InfoWars’ extremely poor reputation in
the media industry with respect to the reliability of the information it publishes, and I also knew
Mr. Jones had alleged the Sandy Hook Elementary School shooting was a government hoax
involving actors.

        After I asked to review the events of this lawsuit, I have spent a significant amount of
time reading articles on InfoWars.com and reviewing audio and video recordings posted to the
website. While the site purports to be a news and information operation, it is clear that it is
actually a propaganda outlet for Mr. Jones’ theories about a global conspiracy to control and
enslave the world’s population.

         Alex Jones and InfoWars generally have a signature style: rapid-fire assertion of various
data points with little or, more often, no attribution. The assertions are presented to the viewer as
facts. Underlying the presentation is the premise that Jones is at war with “the globalists” and that
he wins the war by marshaling his assertions more effectively than they do. In traditional
journalism, by contrast, attributing assertions to sources is an essential element of the work, and
the attribution becomes more important in proportion to the seriousness of the facts asserted.

         According to the American Press Institute, “Journalism is the activity of gathering,
assessing, creating, and presenting news and information. It is also the product of these
activities...These elements not only separate journalism from other forms of communication, they
are what make it indispensable to democratic societies.”1 The process of journalism is dependent
on responsible verification in which information is gathered and its accuracy is evaluated. In



1
    https://www.americanpressinstitute.org/journalism-essentials/what-is-journalism/

                                                            2
coming to my opinions, I have analyzed InfoWars’ conduct against the well-established standards
of the journalism profession.

                                   INFOWARS’ 2017 BROADCASTS

1.         InfoWars’ April 22, 2017 broadcast falsely stated that Plaintiff Veronique De La
           Rosa participated in a fake blue-screen interview with Anderson Cooper to cover up
           the truth about Sandy Hook.

       A central element of Mr. Jones’ years of allegations that Sandy Hook was staged fake
focuses an interview between Sandy Hook parent Veronique De La Rosa and Anderson Cooper.
Mr. Jones insists this interview was fake, and that it was conducted in front of blue-screen. On
the April 22, 2017 InfoWar’s broadcast entitled “Sandy Hook Vampires Exposed,” Alex Jones
made the following statements:

                   So here are these holier than thou people, when we question CNN,
                   who is supposedly at the site of Sandy Hook, and they got in one
                   shot leaves blowing, and the flowers that are around it, and you see
                   the leaves blowing, and they go [gestures]. They glitch. They’re
                   recycling a green-screen behind them...

                   [Shows video footage of interview between Veronique De La Rosa
                   and Anderson Cooper]

                   And then we’ve got Anderson Cooper, famously, not just with the
                   flowers blowing and a fake, but when he turns, his nose disappears
                   repeatedly because the green-screen isn’t set right. And they don’t
                   like to do live feeds because somebody might run up. CNN did that
                   in the Gulf War and admitted it. They just got caught two weeks ago
                   doing it in supposedly Syria. And all we’re saying is, if these are
                   known liars that lied about WMDs, and lied to get us in all these
                   wars, and backed the Arab Spring, and Libya, and Syria, and Egypt,
                   and everywhere else to overthrow governments, and put in radical
                   Islamicists (sic), if they do that and have blood on their hands, and
                   lied about the Iraq War, and were for the sanctions that killed half a
                   million kids, and let the Islamicists (sic) attack Serbia, and lied
                   about Serbia launching the attack, when it all came out later that
                   Serbia didn’t do it, how could you believe any of it if you have a
                   memory? If you’re not Dory from ‘Finding Dory,’ you know, the
                   Disney movie. Thank god you’re so stupid, thank god you have no
                   memory. It all goes back to that.2

       My review suggests this statement is false, both in their explicit text and in their
implications. The available public evidence suggests that Anderson Cooper interviewed Veronique

2
    Ex. A26 - 2017-04-22 - Sandy Hook Vampires Exposed (Clip at 29m)

                                                       3
De La Rosa in Newtown. An expert review by video analyst Grant Fredericks concluded that
there is no reasonable basis to believe the interview used a blue-screen and that the compression
artifact would be understand by anyone with a basic understanding of digital video.3 For this
reason and other discussed more fully below, is clear to me that any broadcaster would have
serious doubts about stating a blue-screen was used. In sum, there was no reasonable basis to
believe that Veronique De La Rosa participated in a faked interview, and any publisher would
entertain serious doubts about the truth of such a claim.

2.         InfoWars’ April 22, 2017 broadcast made additional false statements about the
           Sandy Hook shooting and investigation meant to imply that Mrs. De La Rosa’s
           interview is covering up a terrible secret truth.

       In order to justify the implication that the Sandy Hook shooting was a hoax, Mr. Jones has
repeatedly provided his viewers with false assertions which he claims are evidence of a cover-up.
In the April 22, 2017 broadcast, Mr. Jones followed this pattern by making several statements of
fact which are contradicted by the publicly available evidence. These statements have been made
by Mr. Jones on numerous prior occasions, and they are used as part of his efforts to convince his
audience that a terrible secret truth about Sandy Hook is being covered up by the Plaintiffs and
many others.

           A.       In the April 22, 2017 broadcast, InfoWars falsely asserted that “the school
                    was closed until that year, in the videos it’s all rotting and falling apart and
                    nobody is even in it.”

       In the April 22, 2017 broadcast, Mr. Jones asserted that Sandy Hook Elementary School
had not been open for years, and the incident was staged in a decaying school which had not been
in operation. Mr. Jones has repeated this argument many times over the years.

        I have reviewed the affidavit Dr. H. Wayne Carver, the chief medical examiner who
attended to the dead at Sandy Hook. Dr. Carver stated that the school was operational and not
rotting or falling apart. I have also viewed publicly available photos of the school’s interior taken
by law enforcement, as well as video taken by law enforcement, both of which were included in
the official Sandy Hook report. The school appears perfectly normal, bearing all the signs of an
operational school. The school is not rotting or falling apart, just as Dr. Carver stated.

        In order to believe Mr. Jones’ statements, one must believe that all photos taken inside
Sandy Hook are actually older photos, since Jones alleged that the school was shut down for
several years. However, the most well-known and widely publicized photo of Sandy Hook victim
N.P. was taken inside Sandy Hook Elementary School. N.P. is wearing a t-shirt made to promote
the movie The Amazing Spiderman, which he is also seen wearing other photos.4



3
    Affidavit of Grant Fredericks
4
    Photos provided and used with permission of the Pozner family.

                                                           4
        Given the production date of the film, the t-shirt worn by N.P. establishes that the photos
could not have been taken before 2012, indicating that the school was open and in operation
during that year.




       Similarly, there is a photograph of N.P. taken on the same day in which he is holding a
copy of a LEGO Star Wars book entitled “Anakin to the Rescue.” The book was published on
September 1, 2012.




                                                5
        Finally, N.P. and his sisters are present in a photo taken inside Sandy Hook Elementary
School for a Veteran’s Day celebration, which matches footage recorded in the school on the day
of the shooting.




        Researchers have catalogued at least 180 news articles appearing in the Newtown Bee, the
Danbury Newstimes, and the Newtown Patch between 2008-2012 which discuss activities at
Sandy Hook Elementary.5 The Newtown Bee hosts a photo archive which contains pictures from
stories on Sandy Hook, along with viewable metadata. For example, a photo taken in 2011 shows
choir practice in Sandy Hook.6




5
 http://www.crisisactorsguild.com/2016/08/25/sandy-hook-elementary-was-open-part-eleven-180-articles-
referencing-sandy-hook-school-written-between-2008-2012/
6
 https://photos.newtownbee.com/Journalism/Photos-from-the-issue-59/i-p8G52Rv

                                                      6
        There are countless examples of the school’s operation between 2008-2012 in the form of
social media posts, photographs, and school publications. The evidence I have reviewed shows
that the school was not shut down in the years leading up to the shooting. Rather, all evidence
indicates that N.P. was a student attending Sandy Hook Elementary School and that it was
operational through 2012.

           B.      In the April 22, 2017 broadcast, InfoWars falsely asserted that “the kids are
                   going in circles, in and out of the building with their hands up.”

       In the April 22, 2017 broadcast, Mr. Jones repeated a false statement he has made many
times about kids walking in circles back into Sandy Hook Elementary School with their hands up.
In an earlier broadcast on November 18, 2016, Mr. Jones discussed this claim, stating “We
watched footage of kids going in circles, in and out of the building. You’d be running them away
from the building.”7 Mr. Jones showed news helicopter footage taken on the afternoon of the
incident showing a line of people exiting the rear of a building and walking in a line to the
building’s front entrance.




7
    Ex. A24 - 2016-11-18 - Alex Jones Final Statement on Sandy Hook (Clip at 4m59s)

                                                         7
        Mr. Jones lead his audience to believe this building is Sandy Hook Elementary School.
The building is actually a Newtown fire station. The fire station was used as a staging location
near the school. This fact is obvious from the same news helicopter footage.




        As can be seen in the footage, the shooting has long since ended, and there was no danger
to any of the individuals in the staging area. Moreover, none of these individuals walking in line
are elementary-aged children. Rather, they are adults with some late adolescent children. None of
the individuals have their hands up.


                                                8
        The footage shows people were calmly walking to the front of the firehouse. The
reasonable inference is that this group of parents had been ordered by authorities to walk to the
front of the building, and they could not travel through the building without disrupting official
operations occurring inside.8 Whatever the reason for these individuals walking in a line to the
front of the building, it did not involve kids with their hands up, nor did it reasonably suggest any
cover-up or manipulation. In short, there is no truth to the claim on the April 22, 2017 broadcast
that “the kids are going in circles, in and out of the building with their hands up.” Furthermore,
any reasonable publisher would have known the claim was not true.

           C.      In the April 22, 2017 broadcast, InfoWars asserted that “they had Port-A-
                   Potties being delivered an hour after it happened, for the big media event.”

        To reinforce the idea that the event was staged, Mr. Jones claimed that port-a-potties were
delivered to Sandy Hook Elementary School within an hour. However, the arrival of port-a-
potties was recorded by an officer’s dashboard camera, which was part of the publicly available
report. The dashboard camera shows the port-a-potties arrived around 1:30 p.m., nearly four
hours after the shooting.




8
    Sandy Hook Official Report - Book 6, Document 40345.

                             9
            D.       In the April 22, 2017 broadcast, InfoWars asserted that law enforcement was
                     “pulling guns out of cars.”

        During the April 22, 2017 broadcast, InfoWars reporter Rob Dew alleged that authorities
found multiple guns in Adam Lanza’s car. On prior occasions, Mr. Jones has stated that the
shooter’s semi-automatic rifle was found inside his car. On January 4, 2013, Mr. Jones stated:
“They said he had an AR-15...M4 inside, and it was in the car.”9 The implication is that Lanza
could not have used his semi-automatic rifle to commit the crime because he did not take it into
the building.

       However, there was only one weapon found in Lanza’s vehicle. That weapon was a
shotgun, not his semi-automatic rifle. Lanza took his rifle and pistols into the building. Newtown
Police Officer Leonard Pena found a shotgun in Lanza’s vehicle and secured it in the trunk in the
early moments of the response.10 A police photo11 shows the Saiga 12 shotgun in the truck of
Lanza’s car.




9
     Ex. A2 - 2013-01-04 - Callers React to Foreign Media Pushing Total Gun Confiscation (Clip at 20m25s)
10
     Sandy Hook Official Report - Book 6 Doc 258036
11
     Sandy Hook Official Report - Meehan Parking Lot Photo 37

                                                          10
        There is no evidence that police found any other weapon in Lanza’s vehicle. Likewise,
there is no evidence that police were “pulling guns out of cars.” The statements in the April
22, 2017 broadcast were false.

           E.      In the April 22, 2017 broadcast, InfoWars asserted that law enforcement
                   authorities were “finding people in the back woods who are dressed up
                   in SWAT gear.”

        In the April 22, 2017 broadcast, InfoWars reporter Rob Dew claimed that men wearing
SWAT gear were detained in the woods behind Sandy Hook Elementary School. Mr. Jones
responded: “And that’s on helicopter footage, and then they say it never existed, and later admit
it does.”

        The helicopter footage referenced by Mr. Jones depicts police detaining two reporters who
were walking through the woods carrying cameras. The helicopter footage of this encounter has
been available online through the Associated Press’ YouTube channel since the day of the
shooting.12 Multiple police reports also described this encounter and identified the individuals as
reporters. Newtown Police Officer Jason Flynn discussed the encounter in his post-incident
interview.13 He described running into the woods and detaining the reporters with fellow officers:




12
     https://www.youtube.com/watch?v=-uor8MnOTM8
13
     Sandy Hook Official Report - Book 6, Document 28227

                                                           11
        Newtown Police Officer Liam Seabrook also discussed the encounter with the
reporters in his post-incident interview.14




        Two other individuals were known to be detained in the aftermath of the shooting, but
neither were in the woods wearing SWAT gear. First, a parent of a child attending Sandy Hook,
Chris Manfredoni, was briefly detained. His detention was described in contemporary press
accounts.15 His detention was also discussed in a post-incident report.16 This parent was not in the
woods, and he was certainly not in SWAT gear. Second, an unarmed man was detained for
getting too close to the school. Police reports indicate he had an app on his phone that alerted him
to police emergencies.17 There was also a news interview with a witness who saw this man
detained.18 Finally, there was a report in the Newtown Bee that a man in civilian clothes seen by
residents in the woods with a gun was an off-duty police officer responding to the emergency.19
There were no reports of anybody wearing SWAT gear, and there is no report that this off-duty
officer was detained. In sum, there is no reasonable basis for an assertion that police found men in
the woods wearing SWAT gear.

        It was not necessary to obtain a subpoena to secure the materials needed to fact-check these
claims. All these materials exist in the public domain, and they have been discussed by Sandy

14
  Sandy Hook Official Report - Book 6, Document 29085
15
  http://articles.latimes.com/2012/dec/14/nation/la-na-1215-newtown-school-shooting-20121215
16
  Sandy Hook Official Report - Book 5, Document 14498
17
  Sandy Hook Official Report - Book 6, Document 2060; Book 6, Document 40345
18
  https://www.youtube.com/watch?v=PqY9Xvr0Ts8 https://www.snopes.com/fact-check/sandy-hook-
                                                19


exposed/ ;
https://www.salon.com/2013/01/18/your_comprehensive_answer_to_every_sandy_hook_conspiracy_theory/ ;
https://www.huffingtonpost.com/2013/02/11/sandy-hook-hoax-theories-explained-debunking-newtown-
truther n 2627233.html


                                                     12
Hook researchers online. A variety of individuals have debunked these claims over the years while
providing verifiable information from the public record. Any responsible publisher would have
known Mr. Jones’ claims were false, or otherwise entertained serious doubts about their accuracy.

                                                  OPINIONS

1.        InfoWars’ False Statements in 2017 Impugned the Reputation of the Plaintiffs.

      It is my opinion that the statements made in the April 22, 2017 broadcast entitled “Sandy
Hook Vampires Exposed” were capable of defaming Veronique De La Rosa and Leonard Pozner
by impugning their reputation with false information about their honesty or integrity.

          A.       Background

       InfoWars’ April 22, 2017 statements were not made in isolation. The 2017 statements
repeated and elaborated on allegations that InfoWars had been making for over four years. Mr.
Jones used these false statements as evidence for his contention that the Sandy Hook shooting
was faked or staged, and that the participants are engaged in a sinister cover-up.

       In a January 27, 2013 broadcast entitled “Why People Think Sandy Hook is a Hoax,” Mr.
Jones first alleged that Veronique De La Rosa’s interview was evidence of a cover-up:

                    In the last month and a half, I have not come out and said that this
                    was clearly a staged event. Unfortunately, evidence is beginning to
                    come out that points more and more in that direction...Something
                    serious is going on here, and CNN over and over again is at the
                    heart of the fishy things that are happening...

                    We've got Anderson Cooper supposedly at Sandy Hook, and it's
                    clearly blue screen. I've worked with blue screen for 17 years. We've
                    got it right in there. We know what it looks like. We know what the
                    anomalies look like, and we know what happens when you don't tune
                    it properly. It's clearly blue screen, and you can draw from that what
                    you want...20

                    Now, ladies and gentlemen, the finale. I saw this footage where
                    Anderson Cooper turns. He's supposedly there at Sandy Hook in
                    front of the memorial, and his whole forehead and nose blurs out.
                    I've been working with blue screen, again, for 17 years. I know
                    what it looks like. It's clearly blue screen, clearly.21

       In an April 16, 2013 broadcast entitled “Shadow Govt Strikes Again,” Mr. Jones was
discussing was various plots behind various national tragedies. During his remarks, he stated:

20
     Ex. A3 - 2013-01-27 - Why People Think Sandy Hook is a Hoax (Clip at 1m12s)
21
     Ex. A4 - 2013-01-27 - Why People Think Sandy Hook is a Hoax (Clip at 12m58)

                                                       13
“They staged Sandy Hook. The evidence is just overwhelming, and that’s why I’m so desperate
and freaked out.”22

       In a March 14, 2014 broadcast entitled “Sandy Hook, False Narratives Vs. The Reality,”
Mr. Jones again repeated his false claim about Mrs. De La Rosa’s interview with Anderson
Cooper, along with several other irresponsible claims. Mr. Jones then asserted that the event was
pre-planned and featured actors as a part of a cover-up:

                Folks, we’ve got video of Anderson Cooper with clear blue-screen
                out there. [Shaking head]. He’s not there in the town square. We
                got people clearly coming up and laughing and then doing the fake
                crying. We’ve clearly got people where it’s actors playing different
                parts for different people, the building bulldozed, covering up
                everything. Adam Lanza trying to get guns five times we’re told.
                The witnesses not saying it was him...I’ve looked at it and
                undoubtedly, there’s a cover-up, there’s actors, they’re
                manipulating, they’ve been caught lying, and they were pre-
                planning before it and rolled out with it.23

        In a May 13, 2014 broadcast entitled “Bombshell Sandy Hook Massacre Was A DHS
Illusion Says School Safety Expert,” Mr. Jones again repeated his false statements,

                They don't even hide this stuff, ladies and gentlemen. Anderson
                Cooper, CIA, up there, who cares if it's blue screen. Just like CNN - -
                I'm going back to our guest -- Just like CNN back there in the first
                Gulf War was at the broadcast center in Atlanta on top of a roof with
                a blue screen behind them saying they were in Riyadh, Saudi Arabia,
                and Israel different days being hit by nerve gas. And then they went
                on air for parts of it with the blue screen not even turned on with blue
                behind them...

                You're looking at how they don't any of the standard stuff, the
                paperwork, the police reports, no helicopter sent, no rescue, kids
                going in circles totally staged, men with guns in the woods getting
                grabbed, no names released. They deny it went on. Later have to
                admit it went on but say we're not answering questions. I mean,
                clearly it's a drill, just like the Boston bombing. I don't know
                exactly what's going on, but it just -- the official story isn't true.24

        In a September 25, 2014 broadcast entitled “Connecticut PD Has FBI Falsify Crime
Statistics,” Mr. Jones stated


 Ex. A5 - 2013-04-16 - Shadow Govt Strikes Again (Clip at 13m20s)
22


 Ex. A6 - 2014-03-14 - Sandy Hook, False Narratives Vs. The Reality (Clip at 26s)
23


 Ex. A7 - 2014-05-13 - Bombshell Sandy Hook Massacre Was A DHS Illusion Says School Safety Expert (Clip at
24


17m)

                                                   14
                    This is not a game. They are hopping mad we're covering this. CNN
                    admits they did fake scud attacks on themselves back in 1991, 1990.
                    Would they stage this? I don't know. Do penguins live in Antarctica?
                    Wolfgang W. Halbig's our guest, former state police officer, then
                    worked for the customs department, and then over the last decade's
                    created one of the biggest, most successful school safety training
                    grips. And he just has gone and investigated, and it's just phony as a
                    three-dollar bill...25

                    If you've got a school of 100 kids and then nobody can find them,
                    and you've got parents laughing going “Ha, Ha, Ha,” and then they
                    walk over to the camera and go (crying), and I mean, not just one,
                    but a bunch of parents doing this and then photos of kids that are
                    still alive they said die. I mean, they think we're so dumb that it's
                    really hidden in plain view, and so the preponderance -- I mean, I
                    thought they had some scripting early on to exacerbate and milk
                    the crisis as Rahm Emmanuel said, but when you really look at it,
                    where are the lawsuits? There would be incredible lawsuits and
                    payouts, but there haven't been any filed, nothing. I've never seen
                    this. This is incredible.26

      In a December 27, 2014 broadcast entitled “Lawsuit Could Reveal Truth About Sandy
Hook Massacre,” Mr. Jones stated:

                    All I know is I saw Cooper with blue screen out there, green screen.
                    I know I saw the kids doing fake, you know, rotations in and out of
                    the building. They tore it down, all the unprecedented gag orders,
                    you know, the police in anti-terror outfits in the woods. Then they
                    denied that, that had been in the news. I mean, something is being
                    hidden there... 27

                    I said they may have killed real kids, but they're practicing how to
                    propagandize, and how to control the press, and how to put out a
                    product that's a fraud when I just saw the heavy, heavy, heavy
                    scripting. That was what was so clear. And then the parents
                    laughing and then one second later doing the actor breathing to
                    cry. I mean, it just -- it's just over the top. Over the top sick. 28

       In a December 29, 2014 broadcast entitled “America the False Democracy,” Mr. Jones
continued to insist that Sandy Hook was fake:



25
     Ex. A8 - 2014-09-25 - Connecticut PD Has FBI Falsify Crime Statistics (Clip at 22m)
26
     Ex. A8 - 2014-09-25 - Connecticut PD Has FBI Falsify Crime Statistics (Clip at 22m)
27
     Ex. A9 - 2014-12-27 - Lawsuit Could Reveal Truth About Sandy Hook Massacre (Clip at 3m08s)
28
     Ex. A10 - 2014-12-27 - Lawsuit Could Reveal Truth About Sandy Hook Massacre (Clip at 4m34s)

                                                        15
                     I've had investigators on. I've had the state police have gone
                     public, you name it. The whole thing is a giant hoax. And the
                     problem is how do you deal with a total hoax? I mean it's just --
                     how do you even convince the public something is a total hoax?

                     The general public doesn't know the school was actually closed the
                     year before. They don't know. They've shielded it all, demolished
                     the building. They don't know that they had their kids going in
                     circles in and out of the building as a photo op. Blue screen, green
                     screens, they got caught using. I mean the whole thing.

                     But remember, this is the same White House that's been caught
                     running the fake Bin Laden raid that's come out and been faked. It's
                     the same White House that got caught running all these other fake
                     events over and over again, and it's the same White House that says
                     I never said that you could keep your doctor when he did say you
                     could keep doctor. People just instinctively know that there's a lot
                     of fraud going on, but it took me about a year with Sandy Hook to
                     come to grips with the fact that the whole thing was fake. I mean,
                     even I couldn't believe it. I knew they jumped on it, used the crisis,
                     hyped it up, but then I did deep research; and my gosh, it just
                     pretty much didn't happen. 29

        In a January 13, 2015 broadcast entitled “Why We Accept Gov't Lies,” Mr. Jones
continued his allegations about Sandy Hook, including his allegation about Mrs. De La Rosa’s
interview, as well allegations about her son. He asserted that the event was “completely fake” and
“manufactured”:

                     You learn the school had been closed and re-opened. And you’ve
                     got video of the kids going in circles, in and out of the building,
                     and they don’t call the rescue choppers for two hours, and then
                     they tear the building down, and seal it. And they get caught using
                     blue-screens, and an email by Bloomberg comes out in a lawsuit,
                     where he’s telling his people get ready in the next 24 hours to
                     capitalize on a shooting.

                     Yeah, so Sandy Hook is a synthetic, completely fake with actors,
                     in my view, manufactured. I couldn’t believe it at first. I knew they
                     had actors there, clearly, but I thought they killed some real kids.
                     And it just shows how bold they are that they clearly used actors. I
                     mean they even ended up using photos of kids killed in mass
                     shootings here in a fake mass shooting in Turkey, or Pakistan. The
                     sky is now the limit.30


29
     Ex. A11 - 2014-12-29 - America the False Democracy (Clip at 11m53s)
30
     Ex. A12 - 2015-01-13 - Why We Accept Gov't Lies (Clip at 10m36s)

                                                         16
        In a February 12, 2015 broadcast with an unknown title, Mr. Jones continued to repeat his
false claims. Mr. Jones stated, “I know they're using blue screens...There are literally hundreds of
smoking guns here that this thing doesn't add up.”31

      In a March 4, 2015 broadcast entitled “New Bombshell Sandy Hook Information In-
Bound,” Mr. Jones stated, “We know it stinks. I mean, it's phony. The question is what is going
on. We don't know. We just know it's fake. How fake we don't know. It's sick.”32

       In a July 7, 2015 broadcast entitled “Government Is Manufacturing Crises,” Mr. Jones
again asserted that Sandy Hook was staged:

                    If they did kill kids, they knew it was coming, stocked the school
                    with kids, killed them, and then had the media there, and that
                    probably didn't even happen. I mean, no wonder we get so many
                    death threats and so much heat and so much other stuff I'm not
                    going to get into, behinds the scenes, when we touch Sandy Hook
                    because, folks, it's as phony as a three-dollar bill.33

      In a July 7, 2015 broadcast entitled “Retired FBI Agent Investigates Sandy Hook Mega
Massive Cover Up,” Mr. Jones repeated a large selection of his prior false claims about Sandy
Hook:

                    No emergency helicopters were sent. The ambulances came an hour
                    and a half later and parked down the road. DHS an hour and a half
                    later with the time stamp put up signs saying sign in here. They had
                    porta-potties being delivered within an hour and a half. It looked
                    like a carnival. It looked like a big PR stunt.

                    Came out that Bloomberg a day before sent an email out to his gun
                    control groups in all 50 states saying, "Prepare to roll, maybe
                    operation coming up." That came out in the news.

                    We have the emails from city council back and forth and the school
                    talking about it being down a year before. We have the school then
                    being demolished, and the records being sealed. We have videos
                    that look just incredibly suspicious where people are laughing and
                    everything, and then they start huffing and puffing and start crying
                    on TV, which is pure acting method...

                    But I mean, this is just so big. And the more we look at Sandy Hook,
                    I don't want to believe it's a false flag. I don't know if kids really got
                    killed. But you got green screen with Anderson Cooper where I was
                    watching the video and the flowers and plants are blowing in some

31
     Ex. A13 - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 0m26s)
32
     Ex. A20 - 2015-03-04 - New Bombshell Sandy Hook Information In-Bound (Clip at 32m30s)
33
     Ex. A21 - 2015-07-07 - Government Is Manufacturing Crises (Clip at 32m)

                                                          17
                    of them, and then they blow again the same way. It's looped, and
                    then his nose disappears. I mean, it's fake.

                    The whole thing is just -- I don't know what happened. It's kind of
                    like if you see a hologram at Disney World in the Haunted House,
                    you know. I don't know how they do it, but it's not real. When you
                    take your kids to see, you know, the Haunted House and ghosts are
                    flying around, they're not real, folks. It's staged.34

        Mr. Jones also stated, “It’s 101, they’re covering up...This is mega-massive cover-up. My
 God.” Mr. Jones stated that the tragedy was “totally made up with green screens, everything.
 And we've got them on green screens.” Mr. Jones stated, “That's how evil these people are is that
 they can have CNN involved, all these people.”35

        In a November 18, 2016 broadcast entitled “Alex Jones Final Statement on Sandy Hook,”
 Mr. Jones directly addressed the growing public controversy caused by his statements. In doing
 so, he began by repeating the numerous false claims he has made over the years.

                    Number one, the day before this tragic event happened an email
                    was sent out by Bloomberg's anti-gun group saying prepare for a
                    big event. But the biggest piece of evidence, the smoking gun, if
                    you would, of a cover-up, of whatever really happened is the
                    Wayback Machine, the internet archive. We see Sandy Hook's
                    Newtown website K through 12 having zero traffic 2008, '09, '10,
                    '11, '12, and then all of a sudden it just explodes. It's impossible to
                    have zero traffic to a K through 12 entire school system. And the
                    word is that school system was shut down for those years. That's
                    what the records show. They tell us it was open...

                    And early on, that day we watched footage of kids going in circles
                    in and out of the building. You'd be running them away from the
                    building. Emergency helicopters weren't called. Instead port-
                    potties were prepared for the press within hours of the event. I saw
                    the helicopters that did respond, the police helicopters saying that
                    there were men or a man in the woods in camouflage...

                    And then I saw Anderson Cooper -- I've been in TV for 20-
                    something years; I know a blue screen or a green screen -- turn, and
                    his nose disappears. Then I saw clearly that they were using footage
                    on the green screen looped because it would show flowers and other
                    things during other broadcasts that were moving and then basically
                    cutting to the same piece of footage...



34
     Ex. A22 - 2015-07-07 - Retired FBI Agent Investigates Sandy Hook Mega Massive Cover Up (Clip 0-5m)
35
     Ex. A23 - 2015-07-07 - Retired FBI Agent Investigates Sandy Hook Mega Massive Cover Up (Clip at 9m40s)

                                                         18
                    Then we see footage of one of the reported fathers of the victims,
                    Robby Parker, doing classic acting training where he's laughing and
                    joking. And they say, hey, we're live, and he goes, oh. And maybe
                    that's real. I'm sure it is.

                    But you add it to all the other things that were happening and all the
                    other fake news the media has been caught in, and CNN back in
                    1991 openly faking scud missile attacks on Saudi Arabia and Israel
                    when they were back in Atlanta; and the satellite feeds caught them
                    admitting that it was all fake. We'd be crazy not to question this
                    because bare minimum they were faking some of the shots and
                    some of the coverage.

                    So to be clear, we point out clear chroma key, also known as blue
                    screen or green screen being used, and we're demonized. We point
                    out they're clearly doing fake interviews.36

       In other words, Mr. Jones used Mrs. De La Rosa’s “fake” interview as proof that the truth
about Sandy Hook was being artificially manipulated. In a chilling finale, Mr. Jones told his
audience that the parents were actors:

                    And why should anybody fear an investigation if they have nothing
                    to hide. In fact, isn't that in Shakespeare's Hamlet, “me thinks you
                    protest too much."

                    But this particular case they are so scared of an investigation. So
                    everything they do basically ends up blowing up in their face. So
                    you guys are going to get what you want now. I'm going to start
                    reinvestigating Sandy Hook and everything else that happened with
                    it...

                    And so if children were lost in Sandy Hook, my heart goes out to
                    each and every one of those parents and the people that say they're
                    parents that I see on the news. The only problem is I've watched a
                    lot of soap operas, and I've seen actors before. And I know when
                    I'm watching a movie and when I'm watching something real.37

         On April 22, 2017, InfoWars aired the “Sandy Hook Vampires Exposed” broadcast. During
that broadcast, InfoWars once again made the false accusation that Ms. De La Rosa conducted a fake
interview with Anderson Cooper as evidence of a conspiracy to cover up the truth about Sandy Hook.
This broadcast was not an isolated statement, and it was clearly meant to reinforce years of claims
about Sandy Hook. InfoWars should have known these claims were not true.



36
     Ex. A24 - 2016-11-18 - Alex Jones Final Statement on Sandy Hook (Clip at 4m59s)
37
     Ex. A25 - 2016-11-18 - Alex Jones Final Statement on Sandy Hook (Clip at 15m22s)

                                                         19
         The statements made in the April 22, 2017 broadcast were further reinforced by comments
Mr. Jones and InfoWars made later in 2017. On June 13, 2017, Mr. Jones stated in a Facebook video
that “there's been a cover-up, and Anderson Cooper got caught faking where his location was with
blue screen.”38 On June 19, 2017, Mr. Jones appeared for an interview with Megyn Kelly. During
this interview, Mr. Jones continued to insist there had been a cover-up. While he waffled on whether
he now believed children were killed, he did not abandon his accusations about a cover-up. Mr.
Jones claimed it was suspicious that the children’s autopsy records were not released to the public,
and he again claimed to see video of kids going in circles in and out of Sandy Hook elementary. Mr.
Jones stated, “I do think there's some cover-up and some manipulation.”39

       In an October 26, 2017 broadcast entitled “JFK Assassination Documents To DROP
Tonight,” Mr. Jones again returned to the subject of Sandy Hook. In this broadcast, he repeated
his accusation that “it's as phony as a three-dollar bill with CNN doing fake newscasts, with blue
screens.”40

           B.      The reasonable meaning of InfoWars’ 2017 broadcasts

        Before publishing, journalists must evaluate how their story will be received by the public.
The editorial process includes an analysis of how ordinary readers of average intelligence will
understand and interpret the story. During my years in newspaper journalism, I gained extensive
expertise in assessing the reasonable meanings of a text. As editor, I routinely applied this
expertise in order to avoid creating a misimpression among our readership. In this case, I likewise
analyzed the publication to determine what meaning could be reasonably understood by a person
of average intelligence.

        It is my opinion that a person of ordinary intelligence could reasonably understand
InfoWars’ 2017 statements to accuse Ms. De La Rosa in colluding in an act of technical trickery
to simulate her presence in Newtown when she was not actually there. A person of ordinary
intelligence could reasonably understand that Mr. Jones was claiming this trickery was consistent
with a series of deceptions perpetrated by CNN to facilitate violence and abuses of power.
Unquestionably, the gist of the broadcast is that Ms. De La Rosa’s fake interview is evidence of
an evil conspiracy underlying Sandy Hook. Given the circumstances, it is my opinion that a
person of ordinary intelligence could reasonably draw the implication that InfoWars was alleging
Mrs. De La Rosa’s interview is evidence that Sandy Hook was staged and that the alleged parents
are participating in a cover-up. A person of ordinary intelligence could also reasonably draw the
implication that InfoWars was alleging that Ms. De La Rosa is not a parent, but rather an actor
participating in CNN’s insidious scheme.

       While the statements do not feature him specifically, a person of ordinary intelligence
acquainted with Leonard Pozner, who was Ms. De La Rosa’s husband, could reasonably have
understood that the allegations also implicated him. Given the nature of the allegations about Ms.
De La Rosa’s conduct, and given the allegations that Sandy Hook was a staged event, a person of


38
     Ex. A28 - 2017-06-13 - What Alex Jones Really Believes About Sandy Hook (Clip at 14m)
39
     Ex. A29 - 2017-06-19 - Megyn Kelly Profile (Clip at 7m55s)
40
     Ex. A30 - 2017-10-26 - JFK Assassination Documents To DROP Tonight (Clip at 1h13m30s)

                                                       20
ordinary intelligence could reasonably draw the implication that Leonard Pozner must also have
been participating in a cover-up of the event.

        Not only is it my opinion that these statements could be understood in this manner, but
there is ample evidence that Mr. Jones’ statements were indeed understood in this manner by the
public at large. The nature of Mr. Jones’ statements about Sandy Hook have been widely reported
in the media. The national outrage created by the unmistakable meaning of Mr. Jones’ statements
about Sandy Hook is well documented. In an April 19, 2018 editorial entitled “Thank You for
Suing Alex Jones,” the Hartford Courant editorial board wrote:

                Alex Jones and his website Infowars offer the worst kind of free
                speech — incendiary malice, based in falsehood, with no social
                value...They claim the Sandy Hook parents are actors. They claim
                the children never existed. They weave wild conspiracies from thin
                air. They have no regard for human suffering.41

       The New York Daily News Editorial Board wrote about Jones’ statements in an editorial
on April 17, 2018 entitled “Defamed by the devil: Sandy Hook parents take on Alex Jones’ lies.”
The Board wrote:

                All decent people should cheer on Leonard Pozner, Veronique De
                La Rosa and Neil Heslin...for filing a defamation lawsuit in Texas
                court against Alex Jones. As a radio show host and the grand
                poobah of Infowars.com, Jones has peddled wretched whole-cloth
                lies about the 2012 Newtown massacre: that it was all a hoax, that
                the victims and their mourning mothers and fathers are actors.42

       In short, nobody who has been paying attention to Mr. Jones has any ambiguity about the
meaning of his claims. His statements about Mrs. De La Rosa’s interview form a central part of
his years-long campaign to convince his viewers that the events of Sandy Hook should not be
believed. Given the persistence of the Sandy Hook hoax conspiracy online, it is clear that many of
Mr. Jones’ followers have accepted his allegations as true. A 2016 poll conducted by Fairleigh
Dickinson University found that 24% of Americans believe Sandy Hook was either “definitely”
or “possibly” faked.43

        Additionally, it is clear from my review that Mr. Jones’ statements would be reasonably
understood as assertions of fact, not opinions. Mr. Jones did not equivocate in his statements about
a blue-screen or his other false statements about Sandy Hook. Mr. Jones has frequently claimed
special expertise and assured his audience that the interview “clearly” used a blue screen. In the
April 22, 2017 broadcast, Mr. Jones confidently stated that “the green-screen isn’t set right.”44


41
  http://www.courant.com/g00/opinion/editorials/hc-ed-alex-jones-sandy-hook-hoax-lawsuit-20180417-
story.html?i10c.encReferrer=&i10c.ua=1&i10c.dv=14
42
  http://www.nydailynews.com/opinion/defamed-devil-sandy-hook-parents-alex-jones-lies-article-1.3939094
43
  https://view2.fdu.edu/publicmind/2016/161011/
44
  Ex. A26 - 2017-04-22 - Sandy Hook Vampires Exposed (Clip at 29m)

                                                      21
        It is my opinion that that InfoWars’ 2017 statements would tend to injure a person’s
reputation and impeach their honesty and integrity. It is also clear these statements could expose a
person to contempt or ridicule.

2.         InfoWars’ accusations about Sandy Hook and Ms. De La Rosa’s interview were
           made with reckless disregard for truth.

       I have reviewed materials which lead me to believe that InfoWars demonstrated a reckless
disregard for truth. It is my opinion that InfoWars had serious doubts about the truth of their 2017
broadcasts and were motivated by a desire to mislead.

           A.       InfoWars’s accusations were inherently improbable.

       Mr. Jones’ assertion about the blue-screen was farfetched to the say the least. It required
an extraordinary level of verification before being repeatedly stated as fact. Yet it is clear that
InfoWars performed no verification because any genuine inquiry would have shown the
accusation was bogus. As demonstrated by video analyst Grant Fredericks, any minimal
competent video professional would have understood that the blue-screen was not used.

       Another problem with InfoWars’ allegation is that it makes no sense to use a blue screen
to simulate an interview in a location that is a short drive from Anderson Cooper’s office in New
York City. In addition, there is copious third-party evidence that Mr. Cooper was in Newtown.
For example, on December 15, 2012, an Anderson Cooper fan blog, “All Things Anderson,”
posted photographs of Mr. Cooper in Newtown.45




         Mr. Jones’ accusation proves the adage that serious claims require serious evidence. Yet it
does not appear that Mr. Jones had any evidence to make his assertions, relying instead on his own
self-professed expertise in video technology. As such, Mr. Jones ignored basic precautions taken

45
     http://www.allthingsandersoncooper.com/2012/12/anderson-cooper-live-in-newtown-ct.html

                                                         22
by journalists. Rather than meaningfully investigate his claim or produce corroborating evidence,
Mr. Jones made these statements with reckless disregard for whether they were true or not.

        B.       InfoWars has a long history of making false statements about Sandy Hook.

        InfoWars has made wild claims about the Sandy Hook massacre from the beginning. Mr.
Jones suggested the event was a “false flag” on the day on the shooting46, and InfoWars explicitly
made that claim over the next five years. The accusation that Ms. De La Rosa’s interview was
conducted in front of a blue-screen became a central element of InfoWars’ claim that the official
story of Sandy Hook was a lie. In a 2013 broadcast entitled “Why People Think Sandy Hook is
Hoax,” Mr. Jones called Ms. De La Rosa’s interview footage “the finale” in his parade of evidence
that the event was staged. He continued to repeat this falsehood on numerous broadcasts over the
new five years, along with other false assertions about Sandy Hook.

       As part of my evaluation in this case, I reviewed video clips from over twenty InfoWars’
broadcasts between 2013-2016, all of which discuss the alleged conspiracy behind Sandy Hook.
In the videos I reviewed, InfoWars made a variety of factual allegations which are readily
disproved by basic journalistic efforts. The various claims made by Jones have been debunked
from numerous groups and individuals using a wide variety of sources in the public record.

        InfoWars had ample opportunity to investigate the accuracy of its assertions. It has devoted
an enormous amount of airtime to the tragedy, with broadcasts making extreme assertions years
after the event. Given the enormous public attention and outcry over Jones’ allegations, I find it
unlikely that InfoWars researchers could have avoided the widespread debunking efforts unless
they were doing so intentionally. It is my opinion that any reasonable journalist who continued to
publish these claims in 2017 would entertain serious doubts about the truth of their statements, and
that they would be acting with a desire to mislead their audience.

        C.       InfoWars has a long history of recklessly claiming that national tragedies
                 were staged by the government.

        Mr. Jones’ rise to notoriety coincided with his assertions that the 9/11 terror attacks were
orchestrated by the U.S. government. His current promotional materials boast that “Alex Jones is
considered by many to be the grandfather of what has come to be known as the 9/11 Truth
Movement.”47 Regarding the shooting at Columbine High School, Jones told his audience,
“Columbine, we know was a false flag. I’d say 100% false flag.”48 Jones claimed that Columbine
“had globalist operations written all over it.”49 Regarding the Oklahoma City bombing, Jones said



46
  Ex. A1 - 2012-12-14 - Connecticut School Massacre Looks Like False Flag Says Witnesses (Clip at 9m30)
47
  Free Speech Systems, LLC Media Kit, p. 1.
48
  The Alex Jones Show, July 20, 2012, video available at:
https://www.mediamatters.org/embed/clips/2016/11/23/51244/gcn-alexjones-20120720-columbinefalseflag
49
  The Alex Jones Show, July 20, 2012, video available at:
https://www.mediamatters.org/embed/clips/2016/11/23/51241/gcn-alexjones-20120720-columbine

                                                      23
the bombing was a “false flag” and that “we’ve never had one so open and shut.” He added that
convicted bomber Timothy McVeigh “was a patsy, that was a staged event.”50

      Mere hours after James Holmes killed twelve people in a movie theater in Aurora, CO,
Jones told his audience that there was a “100 percent chance” the shooting was a “false flag,
mind control event.”51

      After the shooting of Rep. Gabrielle Giffords, Jones stated: “The whole thing stinks to high
heaven.”52 Mr. Jones asserted that the Giffords shooting was “a staged mind-control operation.”

      An April 18, 2013 headline on the InfoWars website read “Proof Boston Marathon
Bombing Is False Flag Cover-Up.”53 A week later, Mr. Jones stated on his broadcast, “I have never
seen a false flag, provocateured, staged event by a government come apart faster than it is right
now.”54 Jones said that “patsies were set up” after being recruited by “globalist intelligence
agencies.”55 Jones claimed that Dzhokhar Tsarnaev, who was convicted of the Boston Marathon
bombing, “was totally set up, ladies and gentlemen, to sell the police state,” and that his brother
worked for the CIA. 56

       Mr. Jones made similar accusations about the Douglas High School shooting in Parkland,
Florida, claiming a 90% probability that it was a false flag:




50
  The Alex Jones Show, April 19, 2015, video available at:
https://www.mediamatters.org/embed/clips/2016/11/21/51199/youtube-jones-20150419-okc
51
  The Alex Jones Show, July 20, 2012, video available at:
https://www.mediamatters.org/embed/clips/2016/11/23/51243/gcn-alexjones-20120720-100
52
  Interview with Rolling Stone, March 2, 2011, available at:
http://www.rollingstone.com/politics/news/talk-radios-alex-jones-the-most-paranoid-man-in-america-20110302
53
  http://www.infowars.com/proof-boston-marathon-bombing-is-staged-terror-attack/
54
  The Alex Jones Show, April 26, 2013, available at:
https://www.mediamatters.org/embed/clips/2016/11/29/51269/youtube-alexjones-20130426-staged
55
  The Alex Jones Show, April 26, 2013, available at:
https://www.mediamatters.org/embed/clips/2016/11/29/51271/youtube-alexjones-20130426-boston
56
  The Alex Jones Show, April 8, 2015. Available at:
http://mediamatters.org/video/2015/04/08/rand-pauls-ally-alex-jones-boston-marathon-bomb/203215


                                                    24
        In short, a major element of Mr. Jones’ brand is built on his allegations that major national
tragedies are actually the result of orchestrated government actions. Given this background, I find
that Mr. Jones’ pattern of predictably asserting that events are “false flags,” sometimes within
hours of the event, is circumstantial evidence that Mr. Jones recklessly disregarded whether his
broadcast was true in this case.

           D.       There is evidence of personal animus to the Pozner family.

       According to his affidavit, Plaintiff Leonard Pozner has spent significant effort online
attempting to stop the spread of Mr. Jones’ hoax fantasies. Mr. Pozner started a non-profit known
as the HONR Network that seeks to have false statements about victims of mass shooting events
removed from the internet.

       In 2015, HONR lodged a complaint with YouTube over an InfoWars video that featured
photographs of Mr. Pozner’s son. When these complaints caused the video to be deleted, a visibly
angry Jones discussed the issue on his February 12, 2015 broadcast. Mr. Jones stated, “We're
going to be countering this, and we're going to be dealing with this.”57 Mr. Jones then stated, “We
need to stop cowing down to these people, and let them know we're not putting up with their
bullying anymore.”58

        Mr. Jones later took a live phone call from a fellow Sandy Hook denier who was also upset
with Mr. Pozner. The caller stated, “Lenny, if you're listening, your day is coming, my friend. It is
coming.” Mr. Jones responded, “This sounds like a war is going on. I think they made a major
mistake involving us.” The caller then stated, “Oh, I totally agree. They don't know what they bit
off. Go after them, Alex. Crush them.” Mr. Jones responded, “I'm not somebody to mess with.”59



57
     Ex. A14 - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 23m34s)
58
     Ex. A15 - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 31m14s)
59
     Ex. A16 - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 34m10s)

                                                          25
60 Ex. A17 - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 38m59s)
61 Ex. A18 - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 42m23s)
62 Ex. A19 - 2015-03-04 - New Bombshell Sandy Hook Information In-Bound (Clip at 16m53s)



                                                26
         EXHIBIT B


Affidavit of Brooke Binkowski
                           AFFIDAVIT OF BROOKE BINKOWSKI


STATE OF CALIFORNIA                    §
                                       §
COUNTY OF SAN DIEGO                    §


     Before me, the undersigned notary, on this day personally appeared Brooke Binkowski, a

person whose identity has been established to me. Upon being duly sworn, Affiant states:


                                           BACKGROUND

1.      My name is Brooke Binkowski. I am over the age of 21 and competent to make this
        affidavit.

2.      I have over twenty years of experience as a multimedia journalist and professional
        researcher.

3.      I possess a Bachelor of Arts from the University of California in International Studies –
        Linguistics – Anthropology, and I am currently completing my Master’s thesis.

4.      I am also a Fellow in Global Journalism at the Munk School of Global Affairs.

5.      Over my career, I have worked in reporting, editing, and producing roles for CNN, CBS
        Radio, National Public Radio, Southern California Public Radio, Foreign Policy, Latino
        USA, and others as a freelance reporter.

6.      I also served as the Managing Editor of Snopes.com from 2015 to 2018.

7.      The Snopes.com website was founded in 1994 to research urban legends, and it has since
        grown into the oldest and largest fact-checking site on the Internet.

8.      Over twenty years later, Snopes.com has come to be regarded as an essential source for
        research on rumors and misinformation. The work which I oversaw has been described as
        painstaking, scholarly, and reliable, and it has been lauded by the world’s top folklorists
        and journalists.

9.      As part of my work with Snopes, I routinely investigated claims made in media and on
        the internet to assess their validity; last year, I received recognition from my colleagues
        in the form of what is called the Sunshine Award for my anti-disinformation work.

10.     As part of my work, I have been called upon to assess the content and meaning of a
        variety of statements, ranging from news articles, video or written news content, oral


                                                                                                       1

                                                                                                      Exhibit B
      interviews, social media content, forwarded emails, anonymous viral content, and an
      endless supply of other materials.

11.   As part of my work, I have years of experience in assessing the tone and intent of a given
      text, as well as expertise in parsing meaning and innuendo.

12.   In the course of this work, I have become very familiar with InfoWars.

13.   InfoWars frequently made factual claims in its videos and online articles which were the
      subject of fact-checking by the Snopes staff.

14.   I am extremely familiar with the overall tone and style of the content produced by
      InfoWars.

                                THE JUNE 26, 2017 VIDEO

15.   I have reviewed a video published by InfoWars on YouTube on June 26, 2017 relating to
      an interview given by Sandy Hook parent Neil Heslin. I have enclosed a USB flash drive
      with a copy of the video for filing with the Court.

16.   The gist of the video segment is that Mr. Heslin is not telling the truth about having held
      his son and having seen a bullet wound in his head.

17.   There are several parts of the language used in the video which I found quite significant.

18.   First, it is notable that Mr. Shroyer only said the phrase “Zero Hedge” one time in the
      entire segment. Mr. Shroyer did not consistently attribute the allegations to Zero Hedge.

19.   In discussing Mr. Heslin’s interview, Mr. Shroyer stated: “The statement he made, fact
      checkers on this have said cannot be accurate.”

20.   This language is ambiguous in context. It can reasonably be interpreted in three ways.
      First, the “fact checkers” who purportedly examined the issue could work for InfoWars.
      Second, the “fact checkers” could be associated with Zero Hedge. Third, the “fact
      checkers” are some other unnamed source relied on by InfoWars.

21.   A viewer of ordinary intelligence could hear this statement and reasonably believe that
      InfoWars had confirmed the accuracy of the Zero Hedge report with its own “fact
      checkers.” This interpretation is supported by the remainder of the segment in which Mr.
      Shroyer makes his own comments and shows footage assembled and edited by InfoWars.

22.   Later in the video, Mr. Shroyer stated: “[Heslin] is claiming that he held his son and saw
      the bullet hole in his head. That is his claim. Now, according to a timeline of events and a
      coroner's testimony, that is not possible.”




                                                                                                    2
    23.   A viewer of ordinary intelligence could hear this statement and conclude that Mr. Shroyer
          is making his own assertion. Zero Hedge is not mentioned. In fact, Mr. Shroyer’s citation
          of “a timeline of events and a coroner’s testimony” as the basis for his conclusion
          strongly suggests that InfoWars had examined the evidence itself.

    24.   At this point in the video, it is clear that Mr. Shroyer was making an assertion of fact, not
          giving his opinion. He asserted that Mr. Heslin’s statement is not possible, and he cited
          evidence. He was unequivocal in his statements.

    25.   Mr. Shroyer’s statement was false. Mr. Heslin stated to Megyn Kelly that “I lost my son.
          I buried my son. I held my son with a bullet hole through his head.” The evidence shows
          that Mr. Heslin lost his son, and that he buried his son, and that it was indeed possible for
          Mr. Heslin to hold his child and see the bullet wound.

    26.   I have reviewed the affidavit of Dr. Wayne Carver, the Connecticut Medical Examiner
          cited in Mr. Shroyer’s video.

    27.   Dr. Carver’s affidavit stated that the bodies of the victims were released to funeral homes
          chosen by the families. He also stated Mr. Heslin had the opportunity to hold his son.

    28.   In addition, the funeral services in which the bodies were in the possession of the parents
          were widely reported in the press. 1 Several of these services had open caskets. 2

    29.   It was widely reported in the media that Connecticut Governor Dannel Malloy personally
          observed the body of a Sandy Hook victim during one of the services. 3

    30.   There is no reasonable basis to conclude that Mr. Heslin would have been unable to hold
          his son and see his wound merely because the initial identification was performed by
          photograph, and there is no doubt that he did in fact bury his son.

    31.   Later in the InfoWars video, Mr. Shroyer asserted that there was a “contradiction in the
          narrative.” This was clearly Mr. Shroyer’s own conclusion.

    32.   Mr. Shroyer also callously stated: “You would remember if you held your dead kid in
          your hands with a bullet hole. That's not something that you would just misspeak on.”
          Not only is this statement sickening, but it further reinforces that Mr. Shroyer has taken
          his own position.



1
 https://patch.com/connecticut/newtown/police-no-motive-emerging-in-newtown-school-shooting;
https://abcnews.go.com/US/photos/sandy-hook-moment-silence-18026580/image-18045101
2
 https://www.washingtonpost.com/politics/funerals-for-newtown-massacre-victims-begin/2012/12/17/ffd0a130-
486d-11e2-820e-17eefac2f939_story.html
3
 https://www.nhregister.com/connecticut/article/CONNIE-SCHULTZ-In-open-casket-boy-s-body-shows-
11399159.php; https://forward.com/opinion/168707/wrestling-with-details-of-noah-pozners-killing/

                                                                                                            3
    33.   Later in the video, when speaking about Mr. Heslin’s statements to Megyn Kelly, Mr.
          Shroyer stated: “Here is an account from the coroner that does not corroborate with that
          narrative.” Again, Zero Hedge was not mentioned or attributed. Mr. Shroyer was
          presenting his own assertion that Mr. Heslin’s interview is contradicted by the coroner.
          However, this is false. Mr. Heslin’s interview is not contradicted by the coroner.

    34.   Mr. Shroyer also showed a video of an interview with Sandy Hook parents Chris and
          Lynn McDonnel to support his claim that the parents were not allowed access to their
          children, but as discussed below, this interview has been deceptively edited.

    35.   When ending his segment, Mr. Shroyer stated: “Will there be a clarification from Heslin
          or Megyn Kelly? I wouldn't hold your breath. [Laugh].” Mr. Shroyer’s comment further
          reinforces InfoWars’ endorsement of the truth of the allegations.

    36.   InfoWars should have known that it was reckless to endorse the truth of the statements
          made by a dubious anonymous blog. Indeed, the evidence shows that InfoWars was not
          only aware of Zero Hedge’s dubious nature, but it was actively collaborating with Zero
          Hedge.


                                             ZERO HEDGE

    37.   I have personal professional knowledge about the website “Zero Hedge.” Researchers at
          Snopes continuously debunked claims made in Zero Hedge articles.

    38.   Nearly everything about Zero Hedge calls its reliability into question.

    39.   Zero Hedge is anonymous blog. Zero Hedge has no named editor-in-chief, and its articles
          are submitted by anonymous authors. The publication has no listed address nor phone
          number. Its website is registered anonymously.

    40.   The article in question purports to be authored by an anonymous individual(s) using the
          name “ZeroPointNow.”

    41.   This anonymous individual(s) also appears to be a contributor to an anonymous website
          called “iBankCoin.com,” a cryptocurrency website which likewise traffics fake news
          items.

    42.   The article in question contains a link at the bottom of the page for the YouTube channel
          for “ZeroPointNow,” registered under the YouTube username “ibankcoin.” 4 However,
          the YouTube account page states: “This account has been terminated for violating
          YouTube’s Community Guidelines.”




4
    https://www.youtube.com/subscription_center?add_user=ibankcoin

                                                                                                      4
    43.   Zero Hedge began in 2009 as an anonymous blog focusing on Wall Street and investment
          rumors. Even from the beginning, its content consisted of unsourced hearsay and
          conspiracy theories about Wall Street.

    44.   However, over the past several years of my work, I have witnessed the website become
          increasingly flagrant as a producer of fake information and malicious accusations.

    45.   Zero Hedge’s history of publishing egregiously fake information had been well-
          documented since at least the time of the 2016 presidential election.

    46.   A small selection of recent erroneous reporting and intentional agitation by Zero Hedge
          includes:

                 •   Falsely reporting that California Governor Jerry Brown
                     had made it illegal to take a shower and do laundry on the
                     same day. 5

                 •   Publishing false information about non-existent
                     restrictions on the use of solar panels in Florida. 6

                 •   Publishing forged documents from the notorious website
                     4chan targeting French presidential candidate Emmanuel
                     Macron. 7

                 •   Falsely claiming anti-Trump protesters were bused into
                     cities after the 2016 election. 8

                 •   Falsely claiming that the Seattle Police Department had
                     begun confiscating guns without a warrant or any crime
                     being committed. 9


5
 https://www.snopes.com/fact-check/california-laundry-and-shower/; https://www.zerohedge.com/news/2018-06-
03/its-now-against-law-california-shower-and-do-laundry-same-day
6
 https://www.snopes.com/fact-check/is-it-illegal-florida-power-home-solar-storm/;
https://www.zerohedge.com/news/2017-09-18/florida-you-cant-use-your-own-solar-panels-crisis
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 https://www.mediamatters.org/blog/2017/05/05/fake-news-and-alt-right-are-pushing-forged-documents-aid-
marine-le-pen-frances-election/216305; https://www.zerohedge.com/news/2017-05-03/documents-indicate-
emmanuel-macron-may-be-engaging-tax-evasion
8
 https://www.snopes.com/fact-check/anti-trump-protesters-bused-into-austin/;
https://www.zerohedge.com/news/2016-11-13/blocks-anti-trump-protest-buses-caught-tape;
9
 https://www.snopes.com/fact-check/seattle-police-confiscate-mans-guns-without-warrant/
https://www.zerohedge.com/news/2018-03-06/seattle-police-begin-gun-confiscations-no-laws-broken-no-warrant-
no-charges


                                                                                                              5
                 •   Publishing false information to suggest that former
                     President Obama was secretly behind a Hawaii federal
                     judge’s ruling that blocked President Trump’s Muslim
                     ban. 10

                 •   Publishing false information to suggest that a Bernie
                     Sanders activist had been murdered in a coverup. 11

                 •   Falsely claiming that 4chan users made up what is
                     now known as the “pee tape” portion of the Trump
                     dossier. 12

                 •   Falsely claiming that former Attorney General Loretta
                     Lynch was “busted” for secretly using an alias to
                     communicate with DOJ officials. 13

                 •   Publishing false information to suggest Jason Kessler,
                     organizer of the white supremacist rally in Charlottesville,
                     VA, was a liberal spy with past employment at CNN. 14

                 •   Falsely claiming that the participants in the Charlottesville
                     protests were paid actors. 15

                 •   Reporting that the Defense Department would conduct a
                     national blackout drill on the day protest group “Antifa”

10
   https://www.snopes.com/news/2017/03/21/ijr-obama-conspiracy-theory/;
https://www.mediamatters.org/research/2017/03/16/new-alt-right-theory-obama-was-secretly-behind-judicial-halt-
trumps-muslim-ban/215712; https://www.zerohedge.com/news/2017-03-17/online-observers-accuse-obama-
improper-intervention-hawaii-immigration-ruling
11
  https://www.snopes.com/news/2016/08/10/4th-mysterious-death-connected-to-the-dnc/;
https://www.zerohedge.com/news/2016-08-05/lead-attorney-anti-clinton-dnc-fraud-case-mysteriously-found-dead
12
   http://nymag.com/selectall/2017/01/4chan-really-wants-to-take-credit-for-trump-russia-rumors.html;
https://www.zerohedge.com/news/2017-01-11/how-4chan-mcfooled-john-mccain-buzzfeed-and-cia-believing-
trumps-golden-showers
13
   https://www.mediamatters.org/blog/2017/08/07/Pro-Trump-media-and-Russian-bots-push-self-debunking-story-
attacking-Obama-attorney-genera/217541; https://www.zerohedge.com/news/2017-08-05/loretta-lynch-
communicated-doj-officials-using-grandmothers-name-alias-0
14
  https://www.snopes.com/news/2017/08/17/jason-kessler-soros-deep-state-plant/;
https://www.zerohedge.com/news/2017-08-14/report-%E2%80%98unite-right%E2%80%99-organizer-jason-
kessler-was-occupy-movement-obama-supporter-8-m
15
  https://www.factcheck.org/2017/08/counterprotesters-paid-charlottesville/;
https://web.archive.org/web/20180327154606/https://www.zerohedge.com/news/2017-08-16/why-was-crowd-hire-
company-recruiting-25-hour-political-activists-charlotte-last-wee


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                     was supposedly planning to hold a violent revolution, both
                     of which claims were false. 16

                 •   Falsely claiming that Coretta Scott King thanked Jeff
                     Sessions for his help. 17

                 •   Publishing false information to suggest that the Clintons
                     murdered a former Haitian government official. 18

                 •   Publishing false information to suggest there was a second
                     shooter at the Las Vegas massacre. 19

 47.    In the course of my work at Snopes, I observed that nearly all of these fake new items
        were also spread by InfoWars.

 48.    In addition, I have reviewed seven articles on InfoWars.com which were published under
        the author by-line “Zero Hedge” in just the two weeks leading up to Mr. Shroyer’s June
        26, 2017 video. 20 Two such examples are shown below:




16
  https://www.snopes.com/fact-check/dod-drill-coincide-november-demonstrations/;
https://www.zerohedge.com/news/2017-10-26/dod-plans-solar-storm-based-national-blackout-drill-during-antifa-
protests-november; http://time.com/5008829/antifa-november-4-rumors/
17
  https://www.snopes.com/fact-check/coretta-scott-king-thanked-jeff-sessions/;
https://www.zerohedge.com/news/2017-02-08/elizabeth-warren-silenced-again-after-video-surfaces-mlks-wife-
thanking-senator-sess

 https://www.snopes.com/fact-check/klaus-eberwein/; https://www.zerohedge.com/news/2017-07-16/haiti-official-
18

who-exposed-clinton-foundation-found-dead
19
  https://www.snopes.com/fact-check/second-gunman-shoot-fourth-floor-mandalay-bay/;
https://www.zerohedge.com/news/2017-10-03/was-there-second-shooter-vegas
20
  https://www.infowars.com/citi-warns-inversion-looms-as-treasury-yield-curve-slumps-to-8-month-lows/;
https://www.infowars.com/heres-the-real-reason-tesla-makes-no-money/; https://www.infowars.com/unable-to-pay-
bills-illinois-sends-dear-contractor-letter-telling-firms-to-halt-road-work-on-july-1/;
https://www.infowars.com/trump-reports-income-of-594-million-net-worth-of-at-least-1-1-billion/;
https://www.infowars.com/scientists-fear-supervolcano-eruption-as-earthquake-swarm-near-yellowstone-soars-to-
800/; https://www.infowars.com/mcdonalds-is-replacing-2500-human-cashiers-with-digital-kiosks-here-is-its-math/;
https://www.infowars.com/59-of-brits-agree-with-marxist-corbyn-empty-luxury-london-flats-should-be-used-to-
house-homeless/

                                                                                                               7
49.   From my personal knowledge, I have seen InfoWars and Zero Hedge, along with several
      other fake news websites, forge a cooperative relationship in which they publish, promote
      and endorse each other’s content.

50.   This pattern of amplification and endorsement is a key part of how fake news spreads.

51.   The June 26, 2017 InfoWars video was not merely a report on a third-party’s allegations.
      Rather, InfoWars adopted the allegations of a dubious anonymous website and reasserted

                                                                                              8
          them as their own. InfoWars presented the allegations as true, and it made statements and
          played deceptive video edits which were meant to convince its viewers that Mr. Heslin’s
          statements were not possible.

 52.      No competent journalist would republish allegations from an anonymous message on Zero
          Hedge without corroborating the accuracy of the allegations. However, in this case, it is
          clear that InfoWars not only understood Zero Hedge’s reputation, but it was actively
          collaborating with Zero Hedge to spread fake news and dangerous conspiracy claims.

                                   INTENTIONAL DECEPTION

 53.      It is my opinion from the context of the video and the surrounding factual circumstances
          that Mr. Shroyer was being intentionally deceptive in the video segment. This is not merely
          a case where Mr. Shroyer recklessly disregarded the truth. Rather, it is the clear from the
          source material and the underlying facts that Mr. Shroyer was acting deceptively.

 54.      The allegation made by Mr. Shroyer was outlandish, inherently improbable, and obviously
          dubious.

 55.      The circumstances also show that Mr. Shroyer knew what he was claiming was false, or
          that he had serious doubts about its truth, based on the original Zero Hedge report and
          based on how he used the news footage in his segment.

 56.      Mr. Shroyer used contemporary press coverage in a misleading and dishonest way, with
          the clear goal of misleading his viewers.

 57.      I have located a copy of the same interview with Dr. Carver which InfoWars used in the
          video segment with Mr. Shroyer. 21 There is additional footage from the interview -- not
          shown by InfoWars -- which directly contradicts the assertion made by Mr. Shroyer. I have
          included this footage on the USB flash drive enclosed with this affidavit.

 58.      At 11:03 in the video, a reporter asks Dr. Carver if there was a protocol as to the order he
          did the medical examinations. Dr. Carver states that it was his “goal was to get the kids out
          and available to the funeral directors first, just for, well, obvious reasons.”

 59.      At 13:27 in the video, a reporter asks Dr. Carver if “all the children’s bodies have been
          returned to the parents or mortuaries.” Dr. Carver responds, “I don’t know. The mortuaries
          have all been called.” The reporter asks, “But they’re ready to be released at this time?”
          Dr. Carver responds, “As of 1:30, the paperwork has been done. The usual drill is that the
          funeral homes call us, and as soon as the paperwork is done, we call them back. That
          process was completed for the children at 1:30 today.”

 60.      I have also located a transcript on the CNN website of Anderson Cooper’s interview with
          Sandy Hook parents Chris and Lynn McDonnel. Mr. Shroyer used a clip of the interview
          to suggest that the McDonnel’s were not allowed access to their child prior to burial.

21
     https://www.youtube.com/watch?v=k3NS1lLo6As

                                                                                                     9
 61.       The use of the clip in this way was dishonest. The transcript shows that the InfoWars video
           clip cut off the end of the Mrs. McDonnel’s answer. She stated, “And I had questioned
           maybe wanting to see her, but then I thought, she was just so, so beautiful, and she wouldn't
           want us to remember her looking any different than her perfect hair bow on the side of her
           beautiful long blond hair.” 22

 62.       In the interview, Mr. McDonnel stated, “But when we left the room, it was certainly so
           hard to leave her because that would be the last time that we would be able to be with
           her.” 23 It is clear that the parents had to the opportunity to see their child’s body, yet they
           chose not to do so.

 63.       It also clear that InfoWars and Mr. Shroyer used a deceptively edited copy of the interview
           to give the appearance that the parents were not allowed to see their daughter.

 64.       As noted above, there is also an abundance of primary sources that report the families
           having access to their children’s bodies prior to burial.

 65.       There was no reasonable basis to conclude that it was impossible for Mr. Heslin to have
           held his son’s body and seen his wound in connection with burying his son.

 66.       The only way a journalist could support such a conclusion is by intentionally distorting the
           evidence and Mr. Heslin’s statements. The source material demonstrates that is exactly
           what occurred in this case.

 67.       Furthermore, in the Zero Hedge blog post mentioned by Mr. Shroyer, the author claims
           that Dr. Carver told the media that “the parents of the victims weren’t allowed to see their
           children’s bodies.” But in the Zero Hedge blog post, the author later admits that “it's
           entirely possible that Mr. Heslin had access to his son after the shooting.” Mr. Shroyer’s
           video contains no such statements.

 68.       The surrounding circumstances show that Mr. Shroyer, Mr. Jones and InfoWars had an
           injurious motive. The broadcast was clearly an attack on Mr. Heslin, and to a lesser extent,
           on Megyn Kelly as well. Shortly prior to this video, Mr. Heslin had appeared on Ms.
           Kelly’s show and pleaded with the public not to believe Mr. Jones’ false statements about
           Sandy Hook.

 69.       By speaking out against Mr. Jones’ claims that the families were actors, Mr. Heslin clearly
           provoked a retaliation from InfoWars in the form of Mr. Shroyer’s video.

 70.       It is also clear that Mr. Shroyer’s video segment was part of InfoWars’ ongoing effort to
           support and justify its vile five-year lie that the Sandy Hook shooting was staged.



22
     http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html
23
     Id.

                                                                                                        10
71.   Over the past five years, I have watched in horror along with the rest of America as
      InfoWars has repeatedly and systematically distorted facts and misrepresented video
      footage in order to make false claims about Sandy Hook.

72.   lnfoWars' past conduct with respect to Sandy Hook is clear evidence that its statements
      about Mr. Heslin were made in bad faith and with utter contempt for the truth.

      FURTHER YOUR AFFIANT SAYETHNOT


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           THIS EXHIBIT IS A PAPER COPY PLACEHOLDER FOR

Exhibit B1 - Zero Hedge Discovers Anomaly In Alex Jones Hit Piece (Full Segment)
THIS EXHIBIT IS A PAPER COPY PLACEHOLDER FOR

           Exhibit B2 - Carver Interview
Exhibit B3 - McDonnel Interview Transcript
8/21/2018                                                              CNN.com - Transcripts


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    ANDERSON COOPER 360 DEGREES
    Remembering Connecticut Victims

    Aired December 18, 2012 - 22:00 ET

    THIS IS A RUSH TRANSCRIPT. THIS COPY
    MAY NOT BE IN ITS FINAL FORM AND
    MAY BE UPDATED.


    ANDERSON COOPER, CNN ANCHOR: Good
    evening, everyone. It's 10:00 here on the East
    Coast.

    And we are bringing you another broadcast tonight from Newtown, Connecticut, a town where many
    students returned to school today. Schools reopened, with the exception, of course, of Sandy Hook
    Elementary, the school that is now a crime scene.

    The students of Sandy Hook will go back to school after the holidays in a different building eight miles
    away with 20 bright young faces missing from the halls and the classrooms. Everything is different now
    The children in this town are facing a new reality, doing things they never should have to do at this
    young age, like writing goodbye letters to their friends.

    Six-year-old Jack Pinto was buried yesterday. At the funeral, a note from his friend John reads: "Jack,
    you're my best friend. We had fun together. I will miss you. I will talk to you in my prayers. I love you,
    Jack. Love, John."

    There were two more funerals today for two more 6-year-olds. Jessica Rekos and James Mattioli were
    laid to rest today. We will remember them tonight and honor them tonight. Our hearts and our thoughts
    are with their families and their friends and we wish peace and strength to all the people whose lives
    that Jessica and James touched in just six short years.

    (BEGIN VIDEOTAPE)

    COOPER: James Mattioli was known as And. Six years old, he was full of energy. He loved baseball,
    basketball, arm wrestling, but he especially loved swimming. His parents used to say he swam like a
    fish. And he loved to visit his grandparents and swim in their pools.

    James also used to love ride his bike, no training wheels for him and he was proud of it. He tried to wea
    shorts and T-shirts all year round and loved to use hair gel in order to spike up his brown hair. He was a
    little boy who looked forward to growing up. He liked to sing at the top of his lungs and would ask how
    old do I have to be before I can sing on a stage? He also wanted to know when he'd be old enough to
    order a foot-long ham sandwich at Subway, one of his favorite places to stop for dinner.

    James was born four weeks prematurely, and his family used to joke that he came into the world
    because he was hungry. His parents say he was an early riser, always the first to wake the family up,
    always eager to start the day. At the end of each day, he loved nothing more than to cuddle up with this
    mom under a blanket on the couch.
http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                 2/20
8/21/2018                                                    CNN.com - Transcripts


             Home
    James also adored spending time with his dad. In his obituary, his family writes, "If dad was outside,
    James wanted to be right there with him. Their love of one another was one of a kind. And James was
    his dad's minute mini look-alike."

    Jessica Rekos loved everything about horses. She'd spend her free time reading books about them,
    watching movies about them, drawing horses, even writing stories about them. Six years old, she was
    waiting for the day she could get her very own horse. Her parents both raised in Newtown called her a
    beautiful, creative little girl who spent time writing in journals and making up stories. They spoke to
    ABC News.

    UNIDENTIFIED FEMALE: I found a little journal. I don't even know what it's from. But I just opened
    the book and it was exactly what I needed. It says, "I love you so much, mama." It's like she knew we
    were going to need something to help us get through this. It's just like what an amazing girl she was.

    COOPER: Jessica also became passionate about orca whales after watching the movie "Free Willy." She
    said her dream was to see a real orca and just a few months ago, she was able to see one in person at a
    trip to SeaWorld.

    Jessica's has two younger brothers and was known as the little CEO of the family, the rock who kept
    everyone together. In a statement, her parents write, "We cannot imagine our life without her. We are
    mourning our loss, sharing our beautiful memories we have of her, and trying to help her brother Travis
    understand why he can't play with his best friend. We are devastated."

    (END VIDEOTAPE)

    COOPER: Two more little children laid to rest.

    One thing that we have been doing here is really trying to keep focus on the lives that have been lost.
    We're not focusing on the killer, because he's gone, and frankly, we don't want him to be remembered.
    Certainly not by name. We have tried to be careful and respectful of what the families are going
    through, tried to not ever intrude on their suffering.

    But after Sunday night's program, we got a call from the McDonnell family, 7-year-old Grace
    McDonnell's family. I spoke with Grace's parents, Chris and Lynn, at length. They told me about who
    Grace was, the light of their family, a little girl who loved school and her brother, Jack, a talented artist
    that lived life to the fullest, made the most of every day of her far-too-short life.

    I was amazed at the strength that Grace's parents showed and they say it's Grace who is guiding them
    through these difficult days. Here's our conversation. Tonight, we honor Grace. We will remember her.
    (BEGIN VIDEOTAPE)

    COOPER: What do you want people to know about Grace?

    LYNN MCDONNELL, MOTHER OF GRACE MCDONNELL: Well, Grace had such a great spirit.
    She was a kind and gentle soul.

    And she was just the light and love of our family. She was just truly a special, special little girl that we
    loved and she loved her brother so much. And she loved her school, Sandy Hook. In fact, this week, I
    was telling somebody she had a stomach ache one day, and I said to her, why don't you stay home with
http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                     3/20
8/21/2018                                                    CNN.com - Transcripts

    mom? And she said, no way, I have too much fun there and I don't want to miss anything.
            Home
    She would skip to get on the bus. It wasn't even a -- every morning, it was the backpack was packed the
    night before and ready to get on the bus in the morning and head off to school.

    We would blow kisses every morning to each other. I remember that morning, putting her on the bus,
    she had a habit of blowing kisses, but then she would give me a big liver lip like, ooh.

    (LAUGHTER)

    L. MCDONNELL: But then I knew she was so happy to go off and get there. I would like to say is she
    was at a place that she loved, and so we take comfort in that, that we know she was in a place that she
    really loved.

    COOPER: And with friends?

    L. MCDONNELL: And with friends.

    CHRIS MCDONNELL, FATHER OF GRACE MCDONNELL: And with friends, people that loved her

    The whole community and the school and the teachers, they're all raising your child.

    L. MCDONNELL: Exactly.

    C. MCDONNELL: And it's a special place.

    L. MCDONNELL: It is. And I take comfort that she was with all her friends.

    And I just envision all of them holding hands. And they're all together up there. And they're up there
    with their wonderful principal. I mean, they have so many people up there helping them. And I said to
    somebody, Sandy Hook, we have so many angels and so many bright stars shining over all of us in this
    town right now.

    And each one of those children was -- you look at their pictures, they were so beautiful. And they all
    had a story and a talent.

    COOPER: What did you say to Jack? I mean, how did you -- because there's a lot of parents right now
    who are trying to figure out what to say to their children all around the world about this.

    C. MCDONNELL: Telling him was by far the toughest thing to do. And I think what we did was
    truthful, honest, words that he could understand, and hoping that he will be able to process this and how
    we help to guide him to process this over the long journey ahead.

    COOPER: You met with President Obama yesterday. What was that like?

    L. MCDONNELL: I did.

    You know, I know he's the leader of our country, when he walked into that room, it was a very private
    meeting. But when he walked in the room to greet us, it was just a dad. He's just a dad coming in to
    meet a dad and a mom and a son. And we really felt that. We felt his support and it was really -- it was
http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                   4/20
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    really special. And we shared some special things about Grace with him and her art.
             Home
    COOPER: You brought him something?

    L. MCDONNELL: We did. We told him that Grace had two things in common with him, their love for
    Martha's Vineyard and Hawaii. And Grace's dream was to live on the beach and be a painter. And so we
    offered him one of her paintings, which he said he would treasure. So that gave us great comfort, too.

    But really it just felt like a dad surrounding us and feeling our pain. You know, when he walked in the
    room, I realized he has to go to so many families today, and this is not the first time he's had to do this.
    So, I have to look at him and pray for him for strength.

    COOPER: I was talking to you before we began. One of the things we were saying is you don't want to
    have hate or anger in your heart.

    L. MCDONNELL: No. I had said that to Jack that it's OK to be angry because, sure, we have anger and
    we're upset and we don't know why. But I told Jack that he could never live with hate. Grace didn't have
    an ounce of hate in her. And so we have to live through Grace and realize that hate is not how our
    family is and not -- certainly not how Grace is.

    And I know all those beautiful little children, they didn't have any hate in them either. So we will just
    take the lead from them, and we will not go down that road. But we will let them guide us.

    COOPER: It's a hard thing, though, isn't it to not feel that?

    C. MCDONNELL: We're going to go on and we're going to use her positive energy to help guide us
    forward.

    L. MCDONNELL: One of Gracie's favorite thing to paint or draw was a peace sign. And she just had a
    birthday in November when she turned 7. And she requested -- I said, what would you like your cake to
    look like, Grace? And she said, I want a purple cake with a turquoise peace sign and polka dots.

    And, sure enough, her cake was purple, turquoise, and polka dots. It was totally Grace. It was so
    colorful.

    C. MCDONNELL: It's one of a kind, too.

    (LAUGHTER)

    L. MCDONNELL: And it was all -- she was all about peace. She really was. And I was looking -- the
    morning after, I was in the bathroom, and I used to dry her hair next to the window. And the window
    would fog up and she would write notes in the window to me.

    And on Saturday morning, I was standing at that window in the bathroom, and it had fogged up. And I
    looked, and there was her peace sign in the window. And I was like, that's a sign from my Grace. And
    the pane above it said, "Grace, mom," and she drew a heart. So, she was all about peace and gentleness
    and kindness.

    COOPER: You went to the funeral home, and you were telling me the story of -- she has a white casket?

http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                    5/20
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    L. MCDONNELL: She does. And when we walked in the room, it was the first time we had been able
             Home
    to be with her. And when we walked in the room, and we saw that white casket, it just -- you felt like
    the floor was falling out beneath you and your breath was taken away.

    But earlier in the morning, I decided because Grace loved art so much, we were packing sharpies in our
    pockets. And when we got in, after we did our big family hug with Grace, we sat down and we busted
    out the sharpies. And we decided that were -- at first, I envisioned maybe a little heart. But by the time
    we were done, there wasn't an inch of white. It was so covered with all the things that she loved.

    And her brother, we wrote her notes and her nicknames and all the things that she loved, cupcakes.

    C. MCDONNELL: The places we had been together.

    L. MCDONNELL: Ice cream cones, lighthouses, seagulls. And we were saying, she's laughing at us
    right now because our artwork was terrible.

    (LAUGHTER)

    L. MCDONNELL: But when we left the room, it was certainly so hard to leave her because that would
    be the last time that we would be able to be with her.

    We had to take great joy in knowing that when we walked in there it was so white and our breath was
    taken away. But when we walked out of there, it was like we had joy again. It had so much color and it
    was Grace. It was so Grace.

    COOPER: You were able to give her things as well?

    L. MCDONNELL: Yes. We brought her her favorite pocketbook. And we had seashells and flip-flops
    and sunglasses. And she loved to cook. We had a frying pan. And she loved music. She has Taylor Swif
    Christmas song in there.

    She has her dad's New York Yankee hat. So she had all the things that she loved with her. So we took --
    we had peace when we left last night.

    COOPER: It's got to be hard not to have been not actually to see her.

    L. MCDONNELL: Well, at first, I thought that. And I had questioned maybe wanting to see her, but
    then I thought, she was just so, so beautiful, and she wouldn't want us to remember her looking any
    different than her perfect hair bow on the side of her beautiful long blond hair.

    And so we will take comfort in looking. We have so many beautiful pictures of her. We will take
    comfort in remembering her beautiful smile. And I will remember her blowing the kisses that day,
    getting off the bus, going off to school.

    (END VIDEOTAPE)

    COOPER: I want to thank the McDonnells for inviting us into their home. It was a true honor getting to
    hear about Grace.

    After that interview, I gave them my number, and I said that if there's anything that they forgot to say,
http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                  6/20
8/21/2018                                                    CNN.com - Transcripts

    anything that they wanted to say that they thought of later to just let me know, and they should just
            Home
    contact us. This morning, we got a note from Mrs. McDonnell, Lynn, that she wanted me to share here.

    And I'm not going to share the whole note with you because some of it is private, but she wrote: "When
    Anderson visited our house, I showed him one of our picture books in Martha's vineyard. I have always
    said that I took my photographs to be my children's eyes. I wanted them to remember everything from
    our adventures together. And now I'm not only going to be Grace's eyes, but I'm going to be her voice.
    But I feel fearless. I will never feel any pain greater than I do right now. I'm going to take on the world
    for our Gracie girl, for I myself have nothing to lose and everything to gain. Jack and Grace always said
    you have conquer your fear. I'm doing it now for both of them."

    Such strength. I will not forget the McDonnells or their amazing Grace.

    You heard Lynn talk about giving President Obama one of Gracie's pictures. She gave me the same
    picture, a Xerox copy of it. This is an owl that Grace had drawn it. And President Obama said that he
    would cherish it. And I'm certainly going to frame this and cherish it as well.

    Here are a few more pictures as we go to break.

    (COMMERCIAL BREAK)

    COOPER: You're looking at one of the many memorials to the victims here in Newtown tonight.

    As we mentioned earlier, for the first time today since Friday's tragedy, Newtown students returned to
    classrooms. Every school but Sandy Hook Elementary has reopened. The question is, what should be
    routine, of course, is no more. Returning students and staff were met by more police officers and
    counselors than there were before.

    For some today, it was their first chance really to talk about what happened with their friends and with
    their teachers.

    Kyung Lah joins me now with more.

    It had to be an extraordinarily difficult day for these students.

    KYUNG LAH, CNN CORRESPONDENT: A difficult day, but a really necessary day. We spoke to
    parents and students who were returning.

    And what we are really hearing from them, Anderson, is that parents say they're eager to get back to the
    routine. They know that kids like routine. If you're a parent, you know that's what your kids want. The
    students say when they were on the bus it was extraordinarily quiet. They were starting to have those
    quiet conversations.

    Inside school, an 11-year-old boy told us he actually felt better being in school. He felt protected there.
    His teacher was reaching out to them. Those counseling sessions were happening inside school. As a
    sign of comfort, it was across Newtown and in the surrounding communities. There were police cars at
    every single school.

    The high school I was at here at Newtown, three police cars. And the students say it made them feel
    better.
http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                   7/20
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    COOPER:Home
              Yes. Kyung Lah, it's still so impossible to imagine. I appreciate the reporting. Thank you
    very much.

    It's been particularly difficult, obviously, for students to go back to school.

    Dr. David Schonfeld is a crisis counselor who gave a presentation to teachers in Newtown about how to
    talk to children at this incredibly difficult time. He's the director of the National Center for School Crisi
    and Bereavement. And he joins me now right now live.

    Thank you very much for being with us.

    DR. DAVID SCHONFELD, DIRECTOR, NATIONAL CENTER FOR SCHOOL CRISIS AND
    BEREAVEMENT: Thank you.

    COOPER: You met with teachers, administrators, and basically all employees of the school. What was
    your message to them?

    SCHONFELD: Well, there were a couple messages I wanted to get across. The first thing is to
    recognize how heroic it is to be able to help students in a time like this, because we have to remember
    all of the staff are -- they're grieving some of their own members of the staff. They're definitely grieving
    the loss of the children that they were close to and that they care about.

    COOPER: Sure.

    SCHONFELD: They're also impacted by going through a traumatic event.

    The first thing is to recognize what they're doing and how courageous that is.

    COOPER: One of the things I heard you say, too, is that it's OK for them -- it's OK for them to show
    emotion when talking with the students.

    SCHONFELD: Right.

    A lot of times, we don't want to upset children and so we don't want to show them that we're upset. But
    really, the kids are already upset. They already know about this. We want to do is help them be able to
    cope with the feelings. But if we never so them distress, we can't model for them how to cope with it.

    Seeing some distress among adults that they care about, particularly when it's followed by suggestions
    about how to deal with that and cope with it effectively is really helpful for them to start to heal.

    COOPER: What else did you want them to know?

    SCHONFELD: I also wanted them to know we had to change some of the expectations of what we
    could accomplish in terms of learning over the next week. I told the teachers that really we have to mee
    the students where they are right now.

    And we also have to meet the teachers and the other school staff where they are. I told them that as far
    as I was concerned there was only one lesson plan that they needed to teach before they broke for the
    New Year's. And that was to make sure that the children knew they were safe, and that they cared about
http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                    8/20
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    them and they were going to care for them.
             Home
    COOPER: I guess for a number of students, this is obviously the first time that they have had to face
    death, that they have had to deal with this at all.

    SCHONFELD: It is for many of the children. Unfortunately, we know that nine out of 10 children are
    going to experience a significant loss, the death of a family member or friend, by the time they complete
    high school. So for many children, it will not be a new experience, but obviously, this is a profound
    experience for anyone.

    COOPER: And how do you -- I mean, do you talk to kids? Or I guess part of the lesson is that not all
    teachers will be counselors, that if somebody needs extensive conversation, there are other people to
    refer them to.

    SCHONFELD: I think it's important that we underscore what we're asking the teaching staff to do and
    the rest of the staff in the school, the support staff, is to create a supportive environment, not to provide
    counseling. It doesn't need to be -- it's not their responsibility to provide therapy.

    There are others in the school that will do that and others in the community that have that role. But wha
    we want from the school staff is to be is to be able to create a safe and supportive environment.

    COOPER: You have obviously dealt with this sort of thing before. How do you think this community is
    doing?

    SCHONFELD: Well, I arrived here Saturday night. Actually, the American Federation of Teachers
    reached out to me on Friday and asked me to come and help their staff and then I arrived here on
    Saturday. I was greeted immediately by the commissioner of education, Stefan Pryor. And we met well
    into the night about what to do.

    And then when I came and actually was able to meet with the superintendent, Janet Robinson, and the
    other staff, I was really impressed by the concern, the caring, and the profound commitment that they
    have to these children.

    COOPER: It's a very close-knit community. Dave, I appreciate you being with us. Thank you very
    much.

    SCHONFELD: Thank you very much.

    COOPER: I know it's been a long day for you.

    But up next, a special mission for Noah, 6-year-old Noah Pozner, laid to rest yesterday. His cousin
    couldn't make it to the funeral but wanted to make sure he got his goodbye letter. Ahead, see who
    answered the call for help and made sure that Noah got that letter. We will talk to Noah's uncle.

    (COMMERCIAL BREAK)

    (BEGIN VIDEO CLIP)

    UNIDENTIFIED MALE: The look and fear and uncertainty in everybody's eyes that day is probably
    what I will never forget.
http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                    9/20
8/21/2018                                                    CNN.com - Transcripts


         Home MALE: And that goes for first-responders, law enforcement, everybody.
    UNIDENTIFIED

    UNIDENTIFIED MALE: The sounds of the sirens just kept coming and coming and coming. And it
    seems like it never ended that day.

    (END VIDEO CLIP)

    COOPER: Those 20 families here in Newtown face the unimaginable task of burying their 6- and 7-
    year-old children.

    We want to share with you a poignant story about the funeral of Noah Pozner, 6 years old, laid to rest
    yesterday. Noah's mother wanted to bury handwritten notes from family members with her son. Noah's
    cousin, Ethan, also 6 years old, almost 6 years old, lives in Seattle, he made a card for Noah.

    The problem is getting it to Connecticut in time for the funeral. On Sunday, Ethan's mom took to Twitte
    looking for help and soon enough got this message from JetBlue airline. "We're sorry for your loss.
    Please D.M. us your best contact phone number. And we will have someone reach out to you."

    With JetBlue's help, Ethan's finale note to his cousin made it to Connecticut in time to be buried with
    Noah. Ethan's mom shared the card on Twitter. She wrote, "Noah is shown with a heart body, and the
    flower represents his life, life in general. The inside says I love you, Noah."

    Joining me now is Alexis Haller, Noah Pozner's uncle.

    Alexis, I appreciate you joining us.

    ALEXIS HALLER, UNCLE OF NOAH POZNER: Thank you.

    COOPER: Just a little bit, what do you want people to know about Noah?

    HALLER: Well, Noah was a great kid. He was smart as a whip, bit of a maverick.

    COOPER: Mischievous, I heard.

    HALLER: Mischievous. Loved his family more than anything else.

    When his mom would say I love you, Noah would respond, not as much as I love you. And he loved his
    siblings, too. He had a twin sister.

    COOPER: They were very, very close.

    HALLER: Extremely close. When they were babies, they would babble at each from their cribs.

    COOPER: Really?

    HALLER: And got into all sorts of trouble, and inseparable.

    COOPER: I heard he used to tell his other siblings that he worked at a taco factory?

http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                10/20
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    HALLER: That's right. He would just pretend that he worked at a taco factory. And they would ask him
            Home
    questions about it and he wouldn't really respond. He would just kind of give them a look as if he knew
    more than they did.

    (LAUGHTER)

    COOPER: That's great. I love that story.

    HALLER: Yes. But Noah was also just a normal little kid, a real little kid. He loved "Mario Brothers"
    and animals and LEGOs and superheroes. and all the stuff that a normal 6-year-old loves.

    You know, that's Noah.

    COOPER: I know you wanted to talk about -- there's some scams out there that the family is obviously
    concerned about. What are you hearing?

    HALLER: That's correct.

    Today, we found out that there was a domain name set up in Noah's name. And we have since
    challenged that. And it's been taken offline by GoDaddy. But we also were made aware of an e-mail
    scam where somebody was...

    COOPER: Oops, sorry, sorry.

    HALLER: ... purporting -- somebody was purporting to solicit money on behalf of the family.

    COOPER: That's unbelievable.

    HALLER: Yes. And it was going to an address in the Bronx. There are misspellings in the e-mail, so
    you have to look at pretty carefully to discern. But there's also a lot of information.

    And it sounds like it is potentially in from a family friend.

    COOPER: But it's not?

    HALLER: And it's not. I guess we want to get it out there for the public, so that if people want to
    contribute, that they're aware to be careful.

    COOPER: You have set up a Web site?

    HALLER: That's right. We have set up a Web site, and there's also an address. The Web site is
    NoahsArkofHopeFund.com.

    COOPER: And we are putting that up on the screen.

    HALLER: And there's also a few other friends. We have Friends of Maddie, for example, that was set
    up. And that is a legitimate donations site.

    But there are also ones that are scams. And we want to get that out to the public. And we also want to
    get it out, frankly, to the other victims' families so that...
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    COOPER: Home
               To watch out for that? HALLER: To watch out for that. Maybe they can get their friends to
    look at domain names. Look at -- look out for scams and then, you know, tell that to people and get the
    word out.

    COOPER: I saw a Twitter page set up in the name of another child that I thought was real at first. And I
    contacted the family, and they said they don't know anything about it. So there are these horrible people
    out there. The idea that anybody out there could do this is just disgusting, but I'm glad you cleared it up
    And again, we're putting the correct Web site's name up on our screen.

    What -- I mean, it's a dumb question, but how are you -- how are you holding up? How is the family
    holding up?

    HALLER: The family is devastated. It was, you know, the worst four days of our lives. It's kind of like
    you're in a waking nightmare. Never experienced anything even remotely close to it, felt like, four
    years. And as bad as -- as devastated as the family was, the parents, you know, they were suffering --
    they were suffering so much more.

    COOPER: Of course.

    HALLER: Everybody was suffering so much. And it's been a horrible, horrible -- you know, but we're
    sticking together and we're coming together as a family very strongly. And we want to, you know, focus
    on making something positive out of it.

    And frankly, the only positive parts to the last two days. There's two things. First when I see Noah's
    siblings, Ariela (ph) and Sophia (ph), they both survived. So they...

    COOPER: They were in the school?

    HALLER: They were in the school. Sophia, as I understand it, her teacher put all the kids in the closet
    and shushed them. And as I understand it, the killer opened the door and thought there were no kids
    there and didn't find them.

    And so whenever I see them, the family, I just see them, and that brings me joy that they made it.

    And the other thing that brings me joy is just the outpouring of support from everybody. Friends,
    community, the country, everything. And that's made a huge difference.

    And -- and, finally, the other thing that kind of got us through was certain people that played kind of
    guardian angels. And we had a state trooper assigned to us, Sean Hickey, who is kind of a rock for us.
    And made a huge difference. We had a grief counselor, Dr. Laura Asher. Another rock. And for families
    to get through stuff like this, you need those rocks, and you need wind at -- wind at your back, to kind o
    push you forward. And we got that. We got that from friends and community.

    COOPER: I know there's a lot of difficult weeks and months even years ahead. But I appreciate you
    talking tonight. And I wish you the best.

    HALLER: Thank you. Appreciate it.

    COOPER: Thanks very much, Alexis.
http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                   12/20
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            Home
    Again, the Web site is NoahsArkofHopeFund.Eventbrite.com. And we'll put that up on our Web site,
    AndersonCooper.com. Or AC360.com.

    Five days ago -- the violence that shattered this community, five days ago is raising some familiar
    questions about those killings. Investigators are digging through the gunman's medical history for
    possible clues. We're going to talk to chief medical correspondent Dr. Sanjay Gupta about -- about that
    ahead. We'll be right back.

    (COMMERCIAL BREAK)

    (BEGIN VIDEO CLIP)

    UNIDENTIFIED MALE: I feel worried, nervous, but at the same time, I'm feeling happy to be back at
    school, because the -- the whole thing just, everyone will be together will probably be a good thing for
    the victims as well -- the siblings, the families of the victims.

    (END VIDEO CLIP)

    COOPER: One of Newtown's students talking about his mixed feelings about returning to class today.

    As we mentioned Sandy Hook Elementary remains closed, of course, but other schools in Newtown are
    reopening their doors.

    The tragedy here sparking, obviously, nationwide dialogue on issues like gun control, mental health,
    school security. Today, the National Rifle Association announced a news conversation set for Friday and
    released this statement, saying in part, "The National Rifle Association of America is made up of four
    million moms and dads, sons and daughters, and we were shocked, saddened and heartbroken by the
    news of the horrific and senseless murders in Newtown. Out of respect for the families, and as a matter
    of common decency, we have given time for mourning, prayer and a full investigation of the facts
    before commenting. The NRA is prepared to offer meaningful contributions to help make sure this
    never happens again."

    What exactly that means, we're not sure. We'll see more of what they say on Friday.

    Making sure it never happens again is also obviously a top priority for many here in this community.
    Lillian Bittman joins me now. She's the former chairwoman of the Newtown Board of Education and a
    former Sandy Hook parent.

    You were at a wake earlier for Daniel.

    LILLIAN BITTMAN, FORMER CHAIRWOMAN, NEWTOWN BOARD OF EDUCATION: Daniel
    Barden.

    COOPER: Daniel Barden. You were a friend of the family. What...

    BITTMAN: That's the family we're closest to. And the family very much wanted me to deliver
    something tonight. They were interviewed on another network and they're just -- I'm sorry.

    COOPER: That's OK.
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    BITTMAN:Home Their daughter, who I had on newspaper -- my -- one of my sons is friends with James. And
    their daughter was on the Sandy Hook school newspaper that I ran. And she had wanted to ask Presiden
    Obama question when they met before the vigil.

    COOPER: Right.

    BITTMAN: And she was -- one of my best reporters. And this really -- she was one of these usually
    gung-ho little kids, but you know, she obviously was intimidated. And -- and anyway, they were hoping
    that President Obama would hear her words tonight if we could get them read on air.

    So she gave me a letter, and unfortunately, there were too many people at the wake for me to get up to
    actually see the family. So the letter was passed back to me. But this is what she wrote. If you could rea
    it because I can't.

    COOPER: OK. The family gave permission?

    BITTMAN: The family wants -- they told me to bring it to you.

    COOPER: OK. It says, "My name is Natalie Barden, and I wanted to tell the president that only police
    officers and the military should get guns. If people want to do it as a sport then they could go to a
    shooting range, and the guns would not be able to leave there."

    That's what she wanted President Obama to here?

    BITTMAN: Yes, that is what the question she wanted to ask him. And when she told me this, we were
    talking about this, and she wrote the letter, I had told her, I said, "Well, now you're a member of the
    White House press corps." And she giggled at that. And that was really good, because she wants to
    make a difference. And this was her little way of making a difference.

    And in a -- kind of one of those wonderful things, it's helping her heal, because now she can make
    Daniel's life count for something and try to get this to the president and hopefully to Congress and
    everyone else.

    COOPER: You can tell her that the world has heard her letter tonight.

    BITTMAN: I will.

    COOPER: And hopefully, the White House has, as well.

    BITTMAN: I will.

    COOPER: You were telling me earlier at the memorial service. I mean, conversations are already being
    had here about -- that something has to come out of this. This cannot go...

    BITTMAN: Yes, yes. Over and over again at this wake, I was standing with people, and also in other
    conversations, and everyone is saying we have to make this count for something. We have to make
    change.

    And there's lots of different things happening to try to do that, but the most important thing that
http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                 14/20
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    everyone's talking about are three issues: mental health, gun control and safety of school facilities. And
           Home
    everywhere  you go, that's what people are talking about so...

    COOPER: And you're hearing civil conversations?

    BITTMAN: I am. And actually, earlier today I was invited to be part of an online panel, and I was with
    a gun proponent and a woman out of Virginia Tech, an English teacher in that situation and several
    others. And we had a civil discourse online for about an hour. That's what we need to do, us have that
    civil discourse, so that we can find the solutions. It's not just one thing. It's a multitude of things. But
    we'll never get there if we can't talk to each other.

    COOPER: But the idea that, you know, the media will go away...

    BITTMAN: Right.

    COOPER: ... and things will just kind of quiet down and nothing will change, that would break the
    hearts of people here?

    BITTMAN: Well, somebody called me Cinderella because they thought that my trying to get this
    message out and trying to keep this in the forefront before our politicians would never happen. I say it
    can.

    I say we can effect change if we stand together and we work with all the countries across this country
    that have been affected by mass shootings, and we hold our politicians accountable to make change. No
    just in one area, but let's find a way so that these kinds of things don't happen again. We have to have
    that discussion.

    COOPER: How are you holding up?

    BITTMAN: Oh, today was -- today took me off guard. Our schools were two hours delayed. And I have
    my seventh grader, so I drove him to the bus stop, just because, and all the moms were there. And I was
    just crying. And I didn't see that coming, and telling my high- schooler goodbye when he drove away.
    And then suddenly, everybody was texting me, and all the moms were crying.

    And I think it was not just the fear of sending them to school. I truly wasn't afraid of that. It was just tha
    it was kind of returning to normal, and that doesn't feel right. And then -- I think we just sort of
    collapsed because of that. So... COOPER: We find that tears come at odd times, too.

    BITTMAN: Very odd times.

    COOPER: It's like it comes in waves.

    BITTMAN: Yes.

    COOPER: And when you least expect it, suddenly, you find yourself crying.

    BITTMAN: My husband actually is crying anytime someone does something nice for him or says
    something nice. He just loses it. And he's not someone to cry like that. So yes.

    I mean, it's typical grief, I mean, but it's more horrific because we -- you know, there's something else
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    happening to me. Is every time I think I have my arms around the people I think I need to help, I
    remember Home
                another group who's been affected by it. You know, they know a family because of --
    everyone's struggling with that. It's such a massive thing, we can't really figure out who's truly hurting
    that's associated with these families.

    You know, think about that. When you have a child that's playing soccer, that little baby in the stroller,
    you kind of know about that little sibling, but you focus on the child playing soccer. Those are the
    connections that we're -- that we're figuring out.

    COOPER: One of the things that Lynn McDonnell said to me about Grace, is that it gives her comfort to
    know that Grace was with her friends and that they were -- that they were holding hands in her mind.
    And she likes to think of them all in heaven right now holding hands together.

    BITTMAN: Yes, I understand that.

    COOPER: Thank you very much.

    BITTMAN: Thank you, Anderson, I appreciate it.

    COOPER: Next, we've got new information from the medical examiner on the gunman. We'll talk about
    it with Sanjay Gupta about that. We'll be right back.

    (COMMERCIAL BREAK)

    (BEGIN VIDEO CLIP)

    LT. PAUL VANCE, CONNECTICUT STATE POLICE: People responded once they heard about the
    scene, about the situation. They responded to come and retrieve their children. And when they couldn't
    find their children, fear set in. Panic set in. Pain set in. It was fear of the unknown. And when the
    notification finally had to be made, it was absolutely heartbreaking.

    (END VIDEO CLIP) COOPER: Well, we said repeatedly, we're not going to focus on the gunman who
    destroyed all these families five days ago. We don't say his name hardly at all. We frankly don't want
    history to remember his name or him.

    But at the same time as the investigation unfolds, we do have to talk about the killer. Authorities are
    digging through every facet of his life, including his medical history.

    Today, the medical examiner told our sister network, HLN, that they'd been told the 20-year-old was
    diagnosed with Asperger's Syndrome but didn't know if that diagnosis was actually correct.

    The former director of security for Newtown public schools also told CNN the gunman had Asperger's
    Syndrome, based on documents he'd seen and conversations with his mother years ago.

    Until now, no one in any official capacity had commented directly on this possible piece of the case, if
    it, in fact, has anything to do with the case at all. It's a very sensitive issue. Many people worry that
    violence will somehow be incorrectly linked to Asperger's Syndrome.

    Chief medical correspondent Dr. Sanjay Gupta joins -- joins me now.

http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                    16/20
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    So let's talk about it. First of all, can you explain what Asperger's Syndrome is and how it typically
    presentsHome
              itself?

    DR. SANJAY GUPTA, CNN CORRESPONDENT: Well, Asperger is something that is typically on
    something known as the autism spectrum, and they use this term "spectrum" sort of on purpose to be a
    little bit vague, because there's all sorts of different, you know, sort of symptoms with this.

    But Asperger's sort of considered the highest functioning form of autism, in some ways. People, you
    know, it's -- they're oftentimes socially awkward. They have a hard time making eye contact, strong
    social connections.

    But again, you know, Anderson, you and I talked about this, there are people who are running major
    companies in this country who have come out and said they also have Asperger's. So you can be very
    highly functional with this. And it's hard to characterize or pinpoint specific symptoms.

    COOPER: I know several people with Asperger's. Oftentimes, they're particularly experts in one
    particular realm or have particular interests. But just have sort of -- as you said, they're socially
    awkward.

    I know you've dug into this. Is there any evidence at all that autism spectrum disorders, which are not
    mental disorders, are linked to violence, planned violence in particular?

    GUPTA: There's not. And you know, I don't want to dance around the edges here at all or beat around
    the bush, because this has come up quite a bit. And I knew that there wasn't -- since we started reporting
    on this, I talked to several experts in this about this specific issue. There just isn't.

    There's a paper that's sort of the most often quoted paper with regard to this issue, Anderson. It's a study
    of 132 people who had -- were high-functioning -- had high-functioning autism. Out of those 132
    people, three episodes of violence. None of those episodes were, as you say, preplanned violence. It was
    typically reactive violence or outbursts. You know, so just a very different thing.

    So I think we can just dispense with this myth, frankly, that there's a connection between Asperger and
    planned violence.

    COOPER: And autism spectrum disorders, again, I want to repeat this, are not mental illnesses. And
    people who suffer from autism spectrum disorders, do we know if they are any more likely than
    anybody else to suffer from a mental illness?

    GUPTA: There has been some data on that second party oppression (ph), that there could be more likely
    of a concordance mental illness. Or you know, somebody who would develop mental illness later on.

    But I want to be clear about something. These terms, again, as you always say, Anderson, matter, but
    when you say something is a neurodevelopmental disorder, what that really is saying is this is somethin
    that the person has probably had since birth. Something that has an inherent quality to it.

    Whereas you know -- we've been talking about this -- several of these mental illnesses that develop later
    on in life, meaning, you know, late teens, early 20s, that's one of the differences between
    neurodevelopment disorder and what they call mental disorder, mental illness. The Asperger's is a
    neurodevelopmental disorder.

http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                   17/20
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    COOPER: Also, we're starting politicians talk about the violent video games. Is there any evidence, I
           Home
    mean, when  you look through the resources that connect these types of games to real-life style of
    behavior? Because I know they're hugely popular?

    GUPTA: Yes, and I think, you know, the evidence is pretty sketchy. So over the last couple of days I
    looked at the data pretty carefully. I will tell you since 1972, before these videogames were even out
    there, there was concerns about violent programming. The surgeon general, actually, was warning 40
    years ago about could violent programming lead to aggressive behavior?

    There's been a couple of studies looking specifically at increase in heart rate and blood pressure in
    people who are playing. There were some -- one study that showed an increased lack of empathy
    overall. Case studies (AUDIO GAP) also, that the game makes a person more aggressive. Or are
    aggressive people more likely to play the game? I just think it's hard to draw this connection, Anderson.

    COOPER: All right, Sanjay, appreciate that. Thanks very much. We'll be right back. A lot more ahead.
    (COMMERCIAL BREAK)

    (BEGIN VIDEO CLIP)

    UNIDENTIFIED FEMALE: It just doesn't seem like Christmas, you know. It's really, really hard.

    (END VIDEO CLIP)

    COOPER: Burying little boys and girls days before Christmas, days after Hanukkah, no one should
    have to face that.

    You can feel the sadness in Newtown. You can also feel incredible strength. I want to show you a
    picture we just got of one of the little girls who was killed. This is Allison Wyatt. A family friend of the
    Wyatts just came by, asked us to mention Allison tonight.

    In a statement, Allison's parents said she was kind-hearted, loved drawing, loved to laugh. Was sweet,
    creative, funny and intelligent. They said, "She was developing her own wonderful sense of humor that
    went from being a silly 6-year-old to coming up with observations that more than once had us crying
    with laughter." Those are the words of their -- of Allison's parents, 6 years old. We will remember her.

    Earlier you heard Lynn and Chris McDonnell talk so movingly about their 7-year-old daughter Grace.
    The joy she brought them and her brother Jack and everyone she touched.

    Lynn told me their family will open presents on Christmas like they always do, because that's what
    Grace would want.

    It's hard to hear the song "Amazing Grace." I told her -- I told Lynn that it's one of my favorite songs
    and that from now on, every time I hear it, I'll think of their amazing Grace.

    Lynn said she believes that all the little children, as I mentioned, who are gone are holding hands
    together in heaven, bright stars shining down over Newtown.

    She said none of the kids had hate in their hearts. And she acknowledged that the journey ahead is
    difficult, but she'll let the children guide them.

http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html                                                  18/20
8/21/2018                                                    CNN.com - Transcripts

    We're going to leave you once again tonight with a look at Lynn and Chris's and Jack's amazing Grace
             Home
    and all the others this town has lost.

    (BEGIN VIDEOTAPE)

    (MUSIC: "Amazing Grace")

    (END VIDEO CLIP)

    COOPER: "Amazing Grace." That does it for us here in Newtown. "ERIN BURNETT OUTFRONT"
    starts now.




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      EXHIBIT C


Affidavit of Neil Heslin
Exhibit C
         EXHIBIT D


Affidavit of Dr. Wayne Carver
Exhibit D
       EXHIBIT E


Affidavit of Scarlet Lewis
Exhibit E
       EXHIBIT F


Affidavit of John Clayton
Exhibit F
        EXHIBIT G


Affidavit of Marcus Turnini
Exhibit G
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    INFOWARS LLC, TERMS OF USE & PRIVACY POLICY




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    IMPORTANT - PLEASE READ
    Reading and accepting the following terms of use and incorporated privacy policy, as they are
    periodically updated, are required before you may begin or continue to interact with this website.
    Your use of this website for any purpose other than to read the terms of use and privacy policy is
    considered as your full consent to all provisions of the most current versions of the terms of use
    and privacy policy.

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    1. DEFINITIONS
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    1.1. "Agreement" means the most current version of this terms of use
    agreement, including the incorporated privacy policy, between us and you.
    1.2. "Licensed Materials" means our intellectual property, including but not
    limited to, our logos, trade names, service marks, trademarks, and trade
    dress.
    1.3. "Membership" means anyone holding an account in compliance with this
    Agreement.
    1.4. "Pro le" means the membership information, including but not limited to
    your legal name, address, telephone, fax, email.
    1.5. "Product" means each and every product we o er.
    1.6. "Pro le Page" means the page of the same name on the Website where
    your membership information is shown.
    1.7. "Services" means each and every service we o er.
    1.8. "Website" means planet.infowars.com and all other Uniform Resource
    Identi er we use to provide our Products and Services.
    1.9. "System" means all of our software and hardware, whether owned or
    leased or otherwise contracted.
    1.10. "We," "us," and "our" means Infowars, LLC, a Texas limited liability
    company.
    1.11. "You," "your," and "yourself" means any person, organization or business
    entity that seeks to use our Services, as well as their agents, assigns, and
    successors.
    1.12. "Active" (Group) means users post comments, group information is
    updated, events and missions are created. If a group is inactive for more than
    30 days it will be deleted.
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    2. GENERAL PROVISIONS



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    2.1. Please direct any questions not answered by reading this Agreement to
    us at support@Infowars.com.
    2.2. You may not access the Website or utilize our Services if you are under
    eighteen (18) years of age or otherwise not competent to enter into a binding
    contract.
    2.3. Before you may use any of our Services, you must:
    2.3.1. read and agree to comply with this Agreement and
    2.3.2. understand and accept that this Agreement:
    2.3.2.1. takes e ect the moment you access the Website;
    2.3.2.2. may only be amended or modi ed by us, unless we agree otherwise
    in writing with you;
    2.3.2.3. may be amended or modi ed by us at any time and all such changes
    shall take full e ect as soon as they are posted on the Website and your
    continued use of our Services shall be irrefutable proof of your consent to
    the terms and conditions of the most current version of this Agreement;
    2.3.2.4. is the entire and only agreement between you and us;
    2.3.2.5. contain all terms and conditions of your relationship with us and your
    use of our Services; and
    2.3.2.6. shall only terminate under the conditions provided for herein.
    2.4. This Agreement shall in no way create an agency, employee-employer,
    franchis or franchisee, joint enterprise, joint venture, or partnership
    relationship between you and us.
    2.5. Our failure to require your performance of any provision of this
    Agreement shall not a ect our right to require subsequent performance at
    any time of the same provision.
    2.6. Should we determine, in our sole discretion, that you have violated any
    provisions of this Agreement or applicable laws, we may, with subsequent
    notice to you:


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    2.6.1. immediately lower, suspend or cancel your account and membership
    with us;
    2.6.2. use your personal information to collect all pending and applicable
    fees and other amounts due;
    2.6.3. charge you for all administrative costs in connection with any violation
    by you of any provision of this Agreement; and
    2.6.4. bring legal action to enjoin violations and/or to collect all damages
    caused by your violations of this Agreement.
    2.7. We cooperate with law enforcement and all other appropriate authorities
    and organizations.
    2.8. Unless otherwise provided herein, you agree that:




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    2.8.1. all notices from us to you shall be sent to the most recent email address
    on le with us and will be deemed immediately delivered even if you have
    allowed your email address on le to no longer be valid and
    2.8.2. all notices from you to us shall be:
    2.8.2.1. sent to support@Infowars.com and deemed immediately delivered.
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    3. PRIVACY




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    3.1. Protecting your privacy is very important to us; so we do not sell your
    personal information and will only use it for obvious, legitimate business
    purposes.
    3.2. You agree that we may use your personal identifying information to
    enforce this Agreement, and when complying with an order of a court or
    other government entity of competent jurisdiction.
    3.4. We us cookies, log les, and third parties to create a pro le of our users
    and the information gathered is personally identi able as belonging to you so
    that we can better determine what Services and System adjustments will
    optimize your experience at the Website. We may share this information with
    third parties but only in a way that does not identify you or any particular
    person individually.
    3.5. The System allows you to use and purchase our Products and Services
    online. PayPal or another merchant account service provider processes your
    payments, and we do not store your nancial information.
    3.6. We may o er you opportunities to communicate with third parties,
    whether other on our Website or that of an a liate. Please remember that we
    do not control or guarantee in any way the accuracy or safety of the content
    on websites not operated by us or even content provided by others on our
    Website.
    3.7. Any information you disclosed to third parties on our Website or other
    websites becomes public information, and you should exercise caution when
    deciding to disclose any personal information.
    3.8. We follow established security procedures to keep your personal
    information safe from unauthorized third parties.
    3.9. You alone are responsible for maintaining the security of your account
    access information—i.e., username, password and email address.




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    3.10. You alone are responsible for con rming the accuracy of your personal
    information that we use to contact you. Any email messages we receive that
    appear to be from the email address we have on le for you shall be deemed
    to have been sent by you or your duly authorized agent with full authority to
    act on your behalf.
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    4. PAYMENTS
    4.1. You are responsible for making timely payment of all amounts you owe us
    when they come due.
    4.2. Should we charge fees, we may change our fees at any time, and the
    new fees shall take immediate e ect.
    4.3. Your obligation to make due payments shall survive termination of this
    Agreement.
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    5. REFUNDS/NO CHARGEBACKS
    5.1. No payments, whether purchases or donations, shall be refunded and
    sales are nal.
    5.2. You shall not chargeback any payments to us, unless you have been the
    victim of identity theft and provide us with a valid police report. Your failure to
    comply with this section may result in immediate termination of your use of
    our Services.
    5.3. Except for con rmed manufacturer defects, you are responsible for all
    freight and shipping charges as well as a restocking fee of 15%, of the sale
    price, for unaccepted or refused delivery shipments.
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    6. MEMBERSHIPS




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    6.1. We may o er you the opportunity to enjoy a pay membership at various
    levels with each level priced di erently and granting you the opportunity to
    make use of a greater number of our Services.
    6.2. Members with a pay membership pay for their particular pay
    membership level and fees at all levels shall be recurring with a $100
    administrative fee applied to every chargeback you make on charges for
    payment to us; see 4.6 above for more details.
    6.3. We may lower, suspend or terminate your Membership if we determine,
    in our sole discretion, that you have violated the terms of this Agreement.
    6.4. You may terminate your Membership by simply writing us at
    support@Infowars.com, and your cancellation shall take e ect twenty-four
    (24) hours later.
    6.5. Planetinfowars.com (Planet.infowars.com) does not require a
    membership and/or service fee.
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    7. SHIPPING




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    7.1. Shipping Methods: We highly recommend that you choose UPS for the
    shipping method. UPS provides tracking information for all orders and
    insurance for lost or damaged packages. If you choose another method of
    shipping, you hereby accept all liability for lost or damaged orders. We will
    not and cannot do anything for lost or damaged orders that were not sent via
    UPS.
    7.2. Shipping: Shipping charges are nonrefundable. You are responsible for
    all freight charges for refused shipments and they will be added to the
    invoice total. Freight/insurance costs are prepaid. All items are shipped via
    USPS or UPS. Items will be shipped within one week of receipt of order,
    though generally much sooner. Out of stock items will be shipped according
    to availability of product. Dimensions/oversize weights are applied to freight
    charges when applicable.
    7.3. Backorders: If your order contains a pre-ordered item, or a back-ordered
    item, the entire order will ship once all items are in stock. If you would like to
    have a partial order shipped immediately and are willing to pay an additional
    shipping charge, please contact our o ces at (512) 291-5750 Ext. 56 or 96.
    7.4. Damage/Loss: All claims for damage/pilferage must be led by you with
    the delivering carrier. We cannot le these for you. All claims for incorrect
    shipments/billing must be made within 10 days of receipt. In the event of a
    faulty product, meaning the manufacturer has con rmed the defect, we will
    request that you return the product, after which we will ship out a
    replacement product.
    7.5. For Products shipped within the State of Texas, applicable sales taxes are
    automatically applied to the purchase total and must be paid as part of the
    total purchase amount. You alone are responsible for sales taxes due outside
    the State of Texas.
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    8. POSTED CONTENT
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    8.1. We may review and delete any content you post on the Website or
    elsewhere utilizing our Services or System if we determine, in our sole
    discretion, that the content violates the rights of others, is not appropriate for
    the Website, or otherwise violates this Agreement.
    8.2. We may allow you to upload content, such as photographs, but only to
    your account with us.
    8.3. You must hold all intellectual rights to content, such as text or
    photographs, you upload to the Website.
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    9. INTELLECTUAL PROPERTY
    9.1. You may not copy or otherwise attempt to bene t or assist others to
    bene t, directly or indirectly, from use of our Licensed Materials or
    intellectual property of third parties other than through normal use of the
    Website.
    9.2. You retain all of your rights, titles, and interests in and to the content
    provided by you.
    9.3. You hereby grant us a perpetual, worldwide license to use, host, store,
    reproduce, modify, create derivative works, communicate, publish, publicly
    perform, publicly display, distribute and otherwise use all content that you
    post on the Website or otherwise through the use of our Services or System.
    9.4. If you did not create or obtain a license to use content on the Website,
    you may not use content on the Website other than through normal use of
    the Website, as intended by us.
    9.5. If you believe that your intellectual property rights have been violated,
    please contact us at support@Infowars.com and provide a brief but complete
    description of the intellectual property at issue.
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    10. NO THIRD-PARTY BENEFICIARIES

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    There shall be no third-party bene ciaries to this Agreement. All assignments
    are void unless consented to by us in writing. Back to Top ^

    11. LIMITATION OF LIABILITY




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    11.1. You agree that we will not be liable for any harm or loss that may occur in
    connection with:
    11.1.1. any act or omission by you or your agent, whether authorized or
    unauthorized;
    11.1.2. your use or inability to use our Services;
    11.1.3. public or private information, whether accurate or inaccurate or
    fraudulent, provided by you or a third party;
    11.1.4. access delays or access interruptions to our Services;
    11.1.5. the failure to deliver or erroneous delivery of information;
    11.1.6. any breach of contract you have with a third party, such as an employer;
    11.1.7. any breach of a 3rd party's intellectual property as a result of
    information posted by you;
    11.1.8. your failure to pay us any applicable due payment;
    11.1.9. the actions, orders and judgments of administrative, judicial and other
    governmental bodies.
    11.2. We shall not be liable to you or anyone else for delays in or failures to
    perform our obligations under this Agreement that directly or indirectly result
    from events or causes beyond our reasonable control including, but not
    limited to: hardware or software failures, other equipment failures, electrical
    power failures, labor disputers, strikes, riots, hurricanes, res, oods, storms,
    explosions, acts of God, war, governmental actions, orders of domestic or
    foreign courts or administrative bodies, or the non-performance of third
    parties.
    11.3. We shall not be liable for any direct, indirect, consequential, incidental,
    special or exemplary damages of any kind, including but not limited to lost:
    pro ts, goodwill, use, data or other intangibles whether in contract, tort or
    negligence even if you we are aware of the possibility or probability of such
    damages.


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    11.4. If a competent court deems us liable to you, our maximum possible
    liability to you for any reason shall not exceed $100.
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    12. INDEMNITY
    12.1. YOU AGREE TO DEFEND, INDEMNIFY AND HOLD US AND OUR
    MEMBERS, OFFICERS, EMPLOYEES, AFFILIATES AND AGENTS HARMLESS
    FROM AND AGAINST ANY AND ALL LIABILITIES, LOSSES, DAMAGES OR
    COSTS, INCLUDING ALL ATTORNEY FEES, COLLECTION FEES AND COURT
    COSTS, RELATED TO ANY DEMAND OR LITIGATION IN ANY WAY RELATED
    TO:
    12.1.1. YOUR USE OF OUR SERVICES;
    12.1.2. YOUR BREACH OF THIS AGREEMENT;
    12.1.3. INACCURATE OR FRAUDULENT INFORMATION PROVIDED BY YOU
    OR A THIRD PARTY;
    12.1.4. THE CANCELLATION OR LIMITATION OF YOUR ABILITY TO USE OUR
    SYSTEM AND SERVICES, INCLUDING BUT NOT LIMITED TO OUR WEBSITE;
    OR
    12.1.5. INFRINGEMENT OF ANY THIRD-PARTY RIGHTS ARISING FROM
    YOU'RE YOUR USE OF OUR SYSTEM OR SERVICES.
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    13. REPRESENTATIONS AND WARRANTIES




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    13.1. You represent and warrant that:
    13.1.1. all Pro le information you provide to us is accurate and none of the
    Pro le information or documents your provide to us contain fraudulent or
    otherwise inaccurate information.
    13.1.2. you will immediately update your Pro le information after it becomes
    inaccurate;
    13.1.3. you will not directly or indirectly infringe the legal rights of third parties
    or our Licensed Materials;
    13.1.4. you have not entered into this Agreement and will not enter into any
    additional agreements with us in bad faith; and
    13.1.5. you are at least legally competent to enter into a binding contract with
    us.
    13.2. We make no representations or warranties of any kind in connection
    with this Agreement.
    13.3. With regard to the Website and our Services:
    13.3.1. We expressly disclaim all warranties, express or implied, including, but
    not limited to, the implied warranties of merchantability and tness for a
    particular purpose.
    13.3.2. We do not warrant that our Services will meet your requirements, be
    uninterrupted or error free.
    13.3.3. We do not make any warranties or representations regarding use,
    correctness, accuracy, or reliability.




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    13.4. You agree that:
    13.4.1. you use the Website and our Products and Services at your own risk;
    13.4.2. you use the Website and our Products and Services on an "as-is" and
    "asavailable" basis and at your own risk and discretion;
    13.4.3. you alone are responsible for any damage to your hardware and
    software or loss of data in any way related to your use of the Website or our
    Services;
    13.4.4. neither we nor our members, o cers, employees or agents shall have
    any liability to you; and
    13.4.5. no advice or information, whether oral or written, obtained by you
    from us shall create any warranty not expressly stated in this Agreement.
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    14. BREACH, REVOCATION AND CANCELLATION.
    14.1. In the event that you breach any provision of this Agreement, you agree
    that we may immediately terminate your use of our Services and System.
    14.2. In the event such a breach occurs by you, we may post on the Website
    that you have violated our terms and conditions of service.
    14.3. In the event we determine that you have or continue to violate this
    Agreement:
    14.3.1. We reserve the right to prosecute civil and/or criminal actions against
    you for any abusive behavior you engage in regarding your use of our
    Services and System; and
    14.3.2. You will also be subject to legal ($200 per hour), administrative ($75
    per hour), and technical ($150 per hour) fees in a reasonable amount for
    damages incurred by us for any violations of this Agreement.
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    15. SEVERABILITY



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    15.1. In the event that one or more provisions of this Agreement is deemed
    unenforceable or invalid, the una ected provisions of this Agreement shall
    continue in e ect, and the unenforceable or invalid provisions shall be
    amended or replaced by us with a provision that is valid and enforceable and
    which achieves, to the greatest extent possible, the objectives and intent of
    the original provisions.
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    16. GOVERNING LAW
    16.1. This Agreement shall be governed by the federal laws of the United
    States and the laws of the State of Texas, without regard to any con ict of
    laws provisions.
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    17. EXCLUSIVE VENUE
    17.1. Any actions relating to or arising out of this Agreement or any use of our
    Website or Services that include us as a party shall be brought exclusively in
    the federal and state courts for Travis County, Austin, Texas, and you consent
    to the exercise of personal jurisdiction over you by these courts in all such
    actions.
    17.2. You agree that you shall submit, without prejudice to other potentially
    applicable jurisdictions, to the jurisdiction of the courts of your domicile and
    Travis County, Austin, Texas.
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    18. DISPUTE RELATED FEES AND COSTS
    18.1. If we reasonably decide to retain an attorney or a collection agency to
    enforce this Agreement, the prevailing party will be entitled to an award of all
    reasonable fees and costs, regardless of whether a judgment is rendered or
    suit is ever led.
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    19. PUBLISHING RULES (WHEN CREATING ARTICLES)
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    You will stay on topic. (Post under the proper category)
    You will post articles to the ONE category that best applies.
    You will not spam. (Spam is ooding the Internet with many copies of the
    same message, in an attempt to force the message on people who would not
    otherwise choose to receive it.)
    You will not include links to websites and videos not associated with the
    topic.
    You will not post the same comment or article multiple times or multiple
    categories.
    You will not solicit anyone to buy or sell products or services, or to make
    donations of any kind. You will not include links to products in your status
    updates, comments, articles or groups.
    You will not post anything libelous, defamatory, harmful, threatening,
    harassing, abusive, invasive of another's privacy, hateful, racially or ethnically
    objectionable, or otherwise illegal.
    You will not make threats to other users or people not associated with the
    site.
    If you violate these rules, your posts and/or user name will be deleted.
    Remember: you are a guest here. It is not censorship if you violate the rules
    and your post is deleted. All civilizations have rules and if you violate them
    you can expect to be ostracized from the tribe. Back to Top ^

    20. COMMENT RULES
    By using Infowars.com, you agree to the following when making a comment:




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    You will stay on topic.
    You will not spam. (Spam is ooding the Internet with unnecessary or out of
    topic comments)
    You will not include links to websites and videos not associated with the
    topic.
    You will not post the same comment multiple times on the same of di erent
    articles
    You will not solicit anyone to buy or sell products or services, or to make
    donations of any kind. You will not include links to products in your status
    updates, comments, articles or groups.
    You will not post anything libelous, defamatory, harmful, threatening,
    harassing, abusive, invasive of another's privacy, hateful, racially or ethnically
    objectionable, or otherwise illegal.
    You will not make threats to other users or people not associated with the
    site.
    If you violate these rules, your comment(s) and/or user name will be deleted.
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    21. Groups
    Your group must remain active, otherwise, after 30 days it will be deleted.
    (See 'active' de nition above in section 1.12)
    Your group will not be based on anything libelous, defamatory, harmful,
    threatening, harassing, abusive, invasive of another's privacy, hateful, racially
    or ethnically objectionable, or otherwise illegal.
    Your group will not solicit anyone to buy or sell products or services, or to
    make donations of any kind.




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                                                                                                                                                      THE
                                                                                                                                                      THE ALEX JONES RADIO SHOW
                                                                                                                                                      LISTEN NOWWATCH NOW




           RADIO SHOWNEWSVIDEOSSTORETOP STORIES

           BREAKING NEWSCONTACT
                             WATCH LIVE                                                     BREAKING                                                         STORE




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    INFOWARS LLC, TERMS OF USE & PRIVACY POLICY
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    IMPORTANT - PLEASE READ
   https://www.infowars.com/terms-of-service/                                                                                               Go      JAN FEB MAR
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    Reading and accepting the following terms of use and incorporated privacy policy, as they are periodically updated,
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    are required before you may begin or continue to interact with this website. Your use of this website for any purpose

    other than to read the terms of use and privacy policy is considered as your full consent to all provisions of the most

    current versions of the terms of use and privacy policy.




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   https://www.infowars.com/terms-of-service/                                                                                                       JAN FEB MAR
    1. DEFINITIONS                                                                                                                          Go                             👤
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    14. BREACH, REVOCATION AND CANCELLATION

    15. SEVERABILITY

    16. GOVERNING LAW

    17. EXCLUSIVE VENUE

    18. DISPUTE FEES AND COSTS

    19. PUBLISHING RULES (WHEN CREATING ARTICLES)

    20. COMMENT RULES

    21. GROUPS

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    1. DEFINITIONS
   https://www.infowars.com/terms-of-service/                                                                                               Go      JAN FEB MAR
                                                                                                                                                                        👤
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   1.1. "Agreement" means the most current version of this terms of use agreement,  including
                                                                                                                                                       14
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    the incorporated privacy policy, between us and you.
    1.2. "Licensed Materials" means our intellectual property, including but not limited to, our
    logos, trade names, service marks, trademarks, and trade dress.
    1.3. "Membership" means anyone holding an account in compliance with this Agreement.
    1.4. "Profile" means the membership information, including but not limited to your legal
    name, address, telephone, fax, email.
    1.5. "Product" means each and every product we offer.
    1.6. "Profile Page" means the page of the same name on the Website where your
    membership information is shown.
    1.7. "Services" means each and every service we offer.
    1.8. "Website" means planet.infowars.com and all other Uniform Resource Identifier we use
    to provide our Products and Services.
    1.9. "System" means all of our software and hardware, whether owned or leased or
    otherwise contracted.
    1.10. "We," "us," and "our" means Infowars, LLC, a Texas limited liability company.
    1.11. "You," "your," and "yourself" means any person, organization or business entity that
    seeks to use our Services, as well as their agents, assigns, and successors.
    1.12. "Active" (Group) means users post comments, group information is updated, events
    and missions are created. If a group is inactive for more than 30 days it will be deleted.
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    2. GENERAL PROVISIONS
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   2.1. Please direct any questions
   https://www.infowars.com/terms-of-service/                                                       Go toJAN
                                                                not answered by reading this Agreement       FEB
                                                                                                          us at                                               MAR
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   support@Infowars.com.
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    2.2. You may not access the Website or utilize our Services if you are under eighteen (18)
    years of age or otherwise not competent to enter into a binding contract.
    2.3. Before you may use any of our Services, you must:
    2.3.1. read and agree to comply with this Agreement and
    2.3.2. understand and accept that this Agreement:
    2.3.2.1. takes effect the moment you access the Website;
    2.3.2.2. may only be amended or modified by us, unless we agree otherwise in writing with
    you;
    2.3.2.3. may be amended or modified by us at any time and all such changes shall take full
    effect as soon as they are posted on the Website and your continued use of our Services
    shall be irrefutable proof of your consent to the terms and conditions of the most current
    version of this Agreement;
    2.3.2.4. is the entire and only agreement between you and us;
    2.3.2.5. contain all terms and conditions of your relationship with us and your use of our
    Services; and
    2.3.2.6. shall only terminate under the conditions provided for herein.
    2.4. This Agreement shall in no way create an agency, employee-employer, franchis or
    franchisee, joint enterprise, joint venture, or partnership relationship between you and us.
    2.5. Our failure to require your performance of any provision of this Agreement shall not
    affect our right to require subsequent performance at any time of the same provision.
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                                                                                                          JAN FEB MAR
   2.6. Should we determine, in
   https://www.infowars.com/terms-of-service/             our sole discretion, that you have violated any
                                                                                                      Go provisions of                                                     👤
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   this Agreement or applicable laws, we may, with subsequent notice to you:
                                                                                                                                                         14
 24 Apr 2013 - 21 Feb 2018                                                                                                                          2017 2018 2019   ▾ About this capture
    2.6.1. immediately lower, suspend or cancel your account and membership with us;
    2.6.2. use your personal information to collect all pending and applicable fees and other
    amounts due;
    2.6.3. charge you for all administrative costs in connection with any violation by you of any
    provision of this Agreement; and
    2.6.4. bring legal action to enjoin violations and/or to collect all damages caused by your
    violations of this Agreement.
    2.7. We cooperate with law enforcement and all other appropriate authorities and
    organizations.
    2.8. Unless otherwise provided herein, you agree that:




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   2.8.1. all notices from us to
   https://www.infowars.com/terms-of-service/                                                      Go JANon
                                                       you shall be sent to the most recent email address FEB MAR
                                                                                                            file with                                          👤
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   us and will be deemed immediately delivered even if you have allowed your 2017
                                                                              email  address
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    on file to no longer be valid and
    2.8.2. all notices from you to us shall be:
    2.8.2.1. sent to support@Infowars.com and deemed immediately delivered.
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    3. PRIVACY




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                                                                                                          JAN FEB                                             MAR
   3.1. Protecting your privacy
   https://www.infowars.com/terms-of-service/           is very important to us; so we do not sell your
                                                                                                     Go personal                                                           👤
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   information and will only use it for obvious, legitimate business purposes.
                                                                                                                                                         14
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    3.2. You agree that we may use your personal identifying information to enforce this
    Agreement, and when complying with an order of a court or other government entity of
    competent jurisdiction.
    3.4. We us cookies, log files, and third parties to create a profile of our users and the
    information gathered is personally identifiable as belonging to you so that we can better
    determine what Services and System adjustments will optimize your experience at the
    Website. We may share this information with third parties but only in a way that does not
    identify you or any particular person individually.
    3.5. The System allows you to use and purchase our Products and Services online. PayPal
    or another merchant account service provider processes your payments, and we do not
    store your financial information.
    3.6. We may offer you opportunities to communicate with third parties, whether other on our
    Website or that of an affiliate. Please remember that we do not control or guarantee in any
    way the accuracy or safety of the content on websites not operated by us or even content
    provided by others on our Website.
    3.7. Any information you disclosed to third parties on our Website or other websites
    becomes public information, and you should exercise caution when deciding to disclose
    any personal information.
    3.8. We follow established security procedures to keep your personal information safe from
    unauthorized third parties.
https://web.archive.org/web/20180214101615/https://www.infowars.com/terms-of-service/                                                                                                  10/25
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                                                                                                            JAN FEB                                           MAR
   3.9. You alone are responsible
   https://www.infowars.com/terms-of-service/                 for maintaining the security of your account
                                                                                                        Go access                                                          👤
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   information—i.e., username, password and email address.
                                                                                                                                                         14
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    3.10. You alone are responsible for confirming the accuracy of your personal information
    that we use to contact you. Any email messages we receive that appear to be from the
    email address we have on file for you shall be deemed to have been sent by you or your
    duly authorized agent with full authority to act on your behalf.
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    4. PAYMENTS
    4.1. You are responsible for making timely payment of all amounts you owe us when they
    come due.
    4.2. Should we charge fees, we may change our fees at any time, and the new fees shall
    take immediate effect.
    4.3. Your obligation to make due payments shall survive termination of this Agreement.
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    5. REFUNDS/NO CHARGEBACKS
    5.1. No payments, whether purchases or donations, shall be refunded and sales are final.
    5.2. You shall not chargeback any payments to us, unless you have been the victim of
    identity theft and provide us with a valid police report. Your failure to comply with this
    section may result in immediate termination of your use of our Services.
    5.3. Except for confirmed manufacturer defects, you are responsible for all freight and
    shipping charges as well as a restocking fee of 15%, of the sale price, for unaccepted or
    refused delivery shipments.
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    6. MEMBERSHIPS
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    6.1. We may offer you the opportunity to enjoy a pay membership at various levels with
    each level priced differently and granting you the opportunity to make use of a greater
    number of our Services.
    6.2. Members with a pay membership pay for their particular pay membership level and
    fees at all levels shall be recurring with a $100 administrative fee applied to every
    chargeback you make on charges for payment to us; see 4.6 above for more details.
    6.3. We may lower, suspend or terminate your Membership if we determine, in our sole
    discretion, that you have violated the terms of this Agreement.
    6.4. You may terminate your Membership by simply writing us at support@Infowars.com,
    and your cancellation shall take effect twenty-four (24) hours later.
    6.5. Planetinfowars.com (Planet.infowars.com) does not require a membership and/or
    service fee.
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    7. SHIPPING




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                                                                                                    JAN FEB MAR
   7.1. Shipping Methods: We
   https://www.infowars.com/terms-of-service/          highly recommend that you choose UPS for Go
                                                                                                the shipping                                                   👤
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   method. UPS provides tracking information for all orders and insurance for lost or damaged
                                                                                                                                                    14
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    packages. If you choose another method of shipping, you hereby accept all liability for lost
    or damaged orders. We will not and cannot do anything for lost or damaged orders that
    were not sent via UPS.
    7.2. Shipping: Shipping charges are nonrefundable. You are responsible for all freight
    charges for refused shipments and they will be added to the invoice total. Freight/insurance
    costs are prepaid. All items are shipped via USPS or UPS. Items will be shipped within one
    week of receipt of order, though generally much sooner. Out of stock items will be shipped
    according to availability of product. Dimensions/oversize weights are applied to freight
    charges when applicable.
    7.3. Backorders: If your order contains a pre-ordered item, or a back-ordered item, the
    entire order will ship once all items are in stock. If you would like to have a partial order
    shipped immediately and are willing to pay an additional shipping charge, please contact
    our offices at (512) 291-5750 Ext. 56 or 96.
    7.4. Damage/Loss: All claims for damage/pilferage must be filed by you with the delivering
    carrier. We cannot file these for you. All claims for incorrect shipments/billing must be made
    within 10 days of receipt. In the event of a faulty product, meaning the manufacturer has
    confirmed the defect, we will request that you return the product, after which we will ship
    out a replacement product.




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                                                                                                             JAN                                    FEB MAR
   7.5. For Products shipped within
   https://www.infowars.com/terms-of-service/                    the State of Texas, applicable sales taxes
                                                                                                         Go are                                                     👤
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   automatically applied to the purchase total and must be paid as part of the total purchase
                                                                                                                                                    14
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    amount. You alone are responsible for sales taxes due outside the State of Texas.
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    8. POSTED CONTENT
    8.1. We may review and delete any content you post on the Website or elsewhere utilizing
    our Services or System if we determine, in our sole discretion, that the content violates the
    rights of others, is not appropriate for the Website, or otherwise violates this Agreement.
    8.2. We may allow you to upload content, such as photographs, but only to your account
    with us.
    8.3. You must hold all intellectual rights to content, such as text or photographs, you upload
    to the Website.
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    9. INTELLECTUAL PROPERTY




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                                                                                                                JAN FEB MAR
   9.1. You may not copy or otherwise
   https://www.infowars.com/terms-of-service/                         attempt to benefit or assist others to Go
                                                                                                             benefit, directly or                              👤
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   indirectly, from use of our Licensed Materials or intellectual property of third 2017
                                                                                    parties  other
                                                                                                                                                    14
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    than through normal use of the Website.
    9.2. You retain all of your rights, titles, and interests in and to the content provided by you.
    9.3. You hereby grant us a perpetual, worldwide license to use, host, store, reproduce,
    modify, create derivative works, communicate, publish, publicly perform, publicly display,
    distribute and otherwise use all content that you post on the Website or otherwise through
    the use of our Services or System.
    9.4. If you did not create or obtain a license to use content on the Website, you may not use
    content on the Website other than through normal use of the Website, as intended by us.
    9.5. If you believe that your intellectual property rights have been violated, please contact
    us at support@Infowars.com and provide a brief but complete description of the intellectual
    property at issue.
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    10. NO THIRD-PARTY BENEFICIARIES
    There shall be no third-party beneficiaries to this Agreement. All assignments are void
    unless consented to by us in writing. Back to Top ^

    11. LIMITATION OF LIABILITY




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   11.1. You agree that we will
   https://www.infowars.com/terms-of-service/                                                        Go JAN
                                                        not be liable for any harm or loss that may occur     FEB MAR
                                                                                                          in connection                                                    👤
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   with:
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    11.1.1. any act or omission by you or your agent, whether authorized or unauthorized;
    11.1.2. your use or inability to use our Services;
    11.1.3. public or private information, whether accurate or inaccurate or fraudulent, provided
    by you or a third party;
    11.1.4. access delays or access interruptions to our Services;
    11.1.5. the failure to deliver or erroneous delivery of information;
    11.1.6. any breach of contract you have with a third party, such as an employer;
    11.1.7. any breach of a 3rd party's intellectual property as a result of information posted by
    you;
    11.1.8. your failure to pay us any applicable due payment;
    11.1.9. the actions, orders and judgments of administrative, judicial and other governmental
    bodies.
    11.2. We shall not be liable to you or anyone else for delays in or failures to perform our
    obligations under this Agreement that directly or indirectly result from events or causes
    beyond our reasonable control including, but not limited to: hardware or software failures,
    other equipment failures, electrical power failures, labor disputers, strikes, riots, hurricanes,
    fires, floods, storms, explosions, acts of God, war, governmental actions, orders of
    domestic or foreign courts or administrative bodies, or the non-performance of third parties.




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   11.3. We shall not be liable
   https://www.infowars.com/terms-of-service/                                                         Go JAN
                                                       for any direct, indirect, consequential, incidental,    FEB MAR
                                                                                                            special or                                         👤
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   exemplary damages of any kind, including but not limited to lost: profits, goodwill, use, data
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    or other intangibles whether in contract, tort or negligence even if you we are aware of the
    possibility or probability of such damages.
    11.4. If a competent court deems us liable to you, our maximum possible liability to you for
    any reason shall not exceed $100.
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    12. INDEMNITY
    12.1. YOU AGREE TO DEFEND, INDEMNIFY AND HOLD US AND OUR MEMBERS,
    OFFICERS, EMPLOYEES, AFFILIATES AND AGENTS HARMLESS FROM AND
    AGAINST ANY AND ALL LIABILITIES, LOSSES, DAMAGES OR COSTS, INCLUDING
    ALL ATTORNEY FEES, COLLECTION FEES AND COURT COSTS, RELATED TO ANY
    DEMAND OR LITIGATION IN ANY WAY RELATED TO:
    12.1.1. YOUR USE OF OUR SERVICES;
    12.1.2. YOUR BREACH OF THIS AGREEMENT;
    12.1.3. INACCURATE OR FRAUDULENT INFORMATION PROVIDED BY YOU OR A
    THIRD PARTY;
    12.1.4. THE CANCELLATION OR LIMITATION OF YOUR ABILITY TO USE OUR SYSTEM
    AND SERVICES, INCLUDING BUT NOT LIMITED TO OUR WEBSITE; OR
    12.1.5. INFRINGEMENT OF ANY THIRD-PARTY RIGHTS ARISING FROM YOU'RE
    YOUR USE OF OUR SYSTEM OR SERVICES.
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    13. REPRESENTATIONS AND WARRANTIES
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                                                                                                                                                    JAN FEB MAR
   13.1. You represent and warrant
   https://www.infowars.com/terms-of-service/                    that:                                                                      Go                           👤
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   13.1.1. all Profile information you provide to us is accurate and none of the Profile
                                                                                                                                                       14
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    information or documents your provide to us contain fraudulent or otherwise inaccurate
    information.
    13.1.2. you will immediately update your Profile information after it becomes inaccurate;
    13.1.3. you will not directly or indirectly infringe the legal rights of third parties or our
    Licensed Materials;
    13.1.4. you have not entered into this Agreement and will not enter into any additional
    agreements with us in bad faith; and
    13.1.5. you are at least legally competent to enter into a binding contract with us.
    13.2. We make no representations or warranties of any kind in connection with this
    Agreement.
    13.3. With regard to the Website and our Services:
    13.3.1. We expressly disclaim all warranties, express or implied, including, but not limited
    to, the implied warranties of merchantability and fitness for a particular purpose.
    13.3.2. We do not warrant that our Services will meet your requirements, be uninterrupted
    or error free.
    13.3.3. We do not make any warranties or representations regarding use, correctness,
    accuracy, or reliability.




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                                                                                                                                                    JAN FEB MAR
   13.4. You agree that:
   https://www.infowars.com/terms-of-service/                                                                                               Go                           👤
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   13.4.1. you use the Website and our Products and Services at your own risk;
                                                                                                                                                       14
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    13.4.2. you use the Website and our Products and Services on an "as-is" and "asavailable"
    basis and at your own risk and discretion;
    13.4.3. you alone are responsible for any damage to your hardware and software or loss of
    data in any way related to your use of the Website or our Services;
    13.4.4. neither we nor our members, officers, employees or agents shall have any liability to
    you; and
    13.4.5. no advice or information, whether oral or written, obtained by you from us shall
    create any warranty not expressly stated in this Agreement.
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    14. BREACH, REVOCATION AND CANCELLATION.
    14.1. In the event that you breach any provision of this Agreement, you agree that we may
    immediately terminate your use of our Services and System.
    14.2. In the event such a breach occurs by you, we may post on the Website that you have
    violated our terms and conditions of service.
    14.3. In the event we determine that you have or continue to violate this Agreement:
    14.3.1. We reserve the right to prosecute civil and/or criminal actions against you for any
    abusive behavior you engage in regarding your use of our Services and System; and
    14.3.2. You will also be subject to legal ($200 per hour), administrative ($75 per hour), and
    technical ($150 per hour) fees in a reasonable amount for damages incurred by us for any
    violations of this Agreement.
https://web.archive.org/web/20180214101615/https://www.infowars.com/terms-of-service/                                                                                                20/25
8/1/2018                                                                 Terms of service » Alex Jones' Infowars: There's a war on for your mind!

                                                                                                                                                    JAN FEB MAR
   Back to Top ^
   https://www.infowars.com/terms-of-service/                                                                                               Go                             👤
 266 captures                                                                                                                                            14
    15. SEVERABILITY
 24 Apr 2013 - 21 Feb 2018                                                                                                                          2017 2018 2019   ▾ About this capture

    15.1. In the event that one or more provisions of this Agreement is deemed unenforceable
    or invalid, the unaffected provisions of this Agreement shall continue in effect, and the
    unenforceable or invalid provisions shall be amended or replaced by us with a provision
    that is valid and enforceable and which achieves, to the greatest extent possible, the
    objectives and intent of the original provisions.
    Back to Top ^

    16. GOVERNING LAW
    16.1. This Agreement shall be governed by the federal laws of the United States and the
    laws of the State of Texas, without regard to any conflict of laws provisions.
    Back to Top ^

    17. EXCLUSIVE VENUE
    17.1. Any actions relating to or arising out of this Agreement or any use of our Website or
    Services that include us as a party shall be brought exclusively in the federal and state
    courts for Travis County, Austin, Texas, and you consent to the exercise of personal
    jurisdiction over you by these courts in all such actions.
    17.2. You agree that you shall submit, without prejudice to other potentially applicable
    jurisdictions, to the jurisdiction of the courts of your domicile and Travis County, Austin,
    Texas.
    Back to Top ^

https://web.archive.org/web/20180214101615/https://www.infowars.com/terms-of-service/                                                                                                  21/25
8/1/2018                                                                 Terms of service » Alex Jones' Infowars: There's a war on for your mind!


    18. DISPUTE RELATED FEES AND COSTS
   https://www.infowars.com/terms-of-service/                                                                                               Go      JAN FEB MAR
                                                                                                                                                                        👤
 266 captures
   18.1. If we reasonably decide to retain an attorney or a collection agency to 2017
                                                                                 enforce   this
                                                                                                                                                       14
 24 Apr 2013 - 21 Feb 2018                                                            2018 2019                                                                   ▾ About this capture
    Agreement, the prevailing party will be entitled to an award of all reasonable fees and
    costs, regardless of whether a judgment is rendered or suit is ever filed.
    Back to Top ^

    19. PUBLISHING RULES (WHEN CREATING ARTICLES)
    You will stay on topic. (Post under the proper category)
    You will post articles to the ONE category that best applies.
    You will not spam. (Spam is flooding the Internet with many copies of the same message, in
    an attempt to force the message on people who would not otherwise choose to receive it.)
    You will not include links to websites and videos not associated with the topic.
    You will not post the same comment or article multiple times or multiple categories.
    You will not solicit anyone to buy or sell products or services, or to make donations of any
    kind. You will not include links to products in your status updates, comments, articles or
    groups.
    You will not post anything libelous, defamatory, harmful, threatening, harassing, abusive,
    invasive of another's privacy, hateful, racially or ethnically objectionable, or otherwise
    illegal.
    You will not make threats to other users or people not associated with the site.
    If you violate these rules, your posts and/or user name will be deleted.
    Remember: you are a guest here. It is not censorship if you violate the rules and your post
    is deleted. All civilizations have rules and if you violate them you can expect to be
https://web.archive.org/web/20180214101615/https://www.infowars.com/terms-of-service/                                                                                               22/25
8/1/2018                                                                 Terms of service » Alex Jones' Infowars: There's a war on for your mind!

                                                                                                                                                    JAN FEB MAR
   ostracized from the tribe. Back
   https://www.infowars.com/terms-of-service/                 to Top ^                                                                      Go                             👤
 266 captures                                                                                                                                            14
    20. COMMENT RULES
 24 Apr 2013 - 21 Feb 2018                                                                                                                          2017 2018 2019   ▾ About this capture

    By using Infowars.com, you agree to the following when making a comment:
    You will stay on topic.
    You will not spam. (Spam is flooding the Internet with unnecessary or out of topic
    comments)
    You will not include links to websites and videos not associated with the topic.
    You will not post the same comment multiple times on the same of different articles
    You will not solicit anyone to buy or sell products or services, or to make donations of any
    kind. You will not include links to products in your status updates, comments, articles or
    groups.
    You will not post anything libelous, defamatory, harmful, threatening, harassing, abusive,
    invasive of another's privacy, hateful, racially or ethnically objectionable, or otherwise
    illegal.
    You will not make threats to other users or people not associated with the site.
    If you violate these rules, your comment(s) and/or user name will be deleted.
    Back to Top ^

    21. Groups




https://web.archive.org/web/20180214101615/https://www.infowars.com/terms-of-service/                                                                                                  23/25
8/1/2018                                                                 Terms of service » Alex Jones' Infowars: There's a war on for your mind!

                                                                                                             JAN FEB MAR
   Your group must remain active,
   https://www.infowars.com/terms-of-service/                  otherwise, after 30 days it will be deleted.
                                                                                                         Go(See 'active'                                                   👤
 266 captures
   definition above in section 1.12)
                                                                                                                                                         14
 24 Apr 2013 - 21 Feb 2018                                                                                                                          2017 2018 2019   ▾ About this capture
    Your group will not be based on anything libelous, defamatory, harmful, threatening,
    harassing, abusive, invasive of another's privacy, hateful, racially or ethnically
    objectionable, or otherwise illegal.
    Your group will not solicit anyone to buy or sell products or services, or to make donations
    of any kind.




https://web.archive.org/web/20180214101615/https://www.infowars.com/terms-of-service/                                                                                                  24/25
8/1/2018                                                                 Terms of service » Alex Jones' Infowars: There's a war on for your mind!

   https://www.infowars.com/terms-of-service/                                                                                               Go      JAN FEB MAR
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 266 captures                                                                                                                                            14
 24 Apr 2013 - 21 Feb 2018                                                                                                                          2017 2018 2019   ▾ About this capture




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                                                                   Store        D.M.C.A.
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                                                                   T.O.S.




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https://web.archive.org/web/20180214101615/https://www.infowars.com/terms-of-service/                                                                                                  25/25
    EXHIBIT H


Plaintiff’s Proposed
 Written Discovery
                                      CAUSE NO. D-1-GN-18-001835

NEIL HESLIN                                              §                          IN DISTRICT COURT OF
  Plaintiff                                              §
                                                         §
VS.                                                      §                        TRAVIS COUNTY, TEXAS
                                                         §
ALEX E. JONES, INFOWARS, LLC,                            §
FREE SPEECH SYSTEMS, LLC, and                            §                            261st DISTRICT COURT
OWEN SHROYER,                                            §
  Defendants                                             §



      PLAINTIFF’S REQUESTS FOR ADMISSIONS, REQUESTS FOR INTERROGATORIES AND
               REQUESTS FOR PRODUCTION TO DEFENDANT, ALEX E. JONES


TO:     Defendant, Alex E. Jones, by and through his attorney of record, Marc C. Enoch, Glast, Phillips &
        Murray, P.C., 14801 Quorom Drive, Ste.500, Dallas, Texas 75254.

        COMES NOW, Neil Heslin, Plaintiff, in the above-styled and numbered cause, and serves the

following Requests for Admissions, Requests for Interrogatories and Requests for Production to Defendant,

Alex E. Jones, under the Texas Rules of Civil Procedure. Plaintiff hereby requests that answers and responses

to the same be answered in writing under oath, within the time and manner prescribed by the applicable rules.

Plaintiff further requests that Defendant produce the following documents, or things, within thirty (30) days of

service of this request by either producing the original of such documents for examination and copying or

delivering legible and accurate copies thereof to the office of the undersigned during usual business hours.



                                                 Respectfully submitted,

                                                 KASTER LYNCH FARRAR & BALL, LLP


                                                 ____________________________________
                                                 MARK D. BANKSTON
                                                 State Bar No. 24071066
                                                 mark@fbtrial.com
                                                 KYLE W. FARRAR
                                                 State Bar No. 24034828
                                                 WILLIAM R. OGDEN


                                                                                                               Exhibit H
State Bar No. 24073531
1010 Lamar, Suite 1600
Houston, Texas 77002
713.221.8300 Telephone
713.221.8301 Fax

ATTORNEYS FOR PLAINTIFF
                                   CERTIFICATE OF SERVICE

I hereby certify that a copy of the above and foregoing instrument has been served on counsel of record

in compliance with the Texas Rules of Civil Procedure on this 27th day of August, 2018 by facsimile,

US Postal Mail, hand-delivery, and/or e-mail.



Via E-Sevice: fly63rc@verizon.net

Mark C. Enoch
Glast, Phillips & Murray, P.C.
14801 Quorum Drive, Ste. 500
Dallas, Texas 75254



                                                    ____________________________________
                                                    MARK D. BANKSTON
                                   DEFINITIONS

As used herein, the words defined below shall be deemed to have the following meanings:

1.     “Communication” as used in these requests means the conveying or sharing of
       information, ideas, or feelings, by whatever medium, be it oral, written, electronic, or
       otherwise. These requests seek all communications in your custody or constructive
       possession.

2.     “Document” as used in these requests means all handwritten, typed, audio recorded,
       video recorded, or electronic representation of any kind, including legal instruments,
       agreements, letters, e-mails, text messages, notices, specifications, instructions,
       literature, books, magazines, newspapers, booklets, notes, notebooks, log books, diaries,
       memoranda, manuscripts, manifestos, data compilations, reports, studies, analyses,
       surveys, calculations, videos, sound files, photographs, image macros, memes, blog
       posts, internet articles, social media posts, internet comments, screenshots, blockchains,
       illustrations, diagrams, symbols, bulletins, circulars, telegrams, telexes, or any other
       reasonably similar representational thing, as well as any deleted copies of the aforesaid
       or drafts upon which have been placed any additional marks or notations. These
       requests seek all documents in your custody or constructive possession.

3.     “InfoWars,” generically, means the brand name of the media organization founded by
       Alex Jones, whether operating as InfoWars LLC, Free Speech Systems LLC, or any
       other corporate name.

4.     “Instant messenger logs” means any written or electronic records reflecting the content
       of any online chat that offers real-time text transmission over the Internet.

5.     “Video” as used in these requests means any discrete and identifiable piece of InfoWars
       video content.
                         PLAINTIFF’S FIRST SET OF ADMISSIONS
                             TO DEFENDANT ALEX E. JONES


REQUEST FOR ADMISSION NO. 1: Admit that prior to responding to these discovery requests,
you searched all documents in your possession or control that may contain responsive information.

RESPONSE:

REQUEST FOR ADMISSION NO. 2: Admit that as of June 26, 2017, you had the right to direct or
control the work performed by employees of Free Speech Systems, LLC and InfoWars, LLC.

RESPONSE:
                    PLAINTIFF’S FIRST SET OF INTERROGATORIES
                           TO DEFENDANT ALEX E. JONES

INTERROGATORY NO. 1: Describe your job duties, responsibilities, and authority with Free
Speech Systems, LLC as of June 26, 2017.

ANSWER:

INTERROGATORY NO. 2: Describe your job duties, responsibilities, and authority with InfoWars,
LLC as of June 26, 2017.

ANSWER:

INTERROGATORY NO. 3: Describe your education and training in journalism.

ANSWER:

INTERROGATORY NO. 4: Describe your process for ensuring that factual assertions made in
InfoWars programming are vetted for accuracy as of June 26, 2017.

ANSWER:

INTERROGATORY NO. 5: Identify the factual basis for any defense(s) to the causes of actions
asserted in Plaintiff’s petition.

ANSWER:
                     PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION
                            TO DEFENDANT ALEX E. JONES


REQUEST FOR PRODUCTION NO. 1: All communications, including letters, memoranda, emails,
text messages, instant messenger logs, or other electronic communications in which the follow topics
are referenced:

              a)   Sandy Hook
              b)   Neil Heslin or his son
              c)   Dr. Wayne Carver
              d)   Zero Hedge
              e)   Jim Fetzer

RESPONSE:

REQUEST FOR PRODUCTION NO. 2: All documents or communications relating to the June 26,
2017 YouTube video entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit Piece” or the episode
of InfoWars programming it originated from.

RESPONSE:

REQUEST FOR PRODUCTION NO. 3: All documents or communications relating to Neil Heslin’s
interview with Megyn Kelly on June 18, 2017.

RESPONSE:

REQUEST FOR PRODUCTION NO. 4: All documents or communications relating to Neil Heslin’s
interview with Megyn Kelly on April 19, 2018.

RESPONSE:

REQUEST FOR PRODUCTION NO. 5: All communications between you and Owen Shroyer,
InfoWars, LLC, or Free Speech Systems, LLC, or anyone acting on their behalf, regarding policies and
procedures for the factual vetting for reporting on InfoWars programming.

RESPONSE:

REQUEST FOR PRODUCTION NO. 6: All communications between you and Owen Shroyer,
InfoWars, LLC, or Free Speech Systems, LLC, or anyone acting on their behalf, regarding Megyn
Kelly.

RESPONSE:

REQUEST FOR PRODUCTION NO. 7: All contracts between you, Owen Shroyer, InfoWars, LLC,
or Free Speech Systems, LLC.

RESPONSE:
                                   CAUSE NO. D-1-GN-18-001835

NEIL HESLIN                                        §                        IN DISTRICT COURT OF
  Plaintiff                                        §
                                                   §
VS.                                                §                      TRAVIS COUNTY, TEXAS
                                                   §
ALEX E. JONES, INFOWARS, LLC,                      §
FREE SPEECH SYSTEMS, LLC, and                      §                          261st DISTRICT COURT
OWEN SHROYER,                                      §
  Defendants                                       §


                                          VERIFICATION


STATE OF TEXAS                       §
                                     §
COUNTY OF _______________            §

        BEFORE ME, the undersigned notary public, on this day personally appeared ALEX E.
JONES, known to me to be the person whose signature is affixed hereto, and swore and acknowledged
to me that the answers to the above and foregoing answers to Interrogatories are true and correct to the
best of his/her personal knowledge and belief.



                                             __________________________________________
                                             ALEX E. JONES


SUBSCRIBED AND SWORN TO BEFORE ME, this the __________ day of _____________,
2018.


                                             __________________________________________
                                             Notary Public in and for the State of Texas


                                             My Commission Expires:

                                             __________________________________________
                                   CAUSE NO. D-1-GN-18-001835

NEIL HESLIN                                         §                         IN DISTRICT COURT OF
  Plaintiff                                         §
                                                    §
VS.                                                 §                       TRAVIS COUNTY, TEXAS
                                                    §
ALEX E. JONES, INFOWARS, LLC,                       §
FREE SPEECH SYSTEMS, LLC, and                       §                          261st DISTRICT COURT
OWEN SHROYER,                                       §
  Defendants                                        §



  PLAINTIFF’S REQUESTS FOR ADMISSIONS, REQUESTS FOR INTERROGATORIES
      AND REQUESTS FOR PRODUCTION TO DEFENDANT, OWEN SHROYER


TO:    Defendant, Owen Shroyer, by and through his attorney of record, Marc C. Enoch, Glast,
       Phillips & Murray, P.C., 14801 Quorom Drive, Ste.500, Dallas, Texas 75254.

       COMES NOW, Neil Heslin, Plaintiff, in the above-styled and numbered cause, and serves the

following Requests for Admissions, Requests for Interrogatories and Requests for Production to

Defendant, Owen Shroyer, under the Texas Rules of Civil Procedure. Plaintiff hereby requests that

answers and responses to the same be answered in writing under oath, within the time and manner

prescribed by the applicable rules. Plaintiff further requests that Defendant produce the following

documents, or things, within thirty (30) days of service of this request by either producing the original

of such documents for examination and copying or delivering legible and accurate copies thereof to

the office of the undersigned during usual business hours.



                                              Respectfully submitted,

                                              KASTER LYNCH FARRAR & BALL, LLP


                                              ____________________________________
                                              MARK D. BANKSTON
                                              State Bar No. 24071066
mark@fbtrial.com
KYLE W. FARRAR
State Bar No. 24034828
WILLIAM R. OGDEN
State Bar No. 24073531
1010 Lamar, Suite 1600
Houston, Texas 77002
713.221.8300 Telephone
713.221.8301 Fax

ATTORNEYS FOR PLAINTIFF
                                   CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing instrument has been served on counsel of

record in compliance with the Texas Rules of Civil Procedure on this 27th day of August, 2018 by

facsimile, US Postal Mail, hand-delivery, and/or e-mail.



Via E-Sevice: fly63rc@verizon.net

Mark C. Enoch
Glast, Phillips & Murray, P.C.
14801 Quorum Drive, Ste. 500
Dallas, Texas 75254



                                                    ____________________________________
                                                    MARK D. BANKSTON
                                   DEFINITIONS

As used herein, the words defined below shall be deemed to have the following meanings:

1.     “Communication” as used in these requests means the conveying or sharing of
       information, ideas, or feelings, by whatever medium, be it oral, written, electronic, or
       otherwise. These requests seek all communications in your custody or constructive
       possession.

2.     “Document” as used in these requests means all handwritten, typed, audio recorded,
       video recorded, or electronic representation of any kind, including legal instruments,
       agreements, letters, e-mails, text messages, notices, specifications, instructions,
       literature, books, magazines, newspapers, booklets, notes, notebooks, log books, diaries,
       memoranda, manuscripts, manifestos, data compilations, reports, studies, analyses,
       surveys, calculations, videos, sound files, photographs, image macros, memes, blog
       posts, internet articles, social media posts, internet comments, screenshots, blockchains,
       illustrations, diagrams, symbols, bulletins, circulars, telegrams, telexes, or any other
       reasonably similar representational thing, as well as any deleted copies of the aforesaid
       or drafts upon which have been placed any additional marks or notations. These
       requests seek all documents in your custody or constructive possession.

3.     “InfoWars,” generically, means the brand name of the media organization founded by
       Alex Jones, whether operating as InfoWars LLC, Free Speech Systems LLC, or any
       other corporate name.

4.     “Instant messenger logs” means any written or electronic records reflecting the content
       of any online chat that offers real-time text transmission over the Internet.

5.     “Video” as used in these requests means any discrete and identifiable piece of InfoWars
       video content.
                         PLAINTIFF’S FIRST SET OF ADMISSIONS
                            TO DEFENDANT OWEN SHROYER


REQUEST FOR ADMISSION NO. 1: Admit that prior to responding to these discovery requests,
you searched all documents in your possession or control that may contain responsive information.

RESPONSE:

REQUEST FOR ADMISSION NO. 2: Admit that on June 25-26, 2017, you knew it was possible
that Neil Heslin held his dead son and saw a bullet wound to his forehead.

RESPONSE:

REQUEST FOR ADMISSION NO. 3: Admit that on June 25-26, 2017, you had no legitimate basis
to claim it was impossible for Neil Heslin to have held his dead son and saw a bullet wound to his
forehead.

RESPONSE:

REQUEST FOR ADMISSION NO. 4: Admit that as of June 26, 2017, you were employed by Free
Speech Systems, LLC.

RESPONSE:

REQUEST FOR ADMISSION NO. 5: Admit that as of June 26, 2017, Alex Jones had the right to
direct or control the work you perform.

RESPONSE:

REQUEST FOR ADMISSION NO. 6: Admit that as of June 26, 2017, agent(s) of InfoWars, LLC
had the right to direct or control the work you perform.

RESPONSE:
                    PLAINTIFF’S FIRST SET OF INTERROGATORIES
                          TO DEFENDANT OWEN SHROYER

INTERROGATORY NO. 1: Identify every step you took in assessing the credibility of Jim Fetzer.

ANSWER:

INTERROGATORY NO. 2: Identify every step you took in assessing the credibility of Zero Hedge.

ANSWER:

INTERROGATORY NO. 3: Describe your education and training in journalism.

ANSWER:

INTERROGATORY NO. 4: Identify the factual basis for any defense(s) to the causes of actions
asserted in Plaintiff’s petition.

ANSWER:
                     PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION
                            TO DEFENDANT OWEN SHROYER


REQUEST FOR PRODUCTION NO. 1: All communications, including letters, memoranda, emails,
text messages, instant messenger logs, or other electronic communications in which the follow topics
are referenced:

              a)   Sandy Hook
              b)   Neil Heslin or his son
              c)   Dr. Wayne Carver
              d)   Zero Hedge
              e)   Jim Fetzer

RESPONSE:

REQUEST FOR PRODUCTION NO. 2: All documents or communications relating to the June 26,
2017 YouTube video entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit Piece” or the episode
of InfoWars programming it originated from.

RESPONSE:

REQUEST FOR PRODUCTION NO. 3: All documents or communications relating to Neil Heslin’s
interview with Megyn Kelly on June 18, 2017.

RESPONSE:

REQUEST FOR PRODUCTION NO. 4: All documents or communications relating to Neil Heslin’s
interview with Megyn Kelly on April 19, 2018.

RESPONSE:

REQUEST FOR PRODUCTION NO. 5: All communications between you and Alex Jones,
InfoWars, LLC, or Free Speech Systems, LLC, or anyone acting on their behalf, regarding policies and
procedures for the factual vetting for reporting on InfoWars programming.

RESPONSE:

REQUEST FOR PRODUCTION NO. 6: All communications between you and Alex Jones,
InfoWars, LLC, or Free Speech Systems, LLC, or anyone acting on their behalf, regarding Megyn
Kelly.

RESPONSE:
                                 CAUSE NO. D-1-GN-18-001835

NEIL HESLIN                                     §                       IN DISTRICT COURT OF
  Plaintiff                                     §
                                                §
VS.                                             §                     TRAVIS COUNTY, TEXAS
                                                §
ALEX E. JONES, INFOWARS, LLC,                   §
FREE SPEECH SYSTEMS, LLC, and                   §                        261st DISTRICT COURT
OWEN SHROYER,                                   §
  Defendants                                    §


                                        VERIFICATION


STATE OF TEXAS                     §
                                   §
COUNTY OF _______________          §

       BEFORE ME, the undersigned notary public, on this day personally appeared OWEN
SHROYER, known to me to be the person whose signature is affixed hereto, and swore and
acknowledged to me that the answers to the above and foregoing answers to Interrogatories are true
and correct to the best of his/her personal knowledge and belief.



                                          __________________________________________
                                          OWEN SHROYER


SUBSCRIBED AND SWORN TO BEFORE ME, this the __________ day of _____________,
2018.


                                          __________________________________________
                                          Notary Public in and for the State of Texas


                                          My Commission Expires:

                                          __________________________________________
                                   CAUSE NO. D-1-GN-18-001835

NEIL HESLIN                                         §                      IN DISTRICT COURT OF
  Plaintiff                                         §
                                                    §
VS.                                                 §                    TRAVIS COUNTY, TEXAS
                                                    §
ALEX E. JONES, INFOWARS, LLC,                       §
FREE SPEECH SYSTEMS, LLC, and                       §                        261st DISTRICT COURT
OWEN SHROYER,                                       §
  Defendants                                        §


  PLAINTIFF’S REQUESTS FOR ADMISSIONS, REQUESTS FOR INTERROGATORIES
 AND REQUESTS FOR PRODUCTION TO DEFENDANT, FREE SPEECH SYSTEMS, LLC


TO:    Defendant, Free Speech Systems, LLC, by and through its attorney of record, Marc C. Enoch,
       Glast, Phillips & Murray, P.C., 14801 Quorom Drive, Ste.500, Dallas, Texas 75254.

       COMES NOW, Neil Heslin, Plaintiff, in the above-styled and numbered cause, and serves the

following Requests for Admissions, Requests for Interrogatories and Requests for Production to

Defendant, Free Speech Systems, LLC, under the Texas Rules of Civil Procedure. Plaintiff hereby

requests that answers and responses to the same be answered in writing under oath, within the time

and manner prescribed by the applicable rules. Plaintiff further requests that Defendant produce the

following documents, or things, within thirty (30) days of service of this request by either producing

the original of such documents for examination and copying or delivering legible and accurate copies

thereof to the office of the undersigned during usual business hours.



                                             Respectfully submitted,

                                             KASTER LYNCH FARRAR & BALL, LLP


                                             ____________________________________
                                             MARK D. BANKSTON
                                             State Bar No. 24071066
                                             mark@fbtrial.com
KYLE W. FARRAR
State Bar No. 24034828
WILLIAM R. OGDEN
State Bar No. 24073531
1010 Lamar, Suite 1600
Houston, Texas 77002
713.221.8300 Telephone
713.221.8301 Fax

ATTORNEYS FOR PLAINTIFF
                                   CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing instrument has been served on counsel of

record in compliance with the Texas Rules of Civil Procedure on this 27th day of August, 2018 by

facsimile, US Postal Mail, hand-delivery, and/or e-mail.



Via E-Sevice: fly63rc@verizon.net

Mark C. Enoch
Glast, Phillips & Murray, P.C.
14801 Quorum Drive, Ste. 500
Dallas, Texas 75254



                                                    ____________________________________
                                                    MARK D. BANKSTON
                                   DEFINITIONS

As used herein, the words defined below shall be deemed to have the following meanings:

1.     “Communication” as used in these requests means the conveying or sharing of
       information, ideas, or feelings, by whatever medium, be it oral, written, electronic, or
       otherwise. These requests seek all communications in your custody or constructive
       possession, including communications in the custody of any employee or agent of Free
       Speech Systems LLC.

2.     “Document” as used in these requests means all handwritten, typed, audio recorded,
       video recorded, or electronic representation of any kind, including legal instruments,
       agreements, letters, e-mails, text messages, notices, specifications, instructions,
       literature, books, magazines, newspapers, booklets, notes, notebooks, log books, diaries,
       memoranda, manuscripts, manifestos, data compilations, reports, studies, analyses,
       surveys, calculations, videos, sound files, photographs, image macros, memes, blog
       posts, internet articles, social media posts, internet comments, screenshots, blockchains,
       illustrations, diagrams, symbols, bulletins, circulars, telegrams, telexes, or any other
       reasonably similar representational thing, as well as any deleted copies of the aforesaid
       or drafts upon which have been placed any additional marks or notations. These
       requests seek all documents in your custody or constructive possession, including
       documents in the custody of any employee or agent of Free Speech Systems LLC.

3.     “InfoWars,” generically, means the brand name of the media organization founded by
       Alex Jones, whether operating as InfoWars LLC, Free Speech Systems LLC, or any
       other corporate name.

4.     “Instant messenger logs” means any written or electronic records reflecting the content
       of any online chat that offers real-time text transmission over the Internet.

5.     “Organizational chart” means a diagram that shows the structure of an organization and
       the relationships and relative ranks of its parts and positions/jobs.

6.     “Video” as used in these requests means any discrete and identifiable piece of InfoWars
       video content.
                         PLAINTIFF’S FIRST SET OF ADMISSIONS
                       TO DEFENDANT FREE SPEECH SYSTEMS, LLC


REQUEST FOR ADMISSION NO. 1: Admit that prior to responding to these discovery requests,
you searched all documents in your possession or control that may contain responsive information.

RESPONSE:

REQUEST FOR ADMISSION NO. 2: Admit that on June 26, 2017, Free Speech Systems, LLC
knew it was possible that Neil Heslin held his dead son and saw a bullet wound to his forehead.

RESPONSE:

REQUEST FOR ADMISSION NO. 3: Admit that Free Speech Systems, LLC was involved in the
creation, research, editing, marketing, funding, staffing, distribution, or publication of the June 26,
2017 video entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit Piece.”

RESPONSE:

REQUEST FOR ADMISSION NO. 4: Admit that Free Speech Systems, LLC possesses intellectual
property rights and copyright over the June 26, 2017 video entitled “Zero Hedge Discovers Anomaly
in Alex Jones Hit Piece.”

RESPONSE:
                      PLAINTIFF’S FIRST SET OF INTERROGATORIES
                       TO DEFENDANT FREE SPEECH SYSTEMS, LLC

INTERROGATORY NO. 1: Identify all persons answering or supplying information used in
answering these discovery requests and identify their job duties at Free Speech Systems, LLC.

ANSWER:

INTERROGATORY NO. 2: Identify the factual basis for any defense(s) to the causes of actions
asserted in Plaintiff’s petition.

ANSWER:

INTERROGATORY NO. 3: Identify every employee or agent of Free Speech Systems, LLC who was
involved in the creation, research, editing, marketing, funding, distribution, or publication of the June
26, 2017 video entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit Piece,” and describe their
specific role.

ANSWER:

INTERROGATORY NO. 4: State your principal place of business, including mailing address,
physical address, and telephone number.

ANSWER:

INTERROGATORY NO. 5: For each person who had ownership interest in Free Speech Systems,
LLC on June 26, 2017, state:

               a)     their full name, address, telephone number, as well as each business address and
                      each business telephone number.
               b)     the date(s) upon which the person acquired their ownership interest.
               c)     the consideration paid or promised for the ownership interest and the date(s) on
                      which it was paid or promised.
               d)      the nature of percentage of that individual’s ownership interest.
               e)     whether the person is related by blood or marriage to any other person who is or
                      has been a shareholder, officer, or director of Free Speech Systems, LLC, and, if
                      so, the identity of the other person and the nature of the relationship.

ANSWER:

INTERROGATORY NO. 6: Identify each person who has served as an officer, director, or
management-level employee of Free Speech Systems, LLC at any time during the past five years.

ANSWER:
                   PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION
                     TO DEFENDANT FREE SPEECH SYSTEMS, LLC


REQUEST FOR PRODUCTION NO. 1: A copy of all documents relating to Sandy Hook which have
been deleted or removed from public availability since the inception of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 2: All documents or communications which reference the
following topics:

              a)     Neil Heslin or his son
              b)     Dr. Wayne Carver
              c)     Zero Hedge
              d)     ZeroPointNow
              e)     iBankCoin.com
              f)     Jim Fetzer

RESPONSE:

REQUEST FOR PRODUCTION NO. 3: Transcripts of all InfoWars videos in which Sandy Hook is
discussed.

RESPONSE:

REQUEST FOR PRODUCTION NO. 4: Transcripts of all InfoWars videos in which the Plaintiff is
discussed.

RESPONSE:

REQUEST FOR PRODUCTION NO. 5: All communications, including letters, memoranda, emails,
text messages, instant messenger logs, or other electronic communications in which Sandy Hook is
discussed.

RESPONSE:

REQUEST FOR PRODUCTION NO. 6: A copy of all articles featuring Sandy Hook posted on a
website operated under the brand name “InfoWars” from December 14, 2012 to June 25, 2018.

RESPONSE:

REQUEST FOR PRODUCTION NO. 7: All documents or communications relating to the June 26,
2017 YouTube video entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit Piece” or the episode
of InfoWars programming it originated from.

RESPONSE:
REQUEST FOR PRODUCTION NO. 8: All documents or communications relating to the July 20,
2017 video in which the June 26 video featuring Mr. Shroyer was re-published.

RESPONSE:

REQUEST FOR PRODUCTION NO. 9: All documents or communications relating to Neil Heslin’s
interview with Megyn Kelly on June 18, 2017.

RESPONSE:

REQUEST FOR PRODUCTION NO. 10: All documents or communications relating to Neil Heslin’s
interview with Megyn Kelly on April 19, 2018.

RESPONSE:

REQUEST FOR PRODUCTION NO. 11: All documents or communications relating to the April 22,
2017 broadcast entitled “Sandy Hook Vampires Exposed.”

RESPONSE:

REQUEST FOR PRODUCTION NO. 12: All documents relating to disciplinary or corrective actions
taken against any employee or agent of InfoWars due to the publication of false or incorrect
information during the past ten years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 13: All documents used to train or instruct InfoWars’
employees of the vetting of factual information for publication, as in effect on June 26, 2017.

RESPONSE:

REQUEST FOR PRODUCTION NO. 14: All documents reflecting policies for the factual vetting of
information published by InfoWars, as in effect on June 26, 2017.

RESPONSE:

REQUEST FOR PRODUCTION NO. 15: All documents setting forth InfoWars’ editorial standards
or guidelines, as in effect on June 26, 2017.

RESPONSE:

REQUEST FOR PRODUCTION NO. 16: All documents setting forth InfoWars’ prior or superseded
editorial standards or guidelines, as in effect between December 14, 2012 and June 25, 2017.
RESPONSE:

REQUEST FOR PRODUCTION NO. 17: All documents setting forth InfoWars’ disciplinary rules or
code of conduct for reporters and editorial staff, as in effect on June 26, 2017.
RESPONSE:

REQUEST FOR PRODUCTION NO. 18: All documents setting forth InfoWars’ prior or superseded
disciplinary rules or code of conduct for reporters and editorial staff, as in effect between December
14, 2012 and June 25, 2017.

RESPONSE:

REQUEST FOR PRODUCTION NO. 19: All documents contained within Owen Shroyer’s personnel
file.

RESPONSE:

REQUEST FOR PRODUCTION NO. 20: Owen Shroyer’s employment agreement.

RESPONSE:

REQUEST FOR PRODUCTION NO. 21: An organizational chart for Free Speech Systems, LLC as
of June 26, 2017.

RESPONSE:

REQUEST FOR PRODUCTION NO. 22: All documents or communications exchanged between any
agent of Free Speech Systems, LLC and any agent of InfoWars, LLC regarding the operation of the
InfoWars website, the operation or maintenance of the InfoWars studios, the sale or promotion of
supplements or other products on the InfoWars website or in InfoWars’ programming, or the
employment or compensation of on-air personalities, researchers, journalists, editors, videographers,
visual effect artists, camera operators, or crew involved in the production of The Alex Jones Show.

RESPONSE:

REQUEST FOR PRODUCTION NO. 23: All documents or communications reflecting the
ownership of The Alex Jones Show, InfoWars.com, the InfoWars’ brand, and its related intellectual
property from 2017 to the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 24: All contracts in effect between Free Speech Systems, LLC
and InfoWars, LLC.

RESPONSE:

REQUEST FOR PRODUCTION NO. 25: All documents or communications relating to any parent of
a child killed in the Sandy Hook massacre.

RESPONSE:

REQUEST FOR PRODUCTION NO. 26: All incorporating documents for Free Speech Systems,
LLC, including article of incorporation, bylaws, certificate of incorporation, and notice of
incorporation.

RESPONSE:

REQUEST FOR PRODUCTION NO. 27: All documents reflecting any loans made to Free Speech
Systems, LLC by any named party or any shareholder, officer, or director of Free Speech Systems,
LLC.

RESPONSE:

REQUEST FOR PRODUCTION NO. 28: All documents reflecting any loans made to any named
party or any shareholder, officer, or director of Free Speech Systems, LLC by Free Speech Systems,
LLC.

RESPONSE:

REQUEST FOR PRODUCTION NO. 29: All documents reflecting any occasion in which a person
or entity ever agreed to guaranty or cosign any obligation of Free Speech Systems, LLC.

RESPONSE:

REQUEST FOR PRODUCTION NO. 30: All documents reflecting any occasion in which Free
Speech Systems, LLC ever agreed to guaranty or cosign any obligation of another person or entity.

RESPONSE:

REQUEST FOR PRODUCTION NO. 31: Copies of the minutes of all meetings of shareholders or
Board of Directors of Free Speech Systems, LLC.

RESPONSE:

REQUEST FOR PRODUCTION NO. 32: For each bank account maintained in the name of Free
Speech Systems, LLC, a copy of the monthly statement for the period beginning April 2015 and
ending in April 2018.

RESPONSE:

REQUEST FOR PRODUCTION NO. 33: Copies of the federal tax returns of Free Speech Systems,
LLC, including all schedules and attachments, for each of the past five years.

RESPONSE:
                                CAUSE NO. D-1-GN-18-001835

NEIL HESLIN                                    §                     IN DISTRICT COURT OF
  Plaintiff                                    §
                                               §
VS.                                            §                    TRAVIS COUNTY, TEXAS
                                               §
ALEX E. JONES, INFOWARS, LLC,                  §
FREE SPEECH SYSTEMS, LLC, and                  §                       261st DISTRICT COURT
OWEN SHROYER,                                  §
  Defendants                                   §


                                      VERIFICATION


STATE OF TEXAS                    §
                                  §
COUNTY OF _______________         §

        BEFORE ME, the undersigned notary public, on this day personally appeared
__________________________________, known to me to be the person whose signature is affixed
hereto, and swore and acknowledged to me that the answers to the above and foregoing answers to
Interrogatories are true and correct to the best of his/her personal knowledge and belief.



                                         __________________________________________
                                         AFFIANT


SUBSCRIBED AND SWORN TO BEFORE ME, this the __________ day of _____________,
2018.


                                         __________________________________________
                                         Notary Public in and for the State of Texas


                                         My Commission Expires:

                                         __________________________________________
                                   CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN                                        §                        IN DISTRICT COURT OF
   Plaintiff                                        §
                                                    §
 VS.                                                §                     TRAVIS COUNTY, TEXAS
                                                    §
 ALEX E. JONES, INFOWARS, LLC,                      §
 FREE SPEECH SYSTEMS, LLC, and                      §                         261st DISTRICT COURT
 OWEN SHROYER,                                      §
   Defendants                                       §


  PLAINTIFF’S REQUESTS FOR ADMISSIONS, REQUESTS FOR INTERROGATORIES
      AND REQUESTS FOR PRODUCTION TO DEFENDANT, INFOWARS, LLC


TO:    Defendant, InfoWars, LLC, by and through its attorney of record, Marc C. Enoch, Glast, Phillips
       & Murray, P.C., 14801 Quorom Drive, Ste.500, Dallas, Texas 75254.

       COMES NOW, Neil Heslin, Plaintiff, in the above-styled and numbered cause, and serves the

following Requests for Admissions, Requests for Interrogatories and Requests for Production to

Defendant, InfoWars, LLC, under the Texas Rules of Civil Procedure. Plaintiff hereby requests that

answers and responses to the same be answered in writing under oath, within the time and manner

prescribed by the applicable rules. Plaintiff further requests that Defendant produce the following

documents, or things, within thirty (30) days of service of this request by either producing the original

of such documents for examination and copying or delivering legible and accurate copies thereof to the

office of the undersigned during usual business hours.



                                              Respectfully submitted,

                                              KASTER LYNCH FARRAR & BALL, LLP


                                              ____________________________________
                                              MARK D. BANKSTON
                                              State Bar No. 24071066
                                              mark@fbtrial.com
KYLE W. FARRAR
State Bar No. 24034828
WILLIAM R. OGDEN
State Bar No. 24073531
1010 Lamar, Suite 1600
Houston, Texas 77002
713.221.8300 Telephone
713.221.8301 Fax

ATTORNEYS FOR PLAINTIFF
                                   CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing instrument has been served on counsel of

record in compliance with the Texas Rules of Civil Procedure on this 27th day of August, 2018 by

facsimile, US Postal Mail, hand-delivery, and/or e-mail.



Via E-Sevice: fly63rc@verizon.net

Mark C. Enoch
Glast, Phillips & Murray, P.C.
14801 Quorum Drive, Ste. 500
Dallas, Texas 75254



                                                    ____________________________________
                                                    MARK D. BANKSTON
                                     DEFINITIONS

As used herein, the words defined below shall be deemed to have the following meanings:

1.     “Communication” as used in these requests means the conveying or sharing of
       information, ideas, or feelings, by whatever medium, be it oral, written, electronic, or
       otherwise. These requests seek all communications in your custody or constructive
       possession, including communications in the custody of any employee or agent of
       InfoWars LLC.

2.     “Document” as used in these requests means all handwritten, typed, audio recorded, video
       recorded, or electronic representation of any kind, including legal instruments,
       agreements, letters, e-mails, text messages, notices, specifications, instructions, literature,
       books, magazines, newspapers, booklets, notes, notebooks, log books, diaries,
       memoranda, manuscripts, manifestos, data compilations, reports, studies, analyses,
       surveys, calculations, videos, sound files, photographs, image macros, memes, blog posts,
       internet articles, social media posts, internet comments, screenshots, blockchains,
       illustrations, diagrams, symbols, bulletins, circulars, telegrams, telexes, or any other
       reasonably similar representational thing, as well as any deleted copies of the aforesaid
       or drafts upon which have been placed any additional marks or notations. These requests
       seek all documents in your custody or constructive possession, including documents in
       the custody of any employee or agent of InfoWars LLC.

3.     “InfoWars,” generically, means the brand name of the media organization founded by
       Alex Jones, whether operating as InfoWars LLC, Free Speech Systems LLC, or any other
       corporate name.

4.     “Organizational chart” means a diagram that shows the structure of an organization and
       the relationships and relative ranks of its parts and positions/jobs.

5.     “Video” as used in these requests means any discrete and identifiable piece of InfoWars
       video content.
                           PLAINTIFF’S FIRST SET OF ADMISSIONS
                              TO DEFENDANT INFOWARS, LLC


REQUEST FOR ADMISSION NO. 1: Admit that InfoWars, LLC was involved in the creation,
research, editing, marketing, funding, staffing, distribution, or publication of the June 26, 2017 video
entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit Piece.”

RESPONSE:

REQUEST FOR ADMISSION NO. 2: Admit that InfoWars, LLC possesses intellectual property
rights and copyright over any part of the June 26, 2017 video entitled “Zero Hedge Discovers Anomaly
in Alex Jones Hit Piece.”

RESPONSE:

REQUEST FOR ADMISSION NO. 3: Admit that InfoWars, LLC derives revenue from the sale of
supplements promoted in InfoWars programming and on the InfoWars website.

RESPONSE:

REQUEST FOR ADMISSION NO. 4: Admit that InfoWars, LLC has the authority to remove content
from InfoWars.com if InfoWars, LLC determines that the content violates the rights of others or is not
appropriate for the website.

RESPONSE:
                       PLAINTIFF’S FIRST SET OF INTERROGATORIES
                             TO DEFENDANT INFOWARS, LLC


INTERROGATORY NO. 1: Identify all persons answering or supplying information used in answering
these discovery requests and identify their job duties at InfoWars, LLC.

ANSWER:

INTERROGATORY NO. 2: Describe the business purpose of InfoWars, LLC.

ANSWER:

INTERROGATORY NO. 3: Describe all the ways in which InfoWars, LLC generates revenue.

ANSWER:

INTERROGATORY NO. 4: Identify every employee or agent of InfoWars, LLC who was involved in
the creation, research, editing, marketing, funding, staffing, distribution, or publication of the June 26,
2017 video entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit Piece,” and describe their
specific role.

ANSWER:

INTERROGATORY NO. 5: Identify the factual basis for any defense(s) to the causes of actions
asserted in Plaintiff’s petition.

ANSWER:

INTERROGATORY NO. 6: Does InfoWars, LLC share office space with any other named party?

ANSWER:

INTERROGATORY NO. 7: Does InfoWars, LLC share common employees with any other named
party?

ANSWER:

INTERROGATORY NO. 8: Has an employee or agent of InfoWars, LLC ever rendered services on
behalf on any named other party, or has an employee or agent of any named party ever rendered services
on behalf on InfoWars, LLC? Describe.

ANSWER:

INTERROGATORY NO. 9: Has InfoWars, LLC ever made an undocumented transfer of funds to any
named party, or has any named party ever made an undocumented transfer of funds to InfoWars, LLC?
Describe.
ANSWER:

INTERROGATORY NO. 10: State your principal place of business, including mailing address,
physical address, and telephone number.

ANSWER:

INTERROGATORY NO. 11: For each person who had ownership interest in InfoWars, LLC on June
26, 2017, state:

      a)    their full name, address, telephone number, as well as each business address and each
            business telephone number.

      b)    the date(s) upon which the person acquired their ownership interest.

      c)    the consideration paid or promised for the ownership interest and the date(s) on which it
            was paid or promised.

      d)    the nature of percentage of that individual’s ownership interest.

      e)    whether the person is related by blood or marriage to any other person who is or has been
            a shareholder, officer, or director of InfoWars, LLC, and, if so, the identity of the other
            person and the nature of the relationship.

ANSWER:

INTERROGATORY NO. 12: Identify each person who has served as an officer, director, or
management-level employee of InfoWars, LLC at any time during the past five years.

ANSWER:
                     PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION
                            TO DEFENDANT INFOWARS, LLC


REQUEST FOR PRODUCTION NO. 1: An organizational chart for InfoWars, LLC as of June 26,
2017.

RESPONSE:

REQUEST FOR PRODUCTION NO. 2: All documents or communications exchanged between any
agent of InfoWars, LLC and any agent of Free Speech Systems, LLC or Alex Jones regarding the
operation of the InfoWars website, the operation or maintenance of the InfoWars studios, the sale or
promotion of supplements or other products on the InfoWars website or in InfoWars’ programming, or
the employment or compensation of on-air personalities, researchers, journalists, editors, videographers,
visual effect artists, camera operators, or crew involved in the production of The Alex Jones Show.

RESPONSE:

REQUEST FOR PRODUCTION NO. 3: All contracts in effect between InfoWars, LLC and any other
party.

RESPONSE:

REQUEST FOR PRODUCTION NO. 4: All documents in the possession of InfoWars, LLC regarding
the ownership, management, or administration of the InfoWars.com website.

RESPONSE:

REQUEST FOR PRODUCTION NO. 5: All incorporating documents for InfoWars, LLC, including
article of incorporation, bylaws, certificate of incorporation, and notice of incorporation.

RESPONSE:

REQUEST FOR PRODUCTION NO. 6: All documents reflecting any loans made to InfoWars, LLC
by any named party or any shareholder, officer, or director of InfoWars, LLC.

RESPONSE:

REQUEST FOR PRODUCTION NO. 7: All documents reflecting any loans made to any named party
or any shareholder, officer, or director of InfoWars, LLC by InfoWars, LLC.

RESPONSE:

REQUEST FOR PRODUCTION NO. 8: All documents reflecting any occasion in which a person or
entity ever agreed to guaranty or cosign any obligation of InfoWars, LLC.

RESPONSE:
REQUEST FOR PRODUCTION NO. 9: All documents reflecting any occasion in which InfoWars,
LLC ever agreed to guaranty or cosign any obligation of another person or entity.

RESPONSE:

REQUEST FOR PRODUCTION NO. 10: Copies of the minutes of all meetings of shareholders or
Board of Directors of InfoWars, LLC.

RESPONSE:

REQUEST FOR PRODUCTION NO. 11: For each bank account maintained in the name of InfoWars,
LLC, a copy of the monthly statement for the period beginning April 2015 and ending in April 2018.

RESPONSE:

REQUEST FOR PRODUCTION NO. 12: Copies of the federal tax returns of InfoWars, LLC,
including all schedules and attachments, for each of the past five years

RESPONSE:

REQUEST FOR PRODUCTION NO. 13: All documents or communications reflecting the ownership
of The Alex Jones Show, InfoWars.com, the InfoWars’ brand, and its related intellectual property from
2017 to the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 14: All contracts in effect between Free Speech Systems, LLC
and InfoWars, LLC.

RESPONSE:

REQUEST FOR PRODUCTION NO. 15: All documents or communications in the possession of
InfoWars, LLC relating to The Alex Jones Show.

RESPONSE:

REQUEST FOR PRODUCTION NO. 16: All incorporating documents for InfoWars, LLC, including
article of incorporation, bylaws, certificate of incorporation, and notice of incorporation.

RESPONSE:

REQUEST FOR PRODUCTION NO. 17: All documents reflecting any loans made to InfoWars, LLC
by any named party or by any shareholder, officer, or director of Free Speech Systems, LLC.

RESPONSE:

REQUEST FOR PRODUCTION NO. 28: All documents reflecting any loans made to any named party
or any shareholder, officer, or director of Free Speech Systems, LLC by InfoWars, LLC.
RESPONSE:

REQUEST FOR PRODUCTION NO. 29: All documents reflecting any occasion in which a person or
entity ever agreed to guaranty or cosign any obligation of InfoWars, LLC.

RESPONSE:

REQUEST FOR PRODUCTION NO. 30: All documents reflecting any occasion in which InfoWars,
LLC ever agreed to guaranty or cosign any obligation of another person or entity.

RESPONSE:

REQUEST FOR PRODUCTION NO. 31: Copies of the minutes of all meetings of shareholders or
Board of Directors of InfoWars, LLC.

RESPONSE:

REQUEST FOR PRODUCTION NO. 32: For each bank account maintained in the name of InfoWars,
LLC, a copy of the monthly statement for the period beginning April 2015 and ending in April 2018.

RESPONSE:

REQUEST FOR PRODUCTION NO. 33: Copies of the federal tax returns of InfoWars, LLC,
including all schedules and attachments, for each of the past five years.

RESPONSE:
                                CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN                                   §                    IN DISTRICT COURT OF
   Plaintiff                                   §
                                               §
 VS.                                           §                   TRAVIS COUNTY, TEXAS
                                               §
 ALEX E. JONES, INFOWARS, LLC,                 §
 FREE SPEECH SYSTEMS, LLC, and                 §                      261st DISTRICT COURT
 OWEN SHROYER,                                 §
   Defendants                                  §


                                      VERIFICATION


STATE OF TEXAS                    §
                                  §
COUNTY OF _______________         §

        BEFORE ME, the undersigned notary public, on this day personally appeared
__________________________________, known to me to be the person whose signature is affixed
hereto, and swore and acknowledged to me that the answers to the above and foregoing answers to
Interrogatories are true and correct to the best of his/her personal knowledge and belief.



                                         __________________________________________
                                         AFFIANT


SUBSCRIBED AND SWORN TO BEFORE ME, this the __________ day of _____________, 2018.


                                         __________________________________________
                                         Notary Public in and for the State of Texas


                                         My Commission Expires:

                                         __________________________________________
      EXHIBIT I


Notice of Violation to
InfoWars, LLC by the
 State of California
                                  NOTICE OF VIOLATION

                                California Safe Drinking Water
                                 and Toxic Enforcement Act

                         Lead in Infowars Life Dietary Supplements
                             Sold in Capsule & Powder Form

                                       October 16, 2017


       This Notice of Violation is provided to you pursuant to and in compliance with California
Health and Safety Code section 25249.7(d).

              For general information regarding the California Safe Drinking Water and Toxic
               Enforcement Act, see the attached summary provided by the California EPA
               (copies not provided to public enforcement agencies).

              This Notice of Violation is provided by the Center for Environmental Health
               (“CEH”), 2201 Broadway, Suite 302, Oakland, CA 94612, (510) 655-3900. CEH
               is a nonprofit corporation dedicated to protecting the environment, improving
               human health, and supporting environmentally sound practices. Charlie Pizarro
               is the Associate Director of and a responsible individual within CEH.

Description of Violation:

              Violators: The names of the violators are Free Speech Systems, LLC and
               Infowars, LLC.

              Time Period of Exposure: The violations have been occurring since at least
               October 16, 2014, and are ongoing.

              Provision of Proposition 65: This Notice of Violation covers the “warning
               provision” of Proposition 65, which is found at California Health and Safety Code
               Section 25249.6.

              Chemical(s) Involved: The names of the listed chemicals involved in these
               violations are lead and lead compounds (“Lead”). Exposures to Lead occur from
               consumption of the products identified in this Notice.

              Type of Product: The specific type of product causing these violations is
               Infowars Life dietary supplements sold in capsule and powder form. Non-
               exclusive examples of this specific type of product are the Infowars Life
               Caveman True Paleo Formula Powder, Chocolate Formula, SKU No. IWL-
               CAVEMAN-1, and the Infowars Life Myco-ZX Dietary Supplement, SKU No. IWL-
               MYCOZX-1, UPC No. 7-89185-75865-3.

              Description of Exposure: This Notice addresses consumer exposures to Lead.
               Consumption of the products identified in this Notice results in human exposures
               to Lead. The products contain Lead. The primary route of exposure for the

                                                1


                                                                                                   Exhibit I
              violations is direct ingestion when individuals consume the products. These
              exposures occur in homes, workplaces and everywhere else throughout
              California where the products are consumed. No clear and reasonable warning
              is provided with these products regarding the carcinogenic or reproductive
              hazards of Lead.

Resolution of Noticed Claims:

              Based on the allegations set forth in this Notice, CEH intends to file a citizen
              enforcement lawsuit against the alleged violators unless such violators agree in a
              binding written instrument to: (1) recall products already sold; (2) provide clear
              and reasonable warnings for products sold in the future or reformulate such
              products to eliminate the Lead exposures; and (3) pay an appropriate civil
              penalty based on the factors enumerated in California Health and Safety Code
              section 25249.7(b). If the alleged violators are interested in resolving this dispute
              without resort to expensive and time-consuming litigation, please feel free to
              contact CEH through its counsel identified below. It should be noted that CEH
              cannot: (1) finalize any settlement until after the 60-day notice period has
              expired; nor (2) speak for the Attorney General or any District or City Attorney
              who received CEH’s 60-day Notice. Therefore, while reaching an agreement
              with CEH will resolve its claims, such agreement may not satisfy the public
              prosecutors.

Preservation of Relevant Evidence:

              This Notice also serves as a demand that each alleged violator preserve and
              maintain all relevant evidence, including all electronic documents and data,
              pending resolution of this matter. Such relevant evidence includes but is not
              limited to all documents relating to the presence or potential presence of Lead in
              Infowars Life dietary supplements sold in capsule and powder form; purchase
              and sales information for such products; efforts to comply with Proposition 65
              with respect to such products; communications with any person relating to the
              presence or potential presence of Lead in such products; and representative
              exemplars of each lot of each variety of any such product sold by each alleged
              violator since one year prior to the date of this Notice through the date of any trial
              of the claims alleged in this Notice.

       Please direct any inquiries regarding this Notice to CEH’s counsel Eric S. Somers at
Lexington Law Group, 503 Divisadero Street, San Francisco, CA 94117, (415) 913-7800,
ssomers at lexlawgroup.com.




                                                2
                                               SERVICE LIST

District Attorney of Alameda County    District Attorney of Kern County     District Attorney of Placer County
1225 Fallon Street, Rm. 900            1215 Truxtun Avenue                  10810 Justice Center Drive, Ste.
Oakland, CA 94612                      Bakersfield, CA 93301                240
                                                                            Roseville, CA 95678
District Attorney of Alpine County     District Attorney of Kings County
P.O. Box 248                           1400 West Lacey Blvd.                District Attorney of Plumas
Markleeville, CA 96120                 Hanford, CA 93230                    County
                                                                            520 Main Street, Rm. 404
District Attorney of Amador County     District Attorney of Lake County     Quincy, CA 95971
708 Court Street, Ste. 202             255 N. Forbes Street
Jackson, CA 95642                      Lakeport, CA 95453                   District Attorney of San Benito
                                                                            County
District Attorney of Butte County      District Attorney of Los Angeles     419 Fourth Street, 2nd Fl.
Administration Building                County                               Hollister, CA 95023
25 County Center Drive                 Hall of Justice
Oroville, CA 95965                     211 W. Temple Street, Ste. 1200      District Attorney of San
                                       Los Angeles, CA 90012-3210           Bernardino County
District Attorney of Calaveras                                              316 N. Mountain View Avenue
County                                 District Attorney of Madera County   San Bernardino, CA 92415
891 Mountain Ranch Road                209 West Yosemite Avenue
San Andreas, CA 95249                  Madera, CA 93637                     District Attorney of San Diego
                                                                            County
District Attorney of Colusa County     District Attorney of Marin County    330 West Broadway, Ste. 1300
346 Fifth Street, Suite 101            3501 Civic Center Drive, Rm. 130     San Diego, CA 92101
Colusa, CA 95932                       San Rafael, CA 94903
                                                                           District Attorney of San Mateo
District Attorney of Del Norte County District Attorney of Mariposa County County
450 H Street, Ste. 171                P.O. Box 730                         400 County Center, 3rd Fl.
Crescent City, CA 95531               Mariposa, CA 95338                   Redwood City, CA 94063

District Attorney of El Dorado         District Attorney of Mendocino       District Attorney of Santa Cruz
County                                 County                               County
515 Main Street                        P.O. Box 1000                        701 Ocean Street, Rm. 200
Placerville, CA 95667                  Ukiah, CA 95482                      Santa Cruz, CA 95060

District Attorney of Fresno County     District Attorney of Merced County   District Attorney of Santa
2220 Tulare Street, Ste. 1000          2222 "M" Street                      Barbara County
Fresno, CA 93721                       Merced, CA 95340                     1112 Santa Barbara Street
                                                                            Santa Barbara, CA 93101
District Attorney of Glenn County      District Attorney of Modoc County
P.O. Box 430                           204 S. Court Street, Rm. 202         District Attorney of Shasta
Willows, CA 95988                      Alturas, CA 96101-4020               County
                                                                            1355 West Street
District Attorney of Humboldt County District Attorney of Mono County       Redding, CA 96001
825 5th Street                       P.O. Box 617
Eureka, CA 95501                     Bridgeport, CA 93546                   District Attorney of Sierra County
                                                                            Courthouse
District Attorney of Imperial County   District Attorney of Nevada County   100 Courthouse Sq., 2nd Fl.
939 Main Street, Ste. 102              201 Commercial Street                Downieville, CA 95936
El Centro, CA 92243                    Nevada City, CA 95959
                                                                            District Attorney of Siskiyou
District Attorney of Inyo County       District Attorney of Orange County   County
P.O. Drawer D                          401 Civic Center Drive West          P.O. Box 986
Independence, CA 93526                 Santa Ana, CA 92701                  Yreka, CA 96097
District Attorney of Solano County     Alex Jones, Manager*
675 Texas Street, Ste. 4500            Free Speech Systems, LLC
Fairfield, CA 94533                    3005 S. Lamar Blvd., Ste D109-
                                       317
District Attorney of Stanislaus County Austin, TX 78704
832 12th Street, Ste. 300
Modesto, CA 95354                      Free Speech Systems, LLC
                                       c/o Eric Taube
District Attorney of Sutter County     100 Congress Avenue, 18th Floor
446 Second Street                      Austin, TX 78701
Yuba City, CA 95991
                                       Infowars, LLC*
District Attorney of Tehama County c/o Elizabeth M. Schurig
P.O. Box 519                           100 Congress Avenue, 22nd Floor
Red Bluff, CA 96080                    Austin, TX 78701

District Attorney of Trinity County     Alex Jones, Manager*
P.O. Box 310                            Infowars, LLC
11 Court Street                         P.O. Box 19549
Weaverville, CA 96093                   Austin, TX 78760

District Attorney of Tuolumne County
423 N. Washington Street
Sonora, CA 95370

District Attorney of Yuba County
215 Fifth Street
Marysville, CA 95901

Los Angeles City Attorney's Office
City Hall East
200 N. Main Street, Rm. 800
Los Angeles, CA 90012

San Diego City Attorney's Office
1200 Third Avenue, Ste. 1620
San Diego, CA 92101

San Francisco City Attorney’s Office
City Hall, Room 234
1 Dr. Carlton B. Goodlett Place
San Francisco, CA 94102

San Jose City Attorney's Office
200 East Santa Clara Street
San Jose, CA 95113

California Attorney General's Office
Attention: Proposition 65 Coordinator
and Robert Thomas
1515 Clay Street, Ste. 2000
P.O. Box 70550
Oakland, CA 94612-0550
                                                                                          8/27/2018 5:39 PM
                                                                                                           Velva L. Price
                                                                                                          District Clerk
                                                                                                          Travis County
                                          NO. D-1-GN-18-001835                                         D-1-GN-18-001835
                                                                                                               Irene Silva
NEIL HESLIN,                                            $                   IN THE DISTRICT COURT OF
                                                        $
        Plaintffi                                       $
                                                        $
                                                        $                   TRAVIS COUNTY, TEXAS
                                                        $
ALEX E. JONES, INFOWARS, I,LC,                          $
FREE SPEECH SYSTEMS, LLC, and                           $
OV/EN SHROYER,                                          $
        Defendants                                      $                   261't JUDICIAL DISTRICT



     SUPPLEMENTAL AFFIDAVIT IN SUPPORT OF DEFENDANTS' MOTION TO
         DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT

        COME NOW, Defendants Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC,

and Owen Shroyer (collectively, the "Defendants"), and hereby               file this supplemental affidavit in

support of their Motion to l)ismiss Under the Texas Citizens' Participation Act.

        Defendants' hereby file the Affrdavit of Mark C. Enoch attached hereto."


                                                    RESPECTFULLY SUBMITTED,

                                                    GLAST, PHILLPS & MIJRRAY, P.C.


                                                                /s/ tuÍ.arÊ. C. (Enocfr
                                                    Mark C. Enoch
                                                    State llar No. 06630360
                                                     14801 Quorum Drive, Suite 500
                                                    Dallas, Texas 7 5254-1449
                                                    Telephone: 972-419-8366
                                                    Facsimile: 972-419-8329
                                                    fl y6 3 rc (g) )¡eri zon. n et



                                                    ATTORNEY FOR DEFENDANTS




Supplemental Affidavit in Support of Defendants' Motion to l)ismiss under
                                   -
the Texas Citizens Participation Act Page I
                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of August, 2018, the foregoing was sent via
efiletxcourts.gov's e-service system to the following:


Mark Bankston
Kaster Lynch Farrar & Ball
1010 Lamar, Suite 1600
Houston, TX77002
7t3-22r-8300
mark@fbtrial.com



                                                                 /s/ Mark C. Enoch
                                                           Mark C. Enoch




Supplemental Affidavit in Support of Defendants' Motion to Dismiss under
the Texas Citizens Participation Act - Page 2
                                   NO. D-1-GN-18-00183s

NEIL HESLIN,                                  $               IN THE DISTRICT COURT OF
                                              $
       Plaintffi                              $
                                              $
V                                             $               TRAVIS COUNTY, TEXAS
                                              $
ALEX E. JONES, INFOWARS,I,LÇ,                 $
FREE SPEECH SYSTEMS, LLÇ, and                 $
OV/EN SHROYER,                                $
       Defendants                             $               26I't JUDICIAL DISTRICT


                          AFFIDAVIT QF MARK C. ENOCH
STATE OF TEXAS               $
                             $
COUNTY OF DAI.LAS            $



       I, Mark C. Enoch, do hereby declare under penalty of perjury that the following is

true and correct.

        1.    My name is Mark C. Enoch.           I am fully competent and capable in all
respects to make this Affidavit. As lead counsel in this case,   I have become familiar with

the facts by reviewing documents and speaking with witnesses, I have read the pleadings

and discovered and reviewed evidence and have studied the statutory and common law

relating to the causes of action alleged by Plaintiff, the law relating to the defênses and

the law relating to application of the Texas Citizens Participation Act. Based upon my

role as lead counsel in this case and the work that I have done, I have personal knowledge

of all of the facts stated in this Affidavit, and they are true and correct. This Affrdavit is

submitted in connection with Defendants' Motion to l)ismiss filed in the above-styled

litigation
        2.      I   am an attorney duly licensed to practice law in the State of Texas and

have been continuously licensed and have practiced civil trial and appellate law since

1979.   I   am with the law firm of Glast, Phillips     & Murray, P.C. which represents        the

Defendants in the above-styled litigation. My practice has been devoted to civil litigation

such as this in state and federal court.   I have been continuously certified in civil trial law

by the Texas Board of Legal Specialization since 1988. I have also been involved in civil

appeals and have prepared appellate briefs and arguments.

        3.      My standard hourly billing rate and my hourly billing rate for this matter      is


$535. The other senior-level attorneys, associate attorneys and paralegal who have

worked on this matter also have billed at the firm's standard hourly billing rates for each

such senior-level attorney, associate attorneys and paralegal. The hourly billing rates for

the two other senior-level attorneys is $390 and $400 respectively. The hourly billing

rates for the two associates are $290 and $300 respectively. The firm's standard hourly

billing rate for the paralegal who has worked on this matter is $l10.

        4.      I am familiar with rates charged by attorneys     and paralegals in Dallas and

surrounding counties as well as rates charged by attorneys and paralegals in Travis and

surrounding counties for      civil litigation matters and these hourly rates are reasonable

when compared to customary and typical hourly rates charged in those areas of Texas for

attorneys with similar education, experience, training and abilities.

        5.      The total of fees billed by Glast, Phillips       & Murray and incurred by
Defendants through August 26, 2018           in   connection with this matter    is   $130,478.90.

Based on my education, experience and training,         it is my opinion that   a.) the law firm's


AFFIDAVIT OF MARK C. ENOCH (rcna)                                                            Page2
hourly rates are reasonable and typical and customary for similar legal services in Travis

and l)allas Counties and b.) that the total fees billed as of that date were and are both

reasonable and necessary to properly defend Plaintiff s claims.        It is my further opinion

based upon my education, training and experience that the time expended on each

individual task completed by Glast, Phillips       & Murray in this matter was appropriate,
reasonable and necessary and that the lawyer and/or paralegal was appropriately assigned

to each task. The total amount incurred by Defendants includes fees associated with,

among other things, reviewing the lawsuit pleadings, reviewing broadcasts and videos

relevant to Plaintiff s claims and the defenses, investigating the allegations, interviewing

witnesses, drafting a response to the lawsuit, researching the Motion to Dismiss, drafting,

editing and revising the Motion to Dismiss, determining what evidence is appropriate,

researching Plaintiff and his public activities, editing and revising affidavits for evidence,

researching appropriate defenses, drafting         the First Amended Answer, reviewing
Plaintiffs Motion for Sanctions and Plaintiffs Motion for Expedited                 Discovery,

researching, drafting and      filing a response to same, and reviewing and responding to

communications with counsel and others.

       6.     Furthermore,      I   estimate that further legal work   will be reasonable   and

necessary   to supplement the Motion to Dismiss and affidavits, receive, review             and

respond   to additional filings by Plaintiff     prepare   for the hearing on the Motion to

Dismiss, travel to Travis County for the hearing and argue the motion and prepare

conespondence and draft orders regarding the hearing and the Court's rulings. For this

anticipated legal work,   I   estimate, and my opinion is, based on my education, experience


AFFIDAVIT OF MARK C. ENOCH (rcna)                                                        Page 3
and training, that Defendants         will incur additional      reasonable and necessary attorney fees

in an amount of             approximately 543,725.00.        I    estimate that Defendants    will incur
additional expenses related to the hearing in an amount of approximately $300.00. I

estimate that reasonable and necessary travel expenses                       for two lawyers will      be

approximately      $ 1, I   00.00

       7.         Additionally, I estimate, and my opinion is, that in the event of an appeal

by either Plaintiff or Defendants from a decision of this Honorable Court to the Court of

Appeals, Defendants           will incur    an additional amount of at least $32,000.00 in reasonable

and necessary attorney fees.           If   Defendants appeal to the Court of Appeals,        I   estimate

$30,000.00 in reasonable and necessary attorney fees.                 If Plaintiff appeals to the Supreme

Court of Texas and briefing is not requested,                    I   estimate, and   my opinion is,   that

Defendants   will incur additional reasonable           and necessary attorney fees in the amount       of

$5,000.00.   If   the Texas Supreme Court requests briefing,              I estimate, and my opinion is,

that Defendants      will incur additional reasonable       and necessary attorney fees in an amount

of at least $28,000.00. Finally if Defendants appeal to the Supreme Court of Texas, I

estimate, and      my opinion is, that           Defendants      will incur additional   reasonable and

necessary attorney's fees in an amount of at least 530,000.00.

       L          Based upon my education, experience and training, it is my opinion that the

above rates and amounts are reasonable and necessary for the services rendered and to be

rendered considering, among other things, the novelty and difficulty                       of the issues
involved, the skill and training of the lawyers involved and the skill required to provide

the legal services properly, the time and labor involved to perform the legal services


AFFIDAVIT OF MARK C. ENOCH (rcne)                                                                   Page 4
properly, the fee customarily charged     in the community for similar services, time
constraints placed on the lawyers by the clients and circumstances of the case and the

issues and amounts involved and the results obtained.




Executed in Dallas County, State of Texas




                                                Mark




       SWORN TO and SUBSCRIBED before me by Mark C. Enoch on August
  â?      ,2019.




                                                  Notary Pu     in and for
                                                     the State of Texas

My Commission Expires
           4
               el                                                     TEXAS
                                                                             2021




AFFIDAVIT OF MARK C. ENOCH (rea)                                                    Page 5
                                                                                     8/27/2018 8:38 PM
                                                                                                      Velva L. Price
                                                                                                     District Clerk
                                                                                                     Travis County
                                           NO. D-l-GN-18-001835                                   D-1-GN-18-001835
                                                                                                        Terri Juarez
NEIL HESLIN,                                           $                IN THE DISTRICT COURT OF
                                                       $
               Plaintffi                               $
                                                       $
V                                                      $                TRAVIS COLTNTY, TEXAS
                                                       $
ALEX E. JONES, INFOWARS, LLC,                          $
FREE SPEECH SYSTEMS, LLC, and                          $
OWEN SHROYER                                           $
               Defendants                              $                261't JUDICIAL DISTRICT


    DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION
     FOR SANCTIONS AND MOTION FOR EXPEDITED DISCOVERY AND
               DEFENDANTS' MOTION FOR SANCTIONS


                                                       I.

               Defendants file this their First Amended Response to Plaintiff s Motion for Sanctions and

Motion for Expedited Discovery and Motion for Sanctions, in part, to insure proper notice to

Plaintiff and his counsel of Defendants'request and motion for sanctions previously stated in the

body of their original response at section V. but not in the heading of the pleading.

               In this connection, Defendants seek sanctions against Plaintiffls counsel under Rule l3   of
the Texas Rules of Civil Procedure and contend that the Plaintiff s counsel, at the time of his

filing of the Motion for Sanctions, did not have a reasonable belief that the Motion was not

groundless and not filed in bad faith or groundless and brought for the purpose of harassment.

Furthermore, Defendants contend that Plaintifls counsel failed to make reasonable inquiry of the

facts prior to      filing the Motion for Sanctions.

               Defendants also seek sanctions against Plaintiffs counsel under CPRC $10.001 and

$10.004. In this connection, Defendants contend that the Motion            for Sanctions was filed with

DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
-   Page   1
little if any inquiry, that any such inquiry was not reasonable, that the pleading was filed for

improper pulposes, including to harass and to needlessly increase the cost of litigation, that the

legal contentions in the motion were not warranted by existing law nor by a non-frivolous

argument for extension, modification, or reversal of existing law or the establishment of new law

and that each allegation or other factual contention in the motion did not have evidentiary

support nor was any particular allegation or contention likely                to have such support after
reasonable opportunity for investigation and discovery.

           Pursuant to Rule 13, Defendants seek their reasonable expenses, including attorney fees

under Rule 215.2. Pursuant to Chapter 10 of the Texas Civil Practice and Remedies Code,

$10.004 (3), Defendants also seek their reasonable expenses that they incurred because of the

filing of the motion, including reasonable attorney fees.l

                                                              II. Sun¡unny
           Plaintiffs Motion for Sanctions and ceunsels' arguments are simply disingenuous

considering that he and his client have sought and continue to seek the removal of Defendants'

content from social media and other platforms, through numerous public statements and

appearances       in the media, appeals to Twitter, YouTube, Facebook and numerous other social

media platforms and now the court system. Now after four twitter posts have been removed but

preserved by Defendants, and after the two videos Plaintiff claims in this case were defamatory

were removed by YouTube at Plaintiff s insistence, Plaintiffs counsel seeks a spoliation ruling

and punitive sanctions.




I
    Attached hereto as Exhibit   "D"   is the   Affidavit of Mark C. Enoch.

DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
-Page2
         First, Plaintiff s counsel has alleged four Twitter tweets that have been public for years

and two videos already given to them have been destroyed by Defendants. Plaintiff s counsel is

misinformed:

         1.   Defendants have not destroyed any relevant evidence. l)efendants have preserved all

              relevant evidence of Defendants' publications.

         2.   Any comments of unknown internet users that were attached to the tweets:

                  a.   are not relevant evidence to      Plaintiff   s claims,

                  b.   were preserved to the best of Defendants' ability and although 17 comments

                       in total appear to have not been recoverable              because the commenter deleted

                       the comment, the commenter's account was deleted, Twitter deleted                          the

                       commenter's account or cemment, or because the comment was lost from

                       Defendants' cache, they were not intentionally deleted by Defendants and the

                       vast majority of the comments were maintained,2

                  c. were never requested        by Plaintiff from either Defendants or Twitter,

                  d.   were accessible to Plaintiff and his lawyers for years                 at any time     before

                       August 10,2018,

Plaintiffls motion for sanctions should be denied.




' Thc s,Jrnlrrcnts that werç no[ able to be maintained were eilher previously deleted by the Twitter commenter or the
commenter's account was deleted, which Defendants have no control over and could have been done years ago, or
inadvertently lost on Defendants' cache. See attached Exhibit "C" paragraph 6. Defendants' intended only to
remove the tweets from public access because of the imminent possibility, if found to be in violation of Twitter
policies, of being banned completely by Twitter. See attached Exhibit o'C" paragraph 5. This would have resulted in
losing all posts and information permanently. See attached Exhibit "C" paragraph 5. There was absolutely no intent
to destroy or hide any evidence at all and Defendants attempted to maintain as much information as possible. See
attached Exhibit "C" paragraphs 6 and I l.


DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
-   Page 3
         Second,    Plaintifls motion for TCPA pre-hearing discovery should be denied                     because

Plaintiff has not asserted good cause as the only asserted basis to do the discovery, his motion for

spoliation sanctions, is unfounded. Futher, the broad and extensive discovery sought is not

permitted by the statute and would defeat the purpose behind the statute, which is designed to be

an efficient and cost effective safeguard ofconstitutional rights.

         Third, Plaintiffls lawyers have breached their Rule 13 and Chapter 10 duties to make

reasonable inquiry before      filing their motion for sanctions and filing those sanctions for improper

purposes. The Court should consider imposing appropriate sanctions upon Plaintiff s lawyers for

their failure to make reasonable inquiry and filing the sanctions motion for improper purposes.

As fully described in the Defendants' motions to dismiss in the Pozner and Heslin                           cases,

Plaintiffs   in both cases and their        common counsel have sought and obtained wide-spread

publicity in their extra-judicial attempts to silence Jones and those who agree with him on

various political issues.3 Just as with their national media appearances and letters to editorsa

designed in part to shame public use platforms such as Google, YouTube, Facebook, and Twitter

into removing all of Jones' content, counsel filed their baseless motion for sanctions to stir

additional negative publicity about Defendants.

                                         III. TBsr   FoR spolrATroN

        To establish spoliation, Plaintiff must show: (1) Defendants had a duty to preserve the

particular relevant evidence, (2) Defendants wrongfully did not preserve the relevant evidence,




3
  Mr. Bankston's letter dated May 25,2018 makes his intentions clear when he states that they "plan to make
available to the general public and media copies of all correspondence and pleading which arise in this lawsuit,
including this letter." See Exhibit "B," Declaration of David Jones paragraph 15, Exhibit B-89
" See Affidavit of Mark C. Enoch attached hereto as Exhibit A and Huffington Post article attached as Exhibit "A-1"


DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
-Page 4
and (3) Defendants' conduct prejudiced Plaintiff. See Clark v. Randalls Food,317 S.W.3d

351,356 (Tex. App.-- Houston          Ist   Dist.] 2010, pet. denied).

                IV. DPrNNDANTS      HAVE CoMMITTED No SPoLIATIoN AND HAVE PRESERVED ALL
                                          RELEVANT EVIDENCE.

               A. Plaintiff complains of four vears-old tweets apd two delivpred videos.

             Plaintiff complains that four tweets, one from 2012, two from 2014, and one from 2015,

have been deleted from public viewing on             Twitter. Plaintiff complains these four tweets were

removed this month after being up for public viewing and viewing and copying by him and his

lawyers for years. Plaintiff complains this removal of tweets from public viewing is spoliation                    of

relevant evidence. Plaintiff also complains that two videos have been removed from public

viewing on YouTube, and claims that this removal from public viewing is spoliation.

       B. Defendants have destroved no                      evidence but have nreserved all relevant

                                                     evidence.

         Plaintiff is confused about how social media and computers work. Stopping publication

by removing a page from a computer screen accessed by the public does not destroy the file on

the computers providing the screen with the file in the first place.

         The four tweets have not been destroyed and have been preserved by Defendants.s The

two videos, one of June 25, 20176, and one of July 20,2017 are actually in Plaintiffs own

lawyers' possession and have been since Defendants delivered copies to Plaintifls lawyers on

July 13,2018, as evidence in support of Defendants' TCPA motion.T


5
  See attached Exhibit "C" paragraph 6.
6
  The video about which Plaintiff complains did not occur on June 26,but instead on June 25,2017.
7
  See July 13, 2018 Motion at footnotes 172 and 304 as well as its Exhibit B, D. Jones Affidavit at paragraph 40 for
video ofJune 25 broadcast and footnotes 79 and 80 as well as D. Jones Affidavit at paragraph 4l for video ofJuly
20 broadcast.


DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
-   Page 5
              C. Defendants did not intentionallv or negligentlv destroy anv         evidence.

           "[A] party must intentionally spoliate evidence in order for a spoliation instruction to

constitute an appropriate remedy." Broolcshire Bros., Ltd. v. Aldridge,438 S.V/.3d 9,23-24 (Tex.

2014). "By'intentional'spoliation, often referenced as'bad faith'or'willful'spoliation, we mean

that the party acted with the subjective purpose of concealing or destroying discoverable

evidence." Id. at       24. "[A] trial court's finding of intentional   spoliation   . . is a necessary
predicate to the proper submission of a spoliation instruction to the jury." Id.       at25.     Moreover,

showing that the evidence in question was not destroyed with a fraudulent purpose or intent

rebuts a spoliation claim. Buckeye Ret Co., L.L.C. v, Bank of Am., N.A.,239 S.W.3d 394, 401

(Tex. App.-Dallas 2007, no pet.)

           Defendants removed from publication the four Twitter posts that were years old because

of concerns that they may have been in violation of Twitter's new terms of service. This was             a

serious and immediate concern as Defendants had just had several of its accounts banned on

numerous other social media platforms after mounting media pressure.s           If   Defendants did not

remove such complained-about posts, and they would have likely been found to have violated

Twitter policies, the entire account could have been permanently shut down resulting in serious

injury to Defendants and the potential loss of all information related to Defendants account.e

Twitter can potentially shut down the whole Twitter site for the user, non-violating posts as well

as   violating posts.lo

           Just as Defendants protected content that they feared would be destroyed by Twitter           -
Defendants took steps to protect other content as        well.   V/hen Defendants were advised by
8
    See attached Exhibit'oC" paragraph 5
n
  Id.
to
   Id.


DEFENDANTS' FIRST AMENDED RESPOìISE TO PLAINTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
-   Page 6
Google that their content would be removed, the¡'hired counsel to demand that Google preserve

all content.ll

          Moreover, Plaintiff admits in his motion that Mr. Jones was open about his removal of

the old tweets and admits Mr. Jones expressly stated his reasoning for the tweets being removed.

Defendants have openly and previously delivered copies                    of the two     videos     to Plaintiffs
lawyers.l2 There is no evidence Defendants destroyed any tweets or videos at all, much less to

conceal or destroy evidence.

          Additionally, Plaintifls counsel attached a declaration from Brooke Binkowski relying

on her supposed expertise in online investigation. Based on her work, Plaintiffls counsel alleged

that "relevant evidence has been lost" and that Mr. Jones destroyed it. In particular, Plaintiff                s


counsel alleges that     "...it appears    that this evidence is likewise lost forever." Yet, nowhere ín

Ms. Binkowski's declaratíon does she støte that she could not and dìd not                        jind the Twítter
posts   for   whích she allegedly seørched.

          Indeed, in an interview she gave to NBC News which was reporting on Mr. Bankston's

motion - and on      the same   day lhat she signed her declarqtion inthis case, Ms. Binkowski took

time for a press interview.13

                 "Southern California journalist Brooke Binkowski has been tracking Jones' social
         media, and her work was cited in the Texas claim. It states Binkowski "was able to
         confirm that specific Infowars messages" were delsted after news reports came out about
         their apparent violation of Twitter's rules.

                   "l think he might   have deleted every single reference to Sandy Hook parents," she
         told NBC News.




'r See Exhibit "B," Declaration of David Jones paragraphs l3 and 14, Exhibits B-87 and B-88.
12
   See footnote 6.
13
   See Exhibit "Bo" Declaration of David Jones paragraph 12, Exhibit 8-86. (emphasis supplied)


DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
- Page 7
                 But while the filing claims o'these materials are fruitful sources of evidence,"
           Binkowski søvs she høs preserved ít. "I got ít all," she said."

               D. Defendants used reasonable efforts to preserve all relevant evidence

           A party must exercise reasonable care in preserving evidence, but          does not have to go to

extraordinary measures to preserve evidence. Miner Dederick Constr., LLP v. Gulf Chem. &

Metallurgical Corp,,403 S.W.3d451,466-67 (Tex. App.--Houston                 Ist   Dist.] 2013, pet. denied).

           Defendants copied the four tweets before removing them from publication in order to

avoid being        in violation of Twitter policies.la    Despite the urgency and seriousness           of   the

situation, Defendants diligently worked           to   preserve   all posts and    comments    to the   posts.

Although 17 comments were inadvertently lost on Defendants'cache, the vast majority of the

comments were able to be maintained.ls Moreover, Defendants have openly delivered copies                      of

the two videos to Plaintiff s lawyers, a factthat Plaintiffls lawyers failed to inform this Court             of

in Plaintifls motion for sanctions and motion for discovery.l6 No other reasonable efforts                   are

required.

          E. Plaintiff and his lawvers have had open access to the Twitter            pases for years

                and the videos were delivered to his lawyers       -   thev are not preiudiced.

           The Twitter posts that Plaintiff complains have been removed were posted in2012,2014

and 2015.1t Any Twitter user in the whole world has had access for years to those posts in their

native settings and format and, for years, could copy those posts, and all the comments to those

posts. Plaintiff offers no excuse of why he and his lawyers did not do so even though this suit

was filed more than four months ago.

ra
   See   attached Exhibit "C" paragraph 5.
         attached Exhibit o'C" paragraphs 6-10
15
   See
16
   See   footnote 6.
17
   See   attached Exhibit   "C" paragraphs 7-10

DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
-    Page 8
       The complained of Twitter posts have been public since 2012 through 2015. Plaintiff

filed his suit April 16,2018, after the posts were available to all the world for up to six years.

When Plaintiff filed this suit, he served only a request for disclosure and no request for

production. Defendants answered June 18. Plaintiff has still not served a request for production

or conducted any other discovery. Plaintiff has not been prejudiced in preparing his case by

anything any Defendant did.

 F. Plaintiff s witness's hearsav and conclusorv complaints are no evidence of spoliation.

       Plaintiff attaches a set of hearsay statements which themselves contain hearsay from   a


witness who states, without proper foundation and as a conclusion that she is an expert "in online

research and the infrastructure of social media.'o The witness's hearsay statements do not show

any spoliation of relevant evidence.

       First, the witness's statements are hearsay and contain hearsay within hearsay.

       Second, the witness has not established the predicate required under TRE 702.

       Third, she does not lay the proper predicate for her use of hearsay information under TRE

703.

       Fourth, the witness complains that she checked a "variety of links" provided by a hearsay

CNN article and she searched something called the o'Internet Archive," and found the "original

content" deleted from those two sources (she makes no assertion about other sources having the

"content" or not), found the "primary content inaccessible" to her, and the "related discussion,

commentary, or hyperlinks" inaccessible to her. She also says saved copies of a social media

message leave the message somehow where "its meaning" may "often'o be "inscrutable" to her.




DEFENDANTS' FIRST AMENDED RESPONSE TO PLATNTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
- Page 9
These statements are vague, ambiguous and conclusory without sufficient predicate or

foundation to show the bases of her opinions.

          Fifth, the witness does not have knowledge, personal or otherwise, or the bases thereof,

of the content of the tweets or comments though she seems to complain that the comments of

unknown persons on the Twitter pages that are not now published are somehow material and

relevant    to Plaintiffs     defamation claim    --   she complains that "related" "discussion" and

"commentary" are "inaccessible" to her. Spoliation requires the claimed lost evidence must be

not only in Defendants' possession or control, but that it must be material and relevant to the

Plaintiffs claim. l(al-Mart Stores v. Johnson,         106   S.W.3d718,722 (Tex.2003). Thus, even       if
Defendants had evidence           of "related commentary," it is immaterial to     spoliation    -- what
unknown persons on the web say is not relevant to Plaintiff s claims for defamation. The test is

whether a defendant's published statement is defamatory in "an objectively reasonable reading,"

to a "the hypothetical reasonable reader," fsee Dallas Morning News, Inc. v. Tatum, No.              16-

0098, 2018 Tex. LEXIS 404, at *27 - 29 (May              Il,2018).], not whether the statement may      be

defamatory to some polling of people who give related discussion or commentary on Twitter

posts, and not whether the unknown person's statement is defamatory.

          Moreover, even a negligent act of destruction is spoliation allowing a presumption only       if
it   'oso prejudices the   nonspoliating party that it is ineparably deprived of having any meaningful

ability to present a claim or defense." Broolcshire Bros., Ltd. v. Aldridge,438 S.W.3d9,25-26
                                                                              o'commentarieso"
(Tex.2014). Given the remote or lack of relevance of these "related"                             even   if
they are lost, there is no prejudice to Plaintiff.




DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
- Page l0
        In short, Plaintiff s witness tenders only hearsay and her conclusions without evidentiary

predicate, and she does not show the relevance of any evidence that is "inaccessible" to her, or

that any relevant evidence was destroyed, or that Plaintiff is prejudiced by any of this.       She

further fails to describe the data on which she relies, she doesn't testify that experts such as she

typically rely on these data and she references no credentials or methodology to her "testing" or

conclusions thus both the data and her opinions are not reliable.

        G. Plaintiffls lawvers seek to pull themselves up by their own boot straps to use a

     snoliation nresumntion to suhstitute for          failure to meet their evidentiarv burden

                                            under TPCA.

        As Defendants show above, the four Twitter posts have been public since 2012 through

2015. Plaintiff filed his suit April 16,2018, after the posts were available to all the world for up

to six years. When Plaintiff filed this suit, he served only a request for disclosure and no request

for production. Defendants answered June 18. Plaintiff still served no request for production

and still did no discovery. Defendants filed their motion to dismiss under the TCPA on July 13.

The statute's automatic stay on discovery became effective that day.

        Under the TCPA, on July 13, the burden shifted to Plaintiff to establish "by clear and

specific evidence a prima facie case for each essential element of the claim in question" in order

to avoid dismissal. Tex. Ctv. PRec. & Rskr. Cope $27.005(c). Plaintiff still sought no leave of

the Court to do any discovery for good cause or otherwise. Only now, nine days away from the

Court's hearing of Defendants' 'I'CPA motion, did PlaintifT simultaneously file a motion for

sanctions about some evidence his lawyers and those supporting his efforts have had access to

for years and other evidence expressly delivered to his lawyers weeks ago, and seeks to          do



DEFENDANTS'FIRST AMENDED RESPONSE TO PLATNTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
-Page   11
discovery or make reasonable        inquiry. This timing        suggests that    Plaintiffs lawyers'     have

ulterior motives here.

                                                          ooprotects
        The very purpose of the TCPA is that         it                citizens who... speak on matters of

public concern from retaliatory lawsuits that seek to intimidate or silence them," and "professes

an overarching purpose    of 'safeguard[ing] the constitutional rights of persons to petition, speak

freely, associate freely, and otherwise participate          in government"      against infringement by

meritless lawsuits. . . .o' Cevin v. Abbott, 2017 Tex. App. LEXIS 651 l, t          l6 (Tex. App.--Austin,
July 14, 2017). The TCPA further commands us that the statute is to be "construed liberally to

effectuate its purpose and intent   fully"   and that we pursue "any such goals chiefly by def,rning a

suspect class   of legal proceedings that are deemed to implicate free expression, making these

proceedings subject to threshold testing of potential merit, and compelling rapid dismissal -- with

mandatory cost-shifting and sanctions -- for any found wanting."              Id. Plaintiff   seeks   to do an
end-around that legislative command and substitute an unfounded spoliation motion so that his

motion can supply what he lacks -- 'oclear and specific evidence a prima facie case for each

essential element of the claim in question" as required by the statute.

            V. PulNuFF's MorIoN FoR Expnorrno Drscovuny rs wrrHour cooD cAUSE.

    Plaintiff seeks expedited discovery based on his lawyers' motion for sanctions. As

Defendants have said, the very pu{pose of the TCPA is protect citizens from retaliatory lawsuits

and the expense and delay of such suits, and subject those suit to threshold testing of potential

merit, and compelling rapid dismissal -- with mandatory cost-shifting and sanctions -- for any

found wanting. Cavin v. Abbott, 2017 Tex. App. LEXIS 65 I 1 , * 16 (Tex. App.--Austin, July 14,




DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS
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- Page 12
2017). The TCPA expressly stays all discovery before a defendant's TCPA motion is heard to

avoid the heavy burden of a defendant having to participate in pre-hearing discovery.

      Plaintiff seeks to dodge that stay and impose that statutorily-barred burden. The      statute

expressly declares Plaintiff can do discovery only    if   Plaintiff shows "good cause." Tpx. Crv.

PRec. & Rptr¿. Cope $27.006(b). But, wisely, "[g]ood cause must be based on more than mere

conjecture; it must have a firm foundation." Esparza v. State,3l S.V/.3d 338, 340 (Tex.     App.-
San Antonio 2000, no     pet.). As Defendants show above, Plaintiff   s basis for his motion seeking

the statutorily discouraged pre-TCPA hearing discovery does not have a firm foundation, but is

unfounded, relying only on hearsay and factual conclusions, not evidence. Plaintifls motion for

expedited discovery should be denied.

            VI. S¡,NcrIoNS uNDERRuLE    13   lNr CHlprsR 10, Tnx.    Cry. Pnac. & Rnrrl. CooB

     The material facts are: (1) the June 25 and July 20 videos have not been destroyed and were

previously provided      to Plaintiffs lawyers,   and (2) the four tweets Plaintiff alleges were

destroyed that referenced Sandy Hook have not been destroyed and copies of each tweet and

relevant evidence were made and have been preserved by Defendants.

           The facts establish that no relevant evidence has been destroyed and Plaintiff has not

been prejudiced in the ability to present his case. Plaintiff s counsels' unsupported arguments,

misstatements and omission of vital facts shows that Plaintiffls motion for sanctions has no basis

in law or fact and was filed in bad faith and for an improper purpose. One of those purposeso in

addition to delaying the TCPA hearing by supporting extensive discovery and substituting          a




DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
-   Page   13
spoliation finding for otherwise absent evidence,                 is Plaintiffs    counsel's desire      for   media

                            I8
coverage and publicity.

          Plaintiffs counsel also sought sanctions against parties against whom he did not even

allege any wrongdoing. At no point in the motion, did Plaintifls counsel mention - let alone

claim     - wrongdoing     against Defendant Shroyer; yet he sought a spoliation instruction and

monetary sanctions against him, just as he did against Jones.le

           The evidence and the Court's file show Plaintiffs lawyers filed this motion and made

statements that they knew           or should have known were unfounded if they had made the
reasonable inquiry as required of them under Rule 13 and should not have filed the motions for

the improper purpose of delay, increasing costs and expenses to Defendants, and seeking to

avoid their failure to meet their burden under the TCPA. Plaintiff relies heavily on the failure                   of
Defendants' counsel to respond to his emails in the days preceding these motions, despite being

fully aware that Defendants' counsel was on vacation.20 Defendants therefore seek sanctions

against Plaintiffls lawyers under Rule 13 and Section 10.004, Tpx. Cry. Pnec. & Ren¡. Cooe, in a

form and amount the Court may find just.

                                                VII. RnunF REeuEsrED

          Defendants request that upon hearing hereof, Plaintifls Motion for Sanctions be denied,

that Plaintiffs Motion for Expedited Discovery be denied, the Court award Defendants



18
   Mr. Bankston's letter dated May 25,2018 makes his desire to create a media frenzy around himself and this case
clear when he states that they "plan to make available to the general public and media copies of all correspondence
and pleading which arise in this lawsuit, including this letter." See Exhibit o'8," Declaration of David Jones
paragraph 15, Exhibit B-89.
re
   See motion at page l.
'o Plaintiffs counsel did not copy or otherwise send either of the emails on which he relies to Defendants counsel's
legal assistant.


DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
-    Page 14
attorneys' fees against Plaintiff s lawyers for Defendants responding to this motion, and general

relief.

                                             RESPECTFULLY SUBMITTED,

                                             GLAST, PHILLIPS & MURRAY, P.C.


                                                    /.ç/ qúarþ t" lEnocfi
                                            Mark C. Enoch
                                            State Bar No. 06630360

                                            14801 Quorum Drive, Suite 500
                                            Dallas, Texas 7 5254-1449
                                            Telephone: 972-419-8366
                                            Facsimile: 972-419-8329
                                            fly63rc@verizon.net

                                            ATTORNEYS FOR DEFENDANTS


                              CERTIFICATE OF SERVICE


           I hereby certiff
                      that a true and correct copy of the foregoing document has been
served upon the parties listed below via email and via efile.txcourts.gov's e-service
system on August 27,2018:

Mark Bankston
Kyle Farrar
Kaster, Lynch, Farrar & Ball, LLP.
1010 Lamar, Suite 1600
Houston, Texas 77002




                                                          /s/ çvlarÃ t'.
                                                    Mark C. Enoch




DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS
AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS
-   Page   15
                                     NO. D-1-GN-18-001835

NEIL HESLIN,                                         $              IN THE DISTRICT COURT OF
                                                     $
       Plaintffi                                     $
                                                     $
V                                                    $              TRAVIS COLINTY, TEXAS
                                                     $
ALEX E. JONES, INFOWARS, LLC,                        $
FREE SPEECH SYSTEMS,LLC, and                         $
OWEN SHROYER,                                       $
       Defendants                                   $               26I't JUDICIAL DISTRICT

                           AF'F'IDAVIT OF'                  C. ENOCH

STATE OF TEXAS                $
                              $
COLTNTY OF DALLAS             $



       BEFORE ME, the undersigned notary public, on this day personally appeared

Mark C. Enoch, known to me to be the person whose name is subscribed below, and who

on his oath, deposed and stated as follows:

        l.     My name is Mark C. Enoch. I am over the age of 2I years, have never

been convicted of a felony or crime involving moral turpitude, am of sound mind, and am

fully competent to make this affidavit. I have personal knowledgc of the facts herein

stated and they are true and correct.

       2.      Attached to this affidavit marked as Exhibit 664-1" is a true and correct

copy of            an     article that I                  found posted at              the     url

             .h                            /sand

iones us 5b7 eccd4e4b03    48 5 8 5 fe5 ce9 .   This exhibit which I printed is a true and correct

copy of the article on that website as of the date of this affidavit.


                                        EXHtBf?
      Further Affiant Sayeth Not




                                             Mark C.


SWORN TO and SUBSCRIBED before me by Mark C. Enoch on August 27,2018.




                                               Notary Pub       and for
                                                  the State of Texas

My Commission Expires:

        3
                                                                          2021




AFFIDAVIT OF MARK C. ENOCH (Heslin) -Page2
Lawyers Of Sandy Hook Parents To Ted Cruz: Stop Defending Alex   ...   https://www"huffingtonpost.com/entry/sandy-hook-parents-lawyers-te...




                  Lawyers Of Sandy Hook Parents To Ted
                  Cruz: Stop Defending Alex Jones
                 Two lawyers representing parents of the Sandy Hook tragedy in defamation
                 lawsuits against conspiracy theorist Alex Jones have a message for Sen. Ted Cruz
                 (R-Texas): Stop defending the man who has helped further devastate innocent
                 families.

                 Jones has b-e-en-"hjt with ngulltple-latuåuils for claiming the zorz school shooting
                 in Newtown, Connecticut, was a "hoax" perpetrated by "crisis actors" pretending
                 to be the parents of dead children. Jones'followers have harassed and
                 threatened the parents of the shooting victims.

                 Several platforms, including Facebqek, YouTube and Spotify, removed accounts
                 belonging to Jones and his website Infowars earlier this month for violating
                 their terms of services.

                 "When users violate these policies repeatedly,like our policies against hate
                 speech and harassment or our terms prohibiting circumvention of our
                 enforcement measures, we terminate their accounts," Y-BuÏuþ-ç_s-alcljn an__e-mail
                 at "the tim-ç.

                  Cruz - who pointed out he has also been unfairly attacked by the Infowars host
                  - came to Jones'defense.
                 "Who the hell made Facebook the arbiter of political speech?" Crtrztweeted at
                 the time. "Free speech includes úews you disagree with."

                  Cruz tweeted again last week, this time to say it's important to stand up to "tech
                  censorship online * which many on the Left are embracing."

                  Mark Bankston and william ogden of the Houston law firm Farrar & Ball
                  represent two Sandy Hook families suing Jones, and they're wondering why
                  Cruz has chosen to take up this cause.

                  "when it comes to Jones, we can only presume that you are speaking from
                  ignorance and that you do not know the nature ofthe conduct you are now
                  zealously defending, nor the harm that has befallen my clients and many
                  others," the lawyers vwote in an op-ed published by the Austin 4,merican-
                  S-t¿"te-SmAn.

                 "This is not a question of free speech," they added. "This is not a question of
                 disagreeing with a person's political views. This is a question ofjust how much
                 damage we're prepared to let a madman inflict on the lives of innocent victims
                 through malicious lies and willful harassment."
                                                                                  2   EXHIBIT
                                                                                  â    A -l
l of 2                                                                            -
                                                                                  I
                                                                                                                         8127/2018,5:51 PM
Lawyers Of Sandy Hook Parents To Ted Cruz: Stop Defending Alex   ...   htps:i/www.huffingtonpost.com/entry/sandy-hook-parents-lawyers-te...



                  The lawyers "beg" Cruz to read the suit filings before commenting on them.

                 "we're not sure what it will take for you to stop defending Jones," they wrote.
                 "Does a Sandy Hook parent need to die before Facebook is allowed to deny this
                 man a platform for his mayhem on their private service? Our clients fully
                 recognize that if Jones wants to tell lies about them in the public square, there is
                 very little anyone can do outside a courtroom to stop him. But we ask you not to
                 defend the idea that private companies like Facebook must empower Jones to
                 harass and endanger the lives of innocent victims."

                  Rea_d   the fuil"pie_c-e i.n th"e- ArlsJin A.mç_ric"an":"Sraresman.




2of2                                                                                                                      8/27   /2018,5:51 PM
                                     NO. D-1-GN-18-00183s

NEIL HESLIN,                                    $              IN THE DISTRICT COURT OF
                                                $
       Plaintffi                                $
                                                $
V                                               $              TRAVIS COUNTY, TEXAS
                                                $
ALEX E. JONES, INFOWARS, LLC,                   $
FREE SPEECH SYSTEMS, LLC, and                   $
OV/EN SHROYER                                   $
       Defendants                               $              261't JUDICIAL DISTRICT

                          DECLARATION OF DAVID JONES
STATE OF TEXAS                  $
                                $
COLTNTY OF TRAVIS               $



       1.      My name is David Jones. I am over the age of 2l years, have never        been

convicted of a felony or crime involving moral turpitude, am of sound mind, and am fully

competent to make this declaration. I have personal knowledge of the facts herein stated

and they are true and correct.

       2.      In preparing for this declaration, I reviewed internet websites, articles and

videos published on the internet and found several that are relevant to the issues in this

case


       3.     All of these articles were downloaded andlor printed directly         from the

identified internet websites.   If I didn't personally download or print them, I compared   the

printed exhibit to the article on the website.      All of the attached exhibits are true and
correct copies of the online articles.




                                         - EXHIBIT
                                         Â
                                         I
                                         2
                                             B
        4.        Attached to this declaration marked as Exhibit B-78 is a true and correct

copy of an article posted at the url address https://www.washingtonposlpqml'nçwsfthÈ

intersect/wp I 20 I 8 I 07 I l4lfacebook-wants- to-cut-down- on-misinformation-so-why- isnt-it-

                                                                term:.ae0l lc037fbe. This exhibit

is a true and correct copy of the article on that website as of the date of this declaration.

        5.        Attached to this declaration marked as Exhibit B-79 is a true and correct

copy of a Guardian afücle posted at the url address shown on the             exhibit. This exhibit   is

a true and correct    copy of the article on that website as of the date of this declaration.

        6.        Attached to this declaration marked as Exhibit B-80 is a true and correct

copy of a Reuters article posted at the url address https ://www.reuters. com/article/us-

usa- I awsuit-al exi on es/consniracv-theori      st-i ones-seeks-h alt-of-sandv-hook-defamation-

suit-idUSKBNIKM4GI. This exhibit is a true and correct copy of the article on that

website as of the date of this declaration.

        7.        Attached to this declaration marked as Exhibit B-81 is a true and correct

copy of an article posted at the url address shown on the exhibit. This exhibit is a true

and correct copy of the article on that website as of the date of this declaration.

        8.        Attached to this declaration marked as Exhibit B-82 is a true and correct

copy of an article from The Hill posted at the url                                           address

htto://thehill.                 s   I   medial 402393 -Iawvers- for-sandv- hook-victims-say-alex-

jones-destroyed-evidence-relating-to. This exhibit is a true and correct copy of the article

on that website as of the date of this declaration.




DECLARATION OF DAVID JONES (Heslin) -Page2
         9.      Attached to this declaration marked as Exhibit B-83 is a true and correct

Çopy of            a         Money.cnn article posted at                    the url       address

                                   18/08/l TlmediaJalex-       sand

lawsuit/index.html. This exhibit is a true and correct copy of the article on that website

as   of the date of this declaration.

         10.    Attached to this declaration marked as Exhibit B-84 is a true and correct

copy of a New York Times article posted at the url address shown on the exhibit. This

exhibit is a true and correct copy of the article on that website as of the date of this

declaration

         11.    Attached to this declaration marked as Exhibit B-85 is a true and correct

copy of            a     Mystatesman           article posted at the url                  address

       //www.m

defendins -alex-iones/Rsdlpn3                        CCb2XOK/. This exhibit is a true and correct

copy of the article on that website as of the date of this declaration.

         12.    Attached to this declaration marked as Exhibit 8-86 is a true and correct

copy of an NBC News article posted at the url                                             address

httos://www.nbcnews com/news/us-news/alex-
                         .                                                        andv-hook-

case-clairn-sa)¡s-n90181      l.    This exhibit is a true and correct copy of the article on that

website as of the date of this declaration.

         13.    Attached to this declaration marked as Exhibit B-87 is a true and correct

copy of a letter from Philip Schindler at Google dated August 9,2018 addressed Attn:




DECLARATION OF DAVID JONES (Heslin)             -   Page 3
Alex Jones and Buckley Hamman Free Speech Systems, LLC ("Partner"). This letter

was also received by me on that date.

       14.      Attached to this declaration marked as Exhibit B-88 is a true and correct

copy of a response letter from one of our attorneys, Mark I. Bailen with the f,rrm of Baker

& Hostetler LLP, dated August 16,2018           addressed   to Philipp Schindler with Google

LLC. This letter was also received by me on that date.

       15.      Attached to this declaration marked as Exhibit B-89 is a true and correct

copy of a letter from Mark D. Bankston with the firm of Kaster Lynch Farrar              & Ball
dated |;4ay 25,2018 addressed to Mr. Eric Taube. This letter was also received by me

from Mr. Taube on that date

       16.      Attached to this declaration marked as Exhibit B-90 is a true and correct

copy of            a     CNBC article posted at                         the url          address

     :llwww                 I


earlier-bans.html. This exhibit is a true and correct copy of the article on that website     as


of the date of this declaration.

       17.      Attached to this declaration marked as Exhibit B-91 is a true and correct

copy of a The   Híll afücle posted   at the url address shown on the   exhibit. This exhibit is a

true and correct copy of the article on that website as of the date of this declaration.

       18.      In my declaration flrled on July 13, 2018, I attached a page labeled as a

marker for Exhibit B-36 that inaccurately reflected the date of June 26. Instead the true

date of the broadcast was June 25,2017.




DECLARATION OF DAVID JONES (Heslin) -Page 4
                                                            b"atud     *   4u¡¡**¿¡i   Sjtto#f   *lXvtr *# iletåþHldï_Ï$fi
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812612018                    Facebook wants to cui down on misinformation. So why isn't it doing anything about lnfowars? - The Washington Post
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  þ"il-he Washington Post

ïhe lntersect

Facebook wants to cut down on misinformation. So why isn't                                                                                            it
doing anything about Inf'o\Mars?
                                                                                                                          - EXHIBIÌ
By Eli Roserrhrerg
                                                                                                                          ã
                                                                                                                          -
                                                                                                                          â      U48
, Reporter                                                                                                                -
July 1.4

Facebook has spent much of the last year and a half attempting to tamp down the spread of false and
malicious information that bloomed on its platform during the zo16 election.

After                   publicity, the company adjusted its algorithms, sought to study the political
           a slew of negative
effects of misinformation and issued mea culpas, in the form of congressional testimony and slick
advertisements aplenty.

But critics point to one thing it has not done: banned or blocked the site Infowars one of the most
                                                                                   -
prominent outlets knornm for spreading baseless information and cclnspiracy theories which enjoys
                                                                                                                             -
many verified Facebook pages with millions of followers. The right-wing media channel's relationship to
Facebook has come under closer scrutiny as social media giant has begun touting the other measures                                                    it
says      it has undertaken to try to reduce the amount of misleading information on its site.

At a private event Wednesday, reporters asked John Hegeman, the head of Facebook's News Feed, and
Sara Su, a Facebook product specialist, about the issue.

"I    just for being false, that doesn't violate the community standards," Hegeman said, according to
        guess
CNN. He explained that Infowars has "not úolated something that would result in them being taken
down."

Pressed by reporters, other representatives for Facebook struggled to come up with a convincing
explanation for why Infowars was permitted on the site if the company was committed to reducing the
spread of false information.

"I asked them why Infowars is still allowed on the platform," CNN reporter Oliver Darcy wrote on
Twitter later. "I didn't get a good answer."

Facebook's response set off a cascade of reactions, striking at the heart of a sensitive debate about the
spread of false and hateful information that has churned since the zo16 election.

"By refusing to ban InfoWars, @facebook is choosing profit off a vile conspiracy theorist who harasses
the families of the children killed at Sandy Hook," former Obama administration official Dan Pfeiffer

https://wwtv.washingtonpost.com/news/the-intersecVwp/20'1   8l07ll4lfacebook-wants-to-cut-down-on-misinformation-so-why-isnt-it-doing-anything-abou        1t5
812612018           Facebook wants to cut down on misinformation. So why isn't it doing anything about lnfowars? - The Washington Post

wrote on Twitter. "Please spare me the self righteousness about freedom of speech."

Infowars, founded by Alex Jones, has gained notoriety for the volume of conspiracy theories that it has
helped spread, sowing doubt by questioning the government's potential role in tragedies like gltt and
the Sandy Hook massacre. In recent days, it has warned that the Democrats were planning to "launch a
civil war" on the Fourth of July and that liberal billionaire George Soros was attempting to "seize U.S.
voting machines."

President Trump has appeared on Jones's Infowars and has at times appeared to echo some of its talking
points.

Facebook representatives tried to tamp down on the rising tide of anger this week, responding on social
media that there were Facebook pages "on both the left and the right pumping out what they consider
opinion or analysis - but others call fake news," and citing free speech.

But that response was quickly criticizecl, as some reporters compared it to Trump's infamous comment
equivocating white nationalists and counterprotesters during the clashes in Charlottesville last year.

"Facebook's inability to distinguish Infowars (which says Sandy Hook is a hoax) from normal political
dialogue should concern us all," Sen. Chris Murphy (D-Conn.) vwote on TWitter.


         Jason Schwartz
   W     @JasonSchwartz

   Facebook's inability to place lnfoWars outside the usual right/left
   paradigm in response to Sclivere$nrr:y's story is pretty
   remarkable. ïhe site *objectively* publishes false information--
   not a matter of "some consider it opinion or analysis."

    Facebook       @facebook
    Replying to @oliverdarcy
    We see Pages on both the left and the right pumping out what they
    consider opinion or analysis - but others call fake news. We believe
    banning these Pages would be contrary to the basic principles of free
    speech.

   2:08 PM - Jul 12,2018
      1,033     439 people are talking about this


T'he Infowars flap is a sign of the complicated position Facebook finds itself in. With billions of pieces of
content shared on its site every day, the company has said that vetting the veracity of every single one
would be a nearly impossible task. But it has responded to social and political pressure by taking steps
812612018              Facebook wants to cut down on m¡s¡nformation. So why isn't it doing anything about lnfowars? -   Ihe Washington Post

toward reducing harmful uses of its service, including the posting of false information to intentionally
mislead or harm others. The company did not respond to a request for comment.                Ì




"Despite investing considerable money into national ad campaigns and expensive mini documentaries,
Facebook is not yet up to the challenge of vanquishing misinformation from its platform," Charlie Warzel
wrote at BtrzzFeecl.

TechCrunch's Josh Constine saw it as evidence that "Facebook hides behind political neutrality" for fear
of alienating conservative users and compromising its business model.

"That strategy is exploited by those like Jones who know that no matter how extreme and damaging their
actions, they'll benefit from equivocation that implies'both sides are guilty,'with no regard for degree,"
Constine wrate.

Facebook told the publication that it would be nearþ impossible to ensure everything posted on the site
was true, pointing out that it o'down-ranks" certain tlpes of content, such as clickbait and fake news.

"In other words, we allow people to post it             as a   form of expression, but we're not going to show it at the
top of News Feed."

Still, though Constine argued for stricter controls and penalties for those like Infowars that spread false
information, he said he did not think a complete ban would be the best approach.

"If Facebook deleted the pages of Infowars and their ilk, it would be used as a rallying cry that Jones'
claims were actually clairvoyant," he wrote. "If Facebook wants to uphold a base level of free speech, it
may be prudent to let the liars have their voice. However, Facebook is under no obligation to amplify
that speech."

Far-right activists, some of whom have been banned from social media outlets after running afoul of
rules against harassment or hate speech, have long complained that they are the victims of censorship.

Diamond and Silk, two Trump supporters who have gained renown for their videos on Facebook, became
a cause celebre in the conservative world after they said they were the victims of overreach by Facebook
after the company had deemed some of their content *unsafe." Facebook later said the communication
had been sent in error.


   ffi    Ben Collins
   W.     @oneunderscore_

   This is Facebook equating having lnfowars, which once accused
   a pizza shop of being part of a child sex ring and denied the
   Sandy Hook shooting was real, with "pages on both the left and
8t26t2018               Facebook wants to cut down on misinformation. So why isn't ii doing anything about lnfowars? - The Washington Post

     the right pumping out what they consider opinion or analysis                      *
     but others call fake news."

       Facebook       @facebook
       Replying to @oliverdarcy
       We see Pages on both the left and the right pumping out what they
       consider opinion or analysis - but others call fake news. We believe
       banning these Pages would be contrary to the basic principles of free
       speech.

     1:55 PM - Jul 12,2018

            7,634   2,508 people are talking about this


Jonathan Albright, research director at Columbia University's Tow Center for Digital Journalism, agreed
that attempts at outright bans could backfire.

"If they were to go and ban Infowars, it very well coulcl make the problem worse," he said in an interview
"It's a Catch-22."

Despite what has seemed to be a steady stream of negative disclosures in American media in recent
months, Facebook's business continues to boom. The company posted record profits in the first quarter
of zot8, despite the data protection scandal that unfolded at the time, sending its stock rising to its
largest gains in nearly three years.

And those numbers lead to more pessimistic conclusions about Facebook's commitment to change.

"Facebook's milquetoast method of dealing with accounts in these so-called gray areas seems to conflict
with its stated goals, both of building community ancl of weeding out misinformation," Vanity Fair's
Maya I(osoff wrote. "In glibty allowing bad actors like Infowars to continue existing on its platform,
Facebook is enabling the persistent spread of low-truth stories intended to mislead. And until doing so
affects its stock value or its ability to turn a profit, Facebook has little incentive to change."

Read more:

A.   vice nìayor faces calls fcrr resignation after proclaiming,Iuly'straight Pride American Month'

'What I'm about to teli you is off the reccrd': How a journalist scooped the deputy attorney general

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Facebook's pledge to eliminate misinformation is
itself fake news
Zuckerberg is trying to have it both wâ!s: claiming credit for f,ghting fake news but insisting that
false information be distributed on Facebook

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               he production values are high and the message is compelling. In an 1l-minute mini-
               documentary, Facebook acknowledges its mistakes and pledges to "f,ght against
               misinformation".

         "With connecting people, particularly at our scale, comes an immense amount of
 responsibility,' an unidentif,ed Facebook executive in the f,lm solemnly tells a nodding audience
 of new company employees.

 An outdoor ad campaign by Facebook strikes a similar note, plastering slogans like "Fake news is
 not your friend" at bus stops around the country.

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812612018                                                     Facebook's pledge to eliminate false information is itself fake news lJudd Legum I Opinion lThe Guardian

But the reality of what's happening on the Facebook platform belies its gauzy public relations
campaign.

Last week CNN's Oliver Darcy asked John Hegeman, the head of Facebook's News Feed, why the
company was continuing to host a large page for InfoWars, a fake news site that traffics in
repulsive conspiracy theories. Alex Jones, who runs the site, memorably claimed that the victims
of the Sandy Hook mass shooting were child actors.

Hegeman did not have a compelling answer. "I think part of the fundamental thing here is that we
created Facebook to be a place where different people can have a voice. And different publishers
have very different points of viewj'Hegeman said.

Claiming the Newtown massacre is a hoax is not a point of view. It's a disgusting lie - but                                                                              a   lie
that, apparently, Facebook does not see as out ofbounds.

Facebook does not just tolerate Infowars. It seeks to prof,t from Infowars and its audience.
Facebook's advertising tools, at time of writing, allow advertisers to pay Facebook to target the
743,220 users who "like" the InfoWars page.
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lnfowars targeting. Photograph: Facebool<

In the Facebook documentary, Eduardo Ariño de la Rubia, a data science manager at Facebook,
provides more insight on what kind of content the company believes is unacceptable. De la Rubia
says Facebook looks at content along two metrics, "truth" and "intent to mislead".

De la Rubia draws a simple chart with "truth" on the x-axis and "intent to mislead" on y-axis,
creating four quadrants. Only information in the upper left of the chart,low on "truth" and high
on "intent to mislead", should be purged from Facebook, he says. (Without an "intent to
mislead", De la Rubia says, it's just being "wrong on the internet".)




Photograph : Facing Facts/Facebook



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812612018                        Facebook's pledge to eliminate false information is itself fake news lJudd Legum lOpinion lThe Guardian

De la Rubia offered "Pizzagale", the hoax that claimed prominent Democrats were running a child
sex üamcking ring out of a basement of aDCpizza parlor, as an example of the kind of
unacceptable content that would fall into the upper-left quadrant.

That conspiracy was promoted by none other than Infowars' Alex Jones. (Jones apologized after a
man entered the pizzashop and opened f,re.)

The problem with Facebook's strategy seems to be less their theoretical framework than their
practical refusal to place almost anything into the upper-left quadrant. Zuckerberg placed his
deeply flawed approach in stark relief during an interview with Recode's Kara Swisher on
Wednesday.

Interrupting Swisher, Zuckerberg volunteered that he found Holocaust denial "deeply offensive"
but would not ban Holocaust deniers from Facebook because it's "hard to impugn intent and to
understand the intent".

Zuckerberg's position echos the company's promotional video. "There is a lot of content in the
gray area. Most of it probably exists where people are presenting the facts as they see them,"
Tessa Lyons, Facebook's project manager for News Feed integrity, says to the camera.

This is where Facebook's approach completely breaks down. If Zuckerberg is willing to give
Holocaust deniers the benefit of the doubt * and therefore keep them on the Facebook platform -
it's clear that Facebook's pledge to eliminate misinformation is itself fake news.

Zuckerberg, facing an avalanche of criticism,later released a statement saying he "absolutely
didn't intend to defend the intent of people who deny" the Holocaust. He did not, however, back
away from his core position - that Holocaust deniers have a place on Facebook.

Facebook is trying to have it both ways. The company is actively seeking credit for f,ghting
misinformation and fake news. At the same time, its CEO is explicitly saying that information he
acknowledges is fake should be distributed by Facebook.

Zuckerberg seems to believe that technology will get the company out of this jam. "We have to do
everything in the form of machine learning," Henry Silverman, an operations specialist for News
Feed integrity, says earnestly in Facebook's documentary about fighting fake news.

The solution, in Zuckerberg's view, appears to be to allow virtually anything to be posted but then
drowning it out with heaps of baby pictures. In his statement clarifying his comments on
Holocaust deniers, Zuckerberg said that verifrably false information would "lose the vast majority
of its distribution in News Feed", adding that he believed "the best way to frght offensive bad
speech is with good speech".

 But the idea that people will be willing to tolerate Holocaust deniers on Facebook if those posts
 reach a few less people ignores the moral component of these decisions. There is no algorithm for
 human decency.

 Judd Legum writes Popular Information, a political newsletter
 Since voutfe here...
 ... we havÉ a small favour to ask. More people are reading the Guardian's independent,
 investigative journalism than ever but advertising revenues across the media are falling fast. And

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unlike many news organisations, we haven't put up a paywall - we want to keep our journalism                                                  as
open as we can. So you can see why we need to ask for your help.

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voice to the voiceless, challenge the powerful and hold them to account. It's what makes us
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Conspiracy theorist Jones seeks halt of Sandy Hook defamation suit I Reuters                                               Page 1 of4



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             Conspiracy theorist Jones seeks
             halt of Sandy Hook defamat¡on
              suit
             Jon Herskovitz                                                                      3 MIN RËAÞ            w$

             AUSTIN, Texas (Reuters) - Lawyers for conspiracy theorist Alex
             Jones asked a Texas court on Wednesday to dismiss a defamation
              lawsuit against him and his InfoWars website, fìled by parents of two
              children killed in the 2012 Sandy Hook massacre.




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Conspiracy theorist Jones seeks halt of Sandy Hook defamation suit I Reuters                  Page2 of 4




      FILE PHOTO: Alex Jones from Infbwars.com speaks during       a   raliy in
      support r:f Republican presidentiai candidare Donald Trump near the
      Republican National Convention in Cieveland, Ohio, {J.S.,.hr.ly 18, 2016.
      lìlrlUTFlRS/Lucas Jackson/F'iie Photcr




      Jones, who iives in Travis Count), Texas, has used his media
      platfbrm to call the mass shooting ar a Connecticut elementary
      school that killed 26 people a hoax, and suggested a political cover-
      up took place by left-wing forces seeking to take advantage of the
      shooting to promote gun control.


      Mark Enoch, an attorney for Jones, described his client                     as a   political
      commentator expressing his views and played a zAV broadcast
      where Jones said he did not believe the Sandy Hook shooting took
      place. Jones was not in court.


      "Maybe it's fringe speech. Maybe it's dangerous speech, but it is not
      defamation," he told Judge Scott Jenkins, who has 30 days to rule on
      the motion to dismiss the case"


      In2013, Jones called the massacre "staged" and continued to stoke
      his conspiracy theory fbr years.




https://www.reuters.com/article/us-usa-lawsuit-alexjones/conspiracy-theorist-jones-seeks-h... 812612018
Conspiracy theorist Jones seeks halt of Sandy Hook defamation suit I Reuters                                            Page 3   of4


      "Sandy Hook is a slmthetic, completely fäke, with actors, in my view,
      manufactured," he said in                                            a January 2015 broadcast.


      Although his theory is false, people who believe Jones have for years
      harassed and taunted families of the victims, court papers showed
      and the fämilies have said. The lawsuit filed in April by Leonard
      Pozner,Veronique De La Rosa seek ar least $t million in damages.
      They claim they were subject to harassment that forced them to
      move seven times after Jones claimed the parents were liars and
      frauds who helped in a cover up, according to court documents.


      Mark Bankston, an attorney for the parents, told the judge that
      Infowars viewers understood Jones was alleging that the parents
      were part of a criminal conspiracy and subjected the parents to years
      of threats.


      Facebook Inc                                                         174.645          A gunman killed 20 young
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                                                                                            children and six adults at Sandy
                                                                                            Hook Elementary School in
                                                                                            Newtown, Connecticut, on Dec.
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                                                                                            shootings by a single gunman in
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      Facebook (FB.O) last week suspended Jones from its social nerwork
      for buliying and hate speech, after Google's YouTube removed four
      of his videos from its site.



https://www.reuters.com/article/us-usa-lawsuit-alexjones/conspiracy-theorist-jones-seeks-h... 812612018
Conspiracy theorist Jones seeks halt of Sandy Hook defamation suit I Reuters                              Page 4 of 4



      The lawsuits in Texas were the first defamation cases brought by
      parents of Sandy Hook victims against Jones. He is also facing civil
      action in Connecticut by additionai Sandy Hook parenrs.


      Bankston said afÍer the hearing he sees the cases as a building wave
      that couid topple .ïones.


      "The dam has broken and people are not scared to come forward.
      For years, people were afraid to take on Alex Jones," he said.


      Jones'lawyer deciined to speak after to media the hearing.


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 Alex Jones q.nd Infowørs Content Is
 Remoued From Apple, Føcebooh snd
 YouTube
By Jack Nicas

4ug.6,2018

Top technology companies erased most of the posts and videos on their services from Alex Jones,
the internet's notorious conspiracy theorist, thrusting themselves into a fraught debate over their
role in regulating what can be said online.

Apple, Google, Facebook and Spotify severely restricted the reach of Mr. Jones and Infowars, his
right-wing site that has been a leading peddler of false information online. Mr. Jones and Infowars
have used social media for years to spread dark and bizarre tlreories, such as that the Sandy
Hook school shooting was a hoax and that Democrats run a global child-sex ring. Apple made its
move on Sunday and the others followed on Monday.

The actions, one of the tech companies' most aggressive efforts against misinformation,
highlighted a difficult dilemma for their businesses. They have long desired to combat
misinformation online, but they have also been reluctant to be arbiters of truth.

But since a rise of misinformation online around elections, such as the 2016 presidential vote, the
tech companies have faced increasing calls from lawmakers and the news media to address their
role in that spread of false information and a retated increase in partisan divisions. The tech
companies have recently stepped up enforcement          but that has led to accusations of politicat
bias, largely from conservatives.
                                                                               -
The moves over the last two days helped fuel that debate. "Whether you like @RealAlexJones
and Infowars or not, he is undeniably the victim today of collusion by the big tech giants," Nigel
Farage, a British conservative politician, said on TWitter. Mr. Farage helped lead the successful
campaign for the country to leave the European Union and has been interviewed by Mr. Jones.
*What price free speech?"

Appte on Sunday removed five of the six Infowars podcasts on its popular Podcasts app.
Commenting on the move, a spokeswoman said,'Apple does not tolerate hate speech."



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Facebook, Spotify and Google's youTt¡be site, which removed some Infowars content last week,
followed with stronger measures on Monday. Facebook removed four pages belonging to Mr.
Jones, including one with nearly 1.7 million foltowers as of tast month, for violating its policies by
"glorifying violence" and "using dehumanizing language to describe people who are transgendeç
Muslims and immigrants." Facebook said the violations did not relate to ,.false news."

YouTbbe terminated Mr. Jones's channel, which had more than 2.4 million subscribers and
billions of views on its videos, for repeatedly violating its policies, including its prohibition on hate
speech. Spotify cited its own prohibition on hate speech as the reason for removing a podcast by
Mr. Jones.

Mr. Jones and Infowars are leaders in using the internet to spread right-wing conspiracy theories,
an effort that was aided after Donald J. Tfump appeared on Mr. Jones's show during the 2016
presidential campaign and praised Mr. Jones's reputation as "amazing." Mn Jones has repeatedly
claimed that the government staged the Oklahoma City bombing, the Sept.                                        ll terrorist attacks
and numerous other mass shootings and tragedies.

Mr. Jones is facing defamation lawsuits fited by the parents of victims of the Sandy Hook school
shooting for claiming that the shooting was an elaborate hoax. Most of Mr. Jones's conspiracies
push a theme that a global cabal of political and corporate leaders run the world's institutions to
brainwash citizens and take away their rights. Mr. Jones partly finances his operation by selling
expensive nutritional supplements and vitamins between Infowars segments.

"To many, Jones is a bad joke," said the Southern Poverty Law Center, which tracks hate groups.
"But the sad reality is that he has millions of followers who listen to his radio show, watch his
'documentaries' and read his websites, and some of them, like Boston Marathon bomber
Tamerlan Tsarnaev, resort to deadly violence."

Mr. Jones and Infowars did not respond to requests for comment.

In a message posted on Tlvitter on Monday, Mr. Jones said: "The censorship of Infowars just
vindicates everything we've been saying. Now, who will stand against Tlranny and who will
stand for free speech? 'We're all Alex Jones now." He railed against the tech companies on his live
show on Monday, which was streamed on the Infowars website, saying their moves were part of a
leftist agenda in advance of the midterm elections. "I told you this was coming," he said to
viewers.

The big tech firms that control, via their websites and apps, how much of the world's media
content is distributed have faced criticism in recent weeks for enabling Mr. Jones and Infowars




https://trvww.nytimes.com/2018/08/06/technology/infowars-alex-jones-apple-facebook-spotify.html                                       2t4
812612018                         Alex Jones and lnfowars Content ls Removed From Apple, Facebook and YouTube - The New york ïmes

Some tech companies, including Facebook and GQogle, had appeared reluctant to remove Mr.
Jones's pages entirely and were instead taking action against specific videos or podcasts.
YouTirbe, for instance, recently deleted four of Mr. Jenes's videos.

A Google spokesman said on Monday that YouTube terminated Mr. Jones's channel outright
because he continued to flout policies he had already been penalized for violating.

Mr, Jones had amassed millions ef followers, but timiting his influence does not solve the problem
of false nerù/s. Hundreds of smalter publishers promote similar conspiracy theories, and millions
of followers help spread those theories by reposting thern. .4. new conspiracy theory calted eanon,
for instance, has been gaining traction outside of Mr. Jones's sphere. And Infowars followers can
also still repost videos and articles from the site onto YouTtrbe and Facebook.

But the moves are a significant hit to Mr. Jones's ability to reach wide audiences, and particularly
new followers. YouTl.lbe was a particularly important distribution channel, in part because
YouTirbe's recommendation engine frequently surfaced paçt Infowars videos to users who had
shown interest in conservative topics. Terminating his yAuTUbe channel erases ail of its past
videos and restricts it from posting new ones.

Mr. Jones and Infowars still have other ways to reach listeners and readers. They have
increasingly been directing viewers to visit the Infowars website, which would limit their reliance
on the tech companies, presumably foreseeing the bans. Twitter has not restricted the accounts of
Mr. Jones or Infowars. A Tþvitter spokesman said the accounts were not in violation of TWitter's
rules.

Other tech companies'approach has been uneven; they have left up Infowars content on some of
their services despite removing it from others.

infowars introduced a new smartphone app last month that is finding users on Apple's App store
and Google's PIay Store. From July 12 through Monday, the Infowars app was, on average, the
23rd most popular news app on the Google Play store and the 33rd most popular news app on
Apple's App Store, according to App Annie, an app analytiçs firm. On Monday, the Infowars app
ranked ahead of apps like BuzzFeed and The Watl Street Journal on Google, and ahead of apps
like MSNBC and Bloomberg on Apple.

Apple decided to allow the Infowars app on its store after reviewing it, according to a person close
to the company who spoke on condition of anon¡rmity. The Google Play Store has different policies
than YouTDbe, a Google spokesman said.

Matt Rivitz, a freelance copywriter who helps run a TWitter account, Sleeping Giants, that
pressures companies to distance themselves from far-right groups, said Monday that the tech
companies'nearly simultaneous moves against Mr. Jones proved they were acting in response to
public pressure, not new data showing he broke rules.
https://www.nyiimes.com/20'lBl08/06/technology/infowars-alex-jones-apple-facebook-spotify.html                                      314
812612018                          Alex Jones and lnfowars Content ls Removed From Apple, Facebook and YouTube - The New York Times

"The timing is very puzzlingbecause he's been saying this stuff for years and they haven't done
anything," Mr. Rivitz said.

Conservatives warned that more sites would be cut off soon.

'To all other conservative news outlets you are next," Paul Joseph Watson, a right-wing
                                       -
commentator and Infowars contributoç said on Tlvitter on Monday. "The great censorship purge
has truly begun."


Follow Jack Nicas on Twitter: @acknicas.

A version of th¡s article appears in print on Aug. 6, 2018, on Page A1 of the New York edition with the headline: Tech Giants Push lnfowars Off Dieital Soapbox




https://www.nytimes.com/2018/08/06/technology/infowars-alex-jones-apple-facebook-spotify.html                                                                     414
Lawyers for Sandy Hook victims accuse Alex Jones of deshoying                              evi...    http://thehill.com/homenews/media/402393-lawyers-for-sandy-hook-v.




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                                                      Lawyers representing the families of victims of the 2O12 Sandy Hook
             Mexico's new                             Elementary School shooting are accusing Alex Jones and his lnfowars
             government should                        business of intentionally destroying evidence relevânt to a defamation
             make press freedom               a       case they are bringing against him.
             prior¡ty
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                       - 4IM 65 AGO                  According to the motion obtained by The New York Tines, Jones
                                                     instructed h¡s staff to delete tweets after CNN reported his platform had
             Trump praises Tiger                     content that violated Twitter's policies.
             Woods for comments:
             'Wouldn't play the                      The families suing Jones claim that at least some of the deleted content
             game'
                                                     was deemed relevant evidence in theìr defamat¡on suit. The filing also
             ÂÐMlrtsr'RAll0N      -   43M 45S AGO
                                                     says Jones was told earlier this year that he was obligated by law to
                                                      preserve all material relevant to the cases.
             Jailer who ran 'Hanoi
             Hilton'says he liked,                   The lnfoWars owner is currently being sued by the families of nine victims
             respected McCain
                                                     who were killed in the 2012 shooting ¡n Connecticut for spreading lies
             åLOe ÊRtËflNS ROOM
             - 46M 53S AGO                           about the shooting.

                                                     Jones, a noted conspiracy theor¡st, has claimed the shooting was staged
             Report: Russian hackers
             targeted Orthodox                       and that the parents were involved in a cover up. The families sây Jones's
             clergy                                  conspiracy theories have led to them being harassed and threatened.
             SLOG BRI[ÍIÍG ROOM
             - 47M 37S AGO                           Jones has been under the spotlight in recent weeks as tech and social
             VIEW ALL
                                                     media companies have faced pressure to prevent him from spreading
                                                     false content onlinc.

                                                      ln recent days, Apple, Facebook, YouTube and other services have
                                                      blocked him for sharing content that violated their policies against hate
                                                      speech, inciting violence and child endangerment.

                                                      'As pressure mounted from pending defamation lawsuits and growing
                                                      public indignation, Mr. Jones chose to destroy evidence of his actual
                                                      malice and defamatory conduct," the mot¡on stated,
             Related Newo
                                                     "lnfoWars deleted critical evidence at the precise moment plaintiff and his
                                                     experts were attempting to marshal that evidence."

                                                      It is unclear how much content had been deleted to could be relevant to
                                                     the suit.
                                                                                                                        - EXHIBIT

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Lawyers for Sandy Hook victims accuse Alex Jones of destroying                               evi...       http://thehill.com/homenews/media/402393-lawyers-for-sandy-hook-v,,


                                                     Earlier this week, Twitter also toqk aqtìq4 against Jones, blocking him from
                                                     tweeting from his personal Tw¡tter account for one week after one of his
                                                     posts violated the platform's policies.

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              Poll: Dem leads by 24
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              Cybersecurity at...
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              'Why is he screaming...




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Alex Jones, InfoWars accused of destroying evidence related to   Sand...   https://money.cnn.com/20l8l08l17lmedia/alex-jones-sandy-hook-def




                   Alex Jones, Info\Mars accused of
                   destroyrng evidence related to Sandy Hook
                   suit
                   Tom Kludt



                   Attorneys representing the father of a Sandy
                   Hook shooting victim alleged Friday that far-
                   right conspiracy theorist Alex Jones
                   destroyed evidence related to their
                   defamation lawsuit against him.
                   In a motion filed in a Texas state court on behalf of Neil Heslin, the plaintiffs
                   lawyers said that Jones deleted Twitter posts, some of which dealt with the zorz
                   mass shooting, following a"ÇNN investigation that found Jones in violation of
                   the social media platform's rules.

                   Heslin, who lost his six-year-old son in the Sandy Hook massacre, is a plaintiffin
                   one of three separate defamation suits brought by victims' families against
                   Jones, who has falsely claimed that the shooting was a hoax carried out by
                   actors.

                   Aüorneys Mark Bankston, Kyle Farrar and William Ogden, who are representing
                   other Sandy Hook family members in a separate suit against Jones, said in the
                   motion Friday that they reached out to legal counsel for InfoWars, the
                   conspiratorial website run by Jones, to "confirm whether these fnews] reports
                   are accurate and these items have indeed been destroyed." They said that
                   InfoWars' attorney did not respond.

                   "Despite counsel's silence, it is clear from Mr. Jones'or,lrr admissions that
                   relevant evidence has been lost. As pressure mounted from pending defamation
                   lawsuits and growing public indignation, Mr. Jones chose to destroy the
                   evidence of his actual malice and defamatory conduct uncovered by [CNN]," the
                   attorneys said in the motion.

                   "InfoWars deleted critical evidence at the precise moment Plaintiffand his
                   experts were attempting to marshal that evidence," the motion continued. "At
                   this stage, it is unknovm exactly how much content has been deleted, though it
                   includes extensive social media materials and reportedly hundreds of hours of
                   video."
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Alex Jones, InfoWars accused of destroying evidence related to   Sand...   https://money.cnn.com/2018/08117lmedia/alex-jones-sandy-hook-def...



                   The attorneys for the plaintiff have requested "fees and costs to address the time
                   spent on this matter," which could be as much as hundreds of thousands of
                   dollars.

                   Jones'attorney did not immediately respond to a request for comment. Jones
                   said on his program that he had his staff delete the tweets in order to "take the
                   super high road."

                   The defamation lawsuits are only part of Jones' mounting turmoil as of late. His
                   social media presence has disintegrated, after Apple removed the full library of
                   his podcasts, YouTube terminated his account and Facebook unpublished his
                   pages. And following CNN's investigation, Twitter admitted late last week that
                   Jones was in violation of its rules but would remain on the platform.

                   That changed on Tuesd.ay, when fua$crsuspcndedJapes from the platform for
                   one week.

                   CNNMoney (New York) First published August tT, zor9t 6:23 PM ET




2   of2                                                                                                                    812612018,6:00 PM
812612018                                    Twitter Suspends Alex Jones and lnfowars for Seven Days - The New York Times


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Twitter Susp ends Alex Jones qnd
Infowqrs for Seuen Døys                                                                                         z    EXHIBIT
By Cecilia Kang and Kate Conger                                                                                 À    B-1.+
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Aug. 14,2018


WASHINGTON
                 - Twitter on Ttresday suspended the account of the far-right conspiracy theorist
Alex Jones for a week after he tweeted a link to a video calling for supporters to get their "battle
rifles" ready against media and others, in a violation of the company's rules against inciting
violence.

The social media company followed up on Wednesday by also suspending the account for
Infowars, the media website founded by Mr. Jones, for posting the same video.

The twin actions effectively prevent Mr. Jones and Infowars from tweeting or retweeting from
their Twitter accounts for seven days, though they will be able to browse the service.

The moves were TWitter's harshest against Mr. Jones and Infowars after other tech companies
took steps last week to ban them from their platforms. The removals began when Apple
announced it would purge videos and other content by Mr. Jones and Infowars because of hate
speech, followed by Facebook, YouT[be and then Spotify. Twitter was the sole holdout among the
major tech companies in not taking down content from Infowars and Mr. Jones, who has called
the Sandy Hook shooting a hoax conducted by crisis actors.

 Ttwitter's chief executive, Jack Dorsey, has been resolute in the company's decision to keep Mr.
 Jones's account online. He has said Tïvitter did not think that Infowars and Mr. Jones violated its
 rules, which prohibit direct threats of violence and some forms of hate speech but allow deception
 or misinformation.

 But the lack of action prompted criticism of Twitter from its users  and even from some of its
                                                                                                    -
 own employees. Late last week, Twitter began softening its tone, especially after CNN and others
 found more than half a dozen tweets from Mr. Jones that clearly violated the company's policies.
 TWitter said it ordered Mr. Jones to take those tweets down.

 Even so, Tïvitter's actions stop short of a full ban of Mr. Jones and his publication from Ttvitter and
 leaves many questions unanswered about what actually gets people or organizations booted off
 the service. The company's policy calls for the short-term suspension of an account after repeated
 violations, but Twitter declined to clarify how many offenses would terminate Mr. Jones's account
 permanently.

https://www.nytimes.com/2018/08/14ltechnology/twitter-alex-jones-suspension.html                                               1t2
812612018                                          Twitter Suspends Alex Jones and lnfowars for Seven Days - The New York Times

The suspension began after Mr. Jones tweeted or retweeted more than a dozentimes during the
day on Ttresday, including one post that linked to a live video session in which he apparently
called for violence against certain groups, including the media. After a user flagged the tweet,
TWitter said it determined the post violated its safety rules. Mr. Jones was ordered to take down
the tweet linking to the video broadcast on Periscope, the live-streaming service that is owned by
TWitter.

A Twitter spokesman declined to comment on Tuesday beyond confirming that Mr. Jones's new
tweet broke its rules and that he was frozen out of using the service for a week.

Not long after Mr. Jones's TWitter account was suspended, the Twitter account for Infowars
sprang into action. "@RealAlexJones is now in @Twitter prison!" the Infowars account tweeted.

Then on Wednesday, the Infowars account posted the same offending video                                                            and soon got the
same timeout. Twitter said it had no further comment.
                                                                                                                               -

"I feel any suspension, whether it be a permanent one or a temporary one, makes someone think
about their actions and their behaviors," Mr. Dorsey told NBC News in an interview on
Wednesday. Referring to Mr. Jones, he added, "Whether it works within this case to change some
of those behaviors and some of those actions, I don't know."


Follow Cecilia Kang and Kate Conger on Twitter: @ceciliakang and @kateconger,

Cecilia Kang reported from Washington and Kate Conger from New York.

A version of this   article appears in print on Aug, 14, 2018, on Page 82 of the New York edition with the headline: Twitter Suspends lnfowars Founder! Account
Over a Tweet




https://www.nytimes.com/2018/08/14ltechnology/twitter-alex-jones-suspension.html                                                                                  2t2
Why are you, U,S. Sen. Ted Cruz, defending Aìex Jones?             https ://www.mystatesman.com/news/opin ion/commentary-why-are-y..




                 Why are you, LJ.S. Sen. Ted Cruz, defending Alex
                 Jones?
                 by Kirkus Reuiews


                  Dear U.S. Sen. Ted Cruz,

                 As counsel for the Sandy Hook parents in their Texas defamation lawsuits, we ask that you
                 reconsider your recent statements about InfoWars host Alex Jones.

                 Over the past month, you have repeatedly defended Jones against Facebook's decision to
                 ban his account. Just a few days ago, you wrote yet another tweet defending InfoWars
                 against what you called "tech censorship online."

                 ALSO READ: LanÕrers ac_cgseAlçx_¡o¡ss "a_f_üe_lçllrg_eudenqe*in Saudy Haok
                 case!

                 When it comes to Jones, we can only presume that you are speaking from ignorance and
                 that you do not know the nature ofthe conduct you are now zealously defending, nor the
                 harm that has befallen my clients and many others. This is not a question of free speech.
                 This is not a question of disagreeing with a person's political views. This is a question of
                 just how much damage we're prepared to let a madman inflict on the lives of innocent
                 victims through malicious lies and willful harassment.

                  We beg that you have your staffprovide you the court filings in Pozner v. Jones, Cause No
                  D-r-GN-r8-oor84z, and that you read the affidavit of former Statesman editor Fred Zipp,
                  who details the monstrous five-year campaign of lies and dangerous harassment waged
                  against the Sandy Hook families. You'll learn that when Leonard Pozner had videos about
                  his son removed from YouTube, Jones retaliated by revealing addresses and displaying
                  maps that could be used to find the family. You'll learn that in zot7, an InfoWars follower
                  was sentenced to prison when law enforcement caught her stalking the Pozner family and
                  threatening their lives.

                  INSIGHT: \¡Vhy Alex Jones-or someone like him, will be back on social
                  plaüforrns,

                  Have your staffprovide you the court filings in Heslin v. Jones, Cause No. D-r-
                  GN-r8-oor835, and you'll learn that an InfoWars host laughed as he mocked a Sandy Hook
                  father as a fake, claiming he could prove the father was lying about having held his dead
                  chilcl. Read Lltese filings antl underslantl whal- he antl his reporters have done to ettdanger
                  the community in Newtown, Conn., before you say anything else about Jones.

                  It doesn't stop with Sandy Hook. Consult the court filings in Fontaine v. Jones, Cause No.
                  D-r-GN-r8-oor6o5, and read the affidavit of former Snopes.com editor Brooke Binkowski.

                  You'll learn that InfoWars maliciously accused an innocent young man of being the shooter
                  in Parkland, Fla., based on a tip from neo-Nazi trolls on a gutter website famous for child
                  pornography and other illegal activity. After InfoWars spread his image to millions, and as
                  Jones insisted Parkland was a "false flag," conspiracy fanatics harassed this young man and
                  threatened his life, alleging he was a "crisis actor."
                                                                                      -   EXHIBIT

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Why are you, U.S. Sen. Ted Cruz, defending Alex Jones?             https //www. mystatesman. com/news/opin ion/comm entary-why-are-y
                                                                       :




                 LIKE US ON FACEBOOK¡ OurViervpoints page brings the latest opinions to
                 VQEIfeed.
                 Nor does it stop with the cases we are handling here in Texas. Jones also faces lawsuits in
                 Virginia, Connecticut and Ohio. An armed InfoWars follower opened fire inside apizzefia
                 following Jones'bizarre lies about a pedophile dungeon in the basement run by
                 Washington, D.C., elites. Jones told his followers that "you have to go investigate it for
                 yourself." After Jones told his viewers that the Sutherland Springs church shooting was an
                 operation ordered by the "deep state," conspiracy fanatics yelled violent threats at the
                 pastor.

                 We're not sure what it will take for you to stop defending Jones. Does a Sandy Hook parent
                 need to die before Facebook is allowed to deny this man a platform for his mayhem on their
                 private service? Our clients fully recognize that if .Iones wants to tell lies about them in the
                 public square, there is very little anyone can do outside a courtroom to stop him. But we ask
                 you not to defend the idea that private companies like Facebook must empower Jones to
                 harass and endanger the lives of innocent victims.

                  LETTBRS TO THE EDITOR: Qlisk_this- link-to submit your opinions.

                 Nor is this a political issue, nor a fight between Democrats and Republicans. Jones accused
                 President Bush of staging 9/rr, and he attacked your family, claiming your father, Rafael
                 Cruz, killed JFK. Ever since the eor6 campaign, we have never understood whyyou refused
                 to stand up for your family against the people who spread these lies - and you worked hard
                 to ingratiate yourself to them. We are sure you had your reasons. And we are not asking you
                 to stand up for the Sandy Hook families now; we just want you to fully understand what
                 you are defending before you throw the weight of your office behind the man who has
                 tormented their lives and so many others.

                  Bankston and Ogden are attorneAs representing Sandy Hookparents inTexas
                  defamation law suit s ag ainst J ones.




2   of2                                                                                                            812512018,3:47 PM
Alex Jones destroyed evidence in Sandy Hook case, ctaim   says   https://www.nbcnews.com/news/us-news/alex-jones-destroyed-eviden...




                  Alex Jones destroyed evidence in Sandy                                                     -    EXHIBIl
                  Hook case, claim says                                                                      E


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                  Get breaking news alerts and special reports. The news and stories that matter,
                  delivered weekday mornings.

                  Far-right agitator Alex Jones has been deleting social media posts about his
                  conspiracy theory that the zoLz Sandy Hook mass shooting, which took the lives
                  of zo children and six adults, was a government hoax.

                  A Friday court filing on behalf of the father of a victim of the attack claims the
                  removal amounts to destruction of evidence. The deletion of content that reflects
                  Jones'view of the tragedy as a manufactured story using actors means that
                  evidence is lost, the motion for sanctions claims.

                  Jones has been under pressure from critics who believe he and his Infowars
                  brand shouldn't have free reign to inflict pain on victims via social media
                  platforms. Facebook, YouTTrbe andApple have taken steps to remove Jones and
                  Infowars. T\n'itter put Jones' account on a seven-day timeout Tuesday after
                  finding that a post linking to a video in which he told his listeners to get "battle
                  rifles" ready was a violation of its terms.

                  Infowars' reports and videos on Sandy Hook have blamed victims' parents, as
                  well as the government, for manufacturing what it states was a hoax. Parents
                  have been singled out by Jones, and his followers have issued threats agaipg[
                  them.

                  Jones said during an Infowars broadcast last week that he instructed staffers to
                  delete some social media posts in reaction to a news report the previous day that
                  pointed out several posts appeared to violate TWitter's rules.

                  " ... It is clear from Mr. Jones'own admissions that relevant evidence has been
                  lost," the filing reads. "As pressure mounted from pending defamation lawsuits
                  and growing public indignation, Mr. Jones chose to destroy the evidence of his
                  actual malice and defamatory conduct ... "

                  Southern California journalist Brooke Binkowski has been tracking Jones'social
                  media, and her work was cited in the Texas claim. It states Binkowski "was able
                  to confirm that specific InfoWars messages" were deleted after news reports
                  came out about their apparent violation of Tkitter's rules.

                  "I think he might have deleted every single reference to Sandy Hook parents,"
                  she told NBC News.

                  But while the filing claims "these materials are fruitful sources of evidence,"
                  Binkowski says she has preserved it. "I got it all," she said.


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             w
August 9, 2018                                                                Via Federal Express and Cmail

Google LLC
1ö00 Amphitheatre Farkway
M0unta¡n View CA 94043

Attn: ¡\lex Jones and Buckley Hamman
Free Speech Systems, Lt-C ("Partner")
3019 Alvin DeVane Blvd Suite 350
Austin Texas 78741
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Attention : Legal Department
Re: Termination of tontent Agreernents

Dear Sir:

We write on behalf of Google LLÇ f/k/a Google tnc. ("Google") to inform you that wË are exercising our
contractual rights to terminate the Content Hosting $ervices Agreement rCHSA'), dated December 12, 2013,
and as amended on July 24, 2û15. This letter serves as written notice that Google is exercising its right to
terminate the CH$A on 30 days prior written notice under section 1 1.2.

AccordÌngly, the Glt$A will be terminated as of September 10, 2018. The Sections that är€ described as
surviving in the CHSA will survive termination" Upon termination, your Content Owner will be dissolved, but any
active channels within that Content Owner and any live videos on those channels will remain.

This notice is not a waiver of any claims or defenses available to Google, including those set forth under the
agreements.

Signed by an authorized representative of Google:

By:


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August 16,2018                                                                 wwwbakerlaw.conl

                                                                               Mark L Bailen
                                                                               direct dial: 202.861,1715
                                                                               MBailen@bakerlaw. com




VIA FEDEX
Philipp Schindler
Senior Vice President
Google LLC
I 600 Amphitheatre Parkway
Mountain View, CA94043


Dear Mr. Schindler

We represent Free Speech Systems, LLC ("Free Speech") in certain federal court matters. Free
Speech has forwarded to us your letter of August 9,2018 regarding notice of termination of a
Content Hosting Services Agreement ("CHSA"), dated December 12,2013 and as amended on
July 24,2015. In accordance with its obligations in the court cases referenced above (as well as
other litigated matters), Free Speech is required to preserve evidence including documents and
videos posted pursuant to the CHSA.

It is not clear from your letter the specific grounds upon which Google is relying to terminate the
CHSA. It is also not clear what is meant by your statement that "your Content Owner will be
dissolved, but any active channels within that Content Owner and any live videos on those
channels will remain." Please clarify what you mean by this statement and send us a copy of the
CHSA, including all amendmentso and any other documents that define "Content Owner" as
referenced in the statement above.

Further, in light of its preservation obligations, Free Speech asks that Google refrain from
deleting, destroying, dissolving, or otherwise rendering inoperable any videos or other
documents posted by Free Speech or Alex Jones (or others at their direction) until Free Speech
has retrieved all of the materials. We understand that Free Speech is currently unable to access
these materials because its account is frozen.

You can email a copy of the CHSA to me at mbailen(ã,bakerlaw.com. Please do so as soon                     as
possible.

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August 16, 201 8
Page 2


Thank you for your attention to this matter and please feel free to contact me if you have any
questions or would like to discuss further.

Sincerely,




Mark I. Bailen
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Partner
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   FA                           ALL "*
   TEXAS   I   FLoRIOA

                                                                                                                                     May 25, 2018


        Vía Fqqs.tmtlg : 5 I 2472-5 24Ê

        Mr. Erio Taube
        Registered Agent for Free Speech Systerns, LLC
        Waller Lansden Dortch & Davis, LLP
        100 Congress Ave., Ste, 1800
        Austin, Texas 78701

                  Re         Cause No, D-l-GN-18-001842' Leonard Pozner and Veronique De La l?osa ys. Alex E.
                             Jones, et   al.,lnthe 345th District Court of Travis County, Texas.

        Dear Mr. Taube,

                 I understand from discussions with my associate Mr, Ogden that you contacted my office today
        asking that my clients grant a favor to Mr, Jonçs and Infowars by allowing thcm an extension of time to
        file an answer to the lawsuit brought by the Pozners. It is my undersf¿nding that Mr. Jones has requested
        we gra¡rt him this favor bccause he has not yot been able to seoure oounsel to defend him against these
        claims.

                 Frankly, Mr. Jones' failure to secure legal representation is none of our soncem. We expect Mr.
        Jones and Infowars    to file a timely €rnswer regardless of when he is able to locate an attorney wi[ing to
        defend him. Additionally, in light of the years of torment Mr. Jones has inflicted on my clients, and in
        light of his continuing slander against my clients and our law firm, we have absolutely no inclination to do
        any favors for Mr. Jones. Indeed, during Mr. Jones' unhinged rant broadcast yesterday on Infowars, Mr.
        Jones referred to the members of my law firm as "devil-people." His request for an extension is tlrerçfore
        denied.

                 Furthermore, Mr. Jones needs to understand that the only focus of ow law firm is to safeguard the
        interests and well-being of our clients. We will never ûake any action in this suit which provides Mr. Jones
        any benefÏt aÍ their detriment. As such, there will bp no favors or extensions in this oase. This case will
        proceed acoording to the Texas Rules              of Civil Procedure, and we expeçt Mr, Jones to comply with the
        commands of the law,

               Finally, I would like to note that for the record that our law firm is committed to transparency
        through the pendency of these lawsuits. For that reason, we ptær to make available to the general public
        and media copies of all correspondence and pleadings which arise in this lawsuit, including this tetter.



                                                                                   Sincerely,



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                                                                                   Kaster Lynch Farrar & Ball
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You lube removes AIex Jones' page,   following earlier bans   https ://wwwcnbc.com/20 I 8/0 8/06/youtube-removes-alex-jones-accou.




                  YouTube rernoves AIex Jones'page,
                  following earlier bans
                  ,Sara Salinas



                  YouT\¡be has removedAlex Jongs'page, following bans earlier Mondayfrom
                  Apple and Faceþook.

                  The Alex Jones Channel, which counts 2.4 million subscribers, still appeared in
                  YouTi¡be search results by midday Monday, but presented only a take-down
                  notice when users clieked in.

                  '"This account has been terminated for violating YouTbbe's community
                  Guidelines," the notice said.




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                   Google had previously declined to comment on the InfoWars host's standing, but
                   said in a statement to CNBC in response to the removal of the page: "All users
                   agree to comply with our Terms of Service and Community Guidelines when
                   they sign up to use YouTube. When users violate these policies repeatedly, like
                   our policies against hate speech and harassment or our terms prohibiting



I of2                                                                                                           8126/2018,7:26 PM
You'l ube removes Alex Jones' page,   following earlier bans   https://wwwcnbc.com/20   I   8/08/06/youtube-removes-alex-j ones-accou..



                   circumvention of our enforcement measures, we terminate their accounts.f'

                   YouT\rbe counts "strikes" against pages for posts that violate the company's
                   policies. Jones received a strike in July when he posted four videos that violated
                   YouT[be policies against child endangerment andhate speech, the company
                   saidin a statementto CNBC.

                   A page with one strike against it is suspended from live streaming for 9o days,
                   YouTube said, but Jones attempted to circumvent the suspension by live
                   streaming on other channels. As a result, his page was terminated, the company
                   said.

                   The InfoWars YouTube page, which has significantly fewer subseribers, was still
                   live as of noon ET.

                   Jones and his controversial radio show have for several weeks been at the center
                   of a debate around fake news and misinformation on digital platforms. Facebook
                   and CEO Mark Zuckerberg drew criticism last month for declining to remove the
                   InfoWars page.

                   Music streaming service Spotiû¡ removed InfoWars podcasts lastweeþ and
                   Apple and Facebook each cited violations of company policies regarding hate
                   speech in banning Jones on Monday.

                   Jones confirmed on TWitter that he had been banned by Facebooþ Apple and
                   Spotift.

                   "What conservative news outlet will be next?" he tweeted.




                   #
                   Facebook, YouTube and Apple delete Alex Jones content
                   Apple confirmed on Monday that it had removed five out of six podcasts, which
                   includes AIex Jones' infamous The Alex Jones Show. Facebook has also removed
                   four pages that belong to Jones. YouTube followed suit later, removing his
                   channel from its platform. YouTube removed Jones' ofñcial channel because he
                   continued to livestream on other channels even though he was banned for 9o
                   days due to previous violations.

                   o1:13




2   of2                                                                                                             812612018,7:26 PM
8t27t2018                                      Poll: Majority believe Alex Jones should be banned from social media platforms I TheHill
                                                                                                                                          - EXHIBIT
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                                               Poll¡ Major¡ty believe Alex Jonr
                                               should be banned from social I
                                               platforms
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      Why bailouts won't
      make the electric grid
      more resilient
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       Lawmakers demand
       action, hearing in
       response to VA
       improperly denying
       sexual trauma claims
       DEFEN$Ê *.   IlM   åS$ A6O



       Poll: GOP Rep. Duncan
       Hunter up by 8 points                                                                              \#
       despite indictment                                                                                  ñr s.-"d,,.   i:

       CAMPAIGN .* T$M SS ÅSO
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                                                                                                          ß',î-'"''.'
       New York City fines
       Kushner Companies                        A majority of voters think social media companies should ban lnfowars
       $21O,OOO for filing false
       paperwork                                founder Alex Jones from their platforms, according to a Harvard
       ADMINISTRATION       *   ?OM 38$ J\SO
                                                CAPS/Harris poll released exclusively to The l{ill.

                                                The poll showed 61 percent of registered voters surveyed believed Jones,
       Trump administration to                  who spreads unfounded conspiracy theoríes through his radio show
       disburse first $6 billion                lnfowars, should be banned from the sites of tech companies, while 3g
       in farm bailout
                                                percent disagree.
       ADMINISTRATION -* â3M,ISS AT}T)


                                                Jones, who has claimed that the 9/'11 terrorist attacks were perpetrated by
       GOP lawmakers urge                       the government and that the Sandy Hook massacre was a hoax, was
       improvements to cyber                    banned from Facebook for 30 days and from Twitter for a week for
       vulnerabi lities resource
                                                violating the company's guidelines. Other social media companies have
       CYBSRSÊCURÍTY *.?6M S?$         {,ç0
                                                also followed suit.

       Top Japanese official:                   However, some conservatives such as Sen. Ted Cruz (R-Texas) hglle_
       China tech success                                          saying it violated Jones's First Amendment rights. Meanwhile
                                                -q_þj-e-_c'1-ç_-d,
       aided by totalitarianism                 Republicans including President Trump have accused social media
       TECHNOLOGY     *   30M S{)$ ÅS{)
                                                companies of censoring conservative voices.

       Trump damages law                        Sixty-four percent of those polled said platforms like Facebook and Twitter
       enforcement by                           should be held legally liable for the content that's published on their sites.
       condemning 'flipping'                    Websites currently have broad legal protections related to what their
       of criminals like Cohen
                                                users post, though some lawmakers advocate cutt¡ng into that immunity.
       optNtoN *" 31M 4TS       /NüÕ



                                                                                                                                                 1t2
8t27t2018                                            Poll: Majority believe Alex Jones should be banned from social media platforms I TheHill

       VIEW ALL                                       Voters are slightly less sure about whether tech companies should be able
                                                      to take dclwn c¡r censor content.

                                                      When asked if internet users should be allowed to freely access all
                                                      internet content or if some thìngs should be censored, 51 percent favored
                                                      censorship while 49 percent said all content should be accessible.

                                                      "Most Americans believe that big tech companies should censor some
                                                      content but they believe such censorship should be limited to the
                                                      standards of the First Amendment and community decency
        Relatecj        News        by                standards," said Harvard CAPS/Harris Poll co-director Mark Penn.
                                            r




                                                      "They believe Alex Jones should have had only material related to false
                                                      conspiracies removed, not wholesale removal of all his material," he
                                                      added.
            MCWL


        Cohen attorney jeered                         "But if tech companies contínue to âct like and be seen as media
        on NBC after soliciting...                    companies then nrost of the public thirrks they should be held
                                                      accountable for all of the material they carry, which would be a sea
                                                      change in liability for these companies," he also noted.
                                                      When asked about speciTic companies, 65 percent of those polled said
                                                      they believed Facebook was neutral, while 56 percent thought that was
                                                      the case with Twitter and 55 percent with Google and YouTube.
        5 Great EmailMarketing                        Meanwhile, 50 percent thought of lnstagram as neutral.
        Services For Your...
        Sponsored   I   WordPress.com                 The Harvard CAPS/Harris Poll online poll consisted of surveys of 1,330
                                                      registered voters conducted Aug.22-23. The partisan breakdown is 37
                                                      percent Democrat, 32 percent Republican, 29 percent independent and 2
                                                      percent other.

                                                      The Harvard CAPS/Harris Poll is a collaboration of the Center for American
        Second ex-Walker                              Political Studies at Harvard University and The Harris Poll. The Hill will be
        Cabinet member backs..                        working with Harvard/Harris Poll throughour 2O18,

                                                      The Harvard CAPS/Harris Poll survey is an online sample drawn from the
                                                      Harris Panel and weighted to reflect known demographics. As a
                                                      representative online sample. it does not report a probability confidence
                                                      interva l.

        Hunter's hometown                             TAGT DONALDTRUMP TEDCRUZ TWITTER FAKENEWS INFOWARS CENSORSHIP FACEBOOK
        paper demands his..                           SOCIAL MEDIA




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                                   NO. D-1-GN-18-001835

NEIL HESLIN,                                   $              IN THE DISTRICT COURT OF
                                               $
       Plaintffi                               $
                                               $
                                               $              TRAVIS COUNTY, TEXAS
                                               $
ALEX E. JONES, INFOV/ARS, LLC,                 $
FREE SPEECH SYSTEMS, LLC, and                  $
OV/EN SHROYER                                  $
       Defendants                              $              26   I't JUDICIAL DISTRICT


                          AF'FIDAVIT OF MARK C. ENOCH

STATE OF TEXAS               $
                             $
COLINTY OF DALLAS            $



       I, Mark C. Enoch, do hereby declare under penalty of perjury that the following is

true and correct.

       1.     My name is Mark C. Enoch.            I am fully competent and capable in all
respects to make this Affidavit. As lead counsel in this case,   I have become familiar with

the facts by reviewing documents and speaking with witnesses, I have read the pleadings

and discovered and reviewed evidence and have studied the statutory and common law

relating to the causes of action alleged by PlaintifÏ, the law relating to discovery that may

bc allowcd under the Texas Citizens Participation Act, and the law relating to sanctions.

Based upon my role as lead counsel in this case and the work that        I   have done,   I have
personal knowledge    of all of the facts stated in this Affidavit,    and they are true and

correct. This Affidavit is submitted in connection with Defendants'              Response to


                                                   -   EXHIBIT
AFFIDAVIT OF MARK C. ENOCH       (Sanctions)                                              Page I
                                                   A
                                                   2
Plaintiffls Motion for Sanctions and Motion for Expedited Discovery and Defendants'

Motion for Sanctions contained therein filed in the above-styled litigation.

       2.     I   am an attorney duly licensed to practice law in the State of Texas and

have been continuously licensed and have practiced civil trial and appellate law since

t979. I   am with the law firm of Glast, Phillips     & Murray,    P.C. which represents the

Defendants in the above-styled litigation. My practice has been devoted to civil litigation

such as this in state and federal court. I have been continuously certif,red in civil trial law

by the Texas Board of Legal Specialization since 1988. I have also been involved in civil

appeals and have prepared appellate briefs and arguments

       3.     My standard hourly billing rate and my hourly billing rate for this matter is

$535. The other senior-level attorneys, associate attorneys and paralegal who have

worked on this matter also have billed at the flrrm's standard hourly billing rates for each

such senior-level attorney, associate attorneys and paralegal. The hourly billing rates for

the two other senior-level attorneys is $390 and S400 respectively. The hourly billing

rates for the associate is $290. The firm's standard hourly billing rate for the paralegal

who has worked on this matter is $110

       4.     I am familiar with   rates charged by attorneys and paralegals in Dallas and

surrounding counties as well as rates charged by attorneys and paralegals in Travis and

surrounding counties for    civil litigation matters and these hourly rates are reasonable

when compared to customary and typical hourly rates charged in those areas of Texas for

attorneys with similar education, experience, training and abilities.




AFFIDAVIT OF MARK C. ENOCH        (Sanctions)                                            Page2
       5.        On August 17,2018 Plaintiff s counsel filed his Motion for Sanctions for

Intentional Destruction of Evidence. He did this when he knew that I was away from the

office on a vacation of which he was properly notif,red on June 29, 2018. A true and

correct copy of    that vacation/unavailability letter       sent to Plaintiff s counsel is attached

hereto marked as Exhibit        A.    In addition, I had informed Plaintiffls counsel before my

vacation that during my time away             I would   be "largely unavailable" for my two week

vacation.

       6.        As a result of this filing, Defendants incurred reasonable and           necessary

attorney's fees and costs directly related to responding to this motion.

       7.        Because   I   was out of the office with limited phone and internet service,

communication with attorneys and staff in the office was inefficient. For example, I

spent more than three hours in the days after Plaintiffs flrling just trying to send and

receive emails that otherwise would have taken seconds

       8.        The total     of   fees billed by Glast, Phillips    &   Murray and incurred by

Defendants as a direct result of Plaintiff s Motion for Sanctions through the date of this

affidavit   in   connection     with    responding      to that motion is    $28,162.00 and the

communication expenses total $75.00. Based on my education, experience and training,

it is my opinion that a.) the law firm's hourly rates are reasonable               and typical and

customary for similar legal services in Travis and Dallas Counties and b.) that the total

fees billed as of this date were and are both reasonable and necessary to properly defend

against Plaintiffls motion.     It is my further opinion based upon my education, training      and

experience that the time expended on each individual task completed by Glast, Phillips            &

AFFIDAVIT OF MARK C. ENOCH             (Sanctions)                                            Page 3
Murray in this matter in preparing the response was appropriate, reasonable                  and

necessary and that the lawyer and/or paralegal was appropriately assigned to each task.

The total amount incurred by Defendants includes fees associated with, among other

things, reviewing the motion and exhibits, reviewing case law, reviewing emails and

coffespondence relevant      to the motion, reviewing and commenting on drafts of            the

response, preparing a letter to the Court dated August 21, 2018 and investigating the

allegations.

       9.       Furthermore,   I   estimate that further legal work    will be reasonable   and

necessary to prepare     for and attend the August 30 hearing. For this anticipated legal

work, I estimate, and my opinion is, based on my education, experience and training, that

Defendants     will incur additional   reasonable and necessary attorney fees in an amount    of

approximately $3,275.00

       10.      Based upon my education, experience and training,      it is my opinion that the

above rates and amounts are reasonable and necessary for the services rendered and to be

rendered considering, among other things, the novelty and difficulty             of the issues
involved, the skill and training of the lawyers involved and the skill required to provide

the legal services properly, the time and labor involved to perform the legal services

properly, the fee customarily charged             in the community for similar services,    time

constraints placed on the lawyers by the clients and circumstances of the case and the

issues and amounts involved and the results obtained.




AFFIDAVIT OF MARK C. ENOCH          (Sanctions)                                          Page 4
Executed in Dallas County, State of Texas




                                             Mark C



       SWORN TO and SUBSCRIBED before me by Mark C. Enoch on August 27,
2018




                                              Notary Publ      and for
                                                 the State of Texas

My Commission Expires
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                                                          Comm.          20,21




AFFIDAVIT OF MARK C. ENOCH     (Sanctions)                                       Page 5
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  MARK C. ENOCH, J.D., M.B.A.
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 BOARDCERTIFIED- CIVIL TRIAL LAW            Dnlms, TEXAS 75240-6657
      TEXAS BOARÞ OF LEGAL
         SPECIALIZATION




                                                Jwrc29,2018



Via efiling

Clerk, 26lst District Court
Travis County
1000 Guadalupe, 5th           floor
Austin, TX 78701

        Re        Amended Vacation/Unavailability Letter; Neil Heslin v.
                  Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC and
                  Owen Shroyer; Cause No. D-1-GN-18-001835,261st District
                   Court, Travis County, Texas
Dear Clerk

        I will be on vacation/unavailable on the following dates

July 14 - August 1
August 12 - August26

        Please do not schedule any hearings or courttrial dates during this time-frame. By
copy of this letter I am requesting that opposing counsel not schedule any hearings or
depositions during this time period as well. Thank you for your attention to this matter.



                                                            Very truly yours,

                                                            /s/ tøør{ç.   tEnocfi


                                                            Mark C. Enoch


MCE:mji
cc: Mr. Mark D. Bankston(via e-service)

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NEIL HESLIN,                                            $                    IN THE DISTRICT COURT OF
                                                        $
        Plaintiff                                       $
                                                        $
V                                                       $                    TRAVIS COUNTY, TEXAS
                                                        $
AI,EX E. .IONES, INFOWARS, LLC,                          $
FREE SPEECH SYSTEMS, LLC, and                            $
OWEN SF{ROYER                                            $
        Defendants                                       $                   26I't JUDICIAL DISTRICT


    SUPPLEMENTAI, AF'F'IDAVITS IN SUPPORT OF DEFENDANTS' MOTION TO
         DISMISS UNDER TTIE TEXAS CITIZENS PARTICIPATION ACT

        COME NOW, Defendants Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC,

and Owen Shroyer (collectively, the o'Defendants"), and hereby file supplemental affidavits in

support of their Motion to Dismiss Under the Texas Citizens Participation Act.

        Defendants hereby file the Affidavit of Alex Jones attached hereto as Exhibit           "A"   and the

Affidavit of Owen Shroyer attached hereto         as   Exhibit "B."


                                                    RESPECTFULLY SUBMITTED,

                                                    GLAST, PHILLPS & MURRAY, P.C.


                                                            /s/ tuLarÊ. C. (Enocñ
                                                    Mark C. Enoch
                                                    State Bar No. 06630360
                                                    14801 Quorum Drive, Suite 500
                                                    Dallas, Texas 7 5254-1449
                                                    Telephone: 972-419-8366
                                                    Facsimile: 972-419-8329
                                                    flf6ftq@yerl¡on.ns!


                                                    ATTORNEY FOR DEFENDANTS




Supplemental Affidavits in Support of Defendants' Motion to f)ismiss under
the Texas Citizens Participation Act - Page 1
                                      CERTIF'ICA         OF SERVICE

         Ihereby certify that on this 28th day of August, 2018, the foregoing was sent via
efiletxcourts.gov's e-service system to the following:


Mark Bankston
Kaster Lynch Farrar & Ball
1010 Lamar, Suite 1600
Houston, T){77002
713-221-8300
$ark@fbt&!"çe!q



                                                                  /s/ Mark C. Enoch
                                                            Mark C. Enoch




Supplemental Affidavits in Support of Defendants' Motion to Dismiss under
                                  -
the Texas Citizens Participation Act Page 2
                                       NO. D-t-cN-t 8-001835

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O\It'üN SI-IROYÏR.                                  $
        De.lentlunts                                ¡ì
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                                                                                   .ILJDICIAT DISTRICT
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                             AFFTþÀVTT OFA} NX F. JTNES

S]ATh] OF TËXAS               ii
                              ti
CÜI.JNTY OË T"R,AVIS          sq




       I}IFCIRä Mü. the undersignecl notary public. cn this clay personally                   appeared

,A,iex H. Jones. knorvn to me      to be the pcrsûn whose nanÌe is suhscribed belolv. and who

on his oath. deposcd and stated as f'ollorvs:

       l.       My narne is Alex ll. .lones. I am over the agc af 2l years. have never            been

convicted Ûf a f'elony ür crime involving m*rnl turpituele, am of souncJ mind,
                                                                               and arn fully

cÛtnpetent to make this   aflidavit. I       have personal knowledge ol'the làcts herein stateel

and they *re true a¡¡d correct.

       2.      I lrave reviervcd the afïïdavit oi' llrooke Binkowski filed es part of the
response    to the Defundants' Motion to Disrniss. While she claims a                     "cooperative

relationship" betrveett lnfolvars and Zero Hedge rvith some fiort of ag¡eement to promote

ancl endorse each ûther's contents,         this statement is fblse. None of the Def-endants       has


                                                EXHIBIT
                                       ¡i
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                                       a,
svÈr cooperatecl in an)¡ wtìv rvith Zero I'ledge nor have Delbndants anct Z*er6 l-ledge ever

promoï"ed c¡r çndorsed each other's cCIntent.     At times. Infirr.vars has cited. discussed    and

commented on articles pclsted by l,ero Hedge irs wÍrs done in this case. Many, meny

others have cited their rvork besides l)efendants. Neither I nor anyone affiliated çsith the

Dstèndants lias ever known the identity ol'any contrihutor Ío or editor of , or orvner of,

either iBankcoin or Zero l"Iedge. It has ahvays been my understanding that whoever thev

are, tlrev guard their personal identities zealously hecause            of   concerns f'or personal

reprisals such as I arrd other conservatives have experienced.

       3.        Ms. Binkçwski's statement that Infbwars rvas collahorating lvith Zero

l"ledge is fblse. ilefbndants haroe nsver nor on this occ*sion dicl Defbriclants cnllabornte.

cooperate ûr cömrnunicate rvith Zerû I ledge about any article inclucling the article that

was discussed in the hroadcasts which are the subject of this larvsuif.

       4.        Ms. Binkorvski's aclditional statements that Defendantso broatlcasts rvhich

are the subject of this actiûn lvere provûlied and in retaliarion   for Ms. llcslin's appearance

on the NBC broadcast, are lblse as well. 'lhe statements            I   made during the .lut1, 2û

broaclcasf and the statements rnacle hy Orven $hroyer which             I shorved in the broadcast
were motivated cnlv by rny desire to criticize Megyn Kelly anel NBC's slanted roverage

01-lnv view.s.

       5.        Finally, Ms. Rinkowski nlleges that Zero Hedge is a "dubious" source of

infbrmation and promotes only "fake news." White she may have this personal opinion.




,AFF|DÂVíT   Of ,ql,AX   E. JONH.S   -   Page Z
llly' ûpifiiorT is ÛthenvÌse. I d+ not anti have never consid¡:red sither ißankcoin or Zero

I iedge n    " duhious"   sûLtËËe.


        6.        It   appears that Ms. Birtkor,vski's opinion üt'thern is basr.d wpon her or.vn

perc*pti0n and p*rsanal liben¿i               hias. lîar example, she cTairns that "n¡r cÐmpeteflt
jonrnalist would republ**h allegation¡ fïom an ånrnyûæuË'o source. Joumalists ¿nql

repûrters a[] cver tlre r*'crld har":c and continue tÕ åcreFt infannati*n fiom anÕnymoss

.!i0ürüe$.


         1.      Ëurther, tr\4*. Ilinkor¡'ski i,ç nöt   *   disinterested pçrson. Att.tchetl hereto arrd

marked as      llxhihit T is u tnre alrci üüffeel       eop.v   of Brooke ßi1kçrvsk,i's      Tweet   rlateql

April 16,2Û18. the day this lar.vsuit was filerl                 against üefe¡rdants. which attaches

tümmcåts" l{er'l"weet th{ü {iâte lva* "ükay, üod, nrlr,v do Alex Jçnes." I interpret               fh¿rt tc:

meûü she rt:nnted rne and Inf'*wars tu saffer           harm. Ëvid*ntly her fbllo$'ers did        as lvell

because they' r.vanted           ts   "thr{rlv ino' cther rvell*known politicatly           Çon$ervatiye

personalitie"s   int* {}ocl'.t   o"doir:g"
                                               including Rush Li¡ntraugh, [..,äurä Ingraham, N*ncy

ürace and Aun Cqlulter"

         8"      Regareiing Megyn Kelly:s intervier.v of me far NBC,              I   tolrt Ms. Kelly that

r'vifh respect to S:andy å{oek.       "In hinilsight, I think it probably ditt happen." but shs tiiri

not i*clude thic in the airsd broadcasl.

        Ëçnher,4ffianf Sayeth N*f         .




AfiFXIlAVll'üFAn-ËX Ë. JöNËS^ page             3
      SwoRN To and SUBSCRIBED before me by Alex E. Jsnes     on August 28 , 2018.



     TIMOTHY JAMES FRUGE
    Not¡ry Public. Stato of
    Comm. Expires 01-21 -Zt?Z
                   t29781308
                                           Notary      ic in and for
                                              the State ofTexas

My Commission Expires:

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            OF AI,EX E. JOI.{Ë,S - Paæ 4
^FFIDAVIT
8125t2018                                                         Brooke Binkowsk¡ on Twitter: "Okay, God, now do Alex Jones."




                   w             Brooke Binkowsk¡ {Ð
                                 @brooklynmarie
                                                                                                                        Follow


                   Okay, God, now do Alex Jones.
                   L2:00 PM -      1"6   Apr    201-B



                   547 Retweets 3,373 Likes
                                                                   Ö@4l Wffi&ffiWffi
                   Ç 6s               tf        s47                 3.4K



                                 Satan @LuciferGOP .Apr L6
                                 Replying to @brooklynmarie @AngrierWHStaff
                   å
                         .;
                                 Just spoke with the big guy, he's willing to do Alex Jones if I throw in Rush
                                 Limbaugh.


                         #
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                   rîffi
                                 PaulClewell @paulclewell 'Apr                     1"6


                   rffi          I don't see a problem here,

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                                 Satan @LuciferGOP .Apr L6
                                 None whatsoever
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                                 todd harms @TfredharmsTodcJ . Apr 1"6
                        W        Could we throw in Laura Inqrham too?
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                                 PaulClewell @paulclewell .Apr L6

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                                 Oh! Oh! And Nancy Grace, please!

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                                 Paul Clewell @paulclewell 'Apr                     1"6
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                                 Also good.

https://twitter.com/brooklynmarie/status/9859     561 94954   1   00736?lan g=s¡                             ê
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                                NO. D-1-GN-18-001835

NEII, HESLIN,                                $          IN THE DISTRICT COIJRT OF
                                             $
      Plaintffi                              $
                                             $
V                                            $             TRAVIS COLTNTY, TEXAS
                                             $
ALEX E. JONES, INFOWARS, LLL,                $
FREE SPEECH SYSTEMS, LLC, and                $
OV/EN SHROYER,                               $
      Defendants                             $             26 1't   JUDICIAL DISTRICT

                          AFFIDAVIT OF OWEN SHROYER
STATE OF TEXAS              $
                            $
COLINTY OF TRAVIS           $



       BEFORE ME, the undersigned notary public, on this day personally appeared

Owen Shroyer, known to me to be the person whose name is subscribed below, and who

on his oath, deposed and stated as follows

       1.     My name is Owen Shro¡'er. I am over the age of 2l years, have never been

convicted of a felony or crime involving moral turpitude, am of sound mind, and am fully

competent to make this   affidavit. I have personal knowledge of the facts herein   stated

and they are true and correct

       2.     I   have reviewed Ms. Binkowski's affidavit attached to the Plaintiffs

Response to Defendants' Motion to Dismiss. In her afflrdavit she alleges that there was a

cooperative relationship between the Defendants and Zero Hedge and by implication,

iBankcoin. She alleges that we and I were actively collaborating with Zero Hedge to


                                         EXHIBIT
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spread "fake   news." She further         states that   I was motivated by retaliation in making my

statements having been provoked by Mr. Heslin. Each of these statements is false.

       3.      Neither   I   nor anyone      I   knorv associated with Defendants has ever had          a

cooperative relationship      in which they published, promoted or            endorsed each other's

content. Indeed, neither I nor anyone I am familiar with at the Defendants knows of the

identities of any contributor, editor, owner or other person affiliated with either of those

two websites. Neither         I    nor anyone      I   know associated with Defendants had any

communications with them other than simply obtaining information from the Zero Hedge

website as we do from many, many other websites. In short, there is no affiliation or

familiarity between any of the Defendants or myself and any person affiliated with Zerc

Hedge or iBankcoin.

       4.      Furthermore, the pulpose of my statements in the June 25 broadcast was to

point out that Zerc Hedge article (reprinting the iBankcoin article) criticizing Megyn

Kelly and NBC.      I   was not at all motivated by what Mr. Heslin              did.   Rather    I   was

responding   to learning of that day's publication of the Zero Hedge article criticizing

Kelly and NBC.

       5.      Furthermore, Ms. Binkowski alleges that Zero Hedge is a "dubious" source

and has spread o'fake    news." While she is entitled to her personal opinion, it is no more

valid than my opinion that many reporters and editors in main stream media regularly

misrepresent facts and omit other material facts to           tilt their broadcast and 'onews"   stories

toward their liberal agenda.          I   am not alone in this opinion as reflected by large

viewership of Fox News       as   just one example.


AFFIDAVIT OF OWEN SHROYER- Page 2
           6.       I do not consider Zero Hedge to be a dubious source, nor do I consider just

because        it is posted by   anonymous people, dubious. Ms. Binkowski appears to believe

that   if a website is criticized by some as promoting oofake news" then it could not be
reasonable for any other to disagree with that opinion and believe             it is not aoofake news"

site. While it is true that some claim Zero Hedge is a source of "fake news," it is also true

that   I   and many others believe otherwise. Zero Hedge has also been praised by others,

including the Columbía Journalism Review, New York Magazine, the New York Times,

Business Time, and Time.

           7   .   The Columbia Journalism Revíew reported that its 'o...news accounts have

been pretty straightforward."r And while Ms. Binkowski alleges that Zero Hedge is all

about ooconspiracy theories," one such "theory" about trading became the "talk of the

industry." Joe Hagan, writing in New York Magazíne, noted that Zero Hedge's founder

was a "zealous believer in a sweeping conspiracy at the helm of U. S. policy," with

collusion between "the Treasure and the Federal Reserve." Nevertheless, he concluded

the Zero Hedge allegations resulted         in Senator Chuck Schumer sending a letter to the
SEC that caused that agency to quickly say it was considering a ban on the trading that

Zerc Hedge had attacked.2




I
  Attached hereto and marked as Exhibit I is a true and correct copy of the Columbiaarticle posted at the
url: https://archives.cjr.org/the_audit/good_goldman_question_from_zer.php
'Attached hereto and marked as Exhibit 2 is atrue and correctcopy of Mr. Hagan's article inNew york
Ma gaz in e posted at the url : http: I I nymag. corn/gui des/money/2 0 0 g I 5 9 4 5 7 I



AFFIDAVIT OF OWEN SHROYER- Page 3
        8.       The New York Times has described Zero Hedge as a "well-read and

controversial financial blog." In that article, the Tímes noted that Zerc Hedge's reports

about Morgan Stanley        -   which the Times called a oopotent cocktail of information" - were

so effective among its readers that Morgan's stock price immediately                  fell l0%, its lowest

price since the 2008 fînancial crisis.3

        9.       By 2009, ZeroHed,ge already had 333,000 unique visitors each month.o By

2011, TÌme recognized it as the ninth best financial blog.s

        10.      In the past I have reviewed articles from ZeroHedge that I have found to be

credible and factually correct. While Ms. Binkowski attempts to buttress her opinion of

Zero Hedge by alluding to Snopes.com articles, neither Snopes.com nor Ms. Binkowski

is a disinterested person or group. She and Snopes regularly attack Jones on their site and

on other media platforms. Ms. Binkowski herself has tweeted "Okay, God, now do Alex

Jones." She did this on April 16, the day the Defendants were sued in this case. Her ugly

tweet caused dark and threatening comments from her obviously liberal followers.

Clearly her text summarizes her deep seated contempt for Alex and Infowars that                           she

wished to spread among many others. Attached hereto and marked as Exhibit 5 is a true

and correct copy of Brooke Binkowski's tweet that               I reviewed    at her Twitter account on

the internet.




3
  Attached hereto and marked as Exhibit 3 is a true and correct copy of The New York Times article at the
url: https: https://dealbook.nytimes .coml?}llll0l04lmorgan-tries-to-quell-rumors-about-its-holdings/
a
  Attached hereto and marked as Exhibit 4 is a true and õorrect          òf a Business Times article põsted at
                                                                    "opy
the url: http:/ibusiness.time.com 12809ll0l0llwall-streeters-like-conspiracy-theories-always-have/
5
  See D. Jones Affidavit filed July 13, 2018 and its attached exhibit B-53.



AFFIDAVIT OF OWEN SHROYER -Page 4
lìurther Affl¿rnt Saveth Not.




                                                      Owen Sh¡:over



        swüRN 'fo and SIJIISCRIBËD bcfcre me by owen Shroyer on August 28           .
20t8,



               TIMOTHY JAMES FBUGE
              Horøry Public. Slats 0T
               Comm. Expiree Û,t-2t.t0??
                        r0   1?s79r368
                                                        Notary Public         for
                                                           the State of Texas

M¡,' Cornmission ll)xpires:

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ÄFFIDAVIT'Or;O\¡/EN SHROYER              -   Page 5
8t28t2018                                      Good Goldman Question From Zero Hedge - Columbia Journalism Review




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ftttps://wwwcjr.org/)
                             # W W W WW ffi ffi                               ffi   W ffiffiX*,nps://wwwcjrors/)

    The voice of journalism
                             Wwwffiww"


                  ood Goldn'lan
                  tieslton FroIl-l zero
        FIedge
        Seems reasonable to me:

        "What Is The Rationale Behind The SEC's Hiring A29 Year Old Goldmanite As Its
        COO?" (http://www.zerohedge.com/article/what-rationale-behind-secs-hiúng-29-
        year-old-goldmanite -its- coo)




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https://archives.cjr.org/the*audiVgood_goldman_quest¡on_from*zer.php                                        -
                                                                                                            I
                                                                                                                    1t3
8t28t2018                                        Good Goldman Question From Zero Hedge - Columbia Journalism Review


             While one may or ma,y not have feelíngs øbout Goldmøn's tentøcled ca,pture of
             vr¿ríous regula.totîy û,gencies, the most recent news out of the SEC thøt it would be
             hiring a 29 yeør oldformer GoldmanVice President Adøm Storch øs its COO,
             questíons the ra.tionale behind this move. First, and not being øgeist here, but ø 29
             yeat old to run what is arguøbly the most critícal post at the SEC - that in charge of
             opera,tions?


        So far, news accounts have been pretty straightforward
        (http://www.bloombe rg.comf apps/news?pid= 2 0 60 108 7&sid:a6ItnK3 2 Cl6Y).

        I'm not the fan of ZH that some are. To pick nits, the first sentence isn't grammatical:
        "the most recent news...questions the rationale behind this move." And this SEC
        position is actually COO of the enforcement division, which, true, is iust as
        problematic, but it still isn't arguably the most critical post at the SEC. Listen, we
        make mistakes all the time-and they don't help us, either.

        New York's |oe Hagan makes a good case

        þttp://nymag.com/guides/money/2OO9 /59457 /) for Zero Hedge's (and other
        financial blogs') rising influence, with the high-frequency trading issue presented as
        "Exhibit 4." In that case, an esoteric issue was bandied around specialty blogs for a
        while before exploding onto the front page
        (http //www. nytime s . com/ 2 O O 9 / O 7 / 24 /bus ine ss / 2 Atr ading. html I
                :



        _r:2&ref:todayspaper) of The New YorkTimes and into the halls of Congress. We had
        problems (http://www .cjr.org/the_audit/nyt*flashes_confusion_in_hft_r.php?
        page=l)with some of how it all went down, but the heat on the issue also generated
        plenty of light. Time summarizes the thinking about ZHhere
         þttp://curiouscapitalist.blogs.time.c om/2OO9 /LO /OL /wall-streeters-like-
        conspiracy-the orie s - always -have/)                   .



        This is all a long way of saying I don't know whether it's okay to rely onZero Hedge's
        facts,like:

              Bøsed on his record,           Mr. Storch        is not even a.Iicensed (Series       7/63) broker:

         But dagnabit, this isn't aboutZerc Hedge!


 https://archives.cjr.org/the_audiVgoodjoldman_question_from   zer.php                                                2t3
8t28t2018                                      Good Goldman Question From Zero Hedge - Columbia Journalism Review

       The SEC says Storch worked for five years in    unit that reviewed contracts and
                                                                           a

       transactions for signs of fraud. Also the enforcement chief says his "skill in
       technology systems, workflow process, and proiect management will greatly benefit
       the division."

       And yet the question remains. What's the answer?


                     Has Amerícø ever needed
                                                            joining CIR rodøy
                     (hwps://s sl.pølmco østd.com/              7 S S 0 1 /øppd MEMBERT            ?ikey= 5 **MO 2).




        Dean Starkman Dean Starkman runs The Audit, ClRs business section, and is the author of.The
        WatchdogThat Didn't Børk: The FinøncialCrisis andthe Disøppearønce of Investigøtive lournølísm
        (http://www.deanstarkman.com/book/) (Columbia University Press, January 2OL4). Follow
        Dean on Twitter: @ de anstarkman (https ://twitter. com/deanstarkman).




https://archives.cjr.org/the_audiVgood_goldman_question_from_zer.php                                                   3/3
8t28t2018                                                           The Rising Power of Financial Blog Zero Hedge - Money 2009           -   New York Magazine




   The Dow Zero Insurgency
   The nothing-can-be-believed ehaos ofthe financial crisis created a golden opportunity for. a blog run by a rnysterious ex-hedge-
   funder with a dodgy past ând conspiracy theories to burn,
   By Joè    l"lagån     Ful,lished Sep 27, 2009   llrarc'l'l¡is                                                                                                            l.ç991.$9-tLt.-




                                                                    L      ast spring, in a far corner of the Internet, an
                                                                           unkncrwn blogger began to piece togethel a
                                                                    conspiracv theory: The investment bank Coìdman Sachs
                                                                    was r-rsing so¡rhisticated, high-speed computers to siphon
                                                                    hund¡eds of millions of clollars in illegitimate trading
                                                                    profits from the New York Stock l{xchangc, irwisibly
                                                                    undercutting the market ancl sidestepping the regrilatory
                                                                    reach ofthe Securities and Exdrange Comnrission.

                                                                    Only     a few loyal reaclers   pilid attention to the blog called
                                                                    Zcro Hcclgc,   no-frills site full ofarcane analysis
                                                                                     a
                                                                    deciplrerable only by finance ¡r ofessionals. Ilut when         a
                                                                    forn¡er Goldman Sachs conrputer progråmmer was
                                                                    arrested lbr allegedlv stealing software codes usecl fol the
                                                              'r'   fi.*'s    electronic trading alm, and a fedexal prosecutor wâs
                                                                    quoted saying thc mdcs could be used to "nrani¡rulatc
                                                                    malkets in unfair ways," the once-obscure blog ignited a
     Illustration by Matthew Woodson
                                                                    c.hain reaction. While r¡n a golf outing, an e<iitor at the New
   Y<¡rk hmes learned from a liiend who worked on Wall Street that the Zero Hedge allegation was the   talk
    ofthe industry, and an assignment ensued. On July 24, the Tlmes published â tlont-page article on so-
    called high-frequency trading and its potential abuses, which in tum prompted Chuck Schumer, a
    member of the Senate Finance Committee, to dlaft a letter to the SEC that same day. Twelve days later,
    the    SFìC   signaled that it was considering a ban on the very computerized trading that Zero Hedge had
    attacked.

    Suddenly, the shadowy figure behind Zero Hedge wns a tirll-blown cult hero--a blogger n'ith a bullet. His                                          MONEY 2OOg

    reacìerslrip of angty traclers and anti-government malcontents celebratecl ìris nelvfouncì power.                                                  What's It All Worth?
    "Welcome to the party pallll" dt¡clarecl <ine of his flns in the cômments sectiotr.
                                                                                                                                                           .   'I'lre Rise of ,A,pocalyptic
    In    a sign of   just how radi<xrlìy thc onÌer    h¿¡s    shiftccl in thr: political and mr,:dia workl, ncither the '/Tm¿s                                liin¡¡rcial Bloggels
    nor Schumer haci a clue ¿rbout the identity of the pseudonymous author behind Zerr¡ Hedge. As                              it                          .   trla<lofi Vislirns in llxìle
    happens, the founder is a 3o-vear-old Bulgalian irnnrigrant banned fr-om working in the blokerage                                                      .   'I'h* N{arkup nn lììi
    business for insider trading. A forrner hedge-fund analyst, he's alsc¡ a zealc¡us l¡eliever in a sweeping                                                  S{annirrg
    conspiracy that casts the alumni of Golclman Sachs as a powerful cabal at the heh¡r of U.S. policy, with                                               . Is Being Chea¡p Geneticl
    thc'Ileasury and the Federaì          Reser¡¿e   colluding to prcserve the status quo. His antidr.¡te? A purifying                                     . lleal llstalo Vultures
    marì<et crash that leads to the eli¡nir¡ation ofthe big banks altogether ancl the reinstaternent of genuine                                            .'l'he N{icro-hhonr¡rn.1, ¡;{'
    free-matket capitalisrn.                                                                                                                                   Lhri<xr Stluare
                                                                                                                                                           .   Ale Nr¡w Y<¡rkcrs'{"hrifly1)
    Never mind f)ow 1o,ooo. Dan lvandjiiski is all abor¡t Dow Zero.

    ¡' ast year's fiuanciaì implosion left the investing public deeplv unseftled about who or whât tÒ trust.
    L, flr" information that florvecl fro¡n the b¿rnlis, the ratings agencies, the regulatory ageneies, and the
    mainstream media-the bedrock of the fi¡rancial markets, in a sense*was viewecì wìth great suspicion,
    âìrd that oreâted an opportunitv for financial bloggers: a motlel' assortment of âmateurs and
    professionals from all over the ma¡r. There are traders. económists, ventule capitalists, fÌnanciaì
    adviset's, ancl pajama-clad cranks aìl rying to explain the complex machinations that got us into this
    mess and to c¡itique governmentâl solutions. Sites liker Naked Capitalisrn, Seeking Alpha, the Big
    Picture, Infectious Greed, Algry Bear, Calculated Risl<, ancl Zero I{edge have hatched communities
    based <¡n discontent and disbclief, forming a kind of ragtag insurgency against the fTna¡rcial
    Establishment and what they view               as its feckless lackeys         in the government and media.

    "We're all happily cruising along, doing our financial-journalism thing, until late zoo7," explains Felix
    Salmon, rvho now blogs fol Reutels, "We have relationships with flacks, and suddenly thev started lying
    to us. Outright lies. And yr:u're like, 'Wâit, lhât's not kosher, you r:an't do that.' " Among bloggers,
    Salmon is more of the Establishment tlpe, with little tolerance for the sloppy thinking of excìtable
    bloggels.

    Fiuancial blogs grew out of the message boards launched by Yahoo! Finance in the late nineties, rvhich                                             -       EXHIBIT
    were primarily a f'orum for day traders to algue investment ideas and vent little-guy fnrstratio¡¡s abnut

http ://nymag.com/guides/money              120A9 I 59457       I
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8t28t2018                                             The Rising Power of Financial Blog Zero Hedge - Money 2009 -- New York Magazine
   the Wall Street power stmcture.

   The first financial blogger, according to Barry Ritholtz of the llig, Picture, was Todd Harrison, the head
   trader for the hedge fund nrn by CNBC talkìng head Jír¡ Olamer (also a ÀIe¿u lork Magaziue
   contributing editor) in the early aughts. Han'ison, who wrt¡te a daily market cr¡lurnn for Cramer's
   TheStreet.com, "woulcl crank out tliese little notes irìtradây," recalls Ritholtz. "It was a real-time tracler
   with real assets under management discussing trading florv."

    In the years that followed, blogs proliferated. They were mostly side projects, updated sporadically.
    Ritholtz, who started the Big Picture in 2oo3, was a market strategist who zeroed in on flaws in the
    government's iuflation data. Calculated Risk was stârted by a reti¡ecl businessrÌlan in Southern
    Califburia who took an obsessive intcrest in cxotic mortgages and sarv tl-rc housing collapse ycars in
    advance. Naked Capitalism, whích features the work of a srnall gang of contributors, is overseen by a
    fornre¡ Goldman Sachs and Mclünsey exer:utive lr'ho goes bv the pseudonvrn Yves Smith.


                                                                                                                                 Next; llow ?era Hedge distinguished itself.


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8t28t2018                                              Morgan Tries to Quell Rumors About lts Holdings - The New York Times




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   Morgan Tries to Quell Rumors About lts
   Holdings
   By Susanne         Craig       October 4,     zott 9:26 pm


                      Morgan Stanley executives are battling a daily barrage of speculation and nay-
             saying to try to stem ä sharp slide in the company's stock.

                      It is a war that is being fought in large part in the shadows: against anonymous
             blogs and market whispers, hut also against unclefined fears about exposure to
             troubled European banks. While those worries are common to all the big Wall Street
             banks, Morgan Stanley, as the smallest, is perhaps the most vulnerable among them.

                  In response, Morgan Stanley executives have been rallying employees and
             talking to the company's biggest shareholders. The campaign culminated late on
             Monday, with the Mitsubishi UFJ Financial Group, which owns approximately zz
             percent of Morgan Stanley, publicly reaffirming its support for the company.

                  '   The push may have helpecl on Tuesday. Shares of Morgan Stanley rose 12.4
              percent, after falling nearly 29 percent since the beginning of September. Morgan
              and other banks were primarily buoyed on Tuesday by a suggestion that European
              officials would look at bank recapitalizations"

                      Ir{onetheless, there has been a bioodbath in bank stocks. Morgan Stanley is down
              48.5 percent for the year; Goldman Sachs has fallen 44 percent; and Bank of America
              is off about SZ percent. And the cost of insuring Morgan Stanley's debt for five years
              through credit-default swaps, though it eased on Tuesclay, remains at levels that were
              seen during the financial crisis

                                                                                - EXHIB IT

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8/28t2018                                            Morgan Tries io Quell Rumors About lts Holdings -   ïhe   New York Times




                   Morgan Stanley's war*rûomlike approach to market volatility highlights the
            difficulties of stamping out speculation in a world                              c¡f   instant, and often anonymous,
            infbrmation.

                 Its latest round of troubles began on Friday morning before the markets opened
            at g:go a.m. Zero Hedge, a well*read anci controversial financial blog, linked to a
            Bloornberg News article that notecl Morgan's credit-default swap spreacls had been
            widening. I'he Zero l"Ieclge post also directecl readers to a previous Zero Iledge article
            that pegged Morgan Stanley's net exposure to French banks at $gg billion, about $rz
            billion more than the bank's r:urrent market capitalization, reigniting fears about its
            exposure.

                    It was a potent cocktail of informatic¡n. The company's stock opened down more
            than 3 percent, prompting a flood of calls to Morgan's investor relations and press
            offices.

                Calling Zero Hedge for damage control was not an option. The post was written
            by an anonymous blogger who goes by the name of "Tyler Durden," a character in the
            movie "The Fight Club," and the Web site does not give readers a way to readily reach
             its writers.

                  Ädcling to Morgan Stanley's woes, Friday was the last day of Morgan Stanley's
             third quarter. The company is set to release its earnings in a few weeks, and
             securities laws limit what it can say about its financial condition. Unable to reach
             Zerr¡ Hetlge, Mclrgan Stanley's investor relatic¡ns clepartment went into overcl.rive,
             quickly pulling tngether talking points for callers that were circulated to both meclia
             and investor relations staff members.

                    Accorcling to the talking points, reviewed by The New York Times, the numbers
             cited   ï>y   Zero Heclge 'oreprese nt gross asset positions and thus do not reflect the
             benefit of collateral or other hedges and protection, and the more relevant exposure
             to consider is the net exposuro."

                                                             limited in what it could say
                     So what is its net exposure? The company was
             because of the pending earnings announcement. To address this point, staff




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8128t2018                                           Morgan Tries to Quell Rumors About lts Holdings - The New York Times




            members were tolcl to direct callers to pre-existing stock research. "Analysts estimate
            that the actual net expûsure is meaningfully k:wer," the talking points read.

                In particular, they cited a recent report by Bracl Hintz, an analyst with Sanford
            C. Bernstein & Company, who estimated that Morgan's "total risk to France and its
            banks is less than           $: billic¡n net r:f coliateral and heclges."

                   Zero Heclge could not Ì:e reached for comment.

                Despite Morgan Stanley's etïbrts, the stock ended on Friday down about ro
            percent, at $rB.Sr, its lowest close since the fall of zooS and the depth of the financial
            crisis. The stock price was particularly frustrating to James P. Gorman, the
            company's chief executive since early zolo. He has been leading the effort to rebuild
            the company; he even bought loo,ooo shares of Morgan Stanley in early August at
            approximately $eo a share.

                    On Friday, Mr. Gorman shared" his concerns with senior executives at
            Mitsubishi, conversations that culminated with discussions over the weekend
            between Mr. Gorman and Nobuyuki Hirano, his counterpart at the,Iapanese bank.
            The two men discussed the market rumors, concurring that they ran contrary to what
            they felt was going on in the market, said two people briefed on the conversation.

                    The company is expected to report tirird*quarter results in two weeks. Those
             resultsn these people said, are solid in light of the recent stock market rout. Analysts
            pollecl by Thomson Reuters estimated that the bank wc¡uld report a profit of 36 cents
            a share.


                 Mr. Gorman and Mr. Hirano agreed that it would be helpful if Mitsubishi issued
             a news release expressing its support. l'hat did not come, however, until Monday
             after the close.

                    Early on Monday Mr. Gorman cleciclecl to speak out himself. "In fragile markets,
             where fear triumphs over cCImrnon sense, these things are bound to happen. It is easy
             to responcl   the mmor of the day, but that is nclt usually productive," he wrote in a
                               tc¡
             note to employees. "Insteacl we should let balanced third parties do their own
             analysis and let the facts speak."




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8128t2018                                             Morgan Tries to Quell Rumors About lts Holdings - The New York Ïimes




                On Monday, despite Mr" Gorman's efforts, the company's stock tumbled 7.7
            percent.

                   Six minutes ¿Tfter the close, Mitsubishi issued its statement. "In response to
            recent mat'ket volatility M.U.F.G. wishes to reiterate that we are firmly committed to
            our long*term strategic alliance with Morgan Stanley.'Ihe special relationship we
            have formed remains core to our global business strategy."

                 Initially, the statement seemed to have little effect on the stock. The cost to
            insure Morgan Stanley's bank debt with credit*default swaps on its debt continued to
            rise Tuesclay morning, but then fell back, accxlrcling to Markit, a financial
            information company. Its shares closed at $t4.or, up $1.S4, or more than rz percent.

                 "Mitsubishi's announcement was the equivalent of a Japanese firm saying you
            are part of the family," Mr. FIintz said.




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https://dealbook.nytimes.com   12011l10l04lmorgan-tries-to-quell-rumors-about-its-holdings/                                  4t4
Zero Hedge, Felix Salmon, Joe Hagan and conspiracy theories    http://business.time.com/2009/10/01/wall-sfreeters-like-conspiracy-th..




                   Zero Hedge, Felix Salmon, Joe Hagan and
                   conspiracy theories
                   Felix Salmon, after previously descr the readers of the blog sensation Zero
                   Hedge as loser day traders and getting cailed out for it by my old friend The
                   Equitv Private (nowblogging atZero Hedge as Marla Singer), reconsiders:

                          Far from reflecting the conspiracy-minded and often-disjointed
                          ramblings of harmful-only-to-themselves retail day-traders, could
                          ZH actually be holding up a mirror to what the market's really like,
                          once you strip away the artificial polish of the PR departments and
                          the urbane investment-banking types?

                   Uh, yeah. And this is a surprise why? Wall Street traders are among the most
                   conspiracy-minded group of people on the planet. Always have been, as far as I
                   can tell.

                   That's because (r) some financial market conspiracies are real and (b) without
                   theories of some sort to grasp on to, you're going to get completely lost in the
                   chaos of the market's day-to-day movements. The same goes for technical
                   analysis, a.k.a. chart-reading. Most of it is nonsense, some of it isn't, and without
                   it a lot of succesful traders would be completely lost. Ditto for Austrian
                   economics.

                   Joe Hagan plays up the conspiracy angle in his cxcellent ar-ticle on Z
                   this week's Ng¿u Yorkmag-as Hagan recounts it, the blog didn't get any traction
                   until founder Dan lvandjiiski began pumping up the paranoia:

                          [A]s his posts got more detailed, a theme began to emerge: Wall
                          Street was a vast conspiracy. Nothing could be trusted. All markets
                          were corrupt. The darker his vision the more popular he became.

                   Former hedge-fund analyst Ivandjiiski (he blogs as T}ler Durden-the New York
                   Post tentativel)¡ outed him last month and Hagan does so definitively in his
                   article) had figured out how to tap into that trading-floor longing for order in the
                   chaos. That, plus he's is a wonderfully persistent investigative reporter. Most
                   good investigative reporters are conspiracy theorists, by the way. Ivandjiiski
                   singlehandedly turned high-frequency trading into a big political issue. In the
                   process I'm pretty sure he wildly overstated its significance and dastardliness,
                   but that's part of his appeal.

                   I always have the feeling when I go to Zero Hedge that I'm eavesdropping on a
                   bunch of conversations between traders. Most of what's said in those
                   conversations is half-baked hooey-as is most of what Ivandjiiski writes. But z                      E   HIBIT
                   there is still truth to be gleaned from it. (I should add that most "serious"
                                                                                                                 ê
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 1   of2                                                                                                             812812018,12:00 PM
ZeroHedge, Felix Salmon, Joe Hagan and conspiracy theories   http://business.time.com/2009/10/01/wall-streeters-like-conspiracy-th.



                  journalism-including mine-is probably half-baked hooey as well. It pays to be
                  a   critical information consumer.)

                   So I don't find it all that surprising that lots of serious financial t¡,pes and
                  journalists looking for scoops read the blog. I can't bring myself to read it more
                  than once every couple of days. But then, I wouldn't survive 30 seconds on a
                  Wall Street trading floor.

                  Of course, there aren't enough serious financial types out there to account for
                  Zero Hedge's impressive g33,ooo unique visitors a month. I would think a
                  significant percentage of current readers are regular folks who are furious about
                  the financial crisis, the bailouts and the state of the economy, and are attracted
                  to Ivandjiiski's paranoid and apocalyptic worldview. Some are also just plain
                  nutters (read the commentq to Hagan's. article for a taste), but that's true of at
                  least some portion of the readership of every publication/blog on the planet
                  except of course this one.

                  I would guess that the site's growth will slow as the predicted apocalypse keeps
                  getting pushed into the future (unless of course Ivandjiiski's right about
                  everything, in which case I will start checking Zero Hedge 20 times a day until
                  the electricity goes out). But I don't think it's necessarily a flash in the pan-as
                  long as Ivandjiiski & Co. keep digging up new conspiracy theories and every once
                  in a while one of them turns out to be at least partly true.

                   Update: I missed Matt Taibbi's take from a couple of days ago on the meaning
                   of Zerc Hedge. Don't make the same mistake-it's really smart.




2 of2                                                                                                           8128/2018,12:00 PM
8t2512018                                                 Brooke Binkowski on Twitter: "Okay, God, now do Alex Jones."


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                              Brooke Binkowsk¡                  C                                                Follow
                              @brooklynmarie


                 Okay, God, now do Alex Jones.
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                 547 Retweets 3.373 Likes
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                  üf          Replying to      @   brooklynmarie @AngrierWHStaff
                              Just spoke with the big guy, he's willing to do Alex Jones if I throw in Rush
                              Limbaugh.

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                              PaulClewell @paulclewell .Apr 16

                  @ Çs        I don't see a problem here.

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                                                                                                           Terri Juarez
NEIL HESLIN,                                          $                      IN THE DISTRICT COURT OF
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V                                                      $                     TRAVIS COUNTY, TEXAS
                                                       $
ALEX E. JONES, INFOWARS, LLC,                          $
FREE SPEECH SYSTEMS, LLC, ANd                          $
OV/EN SHROYER,                                         $
        Defendants                                     $                     26I't JUDICIAL DISTRICT


    SUPPLEMENTAL AFFIDAVIT IN SUPPORT OF'DEFENDANTS' FIRST AMENDED
      RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS AND MOTION FOR
       EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS

        COME NOV/, Defendants Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC,

and Owen Shroyer (collectively, the o'Defendants"), and hereby file a supplemental affidavit in

support of their First Amended Response to Plaintiffs             llotion fbr     Sanctions and |,4otion for

Expedited Discovery and f)efendants' Motion for Sanctions.

        Defendants hereby file the Affidavit of Rob Dew attached hereto as Exhibit             "A."


                                                   RESPECTFULLY SUBMITTED,

                                                   GLAST, PHILLPS & MURRAY, P.C.


                                                            /s/*tarÊ.   C.
                                                   Mark C. Enoch
                                                   State Bar No. 06630360
                                                   14801 Quorum Drive, Suite 500
                                                   Dallas, Texas   7 5254-1449
                                                   Telephone:       972-419-8366
                                                   Facsimile:       972-419-8329
                                                   ûVé3rc@ænzon¡s!


                                                   ATTORNEY FOR DEFENDANTS



Supplemental Affidavit in Support of Defendants' First Amended Response to Plaintiff s Motion for Sanctions and
Motion for Expedited Discovery and Defendants' Motion for Sanctions - Page I
                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 28th day of August, 2018, the foregoing was sent via
efiletxcourts.gov's e-service system to the following:


Mark Bankston
Kaster Lynch Farrar & Ball
1010 Lamar, Suite 1600
Houston, TX77002
713-221-8300
mark@fbtrial.com



                                                                /s/ Mark C. Enoch
                                                          Mark C. Enoch




Supplemental Affidavit in Support of Defendants'First Amended Response to Plaintiffs Motion for Sanctions and
Motion for Expedited Discovery and Defendants' Motion for Sanctions -Page 2
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       tlïiFOI{H MB, the undersigned notary public, on this day persona}ly appeared              Rclb


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 they are true and correct.

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 that tragedy.


                                                 EXHIBIT
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SWORN 1'O ancl SUIISCRIßËþ beflore me by Rob Dew on August ?8, 2018.



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                                           Notary Public in fdd for
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M¡r Comrnission lixpires:

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                                                                                                     Irene Silva
NEIL HESLIN,                                     §                IN THE DISTRICT COURT OF
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §                TRAVIS COUNTY, TEXAS
                                                 §
ALEX E. JONES, INFOWARS, LLC,                    §
FREE SPEECH SYSTEMS, LLC, and                    §
OWEN SHROYER,                                    §
      Defendants                                 §                261st JUDICIAL DISTRICT

                    DEFENDANTS’ OBJECTIONS TO
PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO DEFENDANTS’ MOTION
      TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT

       COME NOW, Defendants Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC,

and Owen Shroyer (collectively, the “Defendants”), and hereby file this, their Objections to

Plaintiff’s Evidence Submitted in Response to Defendants’ Motion to Dismiss Under the Texas

Citizens Participation Act. These objected-to affidavits and evidence should not be considered

by the Court for any purpose for the reasons hereinafter stated. In support of the requested relief,

Defendants present the following objections, argument and authorities.

       For the Court’s convenience, the objections, argument and authorities of each objected-to

affidavit and evidence begin at the page listed below:

        1.     Fred Zipp (Exhibit A to Plaintiff’s Response) – Page 2
        2.     Brooke Binkowski (Exhibit B to Plaintiff’s Response) – Page 34
        3.     Neil Heslin (Exhibit C to Plaintiff’s Response) – Page 66
        4.     H. Wayne Carver, II, M.D. (Exhibit D to Plaintiff’s Response) – Page 69
        5.     Scarlett Lewis (Exhibit E to Plaintiff’s Response) – Page 71
        6.     John Clayton (Exhibit F to Plaintiff’s Response) – Page 72
        7.     Marcus Turnini (Exhibit G to Plaintiff’s Response) – Page 74
        8.     Plaintiff’s proposed written discovery to Defendants (Exhibit H
               to Plaintiff’s Response) – Page 74
        9.     Notice of Violation (Exhibit I to Plaintiff’s Response) – Page 74
       10.     Fred Zipp [Pozner and DeLaRosa v. Jones et al case] (Exhibit J
               to Plaintiff’s Response) – Page 75




DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 1
                    1.     OBJECTIONS TO AFFIDAVIT OF FRED ZIPP

                 Defendants Alex E. Jones, Infowars, LLC and Free Speech Systems, LLC,

(collectively, the “Defendants”),file Defendants’ Objections to Zipp Affidavit filed by Plaintiff

in his Response to Defendants’ Motion to Dismiss Under the Texas Citizens Participation Act.

       In E.I. dePont de Nemours & Co., Inc. v. Robinson, 923 S.W.2d 549, 556 (Tex. 1995) the

Court says “[p]rofessional expert Improper for opinion witnesses are available to render an

opinion on almost any theory, regardless of its merit.” Thus we see Mr. Zipp’s opinions

tendered in this case.

            a.       Zipp’s opinions on his view of questions of law are inadmissible

       An opinion is inadmissible because it is an opinion on a question of law.

       Whether a statement is defamatory is a question of law. See, Bently v. Bunton, 94

S.W.3d 561, 580 (Tex. 2003); Campbell v. Clark, 471, S.W.3d 615, 624 (Tex. App. – Dallas

2015, no pet.); Main v. Royall, 348 S.W.3d 381, 389 (Tex. App. – Dallas 2011, no pet.).

       Expert opinions on questions of law are not admissible. See Mega Child Care v. Texas

Dep’t of Protective & Regulatory Svcs., 29 S.W.3d 303, 307 (Tex. App. – Hou. [14th Dist.] 2000,

no pet.); Holden v. Weidenfeller, 929 S.W.2d 124, 133 (Tex. App. – Austin 1996, writ den.)

       b.     Zipp’s opinions on his view of malice or reckless state of mind of other persons
are inadmissible

       Knowledge of falsity or reckless disregard for the truth are the quintessence of malice.

See Greer v. Abraham, 489 S.W.3d 440, 444 (Tex. 2016); Bentley, 94 S.W.3d at 600-60`.

Expert opinion on malice is inadmissible. See Jianguang Wang v. Tang, 260 S.W.3d 149,160

(Tex. App. – Houston [1st Dist.] 2008, pet. den.), cert. den. 2009 U.S. LEXIS 1581 (2009);

Gonzles v. Hearst Corp., 930 S.W.2d 275, 284 (Tex. App. – Houston [14th Dist.] 1996, no pet.)




DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 2
        c. Zipp’s opinions based on unidentified publications, or on publications that are
irrelevant because of the statute of limitations or the subject matter of the instant lawsuit are
inadmissible

       Mr. Zipp relies on snippets of prior publications many of which are not identified, as the

foundation for his opinions as to both the defamatory nature of the publications at issue and

reckless disregard for the truth. Tex. R. Evid. R. 703 allows an expert to rely on data not

otherwise admissible if it is of the type of data reasonably relied upon by experts in the field.

Mr. Zipp’s reliance on publications other than those made the basis of the defamation claims,

especially those published outside the one-year limitations period, are nothing more than a “back

door” attempt to get those prior publications into evidence. Further, Mr. Zipp does not lay the

necessary foundation or predicate required under Tex. R. Evid. R. 703.

       The publications referred to by Mr. Zipp are mentioned because the publication at issue

was “not made in isolation.” (Affidavit p. 7) The inference Mr. Zipp presses upon the court is

that because the statement at issue was but one of several, going back a number of years, it is

defamatory of Plaintiffs and was knowingly or recklessly made.

       The earlier publications would not be admissible under Tex. R. Evid. R. 401-403, 404,

406 and 608(b).

       His stated portions and summaries of these snippets also violate Tex. R. Evid. R. 1002.

       Whether the statements at issue in 2017 were made is undisputed; thus it is unnecessary

to introduce the earlier publications as proof that the statement at issue was made. Mr. Zipp

argues, however, that the earlier publications somehow make it more likely than not that the

statement at issue is defamatory and was made with intentional or reckless disregard for the

truth. The problem, for plaintiffs and Mr. Zipp, is that he doesn’t “connect the dots,” that is, he

doesn’t say how the earlier publications inform the decision that the publication at issue is



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 3
defamatory or the product of mal- or mis-feasance. Either it is, or it isn’t.

       A priori, Mr. Zipp’s reliance on earlier publications is inappropriate. His opinions rest

almost entirely on these earlier partial publications. That the earlier publications make the

defamatory nature of the publication at issue more likely than not defamatory, or was made with

intentional or reckless disregard for the truth, depends alone on Mr. Zipp’s ipse dixit. As such,

his opinions are inadmissible. See Jelinek v. Casas, 328 S.W.3d 526, 539 (Tex. 2010).

       d. Objections to Exhibits A-1 to A-23 attached to Zipp affidavit

       Defendants make the following objections to the admissibility of Exhibits A- 1 to A-23

attached to the Zipp affidavit:

       Hearsay Tex. R. Evid. R. 802

       Not relevant – Tex. R. Evid. R. 402

       Prejudice outweighs relevance – Tex. R. Evid. 403

       Violates best evidence rule Tex. R. Evid. R. 1002, 1003

       No authentication – Tex. R. Evid. R. 901

                            5.      Objections to Specific Statements

       In addition to the above objections to the Zipp opinion, Defendants make the following

specific objections to the Zipp opinion:

                 Affidavit Statements               Objections
                 Page 1, First paragraph            Lack of
                 under Scope of Review              foundation/predicate
                 “whether assertions could
                 be responsibly published”          Not Relevant

                                                    Vague and Ambiguous

                                                    Hearsay

                 8 bullet points under Scope        Lack of
                 of Review                          foundation/predicate

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 4
                                           Lack of identification of
                                           materials reviewed

                                           Hearsay

              Page 2, First paragraph      Not relevant
              under Background
              Knowledge of InfoWars,       Hearsay
              second sentence
              Second paragraph under       Vague and Ambiguous
              Background Knowledge of
              InfoWars “significant        Conclusory
              amount of time”

              Second paragraph under       Conclusory
              Background Knowledge of
              Infowars, second sentence    Lack of
                                           foundation/predicate

                                           Not relevant
              Third paragraph under        Conclusory
              Background Knowledge of
              Infowars, second sentence    Violates TRE 404

                                           Lack of
                                           foundation/predicate
              Fourth paragraph under       Not relevant
              Background Knowledge of
              Infowars,                    Hearsay

                                           Lack of
                                           predicate/foundation

                                           Conclusory

              Page 3, First paragraph      Conclusory
              under number 1, first
              sentence                     Lack of
                                           foundation/predicate

                                           Not relevant

                                           Lack of personal knowledge

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 5
                                           Statements of what was in
                                           June 26 and July 20 videos
                                           are hearsay, lack a
                                           foundation and predicate
                                           and are not complete

                                           Best evidence rule

              Page 3, middle three         Violates TRE 1002 – best
              paragraphs                   evidence rule

                                           Hearsay
              Last paragraph under         Statements of what was in
              number 1 at bottom of page   June 26 and July 20 videos
              3 and continuing to page 4   are hearsay, lack a
              beginning “My review…”       foundation and predicate
                                           and are not complete

              Paragraph beginning “My      Speculation
              review…”
                                           Lack of personal knowledge

                                           Lack of
                                           foundation/predicate

                                           Conclusory

                                           Not relevant

                                           Violates TRE 403

              Same paragraph, fourth and   Not relevant
              fifth sentence
                                           Not probative

                                           Improper opinion of expert
                                           on question of law

                                           Lack of personal knowledge

                                           Lack of
                                           foundation/predicate



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 6
                                              Speculation
              Under “Opinions”                Not relevant, violates TRE
              Page 4, first paragraph         404, violates best evidence
                                              rule, conclusory, lack of
                                              foundation/predicate,
                                              hearsay, lack of personal
                                              knowledge, speculation as
                                              to state mind and intent
              p. 5, 1st paragraph             Not relevant, violates TRE
                                              404, violates best evidence
                                              rule, conclusory, lack of
                                              foundation/predicate,
                                              hearsay, lack of personal
                                              knowledge, speculation as
                                              to state mind and intent
              p. 5, 2nd paragraph             Not relevant, violates TRE
                                              404, violates best evidence
                                              rule, conclusory, lack of
                                              foundation/predicate,
                                              hearsay, lack of personal
                                              knowledge, speculation as
                                              to state mind and intent
              p. 6, 1st paragraph             Not relevant, violates TRE
                                              404, violates best evidence
                                              rule, conclusory, lack of
                                              foundation/predicate,
                                              hearsay, lack of personal
                                              knowledge, speculation as
                                              to state mind and intent
              p. 6, 2nd paragraph             Not relevant, violates TRE
                                              404, violates best evidence
                                              rule, conclusory, lack of
                                              foundation/predicate,
                                              hearsay, lack of personal
                                              knowledge, speculation as
                                              to state mind and intent
              p. 7, 1st paragraph             Not relevant, violates TRE
                                              404, violates best evidence
                                              rule, conclusory, lack of
                                              foundation/predicate,
                                              hearsay, lack of personal
                                              knowledge, speculation as
                                              to state mind and intent
              p. 7, under A., 1st paragraph   Not relevant, violates best

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 7
                                           evidence rule, conclusory,
                                           lack of
                                           foundation/predicate,
                                           hearsay, lack of personal
                                           knowledge, speculation as
                                           to state mind and intent
              p. 7 second paragraph        Hearsay TRE 801
              through penultimate
              paragraph on p. 13           Violates best evidence rule
                                           TRE 1002, 1003

                                           Repeating videos needless
                                           presentation of cumulative
                                           evidence TRE 403

                                           Not relevant TRE 402

                                           No predicate of personal
                                           knowledge TRE 602
              p. 7, last paragraph, 1st    Outside scope of expert
              sentence, “numerous false    specialty -- TRE 702
              and irresponsible claims”
                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

              p. 7, 1st full paragraph,    Outside scope of expert
              “false statements”           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 8
                                              Conclusory without bases –
                                              TRE 703

                                              Improper for opinion
                                              witness just choosing sides
                                              on the case outcome. See
                                              Gutierrez v. State, No. 04-
                                              03-00396-CR, 2005 Tex.
                                              App. LEXIS 1430, at *7
                                              (App.—San Antonio Feb.
                                              23, 2005)

              p. 10, 2nd paragraph, 1st       Outside scope of expert
              sentence “false claims”         specialty -- TRE 702

                                              Invades province of the fact
                                              finder – TRE 702, GTE,
                                              998 S.W. 2d 605, 620

                                              Conclusory without bases –
                                              TRE 703

                                              Improper for opinion
                                              witness just choosing sides
                                              on the case outcome. See
                                              Gutierrez v. State, No. 04-
                                              03-00396-CR, 2005 Tex.
                                              App. LEXIS 1430, at *7
                                              (App.—San Antonio Feb.
                                              23, 2005)

              p. 10, last paragraph, “prior   Outside scope of expert
              false claims”                   specialty -- TRE 702

                                              Invades province of the fact
                                              finder – TRE 702, GTE,
                                              998 S.W. 2d 605, 620

                                              Conclusory without bases –
                                              TRE 703

                                              Improper for opinion
                                              witness just choosing sides

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 9
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

              p. 11, last paragraph, 2nd   Not relevant TRE 402
              sentence – “numerous false
              claims . . . made over the   No predicate of personal
              years”                       knowledge TRE 602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Violates best evidence rule
                                           TRE 1002, 1003

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

              p. 12, last paragraph –      Not relevant -- TRE 402
              “false claims … chilling
              finale”                      No predicate of personal
                                           knowledge -- TRE 602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 10
                                            998 S.W. 2d 605, 620

                                            Violates best evidence rule -
                                            - TRE 1002, 1003

                                            Conclusory without bases –
                                            TRE 703

                                            Improper for opinion
                                            witness just choosing sides
                                            on the case outcome. See
                                            Gutierrez v. State, No. 04-
                                            03-00396-CR, 2005 Tex.
                                            App. LEXIS 1430, at *7
                                            (App.—San Antonio Feb.
                                            23, 2005)

              p. 13, 1st full paragraph – “is Not relevant TRE 402
              the subject of a separate
              lawsuit . . . De La Rosa”       Prejudice outweighs
                                              relevance – TRE 403
              p. 13, 1st full paragraph, 2nd Not relevant TRE 402
              sentence – “false
              accusation”                     Prejudice outweighs
                                              relevance – TRE 403

                                            No predicate of personal
                                            knowledge TRE 602

                                            Outside scope of expert
                                            specialty -- TRE 702

                                            Invades province of the fact
                                            finder – TRE 702, GTE,
                                            998 S.W. 2d 605, 620

                                            Violates best evidence rule
                                            TRE 1002, 1003

                                            Conclusory without bases –
                                            TRE 703

                                            Improper for opinion
                                            witness just choosing sides

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 11
                                               on the case outcome. See
                                               Gutierrez v. State, No. 04-
                                               03-00396-CR, 2005 Tex.
                                               App. LEXIS 1430, at *7
                                               (App.—San Antonio Feb.
                                               23, 2005)

              p. 13, 2nd full paragraph, 3rd   Not relevant TRE 402
              sentence – “waffled on”
                                               Prejudice outweighs
                                               relevance – TRE 403

                                               Outside scope of expert
                                               specialty -- TRE 702

                                               Invades province of the fact
                                               finder – TRE 702, GTE,
                                               998 S.W. 2d 605, 620

                                               Violates best evidence rule
                                               TRE 1002, 1003

                                               Conclusory without bases –
                                               TRE 703

                                               Improper for opinion
                                               witness just choosing sides
                                               on the case outcome. See
                                               Gutierrez v. State, No. 04-
                                               03-00396-CR, 2005 Tex.
                                               App. LEXIS 1430, at *7
                                               (App.—San Antonio Feb.
                                               23, 2005)

              p. 14, 1st full paragraph        Opinion not relevant TRE
                                               402

                                               Speculation, no predicate of
                                               personal knowledge -- TRE
                                               602

                                               Outside scope of expert
                                               specialty -- TRE 702



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 12
                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

                                           Violates best evidence rule
                                           TRE 1002, 1003
              p. 14, 2nd full paragraph    Opinion not relevant -- TRE
                                           402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 13
                                           Violates best evidence rule
                                           TRE 1002, 1003
              p. 14, 3rd full paragraph    Opinion not relevant TRE
                                           402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

                                           Last sentence and quote:
                                           Hearsay TRE 802
                                           Not relevant – TRE 402
                                           Prejudice outweighs
                                           relevance – TRE 403

                                           Violates best evidence rule
                                           TRE 1002, 1003
              p. 14, last paragraph        Hearsay TRE 802

                                           Not relevant – TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403

                                           Violates best evidence rule

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 14
                                           TRE 1002, 1003
                     st
              p. 15, 1 full paragraph      Opinion not relevant TRE
                                           402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

                                           Last sentence and quote:
                                           Hearsay TRE 802
                                           Not relevant – TRE 402
                                           Prejudice outweighs
                                           relevance – TRE 403

                                           Violates best evidence rule
                                           TRE 1002, 1003
              p. 15, 2nd full paragraph    Opinion not relevant -- TRE
                                           402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 15
                                            Invades province of the fact
                                            finder – TRE 702, GTE,
                                            998 S.W. 2d 605, 620

                                            Conclusory without bases –
                                            TRE 703

                                            Improper for opinion
                                            witness just choosing sides
                                            on the case outcome. See
                                            Gutierrez v. State, No. 04-
                                            03-00396-CR, 2005 Tex.
                                            App. LEXIS 1430, at *7
                                            (App.—San Antonio Feb.
                                            23, 2005)

              p. 15, heading at 2.          Opinion not relevant TRE
                                            402

                                            Speculation, no predicate of
                                            personal knowledge -- TRE
                                            602

                                            Outside scope of expert
                                            specialty -- TRE 702

                                            Invades province of the fact
                                            finder – TRE 702, GTE,
                                            998 S.W. 2d 605, 620

                                            Conclusory without bases –
                                            TRE 703

                                            Improper for opinion
                                            witness just choosing sides
                                            on the case outcome. See
                                            Gutierrez v. State, No. 04-
                                            03-00396-CR, 2005 Tex.
                                            App. LEXIS 1430, at *7
                                            (App.—San Antonio Feb.
                                            23, 2005)

              p. 15, under heading 2, 1st   Opinion not relevant TRE

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 16
              paragraph                    402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

              p. 15, heading A             Opinion not relevant TRE
                                           402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 17
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

              p. 15, last paragraph        Opinion not relevant TRE
                                           402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)


                                           Sentences 5, 6, 7, 8, & 9:
                                           Hearsay TRE 802
                                           Not relevant – TRE 402
                                           Prejudice outweighs
                                           relevance – TRE 403
                                           Violates best evidence rule
                                           TRE 1002, 1003
              p. 16, 1st paragraph         Opinion not relevant TRE
                                           402



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 18
                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

              p. 16, heading B             Opinion not relevant TRE
                                           402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 19
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

              p. 16, 2nd full paragraph    Opinion not relevant TRE
                                           402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

                                           Hearsay TRE 802

                                           Not relevant – TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403

                                           Violates best evidence rule
                                           TRE 1002, 1003
              p. 16, 3rd full paragraph    Opinion not relevant TRE
              with indent                  402 – “unhinged crank,”
                                           “disturbing,” “ridiculous,”
                                           “bizarre”

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 20
                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702 --
                                           “unhinged crank,”
                                           “disturbing,” “ridiculous,”
                                           “bizarre”

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620 --
                                           “unhinged crank,”
                                           “disturbing,” “ridiculous,”
                                           “bizarre”

                                           Conclusory without bases –
                                           TRE 703 -- “unhinged
                                           crank,” “disturbing,”
                                           “ridiculous,” “bizarre”

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)


                                           Indent:
                                           Hearsay TRE 802
                                           Not relevant – TRE 402
                                           Prejudice outweighs
                                           relevance – TRE 403
                                           Violates best evidence rule
                                           TRE 1002, 1003
              p. 16, last paragraph and    Opinion not relevant TRE
              photo on page 17             402 – “purported”

                                           Speculation, no predicate of


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 21
                                           personal knowledge -- TRE
                                           602

                                           No authentication – TRE
                                           901 -- photo

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

                                           Not relevant – TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403

                                           Violates best evidence rule
                                           TRE 1002, 1003
                      st
              p. 17, 1 full paragraph with Opinion not relevant TRE
              indent                       402 – “bizarre,” “anti-
                                           Semitic rants”

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 22
                                              TRE 703

                                              Improper for opinion
                                              witness just choosing sides
                                              on the case outcome. See
                                              Gutierrez v. State, No. 04-
                                              03-00396-CR, 2005 Tex.
                                              App. LEXIS 1430, at *7
                                              (App.—San Antonio Feb.
                                              23, 2005)

                                              Indent:
                                              Hearsay TRE 802
                                              Not relevant – TRE 402
                                              Prejudice outweighs
                                              relevance – TRE 403
                                              Violates best evidence rule
                                              TRE 1002, 1003
              p. 17, last full paragraph an   Opinion not relevant TRE
              1st photo on p. 18              402 – “obsessed”

                                              Speculation, no predicate of
                                              personal knowledge -- TRE
                                              602

                                              Outside scope of expert
                                              specialty -- TRE 702

                                              Invades province of the fact
                                              finder – TRE 702, GTE,
                                              998 S.W. 2d 605, 620

                                              Conclusory without bases –
                                              TRE 703

                                              Improper for opinion
                                              witness just choosing sides
                                              on the case outcome. See
                                              Gutierrez v. State, No. 04-
                                              03-00396-CR, 2005 Tex.
                                              App. LEXIS 1430, at *7
                                              (App.—San Antonio Feb.
                                              23, 2005)



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 23
                                           Hearsay TRE 802

                                           Not relevant – TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403

                                           Violates best evidence rule
                                           TRE 1002, 1003

                                           No authentication – TRE
                                           901 - photo
              p. 18, only paragraph and    Speculation, no predicate of
              photo                        personal knowledge -- TRE
                                           602

                                           Conclusory without bases –
                                           TRE 703

                                           Hearsay TRE 802

                                           Not relevant – TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403

                                           Violates best evidence rule
                                           TRE 1002, 1003
              p. 19, 1st paragraph         Opinion not relevant TRE
                                           402 – “no rational
                                           journalist,” “for anything,”
                                           “improbable,” “uncritical,”
                                           “reckless,” “deceptive"

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 24
                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

                                           Hearsay TRE 802

                                           Statements not relevant –
                                           TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403

                                           Violates best evidence rule
                                           TRE 1002, 1003
              p. 19, heading C             Opinion not relevant TRE
                                           402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-


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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 25
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

                                           Hearsay TRE 802

                                           Violates best evidence rule
                                           TRE 1002, 1003
              p. 19, 2nd full paragraph    Opinion not relevant TRE
                                           402 – “wild,” falsehoods,”
                                           “debunked,” “malicious”

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

                                           Hearsay TRE 802

                                           Not relevant – TRE 402 –
                                           “five years”

                                           Prejudice outweighs
                                           relevance – TRE 403



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 26
                                           Violates best evidence rule
                                           TRE 1002, 1003
              p. 19, 3rd full paragraph    Opinion not relevant TRE
                                           402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

                                           Hearsay TRE 802

                                           Not relevant – TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403

                                           Violates best evidence rule
                                           TRE 1002, 1003

                                           Ambiguous and vague –
                                           “made a variety of factual
                                           allegations,” “various
                                           claims,” “wide variety”
              p. 19, 4th full paragraph    Opinion not relevant TRE
                                           402 – “ample,” “enormous,”

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 27
                                           extreme,” “outcry,”
                                           “unlikely,” “intentionally,”
                                           “reasonable,” “entertain
                                           serious doubts,” “desire to
                                           mislead”

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602 -- “ample,”
                                           “enormous,” extreme,”
                                           “outcry,” “unlikely,”
                                           “intentionally,”
                                           “reasonable,” “entertain
                                           serious doubts,” “desire to
                                           mislead”

                                           Outside scope of expert
                                           specialty -- TRE 702 --
                                           “ample,” “enormous,”
                                           extreme,” “outcry,”
                                           “unlikely,” “intentionally,”
                                           “reasonable,” “entertain
                                           serious doubts,” “desire to
                                           mislead”

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

                                           Not relevant – TRE 402

                                           Prejudice outweighs


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 28
                                           relevance – TRE 403

                                           Violates best evidence rule
                                           TRE 1002, 1003

                                           Vague and ambiguous --
                                           “ample,” “enormous,”
                                           extreme,” “outcry,”
                                           “unlikely,” “intentionally,”
                                           “reasonable,” “entertain
                                           serious doubts,” “desire to
                                           mislead”
              p. 19, heading D             Opinion not relevant TRE
                                           402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

                                           Hearsay TRE 802

                                           Violates best evidence rule
                                           TRE 1002, 1003

                                           Ambiguous and vague


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 29
              p. 19, last paragraph,        Opinion not relevant TRE
              continuing to p. 20 – “rise   402
              to notoriety,” coincided,”
              “boast,” “considered by       Speculation, no predicate of
              many”                         personal knowledge -- TRE
                                            602

                                            Outside scope of expert
                                            specialty -- TRE 702

                                            Invades province of the fact
                                            finder – TRE 702, GTE,
                                            998 S.W. 2d 605, 620

                                            Conclusory without bases –
                                            TRE 703

                                            Improper for opinion
                                            witness just choosing sides
                                            on the case outcome. See
                                            Gutierrez v. State, No. 04-
                                            03-00396-CR, 2005 Tex.
                                            App. LEXIS 1430, at *7
                                            (App.—San Antonio Feb.
                                            23, 2005)

                                            Hearsay TRE 802

                                            No authentication or
                                            predicate for documentary
                                            cites – TRE 902, TRE 802

                                            Violates best evidence rule
                                            TRE 1002, 1003

                                            Statements not relevant –
                                            TRE 402

                                            Prejudice outweighs
                                            relevance – TRE 403
              p. 20, 1st full paragraph     Hearsay TRE 802

                                            No authentication or
                                            predicate for documentary


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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 30
                                           cites – TRE 902, TRE 802

                                           Violates best evidence rule
                                           TRE 1002, 1003

                                           Statements not relevant –
                                           TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403
              p. 20, 2nd full paragraph    Hearsay TRE 802

                                           Statements not relevant –
                                           TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403
              p. 20, 3rd full paragraph    Hearsay TRE 802

                                           No authentication or
                                           predicate for documentary
                                           cites – TRE 902, TRE 802

                                           Violates best evidence rule
                                           TRE 1002, 1003

                                           Statements not relevant –
                                           TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403
              p. 20, last paragraph and    Opinion not relevant TRE
              photo on p. 21               402 – “similar”

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 31
                                           Conclusory without bases –
                                           TRE 703

                                           Hearsay TRE 802

                                           No authentication or
                                           predicate for photo – TRE
                                           902, TRE 802

                                           Violates best evidence rule
                                           TRE 1002, 1003

                                           Statements not relevant –
                                           TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403
              p. 21, 1st full paragraph    Opinion not relevant TRE
                                           402

                                           Speculation, no predicate of
                                           personal knowledge -- TRE
                                           602

                                           Outside scope of expert
                                           specialty -- TRE 702

                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 32
                                           Statements not relevant –
                                           TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403
              p. 21, after Conclusion –    Opinion not relevant TRE
              “evidence I have reviewed,” 402
              “failed to use reasonable
              care,” “entertained serious  Speculation, no predicate of
              doubts,” “acting with intent personal knowledge -- TRE
              to deceive,” “reckless       602
              disregard,” “falsity,”
              “harmful,” “subject him to   Outside scope of expert
              public contempt, hate or     specialty -- TRE 702
              ridicule”
                                           Invades province of the fact
                                           finder – TRE 702, GTE,
                                           998 S.W. 2d 605, 620

                                           Conclusory without bases –
                                           TRE 703

                                           Vague and ambiguous.

                                           Improper for opinion
                                           witness just choosing sides
                                           on the case outcome. See
                                           Gutierrez v. State, No. 04-
                                           03-00396-CR, 2005 Tex.
                                           App. LEXIS 1430, at *7
                                           (App.—San Antonio Feb.
                                           23, 2005)

                                           Hearsay TRE 802

                                           Statements not relevant –
                                           TRE 402

                                           Prejudice outweighs
                                           relevance – TRE 403

                                           Vague and ambiguous




DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 33
            2.       OBJECTIONS TO AFFIDAVIT OF BROOKE BINKOWSKI

       Defendants file their Objections to the Brooke Binkowski Affidavit submitted in response

to Defendants’ Motion to Dismiss Under the Texas Citizens Participation Act.

       In E.I. dePont de Nemours & Co., Inc. v. Robinson, 923 S.W.2d 549, 556 (Tex. 1995) the

Courts says “[p]rofessional expert witnesses are available to render an opinion on almost any

theory, regardless of its merit.” The Court’s ominous warning is especially applicable to the

testimony of Ms. Binkowski.

       a.        Qualifications

       Ms. Binkowski does not list her credentials other than to say that she is “a multimedia

journalist and professional researcher and the [Managing [e]ditor of Snopes.com.” She provides

no curriculum vitae listing her education, training or experience. She lists no publications,

grants, research projects, fellowships, theses, dissertations or any other data from which to

evaluate her expertise. Plaintiffs bear the burden of establishing Ms. Binkowski’s credentials.

See Broders v. Heise, 924 S.W.2d 148, 152-53 (Tex. 1996). Opinion testimony offered by a

witness lacking the requisite expertise is no evidence at all. See City of Keller v. Wilson, 168

S.W.3d 802, 812-13 (Tex. 2005).

       b.        Relevance: Question of Law

       Whatever Ms. Binkowski’s qualifications may be, the expressions of opinion stated in her

report are not relevant for the purpose of Tex. R. Evid. R. 703 in that they are of no assistance to

the trier of fact. If the issue is whether Defendants defamed Plaintiff by innuendo, this is a

question of law. See Arant v. Jaffe, 436 S.W.2d 169, 176 (Tex. Civ. App. – Dallas 1968, no

writ). Because it is a question of law, Ms. Binkowski’s opinion on the matter is irrelevant. See

Upjohn Co. v. Rylander, 38 S.W.3d 600, 611 (Tex. App. – Austin 2000, pet. den.)

       Likewise, Ms. Binkowski’s statement (last paragraph on page 2) to the effect that a



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 34
viewer “could reasonably interpret these comments as asserting that the Sandy Hook shooting

was staged and that [Plaintiffs] were not real parents” is an opinion on a question of law and as

such is inadmissible. In addition to being an opinion on a question of law, this opinion is flawed

because there is “to great an analytical gap” between the data and the opinion. In this instance,

there are not merely gaps, but yawning chasms. First, Ms. Binkowski does not identify what

“other statements made in the broadcast” inform her opinion. Second, even if one were to view

the entire broadcast so that every other statement were taken into account, Ms. Binkowski does

not say how she arrived at her conclusion.        Because of these flaws, this opinion too is

inadmissible. See Exxon Pipeline Co. v. Zwzhr, 88 S.W.3d 623, 629 (Tex. 2002).

       Finally, Ms. Binkowski’s last opinion (on page 3), that “this” (whatever “this” is) “fits a

larger pattern of behavior [of routinely denigrating victims of shootings]” is no more than Ms.

Binkowski’s editorial comment; as such, it has no place in a forensic setting. Again, Ms.

Binkowski does not identify the data; she says that because she’s an expert (in some unidentified

discipline) her opinion may be trusted without more. Texas does not recognize this as a basis for

admitting opinion testimony. See Jelinek v. Casas, 328 S.W.3d 526, 539-40 (Tex. 2010).

       In addition to the broader objections to the Binkowski opinion, Defendants make the

following specific objections to the Binkowski opinion:

                         Paragraph              Affidavit Objections

                         11                     Not relevant TRE 402

                                                No assistance to fact
                                                finder -- TRE 702

                                                Invades province of
                                                the fact finder – TRE
                                                702, GTE, 998 S.W.
                                                2d 605, 620

                                                Conclusory without

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 35
                                         bases – TRE 703
                      14                 Not relevant TRE 402

                                         No predicate of
                                         personal knowledge
                                         TRE 602

                                         No assistance to fact
                                         finder -- TRE 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Violates best
                                         evidence rule TRE
                                         1002, 1003

                                         Conclusory without
                                         bases – TRE 703

                      16                 Not relevant TRE 402

                                         Outside scope of
                                         expert specialty --
                                         TRE 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Violates best
                                         evidence rule TRE
                                         1002, 1003

                                         “significant:”
                                         Conclusory without
                                         bases – TRE 703

                      17                 Not relevant – TRE
                                         401, 402



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 36
                      18                 Not relevant TRE 402

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Violates best
                                         evidence rule TRE
                                         1002, 1003

                                         “notable,” “not
                                         consistently” --
                                         Conclusory without
                                         bases – TRE 703
                      19                 Violates best
                                         evidence rule TRE
                                         1002, 1003

                      20                 Not relevant TRE 402

                                         No assistance to fact
                                         finder -- TRE 702

                                         “ambiguous,”
                                         “reasonably” --
                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Violates best
                                         evidence rule TRE
                                         1002, 1003

                                         Conclusory without
                                         bases – TRE 703

                      21                 Not relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         No predicate for

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 37
                                         expert testimony –
                                         TRE 703

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703
                      22                 Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901
                      23                 Not relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Hearsay – TRE
                                         801(d), 802

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703
                      24                 Not relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 38
                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Hearsay – TRE
                                         801(d), 802

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703
                      25                 Not relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Hearsay – TRE
                                         801(d), 802

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 39
                                         701, 702, 703
                      27                 Hearsay – TRE
                                         801(d), 802

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                      28                 Not relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         Hearsay – TRE
                                         801(d), 802

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703
                      29                 Not relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         Hearsay – TRE
                                         801(d), 802

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 40
                                         TRE 901
                      30                 Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703
                      31                 Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      32                 “callously,”
                                         “sickening,” and
                                         “own opinion” --
                                         Opinion not relevant
                                         & no assistance to

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 41
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      33                 “own assertion,”
                                         “false,” “not
                                         contradicted” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 42
                                         knowledge – TRE
                                         701, 702, 703

                      34                 “deceptively edited”
                                         -- Opinion not
                                         relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      34                 “deceptively” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 43
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      35                 “reinforces” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      36                 Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 44
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge,
                                         speculation – TRE
                                         701, 702, 703

                      37                 Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         “continuously
                                         debunked”--
                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      38                 Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 45
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      39                 Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      40                 Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      41                 “likewise traffics fake
                                         news” -- Opinion not
                                         relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 46
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      42                 Not relevant – TRE
                                         401, 402

                                         Hearsay – TRE 802

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      43                 Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 47
                                         701, 702, 703

                      44                 Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      45                 Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      46                 Not relevant – TRE
                                         402

                                         Relevance
                                         outweighed by unfair
                                         prejudice, confusion,

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 48
                                         & misleading – TRE
                                         403

                                         Hearsay – TRE 802

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      47                 “fake news items” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      48 and two         Best Evidence Rule –
                      photos             TRE 1001, 1002,
                                         1007

                                         No authentication –

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 49
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      49                 “fake news” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge,
                                         speculation – TRE
                                         701, 702, 703

                      50                 Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      51                 Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 50
                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      52                 “fake news,”
                                         “dangerous,”
                                         “conspiracy” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge,
                                         speculation as to
                                         intent – TRE 701,
                                         702, 703

                      53                 “intentionally
                                         deceptive,”
                                         “recklessly
                                         disregarded,”
                                         “deceptive” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 51
                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge,
                                         speculation – TRE
                                         602, 701, 702, 703

                                         Improper for opinion
                                         witness just choosing
                                         sides on the case
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
                                         Feb. 23, 2005)

                      54                 “outlandish,”
                                         “inherently
                                         improbable,”
                                         “obviously dubious” -
                                         - Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                                         Improper for opinion
                                         witness just choosing


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 52
                                         sides on the case
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
                                         Feb. 23, 2005)


                      55                 Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge,
                                         speculation as to state
                                         of mind – TRE 701,
                                         702, 703

                                         Improper for opinion
                                         witness just choosing
                                         sides on the case
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
                                         Feb. 23, 2005)

                      56                 Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 53
                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                                         Improper for opinion
                                         witness just choosing
                                         sides on the case
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
                                         Feb. 23, 2005)

                      57                 “directly contradicts”
                                         -- Opinion not
                                         relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 54
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      58                 Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                                         Relevance
                                         outweighed by unfair
                                         prejudice, confusion,
                                         misleading and
                                         cumulative – TRE
                                         403

                      59                 Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Relevance
                                         outweighed by unfair
                                         prejudice, confusion,
                                         misleading and
                                         cumulative – TRE
                                         403

                      60                 “too suggest” some

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 55
                                         fact -- Opinion not
                                         relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                                         Relevance
                                         outweighed by unfair
                                         prejudice, confusion,
                                         misleading and
                                         cumulative – TRE
                                         403

                      61                 “dishonest” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 56
                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                                         Relevance
                                         outweighed by unfair
                                         prejudice, confusion,
                                         misleading and
                                         cumulative – TRE
                                         403

                                         Improper for opinion
                                         witness just choosing
                                         sides on the case
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
                                         Feb. 23, 2005)

                      62                 “clear” “chose not to
                                         do so” -- Opinion not
                                         relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 57
                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge,
                                         speculation as to state
                                         of mind – TRE 701,
                                         702, 703

                                         Relevance
                                         outweighed by unfair
                                         prejudice, confusion,
                                         misleading and
                                         cumulative – TRE
                                         403

                                         Improper for opinion
                                         witness just choosing
                                         sides on the case
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
                                         Feb. 23, 2005)

                      63                 “clear” “deceptively
                                         edited” “give the
                                         appearance” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 58
                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                                         Improper for opinion
                                         witness just choosing
                                         sides on the case
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
                                         Feb. 23, 2005)

                      64                 “abundance of
                                         primary sources” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 59
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      65                 “no reasonable basis”
                                         -- Opinion not
                                         relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                                         Improper for opinion
                                         witness just choosing
                                         sides on the case
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
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                      66                 “only way a journalist

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 60
                                         could support”
                                         “intentionally
                                         distorting” “source
                                         material demonstrates
                                         that is exactly what
                                         occurred in this case”
                                         -- Opinion not
                                         relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                                         Improper for opinion
                                         witness just choosing
                                         sides on the case
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
                                         Feb. 23, 2005)

                      67                 “video contains no
                                         such statements” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 61
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                      68                 “injurious motive”
                                         “clearly an attack”
                                         “pleaded” “false” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 62
                                         Improper for opinion
                                         witness just choosing
                                         sides on the case
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
                                         Feb. 23, 2005)

                      69                 “clearly provoked a
                                         retaliation” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         No authentication –
                                         TRE 901

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge,
                                         speculation as to state
                                         of mind – TRE 701,
                                         702, 703

                                         Improper for opinion
                                         witness just choosing
                                         sides on the case


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 63
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
                                         Feb. 23, 2005)

                      70                 “clear” “part of
                                         ongoing effort to
                                         support and justify”
                                         “vile five-year lie” --
                                         Opinion not relevant
                                         & no assistance to
                                         fact finder – TRE
                                         401, 402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                                         Improper for opinion
                                         witness just choosing
                                         sides on the case
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
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DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 64
                      71                 “in horror”
                                         “repeatedly”
                                         “systematically”
                                         “distorted”
                                         “misrepresented”
                                         “false” -- Opinion not
                                         relevant & no
                                         assistance to fact
                                         finder – TRE 401,
                                         402, 702

                                         Invades province of
                                         the fact finder – TRE
                                         702, GTE, 998 S.W.
                                         2d 605, 620

                                         Best Evidence Rule –
                                         TRE 1001, 1002,
                                         1007

                                         Hearsay – TRE 802

                                         Conclusory, lack of
                                         foundation/predicate,
                                         lack of personal
                                         knowledge – TRE
                                         701, 702, 703

                                         Improper for opinion
                                         witness just choosing
                                         sides on the case
                                         outcome. See
                                         Gutierrez v. State,
                                         No. 04-03-00396-CR,
                                         2005 Tex. App.
                                         LEXIS 1430, at *7
                                         (App.—San Antonio
                                         Feb. 23, 2005)

                      72                 “clear” “in bad faith”
                                         “utter contempt for
                                         the truth” -- Opinion
                                         not relevant & no

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 65
                                                assistance to fact
                                                finder – TRE 401,
                                                402, 702

                                                Invades province of
                                                the fact finder – TRE
                                                702, GTE, 998 S.W.
                                                2d 605, 620

                                                Conclusory, lack of
                                                foundation/predicate,
                                                lack of personal
                                                knowledge – TRE
                                                701, 702, 703

                                                Improper for opinion
                                                witness just choosing
                                                sides on the case
                                                outcome. See
                                                Gutierrez v. State,
                                                No. 04-03-00396-CR,
                                                2005 Tex. App.
                                                LEXIS 1430, at *7
                                                (App.—San Antonio
                                                Feb. 23, 2005)



                 3.     OBJECTIONS TO AFFIDAVIT OF NEIL HESLIN

       Defendants object to consideration of the Neil Heslin affidavit for the follows reasons:

       a.      Paragraph 2

       Mr. Heslin’s assertion, without specifying what publications he claims constitute “lies”

make his assertion irrelevant and thus inadmissible under Tex. R. Evid. R. 401. The assertion

also violates the “best evidence” rule (Tex. R. Evid. R. 1002). Mr. Heslin’s assertion without

specifying what “occasions” make his assertion irrelevant and thus inadmissible under Tex. R.

Evid. R. 401. The assertion also violates the “best evidence” rule (Tex. R. Evid. R. 1002).

       b.      Paragraph 4


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        This paragraph is evidently calculated to portray Mr. Heslin as not a public figure or

quasi-public figure. As such it is irrelevant under Tex. R. Evid. R. 401 and R. 701 because

whether someone is a public figure is a question of law for the Court. See Klentzman v. Brady,

312 S.W.3d 886, 904 (Tex. App. - Houston [1st Dist.] 2009, no pet.)           Also Mr. Heslin’s

subjective intent is irrelevant; whether he is a public figure can only be determined by compiling

and analyzing objective facts. Accordingly this paragraph is irrelevant under Tex. R. Evid. R.

401 and R. 701.

        c.      Paragraphs 5, 6

        Relevance (Tex. R. Evid. R. 401). Whether Mr. Heslin was invited or sought out the

public fora doesn’t matter. No one told him he had to give interviews; he was not under

subpoena. As long as he was not coerced, only the fact that he made public appearances matters.

        d.      Paragraphs 7 - 14

        Relevance, Tex. R. Evid. R. 401. Mr. Heslin’s subjective feelings, motive and intent are

irrelevant; it’s what he did that matters.

        e.      Paragraph 15

        The authentic record of the interview is the best evidence of what was said or not said.

Mr. Heslin’s summation violates the best evidence rule (Tex. R. Evid. R. 102).

        f.      Paragraph 16

        Relevance, Tex. R. Evid. R. 401. This is Mr. Heslin’s own summary of his actions and

reactions.

        g.      Paragraph 17

        Relevance, Tex. R. Evid. R. 401. Mr. Heslin’s subjective feelings, motive and intent are

irrelevant; it’s what he did that matters. The authentic record of the interview is the best

evidence of what was said or not said. Mr. Heslin’s summation violates the best evidence rule



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(Tex. R. Evid. R. 1002).

       h.       Paragraphs 18 - 21

       The authentic record of the interview is the best evidence of what was said or not said.

Mr. Heslin’s summation violates the best evidence rule (Tex. R. Evid. R. 1002).

       i.       Paragraphs 22 - 27

       In these paragraphs Mr. Heslin attempts to present evidence to establish mental anguish

as an element of damages. These paragraphs are irrelevant and inadmissible under Tex. R. Evid.

R. 401 because the substantive law applicable to such damages, and in defamation cases in

particular, makes the averments irrelevant.

               Mental anguish damages may not be recovered in a per quod case. Mr. Heslin

                has alleged – but has produced no evidence to establish-defamation per se.

               Perhaps words cannot describe the mental anguish Mr. Heslin has sustained as a

                result of the death of his son, but that does not mean it does not exist. However,

                Mr. Heslin does not take this into account. In paragraphs 26 and 27 he attempts to

                attribute his alleged mental anguish to the June 26, 2017 publication alone and

                provides no evidence of how this was caused by that video.

               In the entirety of paragraphs 21 -27 Mr. Heslin fails to account for other actors

                who may have caused his alleged mental anguish. Mr. Heslin is attributing to this

                publication the criminal activity of others over whom Defendants have no control

                and provides no evidence of how this was caused by that video.

               As for out-of-pocket expenses (paragraphs 28-31) Mr. Heslin’s declaration does

                not amount to legally sufficient evidence because (1) the evidence that the

                publication at issue was a producing cause or a proximate cause is legally

                insufficient to establish that Mr. Heslin’s need for counseling was a result of the


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               publication and not something else; the evidence is legally insufficient to establish

               a temporal nexus between the publication and the counseling thus raising the

               inference that the counseling was a result of the publication and not something

               else (paragraph 28). The same is true of the other expenses (paragraphs 29-31):

               even assuming that Mr. Heslin’s security concerns were justified, the evidence

               that the publication – and not the actions of others – was a producing cause is

               legally insufficient; (2)     There is no evidence that these out-of-pocket

               expenditures were reasonable in amount.

       4.      OBJECTIONS TO AFFIDAVIT OF H. WAYNE CARVER, II, M.D.

       Defendants object to consideration of the H. Wayne Carver, II, M.D. affidavit for the

follows reasons:

       a.      Paragraphs 3 – 10: Relevance

       The averments of these paragraphs do not make any relevant fact more likely than not

and do not aid the fact-trier in resolving any issue. Thus these statements are irrelevant under

Tex. R. Evid. R. 401 and 701.

       b.      Paragraph 11

       Dr. Carver’s professed “familiar[ity]” with Defendants is irrelevant under Evid. Rules

401 and 701. He does not state the source of his averred familiarity. Is he a regular viewer? Or

is his “familiar[ity]” based on what others have told him? (In which case his averment is

inadmissible hearsay.) The second sentence of paragraph 11 is objectionable for the same

reasons.    The third sentence is objectionable because (a) Newtown, Connecticut’s at-large

population is not a party to this case so any community feeling of angst is irrelevant (Tex. R.

Evid. R. 401); (b) Dr. Carver does not state his qualifications to express an opinion on public

sentiment in Newtown, Connecticut; and (c) Dr. Carver does not state the underlying basis for



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
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his opinion.

         c.     Paragraphs 12 and 13: Relevance (Tex. R. Evid. R. 401); Authenticity
                (Tex. R. Evid. R. 1002)

         Dr. Carver does not adequately establish that what he viewed is the original

publication or some other iteration. Whether the statements referred to the Plaintiff is a

matter of law for the Court. Newspapers, Inc. v. Matthews, 339 S.W.2d 890, 893 (Tex.

1960).

         d.     Paragraphs 14 – 17: Relevance (Tex. R. Evid. R. 401)

         Whether a statement is defamatory is a question of law for the Court. His opinion

is therefore not probative. See Bingham v. Southwestern Bell Yellow Pages, Inc., 2008

Tex. App. LEXIS 463 *9 - *10 (Tex. App. – Ft. Worth 2001, no pet.) (citing Musser v.

Smith Protective Svcs., Inc., 723 S.W.2d 653, 655 (Tex. 1987). The test is how the

statement would be construed by the average reasonable person or the general public.

See Arant v. Jaffe, 436 S.W.2d 169, 176 (Tex. App. – Dallas 1968, no writ). Whether the

statements referred to the Plaintiff is a matter of law for the Court. Newspapers, Inc. v.

Matthews, 339 S.W.2d 890, 893 (Tex. 1960).

         Whether Dr. Carver is an “average reasonable person,” or falls in some other category,

his idiosyncratic spin on the broadcast at issue is irrelevant because it usurps the function of the

Court.

         e.     Paragraph 18: Relevance (Tex R. Evid. R. 401, 701 and 703)

         Dr. Carver does not state any facts that support his opinion. His “personal involvement”

is too vague to comprise an adequate basis for his opinion.

         f.     Paragraphs 19 – 21: Relevance (Tex. R. Evid. R. 401)

         Whether a statement is defamatory is a question of law for the Court. His opinion is

therefore not probative. See Bingham v. Southwestern Bell Yellow Pages, Inc., 2008 Tex. App.

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LEXIS 463 *9 - *10 (Tex. App. – Ft. Worth 2001, no pet.) (citing Musser v. Smith Protective

Svcs., Inc., 723 S.W.2d 653, 655 (Tex. 1987). The test is how the statement would be construed

by the average reasonable person or the general public. See Arant v. Jaffe, 436 S.W.2d 169, 176

(Tex. App. – Dallas 1968, no writ).

       Whether Dr. Carver is an “average reasonable person,” or falls in some other category,

his idiosyncratic spin on the broadcast at issue is irrelevant because it usurps the function of the

Court. Whether the statements referred to the Plaintiff is a matter of law for the Court.

Newspapers, Inc. v. Matthews, 339 S.W.2d 890, 893 (Tex. 1960).



              5.      OBJECTIONS TO AFFIDAVIT OF SCARLETT LEWIS

       Defendants object to consideration of the Scarlett Lewis affidavit for the follows reasons:

       In bullet points 5-10, Ms. Lewis sets out her “understanding[s]” derived from watching a

youtube video. None of her alleged understandings is relevant under Tex. R. Evid. R. 401

because whether a statement is defamatory is a question of law.           Whether a statement is

defamatory is a question of law for the Court. Her “understanding” (ie. opinion) is therefore not

probative. See Bingham v. Southwestern Bell Yellow Pages, Inc., 2008 Tex. App. LEXIS 463 *9

- *10 (Tex. App. – Ft. Worth 2001, no pet.) (citing Musser v. Smith Protective Svcs., Inc., 723

S.W.2d 653, 655 (Tex. 1987). The test is how the statement would be construed by the average

reasonable person or the general public. See Arant v. Jaffe, 436 S.W.2d 169, 176 (Tex. App. –

Dallas 1968, no writ). Whether the statements referred to the Plaintiff is a matter of law for the

Court. Newspapers, Inc. v. Matthews, 339 S.W.2d 890, 893 (Tex. 1960).

       Whether Ms. Lewis is an “average reasonable person,” or falls in some other category,

her idiosyncratic spin on the broadcast at issue is irrelevant because it usurps the function of the

Court. Whether the statements referred to the Plaintiff is a matter of law for the Court.



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Newspapers, Inc. v. Matthews, 339 S.W.2d 890, 893 (Tex. 1960).



                6.      OBJECTIONS TO AFFIDAVIT OF JOHN CLAYTON

         Overall, the most that can be said for Mr. Clayton’s affidavit is that he doesn’t have a

very high opinion of Alex Jones as a journalist. Mr. Clayton’s opinion is inadmissible for these

reasons:

         a.     Rule 703 Relevance

         The issue before the Court is whether the 2017 publication made the basis of this case is

defamatory. This is a question of law. See Bently v. Bunton, 94 S.W.3d 561, 580 (Tex. 2003);

Campbell v. Clark, 471 S.W.3d 615, 624 (Tex. App. – Dallas 2015, no pet.); Main v. Royall,

348 S.W.3d 381, 389 (Tex. App. – Dallas 2011, no pet.). Mr. Clayton’s unsupported opinions

regarding Mr. Jones’s fidelity to some unidentified journalistic standard(s) has no bearing on this

issue.

         There is no basis for Mr. Clayton’s implied premise that persons who disseminate

information through the use of social media (or “alternative media” in Mr. Clayton’s words) are

to be held to the same standards of journalism as print or electronic (radio, TV) reporters.

Indeed, there is much debate and no consensus on the question. This Court is not the forum for

resolving this issue.

         b.     Reliability

         Mr. Clayton’s tirade against his former employer is filled with conclusions, but is

woefully short on facts to support his opinions. From the affidavit, it appears that Mr. Clayton

last worked for or with Mr. Jones some nine years ago. (Affidavit paragraph 5) It does not

appear that Mr. Clayton is familiar with the publications at issue in this case. One of the

requisites of reliability is that the opinion testimony must be tied to the facts of the case. Exxon



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Pipeline Co. v. Zwahr, 88 S.W.3d 623, 629 (Tex. 2002). It is difficult to see how Mr. Clayton’s

testimony can meet this test when he does not even profess to have any knowledge of those facts.

       c.      Rule 404 Relevance

       The accusations that Mr. Jones “no longer had any commitment to the principles and

philosophy of the independent media movement (Id., paragraph 6),” “it became apparent that he

made a conscious decision not to care about accuracy” (Id., paragraph 8) and “it become [sic]

standard practice in InfoWars to disregard basic protocols in journalism” (Id., paragraph 9)

violate Tex. R. Evid. R. 404(a)(1) prohibiting evidence of a character trait to prove that in a

particular instance the actor acted in accordance with that trait.

       d.      Rule 406 Relevance

       For evidence of routine or habit to be admissible under Rule 406, it must establish a

regular response to a repeated specific situation. See Ortiz v. Glusman, 334 S.W.3d 812, 816

(Tex. App. – El Paso 2011, pet. den.); Johnson v. City of Houston, 928 S.W.2d 251, 254 (Tex.

App. – Houston [14th Dist.] 1996 no writ). Although Mr. Clayton alludes to many occasions, he

cites no examples. This Court must take his word that they exist and that the undescribed

incidents are sufficiently similar.

       e.      Rule 403 Relevance

       Finally, even if the Court determines that the undescribed (as to time, place, parties or

substance) incidents are relevant, the prejudice of allowing Mr. Clayton’s testimony is far

outweighed by the danger of unfair prejudice and confusing the issues. In order to determine

admissibility, the Court would have to try each instance to determine whether it occurred and

whether it evidences malice toward the truth in connection with the publication made the basis of

this case. Certainly Mr. Clayton has no right to usurp the Court’s duties in this regard by

substituting his judgment for the Court’s.



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          If the undescribed incidents are inadmissible, because Plaintiffs have failed to make any

showing that they were reasonably relied upon by Mr. Clayton (Indeed, how can the Court make

such a determination absent any description?) Mr. Clayton’s opinions founded upon them are not

admissible.

                7.     OBJECTIONS TO AFFIDAVIT OF MARCUS TURNINI

          Defendants object to consideration of the exhibits attached to the Marcus Turnini

affidavit for the follows reasons:

          1.     The exhibits were unlawfully obtained in that they were evidently obtained for

use in the litigation in violation of §9.1 of the Infowars terms of service which provides:

                 “You may not copy or otherwise attempt to benefit or assist others
                 to benefit, directly or indirectly, from use of our Licensed
                 Materials or intellectual property of third parties other than through
                 normal use of the Website.”

          2.     Relevance (Evid. R. 401). The material deals with use by licensed subscribers of

the Infowars Website. It has nothing to do with whether the publication made the basis of this

case is defamatory or any of the sub-issues (i.e. public or quasi:-public figure, malice).



     8.        OBJECTIONS TO PLAINTIFF’S PROPOSED WRITTEN DISCOVERY
                                TO DEFENDANTS

          Defendants will provide objections if and when Plaintiff is allowed to issue discovery.

However, it is initially apparent that none of the requested discovery is aimed at the false claim

of destroyed documents and instead is overbearing discovery seeking, among other things, tax

returns.

                              9.      OBJECTIONS TO EXHIBIT I

          The “Notice of Violation to Infowars, LLC” (the “Notice”) is not admissible for these

reasons:



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       1.      It is not authenticated as required by Tex. R. Evid. R. 901.

       2.      It is not self-authenticating as permitted under Tex. R. Evid. R. 902(2);

       3.      It is not relevant under Tex. R. Evid. R. 401.

       4.      Any relevancy is far outweighed by the prejudice engendered by the document

under Tex. R. Evid. R. 403.

       5.      It is hearsay and contains hearsay within hearsay.

                              10.   OBJECTIONS TO EXHIBIT J

a.     First Opinion

       Mr. Zipp’s first opinion, stated on page 13 of his report, is that:

                       “[T]he statements made in the April 22, 2017 broadcast
               entitled “Sandy Hook Vampires Exposed” were capable of
               defaming Veronique De La Rosa and Leonard Pozner by
               impugning their reputation with false information about their
               honesty or integrity.”

       This opinion is inadmissible because it is an opinion on a question of law.

       Whether a statement is defamatory is a question of law. See, Bently v. Bunton, 94

S.W.3d 561, 580 (Tex. 2003); Campbell v. Clark, 471, S.W.3d 615, 624 (Tex. App. – Dallas

2015, no pet.); Main v. Royall, 348 S.W.3d 381, 389 (Tex. App. – Dallas 2011, no pet.).

       Expert opinions on questions of law are not admissible. See Mega Child Care v. Texas

Dep’t of Protective & Regulatory Svcs., 29 S.W.3d 303, 307 (Tex. App. – Hou. [14th Dist.] 2000,

no pet.); Holden v. Weidenfeller, 929 S.W.2d 124, 133 (Tex. App. – Austin 1996, writ den.)

       b.      Second Opinion

       Mr. Zipp’s second opinion, stated on page 22 of his affidavit is that “InfoWars’

accusations about Sandy Hook and Ms. De La Rosa’s interview were made with reckless

disregard for truth.”

       Knowledge of falsity or reckless disregard for the truth are the quintessence of malice.



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See Greer v. Abraham, 489 S.W.3d 440, 444 (Tex. 2016); Bentley, 94 S.W.3d at 600-60`.

Although Zipp is careful not to use the word “malice” his opinion can only be read as an opinion

that Defendants published with malice. As such, his opinion is inadmissible. See Jianguang

Wang v. Tang, 260 S.W.3d 149,160 (Tex. App. – Houston [1st Dist.] 2008, pet. den.), cert. den.

2009 U.S. LEXIS 1581 (2009); Gonzles v. Hearst Corp., 930 S.W.2d 275, 284 (Tex. App. –

Houston [14th Dist.] 1996, no pet.)

       c.      Both Opinions Unreliable

       Mr. Zipp relies on snippets of prior publications many of which are not identified, as the

foundation for his opinions as to both the defamatory nature of the publications at issue and

reckless disregard for the truth. Tex. R. Evid. Rule 703 allows an expert to rely on data not

otherwise admissible if it is of the type of data reasonably relied upon by experts in the field.

Mr. Zipp’s reliance on publications other than those made the basis of the defamation claims,

especially those published outside the one-year limitations period, are nothing more than a “back

door” attempt to get those prior publications into evidence. Further, Mr. Zipp does not lay the

necessary foundation or predicate required under Tex. R. Evid. R. 703.

       The publications referred to by Mr. Zipp (at pages 13-19 of his opinion) are mentioned

because the publication at issue was “not made in isolation.” (Id. p. 13) The inference Mr. Zipp

presses upon the court is that because the statement at issue was but one of several, going back a

number of years, it is defamatory of Plaintiffs and was knowingly or recklessly made.

       The earlier publications would not be admissible under Tex. R. Evid. R. 401-403, 404,

406 and 608(b).

       His stated portions and summaries of these snippets also violate Tex. R. Evid. R. 1002.

       Whether the statements at issue in 2017 were made is undisputed; thus it is unnecessary

to introduce the earlier publications as proof that the statement at issue was made. Mr. Zipp



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argues, however, that the earlier publications somehow make it more likely than not that the

statement at issue is defamatory and was made with intentional or reckless disregard for the

truth. The problem, for plaintiffs and Mr. Zipp, is that he doesn’t “connect the dots,” that is, he

doesn’t say how the earlier publications inform the decision that the publication at issue is

defamatory or the product of mal- or mis-feasance. Either it is, or it isn’t.

       A priori, Mr. Zipp’s reliance on earlier publications is inappropriate. His opinions rest

almost entirely on these earlier partial publications. That the earlier publications make the

defamatory nature of the publication at issue more likely than not defamatory, or was made with

intentional or reckless disregard for the truth, depends alone on Mr. Zipp’s ipse dixit. As such,

his opinions are inadmissible. See Jelinek v. Casas, 328 S.W.3d 526, 539 (Tex. 2010).

       d.      Objections to Specific Statements

       In addition to the broader objections to the Zipp opinion, Defendants make the following

specific objections to the Zipp opinion:

                 Affidavit Statements               Objections
                 Page 1, First paragraph            Lack of
                 under Scope of Review              foundation/predicate
                 “whether assertions could
                 be responsibly published”          Not Relevant

                                                    Vague and Ambiguous

                                                    Hearsay

                 Six bullet points under            Lack of
                 Scope of Review                    foundation/predicate

                                                    Lack of identification of
                                                    materials reviewed

                                                    Hearsay

                 Page 2, First paragraph            Not relevant
                 under Background

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
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              Knowledge of InfoWars,       Hearsay
              second sentence
              Second paragraph under       Vague and Ambiguous
              Background Knowledge of
              InfoWars “significant        Conclusory
              amount of time”

              Second paragraph under       Conclusory
              Background Knowledge of
              Infowars, second sentence    Lack of
                                           foundation/predicate

                                           Not relevant
              Third paragraph under        Conclusory
              Background Knowledge of
              Infowars, second sentence    Violates TRE 404

                                           Lack of
                                           foundation/predicate
              Fourth paragraph under       Not relevant
              Background Knowledge of
              Infowars,                    Hearsay

                                           Lack of
                                           predicate/foundation

                                           Conclusory

              Page 3, First paragraph      Conclusory
              under number 1, first
              sentence                     Lack of
                                           foundation/predicate

                                           Not relevant

                                           Lack of personal knowledge

                                           Exhibit A-26 is hearsay,
                                           lacks a foundation and
                                           predicate and is not
                                           complete

              Page 3, middle three         Violates TRE 1002
              paragraphs

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
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              Last paragraph under          Vague and Ambiguous
              number 1 at bottom of the     (“suggests”)
              page and continuing to page
              4 beginning “My review…”      Lack of personal knowledge
              First and second sentence.
                                            Lack of
                                            foundation/predicate

                                            Conclusory

                                            Not relevant

                                            Hearsay as to second and
                                            third sentence
              Same paragraph, third         Defendants incorporate the
              sentence                      same objections to this
                                            sentence as they stated to
                                            the affidavit and
                                            conclusions of Mr.
                                            Fredericks.

                                            Not relevant

                                            Violates TRE 403

                                            Hearsay

                                            Lack of
                                            foundation/predicate
              Same paragraph, fourth and    Not relevant
              fifth sentence
                                            Not probative

                                            Improper opinion of expert
                                            on question of law

                                            Lack of personal knowledge

                                            Lack of
                                            foundation/predicate

                                            Speculation
              Page 4, first paragraph       First sentence: Not relevant,
              under paragraph 2.            violates TRE 404,

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
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                                            conclusory, lack of
                                            foundation/predicate,
                                            hearsay, lack of personal
                                            knowledge

                                            Second sentence: Not
                                            relevant, vague and
                                            ambiguous, conclusory, lack
                                            of foundation/predicate,
                                            lack of personal knowledge,
                                            hearsay

                                            Third sentence: Not
                                            relevant, vague and
                                            ambiguous, conclusory, lack
                                            of foundation/predicate,
                                            lack of personal knowledge,

              First paragraph under 2. A.   Not relevant
                                            Lack of persona knowledge


              Second paragraph under 2.     Not relevant
              A.
                                            Hearsay

                                            Lack of
                                            foundation/predicate
              Third paragraph under 2. A.   First sentence: Not relevant,
                                            conclusory, speculative

                                            Second and third sentence:
                                            Not relevant, hearsay, lack
                                            of personal knowledge, lack
                                            of foundation/predicate,
              Page 5, top paragraph         Not relevant,
              (under two top photos)
                                            speculative,

                                            hearsay,

                                            conclusory,

                                            lack of personal knowledge,

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
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                                           lack of foundation/predicate
              Bottom paragraph (under      Not relevant,
              two lower photographs)
                                           speculative,

                                           hearsay,

                                           conclusory,

                                           lack of personal knowledge,

                                           lack of foundation/predicate
              Page 6 , top paragraph       Not relevant,
              (under two top photos)
                                           speculative,

                                           hearsay,

                                           conclusory,

                                           lack of personal knowledge,

                                           lack of foundation/predicate
              Bottom paragraph (under      Not relevant,
              two lower photographs)
                                           speculative,

                                           hearsay,

                                           conclusory,

                                           lack of personal knowledge,

                                           lack of foundation/predicate
              Page 7, photo                Not relevant

                                           Hearsay

                                           Lack of
                                           foundation/predicate
              Page 7, top paragraph        Not relevant,
              (under photo and above B.)
                                           speculative,

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 81
                                           hearsay,

                                           conclusory,

                                           lack of personal knowledge,

                                           lack of foundation/predicate
              Paragraph B.                 Not relevant

                                           Conclusory

                                           lack of personal knowledge,

                                           lack of foundation/predicate

              Last paragraph (under B)     Not relevant

                                           Conclusory

                                           lack of personal knowledge,

                                           lack of foundation/predicate

                                           Exhibit 24 is not complete

              Page 8, top photo            Not relevant

                                           Hearsay

                                           Lack of
                                           foundation/predicate
              Page 8, top paragraph        Not relevant

                                           Conclusory

                                           Hearsay

                                           Lack of
                                           foundation/predicate

                                           Lack of personal knowledge

                                           Violates TRE 1002

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 82
              Lower photo                  Hearsay

                                           Not relevant

                                           Lack of
                                           foundation/predicate
              Bottom paragraph             Not relevant

                                           Hearsay

                                           Lack of personal knowledge

                                           Lack of
                                           foundation/predicate

                                           Conclusory

                                           Violates TRE 1002
              Page 9 photo                 Not relevant

                                           Hearsay

                                           Lack of
                                           foundation/predicate

              First paragraph              First sentence: Not relevant,
                                           Lack of personal
                                           knowledge, Lack of
                                           foundation/predicate,
                                           conclusory

                                           Second sentence: Not
                                           relevant,
                                           Lack of personal
                                           knowledge, Lack of
                                           foundation/predicate,
                                           conclusory, speculative

                                           Third sentence: “did not
                                           reasonably suggest any
                                           cover-up or manipulation”:
                                           Not relevant,
                                           Lack of
                                           foundation/predicate,

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 83
                                           conclusory, speculative

                                           Fourth sentence: Not
                                           relevant,
                                           Lack of personal
                                           knowledge, Lack of
                                           foundation/predicate,
                                           conclusory

                                           Violates TRE 1002
              Paragraph C.                 Not relevant

                                           Lack of personal knowledge

              Last paragraph               First sentence: Not relevant,
                                           Lack of personal knowledge

                                           Second and third sentence:
                                           Not relevant,
                                           Lack of personal
                                           knowledge, Lack of
                                           foundation/predicate,
                                           conclusory, hearsay

                                           Violates TRE 1002
              Page 10 photo                Not relevant

                                           Hearsay

                                           Lack of
                                           foundation/predicate
              Paragraph D.                 Not relevant, Lack of
                                           personal knowledge

              First paragraph under D.     First sentence: Not relevant,
                                           lack of personal knowledge

                                           Second sentence: Not
                                           relevant, lack of personal
                                           knowledge

                                           Third sentence: Not
                                           relevant, lack of personal
                                           knowledge, hearsay

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 84
                                           Exhibit A2 is hearsay, lacks
                                           a foundation and predicate
                                           and is not complete.

                                           Last sentence: Not relevant,
                                           lack of personal knowledge
              Bottom paragraph             Not relevant

                                           Hearsay

                                           Lack of personal knowledge

                                           Lack of
                                           foundation/predicate

                                           Conclusory
              Page 11, photo               Not relevant

                                           Hearsay

                                           Lack of
                                           foundation/predicate
              First paragraph (above E)    First sentence: Not relevant,
                                           lack of personal knowledge,
                                           lack of foundation/predicate
                                           conclusory

                                           Second sentence: Not
                                           relevant, lack of personal
                                           knowledge, lack of
                                           foundation/predicate
                                           conclusory

                                           Last sentence: Not relevant,
                                           lack of personal knowledge,
                                           lack of foundation/predicate
                                           conclusory

              Paragraph E                  Not relevant, Lack of
                                           personal knowledge

                                           Violates TRE 1002



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 85
              First paragraph under E.     Both sentences: Not
                                           relevant, Lack of personal
                                           knowledge

                                           Violates TRE 1002

              Bottom paragraph             First sentence: Not relevant,
                                           Lack of personal
                                           knowledge, lack of
                                           foundation/predicate,
                                           speculative, hearsay,
                                           conclusory – Violates TRE
                                           1002

                                           Second sentence: Not
                                           relevant, Lack of personal
                                           knowledge

                                           Third sentence: Not
                                           relevant, Lack of personal
                                           knowledge, lack of
                                           foundation/predicate,
                                           hearsay

                                           Fourth and fifth sentence
                                           including caption
                                           continuing on page 12: lack
                                           of foundation/predicate,
                                           hearsay
              Page 12, top paragraph and   Not relevant, Hearsay, lack
              captions                     of foundation/predicate

              Middle paragraph             First and second sentence:
                                           Not relevant, lack of
                                           foundation/predicate, lack
                                           of personal knowledge

                                           Third and fourth sentence:
                                           Not relevant, Hearsay. Lack
                                           of personal knowledge, lack
                                           of foundation/predicate

                                           Fifth and sixth sentence:
                                           Not relevant, lack of

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 86
                                           foundation/predicate, lack
                                           of personal knowledge

                                           Seventh through ninth
                                           sentences: Not relevant,
                                           Hearsay. Lack of personal
                                           knowledge, lack of
                                           foundation/predicate

                                           Tenth sentence: Not
                                           relevant, lack of
                                           foundation/predicate, lack
                                           of personal knowledge,
                                           speculation

                                           Eleventh sentence: Not
                                           relevant, conclusory, lack of
                                           foundation/predicate,
                                           speculation

              Last paragraph continuing    First sentence: Not relevant
              to page 13                   Second sentence: Not
                                           relevant, vague and
                                           ambiguous, hearsay, lack of
                                           foundation/predicate

                                           Third sentence: Not
                                           relevant, hearsay, lack of
                                           foundation/predicate, lack
                                           of personal knowledge

                                           Last sentence: Not relevant,
                                           conclusory, lack of
                                           foundation/predicate,
                                           speculative
              Page 13, paragraph 1         Not relevant, conclusory,
                                           lack of
                                           foundation/predicate,
                                           Expert testimony not
                                           probative on matters of law
              First paragraph under 1      Not relevant, conclusory,
                                           lack of foundation/predicate
                                           Expert testimony not
                                           probative on matters of law

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 87
              All paragraphs under A        Not relevant, previous acts
              starting on page 13 and       are outside of statute of
              continuing to the second to   limitations, violates TRE
              the last paragraph on page    Rule 403, lack of personal
              19                            knowledge, lack of
                                            foundation/predicate,
                                            hearsay
                                            Violates TRE 1002

                                            Exhibits A3-A13 and A20-
                                            25 are not relevant, contain
                                            statements outside of statute
                                            of limitations, hearsay and
                                            lack foundation and
                                            predicate.


              Page 19, bottom paragraph     First sentence: Lack of
                                            personal knowledge

                                            Second sentence: Lack of
                                            personal knowledge, lack of
                                            foundation/predicate,
                                            speculative, conclusory,
                                            expert opinion not reliable,
                                            expert opinion not needed to
                                            assist fact finder to interpret
                                            words used in broadcast
                                            (TRE Rule 702), opinion
                                            not based on stated
                                            broadcast (TRE Rule 703) –
                                            Violates TRE 1002

                                            Third sentence: Not
                                            relevant; conclusory, lack of
                                            foundation/predicate,
                                            speculative, Expert opinion
                                            not probative on question of
                                            law or actual malice

                                            Last sentence: Not relevant;
                                            conclusory, lack of
                                            foundation/predicate,
                                            speculative, Expert opinion


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 88
                                           not probative on question of
                                           law or actual malice
              Page 20, top paragraph       First sentence: Not relevant,
                                           lack of personal knowledge
                                           Violates TRE 1002

                                           Second and third sentence:
                                           Not relevant, lack of
                                           personal knowledge,
                                           conclusory, lack of
                                           foundation/predicate
                                           Violates TRE 1002

                                           Exhibit A28 is not
                                           authenticated, it is not
                                           relevant and it is not a
                                           complete transcript of that
                                           broadcast.

                                           Fourth sentence: Not
                                           relevant regarding
                                           accusations about a cover-
                                           up, lack of personal
                                           knowledge

                                           Fifth and sixth sentences:
                                           Not relevant,, lack of
                                           personal knowledge

                                           Exhibit A29 lacks
                                           authentication, is not
                                           relevant and is not a
                                           complete copy of the
                                           broadcast.
              Second paragraph, page 20    Both sentences: Not
                                           relevant and lack of
                                           personal knowledge.

                                           Exhibit A30 lacks
                                           authentication, is not
                                           relevant and is not a
                                           complete copy of the
                                           broadcast.



DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 89
              Third paragraph , page 20    Not relevant, lack of
              (paragraph under B)          foundation/predicate

              Fourth paragraph, page 20    All sentences: Not relevant,
                                           Expert opinion not
                                           probative on question of law
                                           and actual malice, lack of
                                           foundation/predicate,
                                           speculative
              Fifth paragraph, page 20     All sentences: Not relevant,
              continuing to page 21        Expert opinion not
                                           probative on question of law
                                           and actual malice, lack of
                                           foundation/predicate,
                                           speculative
              Page 21, first paragraph     First sentence: Not relevant,
                                           Expert opinion not
                                           probative on question of law
                                           and actual malice, lack of
                                           foundation/predicate,
                                           speculative, conclusory,
                                           lack of personal knowledge,
                                           hearsay

                                           Second sentence: Not
                                           relevant, hearsay, lack of
                                           foundation/predicate

                                           Third sentence: Not
                                           relevant, hearsay, lack of
                                           foundation/predicate,
                                           conclusory

                                           Fourth sentence and
                                           quotation: Not relevant,
                                           hearsay, lack of
                                           foundation/predicate,
                                           Quotation violates TRE
                                           1002
              Second paragraph, page 21    paragraph and quotation:
                                           Not relevant, hearsay, lack
                                           of foundation/predicate,
                                           violates TRE 1002
              Third paragraph, page 21     First sentence: Not relevant,

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 90
                                           speculative, Expert opinion
                                           not probative on question of
                                           law, conclusory, lack of
                                           foundation/predicate

                                           Second sentence: Not
                                           relevant, speculative, Expert
                                           opinion not probative on
                                           question of law and actual
                                           malice, conclusory, lack of
                                           foundation/predicate, vague
                                           and ambiguous

                                           Third sentence: Not
                                           relevant, speculative, lack
                                           of personal knowledge, lack
                                           of foundation/predicate,
                                           conclusory.


              Last paragraph, page 21      First sentence: Not relevant,
                                           Expert opinion not
                                           probative on question of
                                           law, lack of
                                           foundation/predicate,
                                           speculative, conclusory

                                           Second sentence: Not
                                           relevant, Expert opinion not
                                           probative on question of law
                                           and actual malice, lack of
                                           foundation/predicate,
                                           speculative, conclusory

                                           Third sentence: Not
                                           relevant, lack of personal
                                           knowledge, lack of
                                           foundation/predicate,
                                           conclusory

                                           Last sentence: Lack of
                                           personal knowledge

                                           Exhibit A26 is not


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 91
                                           authenticated, and is not a
                                           complete transcript of the
                                           broadcast
              Page 22, first paragraph:    Not relevant, Expert opinion
                                           not probative on question of
                                           law and actual malice, lack
                                           of foundation/predicate,
                                           speculative, conclusory

              Paragraph 2                  Not relevant, Expert opinion
                                           not probative on question of
                                           law and actual malice, lack
                                           of foundation/predicate,
                                           speculative, conclusory

              Second paragraph (under 2)   Not relevant, Expert opinion
                                           not probative on question of
                                           law and actual malice, lack
                                           of foundation/predicate,
                                           speculative, conclusory

              Paragraph A                  Not relevant, Expert opinion
                                           not probative on question of
                                           law and actual malice, lack
                                           of foundation/predicate,
                                           speculative, conclusory

              Third paragraph, page 22     First through third
              (under A)                    sentences: Not relevant,
                                           lack of
                                           foundation/predicate,
                                           speculative, conclusory

                                           Fourth sentence: Defendants
                                           incorporate their objections
                                           to Mr. Fredericks affidavit,
                                           not relevant, hearsay, lack
                                           of personal knowledge, lack
                                           of foundation/predicate

                                           Entire paragraph is
                                           objectionable as it seeks to
                                           bolster improper expert
                                           opinion on question of law

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 92
              Fourth paragraph, page 22    First sentence: Not relevant,
                                           speculative, lack of
                                           foundation/predicate,
                                           conclusory

                                           Second sentence: Not
                                           relevant, hearsay, lack of
                                           foundation/predicate,
                                           conclusory

                                           Last sentence and photos:
                                           Not relevant, hearsay, lack
                                           of foundation/predicate

                                           Photos are hearsay; lack of
                                           personal knowledge; lack of
                                           authentication; lack of
                                           foundation/predicate;
                                           violates TRE 1002
              Last paragraph, page 22      Second sentence: Not
              continuing to page 23        relevant, Expert opinion not
                                           probative on question of law
                                           and actual malice, lack of
                                           foundation/predicate,
                                           conclusory, speculative

                                           Third sentence: Not
                                           relevant, Expert opinion not
                                           probative on question of law
                                           and actual malice, lack of
                                           foundation/predicate,
                                           conclusory, speculative

                                           Fourth sentence: Not
                                           relevant, Expert opinion not
                                           probative on question of law
                                           and actual malice, lack of
                                           foundation/predicate,
                                           conclusory, speculative
              Page 23, paragraph B         Not relevant, Expert opinion
                                           not probative on question of
                                           law and actual malice, lack
                                           of foundation/predicate,

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 93
                                           conclusory, speculative;
                                           Violates TRE 403, 404 and
                                           608(b)
              First paragraph (under B)    Not relevant, Expert opinion
                                           not probative on question of
                                           law and actual malice, lack
                                           of foundation/predicate,
                                           conclusory, speculative

                                           Second sentence: Not
                                           relevant, lack of personal
                                           knowledge, conclusory, lack
                                           of foundation/predicate

                                           Exhibit A1 is not
                                           authenticated, is not
                                           relevant and is not a
                                           complete transcript of the
                                           broadcast.

                                           Third sentence: Not
                                           relevant, lack of personal
                                           knowledge, conclusory, lack
                                           of foundation/predicate

                                           Fourth sentence: Not
                                           relevant, lack of personal
                                           knowledge, conclusory, lack
                                           of foundation/predicate,

                                           Last sentence: Not relevant,
                                           lack of personal knowledge,
                                           conclusory, lack of
                                           foundation/predicate

                                           Entire paragraph is
                                           objectionable as it seeks to
                                           bolster improper expert
                                           opinion on question of law

              Second paragraph, page 23    First paragraph: Not
                                           relevant

                                           Second sentence: Not

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 94
                                           relevant, violates TRE 404,
                                           lack of
                                           foundation/predicate, lack
                                           of personal knowledge,
                                           hearsay, vague and
                                           ambiguous

                                           Third sentence: Not
                                           relevant, hearsay, lack of
                                           foundation/predicate,
                                           conclusory

                                           Entire paragraph is
                                           objectionable as it seeks to
                                           bolster improper expert
                                           opinion on question of law

              Third paragraph, page 23     First sentence Not relevant,
              (above C)                    speculative, conclusory,
                                           lack of personal knowledge,
                                           lack of foundation/predicate

                                           Second sentence: Not
                                           relevant, vague and
                                           ambiguous, lack of personal
                                           knowledge

                                           Third sentence: Not
                                           relevant, Expert opinion not
                                           probative on question of law
                                           and actual malice, lack of
                                           foundation/predicate,
                                           conclusory, speculative

                                           Last sentence: Not relevant,
                                           Expert opinion not
                                           probative on question of law
                                           and actual malice, lack of
                                           foundation/predicate,
                                           conclusory, speculative

                                           Entire paragraph is
                                           objectionable as it seeks to
                                           bolster improper expert


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 95
                                           opinion on question of law

              Paragraph C                  Not relevant, Expert opinion
                                           not probative on question of
                                           law and actual malice, lack
                                           of foundation/predicate,
                                           conclusory, speculative;
                                           violates TRE 403, 404, and
                                           608(b)

              Last paragraph, page 23      Each sentence: Not relevant,
              (under C) continuing to      entire paragraph is
              page 24                      objectionable as it seeks to
                                           bolster improper expert
                                           opinion on question of law
                                           and actual malice, violated
                                           TRE 404,403

              All other paragraphs on      Not relevant, violates TRE
              page 24                      404, 403, all paragraphs are
                                           objectionable as they seek
                                           to bolster improper expert
                                           opinion on question of law
                                           and actual malice
              Page 25 photo                Not relevant, violates TRE
                                           404, 403
              Page 25, first paragraph     Not relevant, Expert opinion
              (under photo)                not probative on question of
                                           law and actual malice, lack
                                           of foundation/predicate,
                                           conclusory, speculative

              Paragraph D                  Not relevant, Expert opinion
                                           not probative on question of
                                           law and actual malice, lack
                                           of foundation/predicate,
                                           conclusory,
              Second paragraph, page 25    Not relevant, Defendants
              (under D)                    also incorporate herein all
                                           objections to Mr. Pozner’s
                                           affidavit

              Third paragraph              First sentence: Not relevant,
                                           hearsay, lack of personal

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 96
                                           knowledge,

                                           Second sentence: Not
                                           relevant, hearsay, lack of
                                           foundation/predicate, lack
                                           of personal knowledge

                                           Exhibit A14 is not
                                           authenticated, is not
                                           relevant and is not a
                                           complete transcript of the
                                           broadcast.

                                           Last sentence: Not relevant,
                                           hearsay, lack of
                                           foundation/predicate, lack
                                           of personal knowledge

                                           Exhibit A15 is not
                                           authenticated, is not
                                           relevant and is not a
                                           complete transcript of the
                                           broadcast.

                                           Entire paragraph is
                                           objectionable as it seeks to
                                           bolster improper expert
                                           opinion on question of law
                                           and actual malice


              Fourth paragraph             Each sentence: Not relevant,
                                           lack of personal knowledge,
                                           lack of
                                           foundation/predicate,

                                           Exhibit A16 is not
                                           authenticated, is not
                                           relevant and is not a
                                           complete transcript of the
                                           broadcast.


                                           Entire paragraph is


DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 97
                                           objectionable as it seeks to
                                           bolster improper expert
                                           opinion on question of law
                                           and actual malice

              Page 26, first paragraph     Each sentence: Not relevant,
                                           lack of personal knowledge,
                                           lack of foundation/predicate

                                           Exhibits A17 and A18 are
                                           not authenticated, are not
                                           relevant and are not
                                           complete transcripts of the
                                           broadcasts.

                                           Entire paragraph is
                                           objectionable as it seeks to
                                           bolster improper expert
                                           opinion on question of law
                                           and actual malice

              Second paragraph and         Not relevant, lack of
              quotation                    personal knowledge

                                           Exhibit A19 is not
                                           authenticated, is not
                                           relevant and is not a
                                           complete transcript of the
                                           broadcast.


                                           Entire paragraph is
                                           objectionable as it seeks to
                                           bolster improper expert
                                           opinion on question of law
                                           and actual malice



              Third paragraph              First sentence: Not relevant,
                                           lack of personal knowledge,
                                           lack of
                                           foundation/predicate,
                                           conclusory

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 98
                                           Second sentence: Not
                                           relevant, Expert opinion not
                                           probative on question of law
                                           and actual malice, lack of
                                           personal knowledge, lack of
                                           foundation/predicate,
                                           conclusory, speculative

              Conclusion                   First sentence: Not relevant,
                                           Expert opinion not
                                           probative on question of law
                                           and actual malice lack of
                                           personal knowledge, lack of
                                           foundation/predicate,
                                           conclusory, speculative

                                           Second sentence: Not
                                           relevant, Expert opinion not
                                           probative on question of law
                                           and actual malice, lack of
                                           personal knowledge, lack of
                                           foundation/predicate,
                                           conclusory, speculative

                                           Third sentence: Not
                                           relevant, Expert opinion not
                                           probative on question of law
                                           and actual malice lack of
                                           personal knowledge, lack of
                                           foundation/predicate,
                                           conclusory, speculative

                                           Last sentence: Not relevant,
                                           Expert opinion not
                                           probative on question of law
                                           and actual malice, lack of
                                           personal knowledge, lack of
                                           foundation/predicate,
                                           conclusory, speculative
              All websites listed in       Lack of authentication; lack
              footnotes                    of foundation/predicate; not
                                           relevant; violate TRE 404,
                                           608(b) and 703. In

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 99
                                                 addition, footnotes 5, 6, 12,
                                                 13, 14-18, 41-43, 45 and 47
                                                 are hearsay.


                                   11.     CONCLUSION

       None of the purported expert and lay opinions tendered by Plaintiff in opposition to

Defendants’ TCPA Motion to Dismiss can properly be considered by the Court in ruling on

Defendants’ motion. Defendants pray that each of their objections be sustained.

                                            RESPECTFULLY SUBMITTED,

                                            GLAST, PHILLIPS & MURRAY, P.C.


                                                    /s/ Mark C. Enoch
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                                            ATTORNEY FOR DEFENDANTS


                               CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of August, 2018, the foregoing was sent via
efiletxcourts.gov’s e-service system to the following:


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                                                         /s/ Mark C. Enoch
                                                   Mark C. Enoch

DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 100
